Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 1 of 134            FILED
                                                                     2018 Aug-15 PM 10:28
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA




                      Exhibit J
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 2 of 134
Lois George                                                                                                       1 (1 - 4)
                                                   Page 1                                                           Page 3
 1   IN THE UNITED STATES DISTRICT COURT NORTHERN            1      IT IS FURTHER STIPULATED AND AGREED that
 2     DISTRICT OF ALABAMA SOUTHERN DIVISION                 2 the signature to and the reading of the
 3     CIVIL ACTION NUMBER 2:16-CV-01443-AKK                 3 deposition by the witness is reserved, the
 4                                                           4 deposition to have the same force and effect as
 5 BLACK WARRIOR RIVERKEEPER, INC.,                          5 if full compliance had been had with all laws and
 6        PLAINTIFF,                                         6 rules of Court relating to the taking of
 7 VS.                                                       7 depositions.
 8 DRUMMOND COMPANY,                                         8      IT IS FURTHER STIPULATED AND AGREED that it
 9        DEFENDANT.                                         9 shall not be necessary for any objections to be
10                                                          10 made by counsel as to any questions, except as to
11                                                          11 form or leading questions, and that counsel for
12                                                          12 the parties may make objections and assign
13                                                          13 grounds at the time of the trial, or at the time
14                                                          14 said deposition is offered in evidence or prior
15                                                          15 thereto.
16                                                          16      IT IS FURTHER STIPULATED AND AGREED that
17                                                          17 notice of filing of this deposition by the
18                                                          18 Commissioner is waived.
19                                                          19      In accordance with Rule 5(d) of Alabama
20                                                          20 Rules of Civil Procedure, as amended, effective
21         DEPOSITION OF LOIS GEORGE                        21 May 15, 1988, I, Donna Winters, am hereby
22          MONDAY, JUNE 25, 2018                           22 delivering to Barry A. Brock, Esquire, the
23           JOB NUMBER 235563                              23 original transcript of the oral testimony taken
                                                   Page 2                                                           Page 4
 1          STIPULATION                                      1   on the 25th day of June, 2018, along with
 2       IT IS STIPULATED AND AGREED by and between          2   exhibits.
 3 the parties through their respective counsel,             3     Please be advised that this is the same and
 4 that the deposition of LOIS GEORGE may be taken           4   not retained by the Court Reporter, nor filed
 5 before Donna Winters, Commissioner and Notary             5   with the Court.
 6 Public, State of Alabama at Large, at the law             6
 7 offices of Southern Environmental Law Center,             7
 8 2829 Second Avenue South, Suite 282, Birmingham,          8
 9 Alabama 35233, on the 25th day of June, 2018              9
10 commencing at 9:50 a.m.                                  10
11 DEPOSITION OF LOIS GEORGE                                11
12                                                          12
13                                                          13
14                                                          14
15                                                          15
16                                                          16
17                                                          17
18                                                          18
19                                                          19
20                                                          20
21                                                          21
22                                                          22
23                                                          23

Freedom Court Reporting, A Veritext Company                                                                 877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 3 of 134
Lois George                                                                                                    2 (5 - 8)
                                                    Page 5                                                    Page 7
 1               EXHIBITS                                     1   PX-28 181 8-26-82 Letter from PELA to Tom Musick
 2   EXHIBIT PG DESCRIPTION                                   2   PX-29 183 12-13-82 Letter from PELA to Doug Cook
 3   PX-1 12 November 17, 2017 PELA Expert Report             3   PX-30 184 12-15-82 Letter from PELA to Doug Cook
 4   PX-2 96 Historic aerial photos and maps                  4   PX-31 186 2-11-83 Letter from PELA to Tom Musick
 5   PX-3 60 Photographs, Bates PELA 27 through 59.           5   PX-32 187 4-22-83 Maxine Rock Disposal Area
 6   PX-4 May 25, 2018 Rebuttal Report                        6   Surface and Groundwater Monitoring
 7   PX-5 CD with pictures (retained by counsel)              7   PX-33 191 7-26-83 Memo from Ronnie Key to Tom
 8   PX-6 63 Figure 1: Location of Monitoring Sites           8   Musick re: ADEM Inspection of Maxine Mine on
 9   PX-7 83 Figure photograph showing ditches                9   Tuesday, July 26, 1983
10   PX-8 45 Testimony provided by Lois George               10   PX-34 194 12-8-83 Letter from D.R. Cook to
11   PX-9 115 12-12-78 Memorandum from Sam Gilbert to        11   Richard Simon
12   Jack McDuff re: Inspection Report Maxine Mine           12   PX-35 196 4-5-84 Maxine Rock Disposal Area
13   PX-10 121 7-5-79 Notice of Violation                    13   Surface and Groundwater Monitoring report by PELA
14   PX-11 123 8-6-79 Letter from PELA to Doug Cook          14   PX-36 202 10-5-84 Maxine Rock Disposal Area
15   re: Maxine Mine - Rock Storage - Discharge              15   Hydrologic and Water Quality Investigations
16   Problem                                                 16   PX-37 208 Order
17   PX-12 127 8-21-79 Letter from PELA to Doug Cook         17   PX-38 209 7-21-92 Letter from ADEM to Clifton
18   re: Maxine Mine - Rock Disposal Area                    18   McRoy re: Maxine Mine NPDES Permit
19   PX-13 128 11-1-79 Letter from D.R. Cook to PELA         19   PX-39 210 7-7-92 Letter from Drummond Company,
20   re: Maxine Mine Geologic and Hydrologic Study           20   Inc. to Dwight Hicks re: NPDES Permit Maxine Mine
21   PX-14 129 11-6-79 Letter from PELA to Doug Cook         21
22   re: detailed progress statement of work                 22
23   PX-15 131 11-16-79 Letter from PELA to Doug Cook        23
                                                    Page 6                                                        Page 8
 1   re: Maxine Mine - Rock Storage Area Study                1              INDEX
 2   PX-16 133 11-16-79 Letter from PELA to Doug Cook         2 EXAMINATION BY: PAGE NUMBER
 3   PX-17 136 1-24-80 Letter from PELA to Doug Cook          3 Mr. Brock              9 - 212
 4   with attached Conclusions                                4
 5   PX-18 140 1-28-80 Letter from PELA to Bruce Smith        5
 6   re: Maxine Mine Rock Storage Study                       6
 7   PX-19 145 2-4-80 Termination of Notice                   7
 8   Violation(s)                                             8
 9   PX-20 146 3-10-80 Letter from PELA to Doug Cook          9
10   PX-21 147 7-30-80 Memorandum For the Record re:         10         A P P E A R A N C E S:
11   Maxine Rock Storage Area Project                        11      SOUTHERN ENVIRONMENTAL LAW CENTER, by
12   PX-22 157 10-2-80 Letter from PELA to Doug Cook         12 Messrs. Barry A. Brock, Keith Johnston, and Ms.
13   PX-23 160 12-30-80 Letter from PELA to Doug Cook        13 Christina Andreen, 2829 Second Avenue South,
14   PX-24 162 January 1981 Assessment of Effect of          14 Suite 282, Birmingham, Alabama 35233, appearing
15   Drainage from the Rock Storage area, Maxine Mine        15 for the Plaintiff. Bbrock@selcal.org
16   PX-25 167 7-30-82 Supplement to Permit                  16 kjohnston@selcal.org
17   Application for Coal Processing Waste Disposal          17      BLACK WARRIOR RIVERKEEPER, by Ms. Eva
18   PX-26 177 7-30-82 Addendum to Alabama By-Products       18 Dillard, 712 37th Street South, Birmingham,
19   Corporation Maxine Mine Supplement to Permit            19 Alabama 35222, appearing for the Plaintiff.
20   Application for Coal Processing Waste Disposal          20      STARNES DAVIS FLORIE, by Mr. Richard E.
21   PX-27 180 PELA Outline Work Elements Proposed for       21 Davis, Seventh Floor, 100 Brookwood Place,
22   Assessment of Hydrologic Conditions of the Capped       22 Birmingham, Alabama 35209, appearing for the
23   Area, Maxine Rock Disposal Area                         23 Defendant. Rdavis@starneslaw.com

Freedom Court Reporting, A Veritext Company                                                              877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 4 of 134
Lois George                                                                                               3 (9 - 12)
                                                      Page 9                                                 Page 11
 1       I, Donna Winters, a Court Reporter of                  1   fact witness, I would say, in this instance. Is
 2   Birmingham, Alabama, acting as Commissioner, and           2   that a fair assessment?
 3   a Notary Public for the State of Alabama at                3   A. Yes, sir.
 4   Large, certify that on this date, as provided by           4        MR. DAVIS: And let me just interject here,
 5   Rule 30 of the Alabama Rules of Civil Procedure,           5   the retention is for Lois's work as an expert
 6   and the foregoing stipulation of counsel, there            6   witness. She is a fact witness, not separately
 7   came before me, LOIS GEORGE, witness in the above          7   retained, but here to talk about any facts as
 8   cause, for oral examination, whereupon the                 8   well. Does that make sense?
 9   following proceedings were had:                            9        MR. BROCK: Understood. And we're going
10                                                             10   to, hopefully, flesh that out some today.
11             LOIS GEORGE,                                    11   Q. I know it may be a little difficult at
12 having been first duly sworn, was examined                  12   times to determine what's in the expert bucket
13 and testified as follows:                                   13   and what's in the fact bucket, but I'm going to
14                                                             14   try to do that, and ask you about all your
15     COURT REPORTER: Usual stipulations?                     15   opinions in your report, and also ask you about
16     MR. DAVIS: She would like to read and                   16   some historical documents and records, and see
17 sign; but otherwise, yes.                                   17   what your recollection is of those events, okay?
18     MR. BROCK: Yes.                                         18   A. Very good. Thank you.
19                                                             19   Q. I'm not doing it to punish you or to go
20 EXAMINATION BY MR. BROCK:                                   20   back through a lot of old documents. It's
21 Q. Good morning. Would you state your full                  21   because we really are interested in some of these
22 name and address for the record, please?                    22   events that happened back in the '80s; and there
23 A. Lois D. George.                                          23   aren't that many people around, we've discovered,
                                             Page 10                                                         Page 12
 1   Q. And your address?                                       1   who have personal knowledge about it, so that's
 2   A. 1141 Mallard Circle, Tuscaloosa, Alabama                2   the reason that we're asking about it, okay?
 3   35405.                                                     3   A. Yes.
 4   Q. Ms. George, my name is Barry Brock. I'm                 4   Q. And I will try not to let it get tedious,
 5   one of the attorneys for Black Warrior                     5   but we do have a lot of documents to go through,
 6   Riverkeeper in this lawsuit that's pending in the          6   so please bear with me on that, okay?
 7   Northern District of Alabama against Drummond              7   A. Will do.
 8   Company, and I understand you've been retained as          8       (Whereupon, Plaintiff's Exhibit Number 1
 9   an expert in that case. Is that correct?                   9   was marked for identification, a copy of which is
10   A. Yes, in part.                                          10   attached to the original of the transcript.)
11   Q. And you say "in part." In what other                   11   Q. Let me show you what I've marked as Exhibit
12   capacity have you been retained?                          12   1 to your deposition, and take your time to look
13   A. I think I've been retained for factual                 13   through that. Is that a complete copy of your
14   information, historical information.                      14   Expert Report in this case?
15   Q. Right. We're going to go through some of               15   A. Yes, it appears to be.
16   that. As I understand, you were actually on the           16   Q. Did you draft this report yourself?
17   site for a period of time in the late '70s and            17   A. Yes, I did.
18   early '80s; is that correct?                              18   Q. Did anyone else at -- I'm going to call
19   A. Yes, sir.                                              19   Lamoreaux & Associates PELA today, is that okay?
20   Q. Your report says 1979 through '84. Is that             20   A. That's great.
21   accurate?                                                 21   Q. Did you pronounce it "PELA" or "PELLA"?
22   A. Yes. Yes, it is.                                       22   A. It's PELA. Pella are the blinds.
23   Q. So actually, you are both an expert and a              23   Q. PELA?
Freedom Court Reporting, A Veritext Company                                                           877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 5 of 134
Lois George                                                                                     4 (13 - 16)
                                             Page 13                                                 Page 15
 1   A. PELA.                                            1   A. No, I did not.
 2   Q. So when I say that, you'll know what I'm         2   Q. How many hours of postgraduate credit did
 3   referring to, I trust?                              3   you earn at The University of Alabama?
 4   A. Yes.                                             4   A. I believe it was 15, but I'm not certain at
 5   Q. You've been at PELA since 1976; is that          5   the moment.
 6   correct?                                            6   Q. Were you in a particular master's degree
 7   A. Yes.                                             7   program?
 8   Q. Did anyone else at PELA work on this with        8   A. No. No.
 9   you?                                                9   Q. How did you get from Buffalo, New York to
10   A. Word processor.                                 10   Tuscaloosa, Alabama?
11   Q. And if you would turn in the report, it has     11   A. At the time I graduated from Fredonia, most
12   a copy of your resume attached as Appendix A.      12   of my colleagues were going into the oil and gas
13   It's right after page 14. Do you see that?         13   industry and moving to somewhere in Texas,
14   A. Yes, sir.                                       14   Louisiana or New York City, for the most part,
15   Q. Is this a current edition of your resume?       15   and I didn't care to do that. I looked into
16   A. Yes.                                            16   research institutes and ended up at the
17   Q. If you would, first, tell us about your         17   Geological Survey of Alabama.
18   educational background, starting with              18   Q. So was that your first job in Alabama?
19   undergraduate.                                     19   A. Yes.
20   A. I have a bachelor's degree in geology from      20   Q. What did you do there?
21   SUNY Fredonia, which is in Upstate New York in     21   A. I was a draftsman and editor, and I worked
22   Buffalo. I actually have a double major in         22   in the mineral resources division at the
23   geology and art.                                   23   Geological Survey.
                                             Page 14                                                 Page 16
 1   Q. What year did you graduate?                      1   Q. How long were you in that position?
 2   A. 1975.                                            2   A. It was about a year.
 3   Q. Are you from New York originally?                3   Q. And then after that, where did you go?
 4   A. Yes, I am.                                       4   A. With P.E. Lamoreaux & Associates.
 5   Q. Is that where you went to high school and        5   Q. On your resume, there are some professional
 6   grew up?                                            6   registrations that are listed, I want to ask you
 7   A. Yes.                                             7   about some of those. The American Institute of
 8   Q. What formal education have you had after         8   Professional Geologists, it indicates you have a
 9   you obtained your geology degree?                   9   certificate number on that. How do you earn that
10   A. I took a number of graduate courses at The      10   certificate?
11   University of Alabama. I've taken specialized      11   A. It was based on five years' experience --
12   training, short courses in various subjects on     12   I'm sorry, I believe it was three years'
13   hydrogeology and field methods and                 13   experience, and written sponsorships from three
14   report-writing. I've also been an instructor on    14   professionals, I believe.
15   some of those aspects, too. I taught several day   15   Q. How long have you had that certificate?
16   classes at The University of Alabama as a          16   A. 35 years.
17   substitute teacher for Dr. Lamoreaux when he was   17   Q. Do you consider yourself to have a
18   part of the faculty, and we've had in-house        18   specialty or a special area of knowledge within
19   training that counts as continuing education       19   the field of geology?
20   also.                                              20   A. Yes, that would cover several areas.
21   Q. Thank you. And we'll go through some of         21   Q. Tell us what those would be.
22   that on your resume. Did you obtain a master's     22   A. I guess first would be coal resources and
23   degree?                                            23   hydrogeology, associated with coal deposits and
Freedom Court Reporting, A Veritext Company                                                   877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 6 of 134
Lois George                                                                                    5 (17 - 20)
                                             Page 17                                                Page 19
 1   coal mining. General environmental issues;         1   did you have to do to attain that license and
 2   geomorphology and air photo interpretation.        2   designation in Florida?
 3   Q. What form of training or experience have        3   A. Essentially the same thing. And the reason
 4   you had with air photo interpretation?             4   there's a little bit of difference in the title
 5   A. Several of the courses in undergraduate         5   is because the states give them a different
 6   school, the professor I had was a                  6   designation.
 7   geomorphologist, and we studied aerial             7   Q. Is it all basically the same process, that
 8   photography and maps by different methods using    8   you need a certain number of years of experience
 9   stereoscopes and different visual aids. Also,      9   and references?
10   when I was at the Geological Survey, I believe    10   A. Yes, it did at the time. I was certified
11   the geologist's name was Jim Drahozal. He was     11   back in the grandfathering phase. Most of these,
12   one of the senior geologists, and his specialty   12   now exams are required for the licensure.
13   was air photo interpretation. I did some          13   Q. I appreciate that clarification. So for
14   projects, really his mappings, and also           14   any of the states that you list, did you have to
15   coordinated some of my efforts with him when I    15   take an exam?
16   started at P.E. Lamoreaux & Associates. We use    16   A. Not for the states; but for the certified
17   aerial photography in a lot of projects.          17   environmental auditor, I took a 40-hour course
18   Q. Okay. It looks like from your resume, that     18   and an examination.
19   you --                                            19   Q. What is a Certified Environmental Auditor
20   A. I'm sorry, I did put together a short          20   or CEA?
21   course on remote sensing that was part of a       21   A. It's a certification that represents a
22   continuing education seminar. I can't remember    22   certain class of capabilities relative to
23   the date now, but it was put together for         23   environmental regulations and processes of
                                             Page 18                                                Page 20
 1   geologists' continuing education, and that was     1   evaluation of properties.
 2   one component of the seminar.                      2   Q. When did you complete that course?
 3   Q. Aerial photo interpretation?                    3   A. I believe it was 1993 or 1994.
 4   A. Remote sensing and aerial photos.               4   Q. And you said you took a written exam?
 5   Q. Your resume indicates that you are a            5   A. Yes.
 6   licensed professional geologist in the state of    6   Q. Was that in Alabama?
 7   Alabama. Is that correct?                          7   A. Yes. The certification is to the National
 8   A. Yes, sir.                                       8   Registry of Environmental Professionals.
 9   Q. And how long have you had that designation?     9   Q. Ms. George, working down your resume here,
10   A. Since the program started. 2002? I'm           10   it indicates that you were the chief of PELA's
11   sorry, I just don't remember the date.            11   coal division from 1978 to 1984. Is that
12   Q. That's okay, as close as you can remember      12   correct?
13   is fine. What does one have to do to become a     13   A. That's correct.
14   licensed professional geologist?                  14   Q. And what were your duties in connection
15   A. In Alabama?                                    15   with being chief of that division?
16   Q. Yes, ma'am.                                    16   A. I think it's pretty well spelled-out in my
17   A. At the time, five years' experience; and,      17   resume, but I guess what's not spelled-out is
18   again, I believe it was three references from     18   report-writing and project management,
19   other professionals.                              19   contracting drillers and other subcontractors;
20   Q. It looks like you list eight other states      20   coordination with the clients and regulatory
21   where you have a similar-type designation. Are    21   authorities, depending on the project.
22   those different in any way? Like, for example,    22   Q. Looking specifically at some of the things
23   Florida, you list professional geologist. What    23   that you listed about midway through the
Freedom Court Reporting, A Veritext Company                                                  877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 7 of 134
Lois George                                                                                      6 (21 - 24)
                                              Page 21                                                 Page 23
 1   paragraph, it says "Sedimentation and water          1   and assisted a couple small mining companies in
 2   quality studies in areas affected by mining." Do     2   the Cahaba coal field; and I'm sorry, I don't
 3   you see that part?                                   3   remember their names either.
 4   A. Yes, sir.                                         4   Q. That was my next question. During this
 5   Q. Can you elaborate on any projects that            5   period 1978 to '84, what mining companies did
 6   you've worked on or that you did work on that        6   PELA perform services for?
 7   would involve that activity?                         7   A. First, I would like to say that we have a
 8   A. Well, the Maxine rock disposal area               8   nondisclosure policy, and I consider all of our
 9   certainly comes to mind, and we did permit a         9   projects confidential; so other than what we're
10   number of underground and surface mines             10   referring to here today, I would rather not go
11   throughout the state of Alabama, and there were a   11   into much detail. I can recount where the mines
12   number of those investigations that included an     12   are, what coal field they're in, and some of the
13   assessment of current activities and monitoring     13   aspects of the work.
14   that was being done by the mining companies. We     14   Q. Well, let me ask you this. Did PELA
15   were also contracted by the Office of Surface       15   perform work for Alabama Byproducts, ABC, at
16   Mining to do a project in Tennessee, I believe it   16   mines other than Maxine?
17   was the White something Watershed. It covered a     17   A. Yes.
18   large area, and we were contracted by the Office    18   Q. On how many occasions?
19   of Surface Mining to investigate potential          19   A. Occasions?
20   pollution to surface water and groundwater as a     20   Q. Yes. How many mines, however you want to
21   result of mining, coal mining.                      21   define it, how many projects?
22   Q. Was that at one mine site in Tennessee, or       22   A. I can't tell you how many projects, because
23   multiple?                                           23   there were different aspects of work we were
                                              Page 22                                                 Page 24
 1   A. I believe it covered multiple mine sites.         1   doing, but we did work in permitting at all of
 2   Q. So as to this sedimentation and water             2   their mines.
 3   quality studies, can you remember the names of       3   Q. Roughly, what would that number be?
 4   any mine sites in Alabama, other than Maxine,        4   A. Six, six mines.
 5   where you performed that type of work?               5   Q. During that same time period, did PELA
 6   A. Knob Mine, Bankhead, Chetopa. I believe           6   perform services for Drummond Company at any of
 7   there were some in eastern Walker County that        7   its mines?
 8   were associated with Cobb Coal Mining. They had      8   A. No, we did not.
 9   a number of mines; but, I'm sorry, I don't           9   Q. Other than this case involving Maxine, has
10   remember the name of the specific mine. That's      10   PELA worked for Drummond before?
11   all the names I can think of right now.             11   A. I believe we did some geophysical logging
12   Q. Okay. Very good, thank you. You also list        12   in the Kellerman area. That's all the work we
13   geologic and hydraulic studies for mine             13   did directly for Drummond.
14   permitting and operating requirements. Can you      14   Q. Can you spell that?
15   recall any mines where you did that type work,      15   A. Kellerman?
16   other than the Maxine Mine?                         16   Q. Yes.
17   A. I don't remember all their names, but there      17   A. K-E-L-L-E-R-M-A-N. It's in the Brookwood
18   were a number of companies that we did work for     18   area.
19   that had multiple surface mines and underground     19   Q. What year would that have been?
20   mines. I believe we permitted -- assisted in        20   A. Probably sometime in the 1980s.
21   permitting eleven underground mines, and I think    21   Q. During this time period we're looking at,
22   it was 22 surface mines. We also worked for the     22   '78 to '84, did PELA do work for other mining
23   Small Operators Assistance Program in Alabama,      23   entities or companies that were affiliated with
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 8 of 134
Lois George                                                                                      7 (25 - 28)
                                              Page 25                                                  Page 27
 1   Drummond Company?                                    1   review of other consultants' reports.
 2   A. Not that I know of, no.                           2   Q. Are you currently working on any matters,
 3   Q. One of the things that you list that you          3   other than Maxine, that involve coal mining or
 4   did during that time frame was water quality and     4   coal waste?
 5   environmental assessment of surface and              5   A. Yes, I am.
 6   underground mine areas. Other than the Maxine        6   Q. How many?
 7   project, can you list any others where you did       7   A. Currently on the books, I believe it's just
 8   that kind of work?                                   8   one.
 9   A. All the mines where we helped with the            9   Q. Is that a litigation case or something
10   permit applications; we installed monitoring        10   else?
11   wells, and gathered information from the mining     11   A. No, it's not in litigation.
12   companies about the geologic setting, and also      12   Q. Now, you perform litigation services in
13   did extensive well inventory, probably thousands    13   addition to the other things that PELA does,
14   of wells throughout the Warrior basin and some in   14   right?
15   the Cahaba coal field.                              15   A. Yes.
16   Q. And would that have included all the six         16   Q. How long have you been providing litigation
17   ABC mines?                                          17   support?
18   A. Yes.                                             18   A. I think primarily from the mid '90s, but
19   Q. You also list supervision and coordination       19   there were a few occasions before that. You're
20   of mine reclamation. First, let me ask, was PELA    20   asking me personally?
21   involved in the reclamation work at the Maxine      21   Q. Yes, ma'am.
22   Mine?                                               22   A. That's my answer.
23   A. Yes, I would say we were.                        23   Q. What percentage of your time currently do
                                              Page 26                                                  Page 28
 1   Q. We'll get into more detail about that a           1   you devote to litigation support, compared to
 2   little later. Can you tell us any other mines        2   other work, as a percentage, if you know?
 3   that you worked on at PELA on reclamation            3   A. Currently?
 4   aspects?                                             4   Q. Yes, ma'am.
 5   A. I think there were a couple of the other          5   A. A lot. Excuse me, I didn't mean to be
 6   ABC mines, particularly the surface mine, and        6   flip.
 7   possibly three or four mines in the western part     7   Q. No, you're fine.
 8   of the coal field for another coal company.          8   A. Can we put some time frame on "currently"?
 9   Q. Your present position at PELA is vice             9   Q. Well, by that, I mean open matters that
10   president of environment and ecology; is that       10   you're working on right now.
11   correct?                                            11   A. I guess of all the projects that might be
12   A. Yes, sir.                                        12   open, probably less than 30 percent. The time
13   Q. How long have you had that position?             13   spent on those obviously is going to vary
14   A. Since the early '90s.                            14   depending on the scheduling.
15   Q. And you work in the Tuscaloosa office?           15   Q. Less than 30 percent if you look at the
16   A. Yes.                                             16   number of open files; but if you look at the time
17   Q. What sort of projects do you primarily work      17   that is spent, it would be greater than that?
18   on now?                                             18   A. Yes, sir.
19   A. Groundwater contamination and remediation;       19   Q. What percentage, roughly, would it be, in
20   environmental assessments; peer reviews; resource   20   terms of time, your time?
21   evaluations.                                        21   A. Well, if we look at the last several days,
22   Q. What do you mean by "peer reviews"?              22   it would be a significant amount of time
23   A. Providing consultation to clients regarding      23   preparing for litigation, 85 to 90 percent; but
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 9 of 134
Lois George                                                                                          8 (29 - 32)
                                             Page 29                                                         Page 31
 1   if we spread that out over six months to a year,    1   A. I do not, sorry.
 2   it would probably bump down to 35 or 40 percent.    2   Q. What other materials have you reviewed in
 3   Q. So 35 to 40 percent of your time over the        3   connection with generating your report in this
 4   last calendar year, is what you're saying?          4   case? And if you would like to refer to your
 5   A. Yes, I think that's a fair estimate.             5   references in your report, you're welcome to.
 6   Q. When you work on litigation matters, do you      6   A. Okay, thank you. I did review the expert
 7   bill by the hour?                                   7   report submitted on behalf of the plaintiffs.
 8   A. Yes, sir.                                        8   That would include Mr. Brown's report,
 9   Q. And what is your standard rate?                  9   Mr. Johnson's report. I did look through the
10   A. $175 an hour.                                   10   Sulkin report; Professor Dimova's report; I did
11   Q. Is that what you're billing in this case?       11   review several references that are included in my
12   A. Yes.                                            12   expert report and my rebuttal report.
13   Q. Ms. George, when were you retained to be an     13   Q. If you would, turn to page 12 of your
14   expert in this case?                               14   report.
15   A. Last fall sometime.                             15   A. I'm there.
16   Q. Fall of 2017?                                   16   Q. Where the references start, this is Section
17   A. '17.                                            17   8, correct?
18   Q. Have you reviewed the Complaint?                18   A. Yes, sir.
19   A. I believe so, yes.                              19   Q. Did you put this list together?
20   Q. Do you know, one way or the other?              20   A. I did.
21   A. Yes, I have. It would have been early on.       21   Q. In several places there are documents that
22   Q. Have you reviewed the Notice of Intent to       22   are marked DRUM, D-R-U-M, and then a number after
23   Sue letter issued by Riverkeeper?                  23   them which is the Bates number that we've used
                                             Page 30                                                         Page 32
 1   A. Yes, I have.                                     1   for discovery in this case. Do you see those?
 2   Q. Have you reviewed any of the depositions in      2   A. Yes, sir.
 3   the case?                                           3   Q. Did you review those Drummond Bates-stamped
 4   A. I thumbed through a couple, yes.                 4   documents?
 5   Q. Which depositions were those?                    5   A. You did.
 6   A. Mr. Hicks and Mr. Muncher.                       6   Q. How were those documents provided to you?
 7   Q. Any others?                                      7   A. Either e-mail or a thumb drive,
 8   A. No.                                              8   electronically.
 9   Q. Did you review the exhibits to those             9   Q. Who provided them to you?
10   depositions?                                       10   A. Richard did, Richard Davis.
11   A. I thumbed through them, yes.                    11   Q. Richard Davis?
12   Q. Did you meet with Mr. Hicks or Mr. Muncher?     12   A. Yes.
13   A. No, sir.                                        13   Q. Have you worked on cases before with
14   Q. Did you know Mr. Hicks prior to being           14   Mr. Davis?
15   retained in this case?                             15   A. Yes, I have.
16   A. I think we've met on several occasions in       16   Q. What cases are those?
17   the past; and, yes, I know of him.                 17   A. Let's see. State of Alabama versus Alabama
18   Q. Have you worked with him?                       18   Wood Treating. I'm trying to recall the
19   A. No, I have not.                                 19   citation. University of Montevallo versus
20   Q. Did you know Mr. Muncher before you were        20   somebody Tennessee; Woods Knoll.
21   retained in this case?                             21   Q. I'm sorry, could you say that one again?
22   A. No, I did not, do not.                          22   A. Woods Knoll, K-N-O-L-L, and I'm sure I'm
23   Q. You said you do now?                            23   not giving the entire citation, versus the City
Freedom Court Reporting, A Veritext Company                                                       877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 10 of 134
Lois George                                                                                    9 (33 - 36)
                                             Page 33                                                 Page 35
 1   of Lincoln. I think those are the cases.            1   includes these matters, but you're welcome to
 2   Q. The first case, again, you said State of         2   take a look.
 3   Alabama versus who or whom?                         3   A. If you have dates on some of these, it
 4   A. Alabama Wood Treating.                           4   would be helpful to me.
 5   Q. What year would that have been when you          5   Q. Sure.
 6   worked on that?                                     6       THE WITNESS: Thank you for answering the
 7   A. 2009-2010.                                       7   question.
 8   Q. Did you give a deposition in that case?          8   Q. Ms. George, are any of the cases, are
 9   A. Yes, I did.                                      9   either of the two that you've been testifying
10   Q. Did you testify at a trial or hearing?          10   about listed on page 11 of your report?
11   A. No, I did not.                                  11   A. Yes, the first one, Woods Knoll versus the
12   Q. Did you do an expert report?                    12   City of Lincoln.
13   A. Yes.                                            13   Q. But the State of Alabama versus Wood
14   Q. Generally, what was the subject matter of       14   Treating and the University of Montevallo cases
15   your expert report in the case?                    15   are not listed here; is that right?
16   A. The case had to do with the                     16   A. That's right.
17   responsibility -- I guess in a nutshell, the       17   Q. How many years does this list of previous
18   responsibility of contamination of waterfront      18   cases go back, do you know?
19   property in the upper Mobile Bay, Mobile River.    19   A. The oldest date I have is 2011 for
20   Q. And who were you retained by?                   20   depositions, but typically five years.
21   A. I think it was Starnes.                         21   Q. In the University of Montevallo case, did
22   Q. Who was Starnes' client?                        22   you give a deposition?
23   A. Alabama Wood Treating. They also had            23   A. Yes, I did.
                                             Page 34                                                 Page 36
 1   another corporate name, but I don't recall it at    1   Q. Did you do an expert report?
 2   the moment. I'm sorry.                              2   A. Yes, I did.
 3   Q. And was Alabama Wood Treating accused of         3   Q. And did the case go to trial?
 4   polluting the property that was at issue in the     4   A. It did.
 5   case?                                               5   Q. Did you testify at trial?
 6   A. It was alleged they were one of the              6   A. I did.
 7   responsible parties for creosote contamination.     7   Q. Was it in state court or federal?
 8   Q. What was the outcome of the case?                8   A. I don't know.
 9   A. I believe it settled.                            9   Q. Was it in Shelby County?
10   Q. In the University of Montevallo case, what      10   A. Yes.
11   year or years did you work on that one?            11   Q. And generally, what was the nature of your
12   A. Late 1990s.                                     12   expert opinion in that case?
13       MR. DAVIS: Are you sure about that?            13   A. That a proposed mining operation would
14       THE WITNESS: No, I'm not, to be honest.        14   irreparably harm the waterways in Ebenezer
15       MR. DAVIS: Can I help on the date?             15   Spring, which was part of Ebenezer Preserve,
16       MR. BROCK: Sure.                               16   property belonging to the University of
17       MR. DAVIS: That case tried in 2006.            17   Montevallo.
18       THE WITNESS: Oh, wow.                          18   Q. Were you retained by Starnes?
19   A. If I may refer to this, I believe there's       19   A. I worked with --
20   some information on that.                          20   Q. Was it a different law firm?
21   Q. Yes, I was looking for that. In Section 7,      21   A. It may be, yes.
22   there's some prior litigation, but I think it      22   Q. That's fine if you don't remember the name
23   only goes back a few years. I don't think it       23   of the firm. Did Mr. Davis work at the firm?
Freedom Court Reporting, A Veritext Company                                                  877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 11 of 134
Lois George                                                                                   10 (37 - 40)
                                             Page 37                                                 Page 39
 1   A. Yes.                                             1   Q. What was the nature of your opinion in that
 2   Q. And you worked with him on that case?            2   case?
 3   A. I did.                                           3   A. Soil and groundwater contamination and
 4   Q. The Woods Knoll case is the first one            4   vapors that the church was experiencing on their
 5   listed here, and it indicates you gave a            5   property were attributed to the adjacent tank
 6   deposition and courtroom testimony in that case,    6   farm and their pipeline.
 7   right?                                              7   Q. And did you conclude in that case that
 8   A. That's correct.                                  8   there was contamination?
 9   Q. And what was the general nature of your          9   A. Yes.
10   opinion that you rendered in that case?            10   Q. What was the outcome of that case?
11   A. That the activities of the City of Lincoln      11   A. I believe that one settled.
12   did not cause sedimentation or water runoff        12   Q. And the next item, Skelton, were you
13   damages to the adjoining property, Woods Knoll.    13   retained by the plaintiff or defendant?
14   Q. Do you have copies of these depositions?        14   A. The defendant.
15   A. I may. I may have electronic copies.            15   Q. And what was the general nature of your
16   Q. Specifically, the Woods Knoll deposition?       16   testimony?
17   A. I'm not sure about that one, 2011.              17   A. That the defendant, Mr. Cunningham, the
18   Q. Do you have a copy of your deposition in        18   activities on his property adjacent to the
19   the University of Montevallo case?                 19   Warrior River were not causing adverse erosion
20   A. I'm not sure about that. We've moved            20   effects to his neighboring property.
21   several times, and archives have been purged for   21   Q. What activity was he engaged in?
22   older projects. We may have electronic copies.     22   A. It was a private residence.
23   Q. Do you keep copies of your expert reports       23   Q. Was he just clearing it to build it?
                                             Page 38                                                 Page 40
 1   in a particular place?                              1   A. He had cleared it, built, and maintained
 2   A. I do.                                            2   it.
 3   Q. Do you have expert reports for all of the        3   Q. With regard to that case, you indicate "did
 4   cases that are listed on page 11 of your report     4   a technical report." Is that something different
 5   in this case?                                       5   than an expert report, or is that just another
 6   A. Yes, I believe I do.                             6   terminology for an expert report?
 7   Q. In the second item on this list, the Rodger      7   A. It's just another term for an expert
 8   Morrison versus Harvest Monrovia case, can you      8   report.
 9   tell us what generally your opinion that you        9   Q. In the City of Hattiesburg case, were you
10   rendered was in that case?                         10   retained by the defendant or the plaintiff?
11   A. Yes, I can. The Harvest Monrovia and Fire       11   A. Plaintiff.
12   Protection Authority is also the public water      12   Q. And you did a report and a deposition,
13   supply of the Harvest Monrovia area. They're       13   right?
14   pumping out of a Karst aquifer, and the opinion    14   A. Yes, sir.
15   was that the withdrawal of the groundwater from    15   Q. But no trial testimony?
16   the formation was not having an impact on the      16   A. No, sir.
17   property of Rodger Morrison.                       17   Q. What was the nature of your opinion in the
18   Q. So were you retained by the defendant in        18   Hattiesburg case?
19   the case, or a defendant?                          19   A. The case was related to the historical use
20   A. The defendant, yes.                             20   and current ongoing activities of remediation at
21   Q. In the next listed case, Mount Canaan, were     21   the Hercules site in the outskirts of
22   you retained by the plaintiff or the defendant?    22   Hattiesburg. My opinion related to certain areas
23   A. The plaintiff.                                  23   of the site that had not had attention, needed
Freedom Court Reporting, A Veritext Company                                                   877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 12 of 134
Lois George                                                                                            11 (41 - 44)
                                                       Page 41                                                Page 43
 1   further attention, and I developed cost estimates            1   A. By the plaintiff.
 2   for potential remedial activities associated with            2   Q. What was the nature of your testimony in
 3   that.                                                        3   that case?
 4   Q. What sort of facility is Hercules?                        4   A. The Village of Sauk Village was
 5   A. They produced a wide range of different                   5   experiencing groundwater contamination in their
 6   chemicals at that facility, pesticides and other             6   public water supply, and it was my opinion that
 7   organic constituents that I don't recall the list            7   it was likely that the Roadway Express was the
 8   of the names of the constituents.                            8   source of the contamination.
 9   Q. Did you give an opinion about the existence               9   Q. What is Roadway Express?
10   of the contamination, or just the costs                     10   A. At this location of Sauk Village, it was a
11   associated with remediation?                                11   significantly large trucking transfer location.
12   A. My opinion did include the existence of                  12   Q. I recall in that case, if I'm correct, that
13   contamination.                                              13   part of the defense was that there were some
14   Q. Did the estimate for remediation include                 14   landfills that were responsible for the
15   any excavation of soil or other material?                   15   contamination. Is that the right case?
16   A. Yes, it did, at specific areas on-site.                  16   A. Yes. Yes.
17   Q. What other components did the remedial cost              17   Q. And what was the ultimate outcome of that
18   estimate include?                                           18   case, if you know?
19   A. Continued recovery of DNPL, Dense                        19   A. The jury found for Roadway.
20   Non-aqueous Phase Liquids; groundwater treatment;           20   Q. And you testified at trial in 2017?
21   closure of the site.                                        21   A. I did.
22   Q. And what was the resolution of that case,                22   Q. Was this the first case that you had worked
23   if you know?                                                23   on in the state of Illinois?
                                                       Page 42                                                Page 44
 1   A. It was settled.                                           1   A. Yes. In Illinois, yes.
 2   Q. Is the facility still in operation?                       2   Q. Did you feel that you were qualified to
 3   A. The remediation, I believe, is still                      3   give an opinion in a lawsuit in the state of
 4   ongoing. The facility has been closed for quite              4   Illinois?
 5   some time.                                                   5   A. Yes.
 6   Q. This case was in Mississippi, according to                6   Q. Did the Court accept you as an expert in
 7   this document?                                               7   that case?
 8   A. Yes, sir.                                                 8   A. Yes.
 9   Q. Was this the first time that you had worked               9   Q. Did the fact that it was the first time you
10   in Mississippi?                                             10   had worked in Illinois impede or impact your
11   A. No.                                                      11   opinion in any way?
12   Q. You've had other cases where you gave                    12   A. No, sir.
13   expert reports and testimony in Mississippi?                13   Q. And the last case, the first plaintiff is
14   When I say "worked," I mean on a lawsuit in                 14   Janice Potter. Were you retained by the
15   litigation support, to clarify.                             15   plaintiff or defendant in that case?
16   A. No, that was not the first time.                         16   A. Plaintiffs.
17   Q. The next case, Village of Sauk Village, it               17   Q. It looks like you did a report and a
18   says, and that was in Illinois, correct?                    18   deposition, correct?
19   A. Yes, sir.                                                19   A. Yes.
20   Q. Is that near Chicago?                                    20   Q. What was the nature of your testimony in
21   A. Yes, it is.                                              21   that case?
22   Q. Were you retained by the plaintiff or the                22   A. The case had to do with the application of
23   defendant?                                                  23   pesticides at individual properties and a nearby
Freedom Court Reporting, A Veritext Company                                                            877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 13 of 134
Lois George                                                                                     12 (45 - 48)
                                              Page 45                                                  Page 47
 1   country club.                                        1   attempted to offer in those cases?
 2   Q. This was in the state of Florida; is that         2   A. No, sir.
 3   correct?                                             3   Q. Have you ever had an instance where your
 4   A. Yes.                                              4   testimony was excluded?
 5   Q. Is this case ongoing?                             5   A. No, I haven't.
 6   A. I did testify in court also.                      6   Q. Have you ever had an instance where a court
 7   Q. Okay. So it might be updated?                     7   declined to recognize you as an expert in the
 8   A. That would be on the updated.                     8   case?
 9        (Whereupon, Plaintiff's Exhibit Number 8        9   A. No.
10   was marked for identification, a copy of which is   10   Q. If you would turn to page 9 in your report,
11   attached to the original of the transcript.)        11   please.
12   Q. Let me go ahead and hand you what's Exhibit      12   A. (Witness complies.)
13   8, which Mr. Davis gave me this morning, which I    13   Q. This section is titled Qualifications. Do
14   understand is an updated version of this previous   14   you see that?
15   case listing. Is that accurate?                     15   A. I do.
16   A. Yes.                                             16   Q. And did you draft this?
17   Q. And I see it has some additional                 17   A. I did.
18   information about the Potter case that indicates    18   Q. In the last paragraph of this description
19   you testified at trial in February of this year;    19   of your qualifications, it mentions that you have
20   is that correct?                                    20   done coal market studies?
21   A. Yes, sir.                                        21   A. Yes.
22   Q. Has there been a verdict in that case?           22   Q. Can you tell us what that is?
23   A. The trial -- yes, there has. The trial was       23   A. Yes. We were retained several years in a
                                              Page 46                                                  Page 48
 1   for class certification, and it was denied.          1   row, and ultimately for use by the Public Service
 2   Q. Did you testify about class certification?        2   Commission. I will talk about this one, since it
 3   A. I testified about the hydrogeologic setting       3   is public information.
 4   and contamination of the proposed class area.        4   Q. Let me stop you, though. The Public
 5   Q. Is the case still going on, even though           5   Service Commission of Alabama?
 6   they didn't get class certification, or has it       6   A. Yes, sir.
 7   ended, or do you know?                               7   Q. Okay, go ahead.
 8   A. I'm not certain.                                  8   A. We put together a report based on
 9   Q. So my review of these two documents, it           9   interviews of, as I recall, surface mining
10   looks like that additional information about the    10   operators and underground mining operators, and
11   Potter case is there, and there's another --        11   got information about how much they were mining.
12   wait. It looks like all the other cases are the     12   And it focused mostly on their cost of money and
13   same; is that correct?                              13   their sales cost for either long-term or
14   A. Yes, sir, that's correct.                        14   short-term contracts that they had with their
15   Q. If I'm missing any additional information        15   customers. I believe the Public Service
16   on here, let me know. All I see is the              16   Commission used it for aspects of looking at the
17   information at the end of the description of the    17   Alabama Power Company.
18   Potter case.                                        18   Q. Is there a written report or series of
19   A. Yes, that was added to update it, since          19   reports that came out of that work?
20   that occurred after preparing the expert report.    20   A. There were, but I don't believe we have
21   Q. Okay, I understand. Thank you.                   21   record of them anymore.
22   Ms. George, in any of the cases listed in Section   22   Q. What years are we talking about here?
23   7, was any of your testimony excluded that you      23   A. Right around 1980, or '79 to '82 or '83,
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 14 of 134
Lois George                                                                                          13 (49 - 52)
                                                    Page 49                                                 Page 51
 1   something like that.                                      1   programs for other types of properties besides
 2   Q. If I understood your testimony correctly,              2   underground storage tanks. And this, again, was
 3   the Public Service Commission retained and                3   a committee group that was led by an ADEM
 4   compensated PELA for this work?                           4   consultant that ultimately has put together a
 5   A. I'm not sure if it was the Public Service              5   computer program that many, many consultants and
 6   Commission or Alabama Power Company.                      6   states use for calculating or determining risk.
 7   Q. It's kind of hard to tell the difference               7   Q. Who is the consultant?
 8   sometimes, isn't it?                                      8   A. It's called the RAM Group out of Texas.
 9   A. It might have been why we were doing it. I             9   Q. R-A-M?
10   don't know.                                              10   A. Yes, sir. It's an acronym. I don't recall
11   Q. Ms. George, if you need to take a break at            11   what their --
12   any time, I should have told you that, you               12   Q. What is the software program called?
13   probably know that, you've done a lot of                 13   A. RAM Version 4 right now.
14   depositions; but if at any time you need to take         14   Q. And what is it used to assess the risk of?
15   a break, just let me know.                               15   A. The risk of exposure from all the chemicals
16   A. Thank you. We're good.                                16   that are listed on the regional screening level
17   Q. In the Qualifications section, you also               17   list put out by EPA every six months, and it's
18   mention that you were a member of ADEM's                 18   also used as a forward calculation to determine
19   Groundwater Program Advisory Committee. Can you          19   potential clean-up levels of those constituents
20   tell me what that work entailed?                         20   also.
21   A. Yes. There was a committee of                         21   Q. Do you use that software in your work?
22   professionals, engineers and geologists,                 22   A. Yes, on some projects. I don't personally,
23   environmental scientists that was pulled together        23   our firm does.
                                                    Page 50                                                 Page 52
 1   by, I believe it was Sonya Massey or Whitt Slagle         1   Q. Has it been used on the Maxine project?
 2   at ADEM in the groundwater division. We met on            2   A. No, sir.
 3   numerous occasions regarding their current and            3   Q. Would it be applicable?
 4   potential revisions of their program aspects.             4   A. No, sir.
 5   Q. What years was that?                                   5   Q. Coming back to the References section on
 6   A. Early 1990s.                                           6   page 12 of your report, if you could turn to that
 7   Q. Did that committee sponsor any particular              7   page, please.
 8   administrative or legislative initiatives or              8   A. (Witness complies.)
 9   action?                                                   9   Q. On the items that have the Drummond Bates
10   A. Not that I recall that specifically came              10   stamp numbers, were those individual documents
11   out of the committee. I think it was more                11   provided to you, or did you cull those documents
12   advisement to the internal operations.                   12   out of a larger set of Drummond documents?
13   Q. At ADEM? The internal operations at ADEM?             13   A. I'm sorry, I misspoke when I answered your
14   A. At ADEM, the groundwater branch.                      14   question earlier. I believe that I used these on
15   Q. You also list the risk-based corrective               15   the basis of reviewing the appendices of
16   action or RBCA work group. Can you tell me what          16   Mr. Brown's report.
17   that is or was?                                          17   Q. Okay. So if I'm understanding you --
18   A. Yes. It is defunct now, but this also was             18   A. So I did cull them from a compendium of
19   in probably the early 2000s. The Underground             19   documents.
20   Storage Tank Program had already established a           20   Q. Just to make sure I understand, attached to
21   risk-based corrective action program or system,          21   Mr. Brown's report was a stack of Drummond
22   and ADEM and many other states at the time were          22   Bates-stamped documents, right?
23   looking at how to put together their risk                23   A. That's correct.
Freedom Court Reporting, A Veritext Company                                                         877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 15 of 134
Lois George                                                                                    14 (53 - 56)
                                              Page 53                                                 Page 55
 1   Q. And you looked at those?                         1   been retained to do in this case?
 2   A. Yes.                                             2   A. To view documents and provide
 3   Q. Are you saying that all of the documents         3   interpretation and expert opinion, and also
 4   listed in your reference list came out of that      4   provide information and review about our historic
 5   group of documents that were attached to Mr.        5   project. Projects, excuse me.
 6   Brown's report?                                     6       MR. DAVIS: I'm sorry. If it helps, I've
 7   A. I believe so, yes.                               7   said this before, I'm happy to produce every
 8   Q. And the reason I ask is, in this case in         8   engagement letter with any of our consultants, as
 9   the document production, we're up to about 4,000    9   long as there's reciprocity.
10   pages of documents. I just didn't know if you      10       MR. BROCK: Okay, we can talk about that.
11   went through all of the Drummond document          11   I was just going to ask those questions and
12   production to cull down to these documents, or     12   see --
13   not. Did you do that?                              13       MR. DAVIS: That's fine. I just wanted to
14   A. I did not, not at this time of preparation      14   make sure that you understood I'm happy to give
15   of the expert report.                              15   them to you.
16   Q. So your testimony today is, you believe all     16   Q. Are all of the opinions that you have
17   of these Drummond documents came from Brown's      17   developed pursuant to that retention by defense
18   report?                                            18   counsel in this case, set forth in the two
19   A. Yes, sir.                                       19   reports that you've submitted?
20   Q. If you would, please turn to page 10 of         20   A. Yes.
21   your report titled Compensation. Are you with      21   Q. And you've done a lot of expert reports,
22   me?                                                22   and you understand the way the process works, is
23   A. Yes, sir.                                       23   that the rules require you to set forth your
                                              Page 54                                                 Page 56
 1   Q. Are the rates shown here what you are            1   opinions in writing in the report, right?
 2   billing the Starnes firm for work in this case?     2   A. Yes.
 3   A. Yes, sir.                                        3   Q. And you've done so?
 4   Q. Do you have a written retainer agreement         4   A. Yes.
 5   with the Starnes firm?                              5   Q. Have you submitted invoices for your work
 6   A. I believe so, yes.                               6   in the case?
 7   Q. Is it a contract-type document or a letter?      7   A. Yes.
 8   A. Just a letter.                                   8   Q. And are those based on your hourly rate
 9   Q. Did you counter-sign it and accept the           9   times the number of hours you've worked?
10   terms as are set out in the letter, or what does   10   A. Yes, and it would also include support
11   the document look like? How is it formatted?       11   staff and expenses.
12   A. I'm not sure. Just a brief letter.              12   Q. What support staff have been involved in
13   Q. Does it set out a scope of work for PELA in     13   this case?
14   this case?                                         14   A. Primarily, the word processor.
15   A. No, sir.                                        15   Q. No technical staff?
16   Q. Does it describe what it is that PELA has       16   A. Yes. A limited number of hours, yes.
17   been retained to do?                               17   Q. Who would that be?
18   A. No, sir.                                        18   A. Dan Green.
19   Q. Other than the hourly rate, does it have        19   Q. What work did he perform?
20   any instruction about the work PELA is supposed    20   A. He pulled some reference documents for me
21   to do or not do in the case?                       21   and also just discussion of some of the aspects
22   A. No.                                             22   of Mr. Brown's volumetrics. I believe that's
23   Q. What is your understanding of what PELA has     23   all.
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 16 of 134
Lois George                                                                                     15 (57 - 60)
                                              Page 57                                                  Page 59
 1   Q. What is Mr. Green's area of expertise?            1   Q. How recently was that?
 2   A. He's a geologist. He's our chief of               2   A. It was on June 7th.
 3   operations.                                          3   Q. Of this year?
 4   Q. Through the date of today's deposition, how       4   A. Yes, sir.
 5   many hours has PELA billed for its work on this      5   Q. Who accompanied you on that trip?
 6   case?                                                6   A. Mr. Davis; Leslie Noble; an associate with
 7   A. I don't know.                                     7   Mr. Davis's firm; and Tom Simpson. There was one
 8   Q. Have you seen bills that contain the number       8   other person. Her name will come to me and I'll
 9   of hours?                                            9   give it to you later, if I may.
10   A. I have.                                          10   Q. Who was she affiliated with?
11   Q. Do you have any reasonable estimate you can      11   A. I believe she's with Tuscaloosa Testing, or
12   provide?                                            12   retired, I'm not positive.
13   A. No. No, I don't.                                 13   Q. Generally, what all did you view when you
14   Q. Do you know how many hours were invoiced         14   made that site visit on June 7th?
15   for preparation of your first report?               15   A. What I would refer to would be the upper
16   A. Not without looking, no, I don't.                16   pond and the lower pond; the basin that was
17   Q. Do you have any estimate?                        17   constructed as part of the drainage ditch system
18   A. It certainly would be just an estimate. 60       18   in the 1980s; portions of the drainage ditch
19   hours, 40 hours, somewhere in that realm.           19   system, the cross-over; and the pine forest that
20   Q. What about with regard to your rebuttal          20   occupies the majority of the rock disposal area
21   report, what would your best estimate be of how     21   now.
22   many hours PELA had invested in that?               22   Q. Did you do this on foot?
23   A. I'd really rather not just give a                23   A. Yes, sir.
                                              Page 58                                                  Page 60
 1   guesstimate at this time.                            1   Q. Did you go in by vehicle or boat?
 2   Q. Yes, I don't want you to make a wild guess,       2   A. Vehicle.
 3   but if you have a reasonable estimate --             3   Q. Did you keep any field notes from that
 4   A. I don't.                                          4   visit?
 5   Q. At the time you prepared your initial             5   A. No, I did not.
 6   report, the date on the front, it was submitted      6   Q. Did you take any photographs?
 7   November 17, 2017 --                                 7   A. I did take photographs, some.
 8   A. Yes, sir.                                         8   Q. It's a little bit out of order, I
 9   Q. -- had you made a visit to the Maxine Mine        9   apologize. I try to be organized and mark them
10   site?                                               10   in advance, and I should have known better,
11   A. Not recently, no.                                11   because I never stay in the same order.
12   Q. As of the date you submitted this report in      12       (Whereupon, Plaintiff's Exhibit Number 3
13   2017, what was the most recent trip to the mine     13   was marked for identification, a copy of which is
14   site that you had made?                             14   attached to the original of the transcript.)
15   A. Likely in the mid '80s.                          15   Q. Let me show you what I've marked Exhibit 3,
16   Q. Same question with the rebuttal report, did      16   which is a stack of photographs that Mr. Davis
17   you make a visit to the mine between the time you   17   has produced to us. For the record, these are
18   submitted the first report and the rebuttal         18   stamped PELA 27 through 59.
19   report?                                             19   A. Yes, sir.
20   A. No, I did not.                                   20   Q. Are these photos that you took on the mine
21   Q. Have you recently made a visit to the mine       21   site visit on June 7th?
22   site?                                               22   A. I haven't looked at each and every one,
23   A. Yes, I have.                                     23   but, yes, they do look like it.
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 17 of 134
Lois George                                                                                    16 (61 - 64)
                                             Page 61                                                  Page 63
 1   Q. Take your time and do that. We just need         1       (Whereupon, Plaintiff's Exhibit Number 6
 2   to be accurate for the record, make sure we         2   was marked for identification, a copy of which is
 3   didn't sneak one in there on you.                   3   attached to the original of the transcript.)
 4   A. Okay. (Witness complies.)                        4   Q. I'm going to go ahead and show you this
 5         (Whereupon, at this time a short break        5   exhibit, too, Plaintiff's Exhibit 6, because we
 6   was taken.)                                         6   might want to refer to it going through these
 7   Q. Ms. George, did you have an opportunity to       7   photographs.
 8   look at those photographs?                          8   A. Yes, sir.
 9   A. I did. If I may, I told you if I                 9   Q. Have you seen this figure before?
10   remembered the other individual's name, I would    10   A. Yes, I have.
11   bring it to your attention. It's Cindy             11   Q. Did you prepare this?
12   House-Pearson. I remembered it before I got        12   A. Yes, I did.
13   outside of your door.                              13   Q. Do you know the year that this was
14   Q. And she was with who?                           14   prepared? Because I don't see a year on it.
15   A. I believe she's with TTL or she has             15   A. I can't give you a specific date, because I
16   retired. I'm not positive.                         16   believe it was used in a number of progress
17   Q. And that's the testing lab in Tuscaloosa?       17   reports, and it would be in the early '80s, '82,
18   A. Yes, they do have a component that's a          18   '83, to the best of my recollection.
19   testing lab.                                       19   Q. That seems to be everybody's best
20   Q. Let's talk a little bit about some of these     20   recollection, but I just thought maybe because
21   photos. Did you take these yourself?               21   you're the author of it, you might have a more
22   A. I did.                                          22   precise recollection. I mean, I know it was a
23   Q. On the first one, number 27, what do you        23   long time ago.
                                             Page 62                                                  Page 64
 1   refer to that area as? It's been called in this     1   A. It was a long time ago.
 2   case the lower sediment basin and the alluvial      2   Q. Do the best you can do, that's all we can
 3   fan and some other things. How do you refer to      3   ask. If you don't mind, just so we can identify
 4   it?                                                 4   these things, I'm going to hand you this red pen;
 5   A. The lower pine.                                  5   and if you would on Exhibit 6, can you write on
 6   Q. And is this the area just upgradient of the      6   this one the number 27 where this photo, the area
 7   lower dam?                                          7   that the photo depicts?
 8   A. Yes, it is.                                      8   A. Well, the number wouldn't really be
 9   Q. And by "lower dam," I mean the one that is       9   representative of the entire area, but I'll put
10   closest to the Locust Fork?                        10   the number in the middle of the area.
11   A. Yes.                                            11   Q. Okay, thank you. When you said that the
12   Q. What is the material that we see on the         12   material, the majority came from the rock refuse,
13   ground there in that first photo, number 27?       13   what did you refer to it as, rock refuse pile?
14   A. Primarily eroded shale.                         14   A. I think I called it refuse material.
15   Q. Eroded shale?                                   15   Q. Because we have got a lot of different
16   A. Uh-huh. Shale is the siltstone.                 16   terminology for some of these piles. Are you
17   Q. What is the origin of that material?            17   familiar with the terms pre-law and post law?
18   A. The origin would be from the refuse rock        18   A. Yes.
19   and also from the natural bedrock.                 19   Q. Is that terminology that you all used when
20   Q. How much of it, if you could attribute,         20   you were working on the site in the '80s?
21   would be to the rock refuse pile?                  21   A. Yes.
22   A. I have not made an estimate, but the            22   Q. If you would, can you tell us which area on
23   majority of it probably is from the refuse pile.   23   Exhibit 6 would comprise the, [quote], "pre-law"
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 18 of 134
Lois George                                                                                     17 (65 - 68)
                                              Page 65                                                  Page 67
 1   refuse area?                                         1   A. Yes, as opposed to the fines that are more
 2   A. The lighter stippled area would be the            2   of a slurry and are deposited in different areas.
 3   pre-law area.                                        3   Q. Is it appropriate to refer to it as mine
 4   Q. If you would, would you write up at the top       4   waste?
 5   "pre-law" in that area?                              5       MR. DAVIS: Object to form. You can
 6   A. It is also in the explanation.                    6   answer.
 7   Q. Okay, I understand.                               7   A. I'm just not familiar with calling it that.
 8   A. (Witness complies.) And if I may, draw an         8   Q. Okay. Is the material in the pond that we
 9   arrow to the explanation.                            9   see in photograph 27, did that come from the
10   Q. That would be fine.                              10   pre-law or the post law waste area?
11   A. (Witness complies.)                              11   A. Are you referring to the surface of it or
12   Q. And the other area that's a darker shade         12   the entirety of it?
13   that looks like, when you're looking at this        13   Q. The entirety of it.
14   exhibit to the left, which I guess would be the     14   A. It could come from both.
15   west, what do you refer to that area as?            15   Q. Have you performed any sampling or analysis
16   A. This would be the capped area or the post        16   on your own to try to determine the origin of the
17   law area.                                           17   material we see there in that pond?
18   Q. Is the material in the post law area             18   A. Recently or historically?
19   different than the material in the pre-law area?    19   Q. Ever.
20   A. Yes and no, yes in the fact that it does         20   A. I don't believe that was a specific task at
21   have a clay cover placed upon it after the          21   the time.
22   completion of the refuse placement. It may have     22   Q. If you would turn to page 29 in that
23   a somewhat different composition than parts of      23   exhibit, tell us what is depicted in that photo.
                                              Page 66                                                  Page 68
 1   the pre-law area, because the washing of the coal    1   A. It's essentially the same area that's in
 2   may have changed over time.                          2   photograph 27, it's just taken from a different
 3   Q. How would the coal wash-aways possibly be         3   angle.
 4   different than the material in the pre-law pile?     4   Q. On the right side of the photo, it appears
 5   A. The amount of coal could be less, coal            5   that there's some surface water moving over the
 6   fines, coal dust.                                    6   top of the sediment. Is that what that is?
 7   Q. Let me stop you. It could be less in which        7   A. Yes, there was a trickle of drainage at the
 8   section?                                             8   time we were there.
 9   A. It could be less in the post law because of       9   Q. Was it raining that day?
10   increased sufficiency in recovering coal.           10   A. Not that day, no.
11   Q. The material in the pre-law refuse area,         11   Q. On the next page, page 30, is that a
12   I'm going to refer to it that way because that's    12   close-up shot of that same drainage that we saw
13   what it's called on this document, is that          13   in the prior photo?
14   material the same as geologic overburden?           14   A. Yes, it is.
15   A. I've never used that term for refuse rock.       15   Q. Is there any particular reason why you took
16   Geologic overburden, to me, is associated with      16   this photo?
17   surface mines, and it's the material that's the     17   A. No, not particular.
18   overburden that is removed above the coal that's    18   Q. Turn to page 31, if you would, and tell us
19   placed in a spoil pile. It hasn't gone through a    19   what's depicted in that photo.
20   washing process, it's just transported. I always    20   A. This is the -- I was standing on the lower
21   refer to washer rock, refuse.                       21   dam looking towards the Locust Fork, and this is
22   Q. Mr. Hicks referred to it as coarse refuse.       22   the coarse riprap comprising the dam, the exposed
23   Are you familiar with that terminology?             23   portion of it, anyway.
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 19 of 134
Lois George                                                                                             18 (69 - 72)
                                                       Page 69                                                 Page 71
 1 Q.    Is that area what's referred to as the                   1   filter?
 2 spillway?                                                      2   A. To allow water to leave the impoundment,
 3      MR. DAVIS: Object to the form. You can                    3   but the impoundment would serve its purpose as
 4 answer.                                                        4   being a sediment basin to catch the sediment.
 5 A.    I'm not sure what to refer to it by name.                5   Q. Was the limestone filter when the discharge
 6 When we were working on the project, the drainage              6   was on the south end of the dam?
 7 from the lower pond was at the other side of the               7   A. No, sir, I don't believe so.
 8 pond; and there were some alterations or                       8   Q. Is what we're looking at in this photo 31,
 9 additions or augmentations made to the dam that                9   is that the limestone filter or part of it?
10 changed its configuration, and I believe the                  10   A. It may be.
11 notch for the outlet was changed to the north                 11   Q. You're not sure?
12 side of the dam.                                              12   A. I'm not sure.
13 Q.    Do you know about what year that happened?              13   Q. When you were on the site, I know you
14 A.    It would be somewhere around '83, '84, '85,             14   worked with a lot of ABC employees and engineers,
15 but I can't pinpoint the year.                                15   right?
16 Q.    But it was while you were working on the                16   A. Yes, sir.
17 project, on the Maxine site?                                  17   Q. Did you ever work with anybody from
18 A.    It was either while we were working on it               18   Drummond Company?
19 or shortly after we completed our investigations.             19   A. No, sir.
20 Q.    Did PELA play any role in the design of                 20   Q. With Mr. Hicks or anybody else?
21 this notch, as you describe it, in the lower dam?             21   A. No, sir.
22 A.    No, sir.                                                22   Q. Was your work completed by 1984?
23 Q.    Was that something PELA recommended to ABC?             23   A. '84, '85, yes.
                                                       Page 70                                                 Page 72
 1   A. No, I don't recall any specific                           1   Q. The next four photos, number 32 through 35,
 2   recommendations about engineering or design for              2   seem to be highlighting a particular pine tree.
 3   this feature or any of the other dams or                     3   Can you explain to us the significance of those
 4   impoundments.                                                4   photos, or why you took those photos?
 5   Q. So to make sure I'm understanding your                    5   A. Yes. I was really quite astounded as to
 6   testimony, this notch or discharge area when you             6   the size of some of the trees from the vegetation
 7   were there was on the downriver or south end of              7   that had grown up over the entire site since I
 8   the dam?                                                     8   was there last. I had looked at the site from
 9   A. Yes. It's where the drainage was.                         9   time to time in aerial photography, just out of
10   Q. Did it look like this was rock riprap, or                10   curiosity, and could see that it was forested for
11   did it look different?                                      11   the most part, but I hadn't been on the ground.
12   A. I think it looked different in several                   12   Really, I was surprised as to the amount of
13   different ways through the process of our                   13   forestry.
14   investigations. There were other times when                 14   Q. Could you show us by reference to Exhibit
15   limestone riprap was applied to the dam.                    15   6, where on the property this particular pine
16   Q. We may look at this in some of the                       16   tree is?
17   documents, but there was a mention at times of a            17   A. I don't think so.
18   limestone filter in the lower dam. Do you know              18   Q. Do you have any idea at all, in terms of
19   what that terminology refers to?                            19   the structures that are shown on that?
20   A. Yes, sir, and I have looked at the design                20   A. I believe we were at some location between
21   documents that's included in the compendium of              21   the upper dam and, let's call it, the toe of the
22   documents, so I know what you're referring to.              22   post law area.
23   Q. What is the purpose of the limestone                     23   Q. Would that be in the capped area?
Freedom Court Reporting, A Veritext Company                                                             877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 20 of 134
Lois George                                                                                     19 (73 - 76)
                                              Page 73                                                  Page 75
 1   A. No, I think we were below the capped area,        1   A. Further northeast in that draw.
 2   but I'm really not certain, because the terrain      2   Q. Can you write 38 to approximate it?
 3   was somewhat hummocky, but it was difficult to       3   A. (Witness complies.)
 4   really position where I was because of the line      4   Q. The next three photos, 40, 41 and 42, look
 5   of vision and the trees. I really couldn't tell      5   like they have a boot in it and then a stream or
 6   at some locations.                                   6   some flowing water, anyway. What are we looking
 7   Q. Did your camera have any GPS coordinates --       7   at in those pictures?
 8   A. My camera? No.                                    8   A. This is some of the Pottsville bedrock and
 9   Q. Was this taken with a camera or a phone?          9   seepage, and what I was trying to capture was the
10   A. Camera.                                          10   sheen that's on the water. It's indicative of
11   Q. So there is no GPS information to identify       11   iron or iron bacteria in the water -- on the
12   where these photos are?                             12   water, excuse me.
13   A. No.                                              13   Q. Am I understanding you to say that you
14   Q. If you would turn to page 36, what is the        14   believe this seep is from the bedrock formation
15   structure that we see in that photo?                15   as opposed to some other source on the site?
16   A. This is layered bedrock of the Pottsville,       16   A. I think this is a different location.
17   with a trickle of drainage, seepage.                17   Q. Well, I thought you just said a moment ago
18   Q. Where is the seepage coming from?                18   that this related to the Pottsville formation?
19   A. In this instance, it looked like it was          19   A. Well, it does, but the Pottsville formation
20   coming out from on top of one of the more           20   is underneath the entire area, and it's exposed
21   resistant layers of the Pottsville near the top     21   at many different places.
22   of the picture.                                     22   Q. Throughout the documents there's -- and
23   Q. Can you tell us where on the site this           23   we'll get into these -- a reference to an aquifer
                                              Page 74                                                  Page 76
 1   photo was taken?                                     1   that was formed by the placement of the waste
 2   A. My recollection is that we were somewhere         2   material. Are you familiar with that?
 3   in the vicinity of SW-1, maybe a little further      3   A. Are you referring to PELA's documents?
 4   north and up in that valley.                         4   Q. Yes.
 5   Q. Well, if you can approximate where it was,        5   A. Yes.
 6   and I understand it's approximate, and write "36"    6   Q. Are you making a determination about
 7   on it, I would appreciate it.                        7   whether these seeps are from that aquifer or not
 8   A. Okay. (Witness complies.)                         8   from that aquifer?
 9   Q. Is the next photo 37 part of that same            9   A. I hadn't made that determination; but, no,
10   formation we were looking at in 36?                 10   I don't believe they are. The aquifer that was
11   A. Yes, I believe so.                               11   referred to was in the hollow, to the best of my
12   Q. Photos 38 and 39 also appear to be a             12   recollection.
13   similar location, and there are some pine trees     13   Q. Which would be where in reference to
14   in those photos. What were you capturing in         14   Exhibit 6?
15   those two photos?                                   15   A. Between the lower dam at the right-hand
16   A. This is an area where the refuse rock is         16   edge of the picture and to somewhere in the
17   now covered with the pine trees and a thick layer   17   vicinity of SW-3 or MO-3.
18   of pine straw and other small trees growing up      18   Q. And that's what you refer to as the hollow?
19   through it.                                         19   A. The hollow, the ravine, the valley.
20   Q. Where is this on the site?                       20   Q. The tributary?
21   A. I think we're still in proximity down in         21       MR. DAVIS: Object to the form.
22   the lower part.                                     22   A. I don't think we ever called it a
23   Q. Close to where you wrote 36?                     23   tributary.
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 21 of 134
Lois George                                                                                    20 (77 - 80)
                                             Page 77                                                  Page 79
 1   Q. PELA never called it a tributary?                1   Q. Where is that on the site?
 2   A. Dr. Lamoreaux may have referred to it as a       2   A. It is in the vicinity of what's labeled as
 3   tributary in some of his documents.                 3   the basin, and there's a small enlargement down
 4   Q. Photos 43, 44 and 45 appear to be the same       4   in the lower left-hand corner of the diagram. It
 5   general subject matter there. Can you tell us       5   shows, in cartoon fashion, let me say --
 6   what we're looking at in those pictures?            6   Q. Cartoon fashion, that's the same word our
 7   A. 43 is pretty blurry, so I would like to          7   engineer used. Okay, go ahead.
 8   skip that one.                                      8   A. This is not a design drawing, obviously,
 9   Q. Yes, ma'am.                                      9   but it was prepared to show the placement of the
10   A. This is a face along the western ditch          10   pipe relative to how the drainage system would
11   where the runoff or the drainage is collected      11   work.
12   from the pre-law area, and we're looking at some   12   Q. Well, what was the function of this pipe
13   of the pre-law area that's covered with trees.     13   that we see in the photo?
14   Q. Turn to photo 46, if you would.                 14   A. The pipe was to convey runoff from the post
15   A. Yes, sir.                                       15   law area, that came down the west side of the
16   Q. Is this the upper dam?                          16   post law area into the basin, and then that basin
17   A. I don't believe so. We were walking near        17   would drain out separate from pre-law, separate
18   and in the vicinity of what used to be the old     18   it from pre-law drainage.
19   road that came down between the pre-law and the    19   Q. Did that basin go all the way to the Locust
20   post law area and the drainage, but I don't        20   Fork at the time this figure was prepared?
21   believe this is the dam.                           21   A. The basin itself?
22   Q. So it's an area along where the road once       22   Q. I'm sorry. Did the drainage channel that
23   existed between the pre- and the post law waste    23   came out of the basin that's shown on this
                                             Page 78                                                  Page 80
 1   areas?                                              1   enlargement? Do you understand what I'm asking?
 2   A. Yes, and it would be in the narrow, I            2   A. Yes, sir, I do. I was trying to recall.
 3   believe in the narrow area of the valley.           3   Yes, I believe it did.
 4   Q. Can you mark 46?                                 4   Q. Photos 54 through 59 depict some concrete
 5   A. (Witness complies.) I think we were close        5   structures. Can you tell us what we're looking
 6   to where the writing is for SW-3 and MO-3.          6   at there?
 7   Q. Okay, that's sufficient. So you were close       7   A. Yes. This is what we refer to as the
 8   to SW-3?                                            8   cross-over, and the approximate location is shown
 9   A. Yes, I think so. Like I said earlier, it         9   on whatever figure this is called, Exhibit 6,
10   was starkly different and very difficult to        10   Figure 1. It was older reports. It's west of
11   determine precisely where we were.                 11   the post law area, and it's where the solid line
12   Q. Photos 48 through 51 appear to be in the        12   and the dashed line cross each other.
13   same general area. Can you tell us where those     13   Q. If you would, can you just draw an arrow
14   are on the site?                                   14   out from that and put the number of one of these
15   A. Yes, I believe we were somewhere between        15   photos?
16   the location of MW-9 and SW-3, where the           16   A. (Witness complies.)
17   reclamation in the capped area had terracing.      17   Q. What was the function or purpose of the
18   Q. And would that be the case for all four of      18   cross-over?
19   these pictures?                                    19   A. It was to prevent the commingling of the
20   A. Yes.                                            20   pre-law and the post law drainage from the west
21   Q. Pictures 52 and 53, it looks like a pipe in     21   side of the rock disposal area.
22   those photos. Is that correct?                     22   Q. Why was there an effort made to segregate
23   A. Yes, it's corrugated culvert.                   23   the runoff from those two areas?
Freedom Court Reporting, A Veritext Company                                                   877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 22 of 134
Lois George                                                                                        21 (81 - 84)
                                                  Page 81                                                 Page 83
 1   A. The purpose was to, I guess, be in                   1   Q. How recently was that?
 2   compliance with the regulations.                        2   A. 2003, 2004, possibly.
 3   Q. What regulations?                                    3   Q. How about Mr. Musick, have you had any
 4   A. The surface mining regulations, surface              4   contact with him?
 5   mining control.                                         5   A. I have not.
 6   Q. Was that a determination that PELA made or           6       (Whereupon, Plaintiff's Exhibit Number 7
 7   ABC made, or who made the determination that they       7   was marked for identification, a copy of which is
 8   would be in compliance in some way by segregating       8   attached to the original of the transcript.)
 9   those waste streams?                                    9   Q. Let me go ahead and show you another
10   A. My recollection and from reviewing some of          10   document that I've marked as Exhibit 7 to your
11   the documents is that it was a cooperative             11   deposition. It's another figure. Are you
12   planning process by ABC, with PELA's input, in         12   familiar with that document?
13   coordination with the Surface Mining Commission        13   A. Yes, I am.
14   and at the time the Water Improvement Commission       14   Q. Did you prepare this?
15   which transitioned into ADEM, the Alabama              15   A. I think so.
16   Department of Environmental Management.                16   Q. It looks similar to Exhibit 6 in a lot of
17   Q. What was PELA's contribution to that?               17   ways. A lot of the same features are shown here,
18   A. Recommendations, how and where, but we did          18   correct?
19   not design anything.                                   19   A. Yes, the monitoring sites are shown; both
20   Q. Did PELA design any of the drainage                 20   surface water and the wells; the locations of the
21   ditches?                                               21   infiltration testing that we did is shown; arrows
22   A. No, we did not design.                              22   that show general direction of drainage, runoff.
23   Q. What sort of recommendations did you make,          23   Q. We're going to come back to this in more
                                                  Page 82                                                 Page 84
 1   specifically?                                           1   detail, but this drawing shows east ditch, west
 2   A. Potential placement of the ditches, and              2   ditch, north ditch, and parallel ditch. Do you
 3   also the contouring of the post law area so that        3   see all four of those?
 4   it would drain into the ditch properly, and that        4   A. Yes, I do.
 5   commingle in the other direction would be pre-law       5   Q. Were those ditches actually constructed and
 6   drainage; again, no design. Recommendations in          6   put into operation on the site?
 7   writing and verbally while we were all on-site.         7   A. Yes.
 8   Q. Who did you work with primarily at ABC on            8   Q. Were those all in existence when you left
 9   those issues?                                           9   the property in '84 or '85?
10   A. There wasn't one individual. I think our            10   A. I believe so, yes. Yes.
11   on-site activities were mostly with Tom Musick         11   Q. Are those all manmade ditches?
12   and Jack McDuff. Other discussions, not                12   A. I think for the most part, with the
13   necessarily on-site recommendations would have         13   exception of the drainage that's shown from SW-2
14   been to Doug Cook and Lawyer Edwards.                  14   or the basin, out towards the lower dam, that
15   Q. Have you spoken to any of those people              15   does hug the natural topography, and you can see
16   about this lawsuit?                                    16   the Pottsville exposed, so it drains along an
17   A. I have not.                                         17   expression of the original hollow or topography
18   Q. Have you spoken to any of them since 1984           18   that was there; and in some places, it goes from
19   or '5 when you left the site?                          19   the drainage along the east ditch in the vicinity
20   A. Yes. Jack McDuff was working for -- he              20   of SW-3 and MO-3, which I think you can tell that
21   still may, he worked for Jefferson County, and we      21   better on Exhibit 6, where the pattern on the
22   acquired some aerial photography, I believe it         22   diagram indicates it's treed, it's forested.
23   was, from his offices.                                 23   Q. Let me try to deconstruct that a little
Freedom Court Reporting, A Veritext Company                                                        877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 23 of 134
Lois George                                                                                     22 (85 - 88)
                                              Page 85                                                  Page 87
 1   bit.                                                 1   A. The hollow as mapped on the USGS topo maps
 2   A. Have I confused you?                              2   is an intermittent or ephemeral stream.
 3   Q. No, it's fine. My question was about the          3   Q. Is it intermittent or ephemeral?
 4   four ditches that I listed, the one that's on        4   A. By symbology, I guess USGS, would be an
 5   Exhibit 7 that's designated north, east, west,       5   intermittent stream. The blue line that's shown
 6   and parallel. First, let me limit it to those        6   on Exhibit 7, I guess it would be to the south of
 7   four. Are those all manmade ditches?                 7   where that line would have been drawn on the map.
 8   A. Yes.                                              8   Q. So you've seen the USGS map with the
 9   Q. Who were they constructed by?                     9   intermittent stream depicted on the Maxine site?
10   A. Either Alabama Byproducts or a contractor        10   A. Oh, yes, sir.
11   of theirs.                                          11   Q. Can you show us with the red pen on Exhibit
12   Q. Did PELA supervise or direct the                 12   7, if it will show up, you said it would be --
13   construction of those ditches in any way?           13   I'm sorry, did you say north or south of the blue
14   A. No. We were on site and made observations,       14   line?
15   but we were not the supervisor of it.               15   A. I think I said north.
16   Q. Did you provide recommendations about the        16   Q. Can you show us with a line on there, the
17   location of those ditches? By "you," I mean         17   approximate path that you believe the tributary
18   PELA.                                               18   was depicted on USGS maps?
19   A. Yes, sir, I understood that. Not a               19   A. Only to a certain extent.
20   specific location, but the fact that there would    20   Q. Yes, I understand. This might work better,
21   be two ditches to the west, and they needed to be   21   the blue pen.
22   segregated, and then there needed to be a means     22   A. Blue? Could it get confused with the other
23   of settling-out any solids or sediment, so there    23   blue line we're talking about? I'm going to
                                              Page 86                                                  Page 88
 1   needed to be a basin.                                1   start at the location of 2, the infiltration
 2   Q. Were there any recommendations that PELA          2   test, and make a dash there; dash down to number
 3   made to ABC with regard to those four ditches        3   1 infiltration test; and then a dash to the large
 4   that were disregarded, that you recall?              4   arrow. I'm going to stop there because the USGS
 5   A. No, not that I recall.                            5   topo maps, 1971 and the 1938, indicate a slough,
 6   Q. Earlier you were saying maybe that part of        6   so that would not be included in the intermittent
 7   this would not be manmade. Were you referring to     7   stream symbology.
 8   the blue line with the two arrows on the bottom      8   Q. Was the lower dam constructed across the
 9   of the photo that moved toward the lower dam and     9   slough?
10   the river?                                          10   A. Yes.
11   A. Yes. I was referring to the drainage up          11   Q. If you would, can you just bring an arrow
12   close to the embankment, I guess you would call     12   out here and write "UT"? That's our terminology
13   it.                                                 13   for unnamed tributary. What would you refer to
14   Q. And for the record for reference purposes,       14   it as? You can call it whatever you think is
15   we're talking to the blue line that's just below    15   proper for that which was designated on the USGS
16   the site number 1 which the explanation says is     16   map, and you can abbreviate it and tell us what
17   an infiltration test site?                          17   you're abbreviating for.
18   A. Yes.                                             18   A. I'm just going to write over here
19   Q. Ms. George, do you know if this ditch that       19   "intermittent stream."
20   we're talking about now was part of the original    20   Q. All right, fair enough.
21   tributary that ran through the site?                21   A. May I write "approximate," please?
22       MR. DAVIS: Object to the form. You can          22   Q. Yes, ma'am.
23   answer.                                             23   A. (Witness complies.)
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 24 of 134
Lois George                                                                                     23 (89 - 92)
                                              Page 89                                                  Page 91
 1   Q. I'm going to really take you down memory          1   and it did have fine materials that had settled
 2   lane now and ask -- and you can do it by             2   in it, too, clay-type material.
 3   reference to these exhibits or any way that you      3   Q. During the time that you were there from
 4   want to, but what I would like for you to do is      4   '79 to '84, was the upper sediment pond ever
 5   walk us through the site and some of these           5   cleaned out or excavated?
 6   primary features, and tell us what it looked like    6   A. Yes, it was.
 7   when you first got there in 1979. I'll ask you       7   Q. How many times, or how often?
 8   the first question, did the two dams that are        8   A. I don't know.
 9   shown on Exhibit 6, were they in place?              9   Q. Was that done by ABC?
10   A. Yes, they were.                                  10   A. ABC or their contractor.
11   Q. Were the two sediment basins in place?           11   Q. How did they excavate or remove the
12   A. Could you tell me more about what you mean       12   material?
13   by "sediment basins"?                               13   A. With a backhoe on tracks, I believe. I do
14   Q. You referred to it as a pond?                    14   recall they got stuck one time.
15   A. Yes, sir.                                        15   Q. Now, earlier you said that there was a road
16   Q. So we can try to get the terminology             16   that came into that area of the mine site at that
17   straight, the area between the lower dam and the    17   time; is that right?
18   upper dam, what would you call that area?           18   A. We never referred to this as the mine site.
19   A. The lower pond.                                  19   It was always the rock disposal area.
20   Q. Lower pond. The area above the upper dam         20   Q. Rock disposal area, okay.
21   and the toe of the capped area, what would you      21   A. Yes, there was a road that went from the
22   call that area?                                     22   top of the pre-law area up at the north end of
23   A. Part of it would have been the upper pond.       23   Exhibit 6, that you could drive all the way down
                                              Page 90                                                  Page 92
 1   Q. Were the upper and lower ponds in existence       1   to the area between the two ponds.
 2   when you got there?                                  2   Q. You know what I'm going to ask you to do
 3   A. Yes.                                              3   next, right? Can you take the red pen and show
 4   Q. What was in them?                                 4   us the general path of that road?
 5   A. From time to time there was water impounded       5       MR. DAVIS: After she makes that
 6   behind them, and there was also eroded sediment.     6   illustration, can we take a break?
 7   Q. What was the purpose of those two ponds?          7       MR. BROCK: Yes.
 8   A. It's my understanding they were just as           8   A. Can I have a wide marker, please?
 9   named, sediment ponds, to capture sediment before    9   Q. Yes.
10   it went into the Locust Fork.                       10   A. I'm going to start by MO-7, because I'm
11   Q. Sediment from where?                             11   really not sure where it might have been up at
12   A. From the refuse area and the native              12   the top. I won't cover up my red writing.
13   Pottsville that was eroding.                        13   Q. Thank you.
14   Q. Did you ever see the upper sediment, is          14   A. (Witness complies.)
15   that what you called it?                            15   Q. So the thicker red line is the path of the
16   A. Sediment.                                        16   road through the rock --
17   Q. Sediment pond full of refuse material?           17   A. Disposal area.
18   A. I saw it full. I'm not sure it would all         18   Q. -- disposal area, okay.
19   be refuse material.                                 19       (Whereupon, at this time a lunch break was
20   Q. Was it full of solid material up to the top      20   taken.)
21   of the dam?                                         21   Q. Ms. George, we're back on the record after
22   A. I'm not sure if it was up to the top, but        22   a lunch break. I hope you had a nice lunch.
23   it was quite -- you know, at capacity, let's say,   23   A. I did.
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 25 of 134
Lois George                                                                                     24 (93 - 96)
                                              Page 93                                                  Page 95
 1   Q. Good. I was asking you some questions             1   it looked like, potentially looked like before,
 2   about the status of the rock disposal area when      2   even before there were any mining activities
 3   you got to the site in 1979, a few more questions    3   there, so I can just tell you what I saw.
 4   about that. So the area that you marked on           4   Q. Right, I understand. You know, none of us
 5   Plaintiff's Exhibit 6 earlier -- scratch that.       5   were there and we've had some difficulty, you
 6   On Exhibit 7, it has the approximate intermittent    6   know, just piecing together the sequence, and
 7   stream area?                                         7   when things happened and what things looked like,
 8   A. Yes, sir.                                         8   clearly before any disturbance; and mining that
 9   Q. What did that stream area look like when          9   stream looked a particular way, but I don't know
10   you first saw it in 1979?                           10   how it looked when you got there, if it was
11   A. Well, obviously, we talked about the fact        11   visible or discernible at all, and that's what
12   that the lower pine and upper pine and associated   12   I'm trying to ask.
13   dams were there. I'm not sure I can just tie        13   A. Well, I think I've answered it. Maybe I
14   this to '79, because we were in and out of the      14   didn't make myself clear, but there was fill in
15   site, you know, early on. Sometimes there was       15   the valley, the two ponds were there, sometimes
16   impounded water behind each of the sediment         16   there was water in the ponds, sometimes there
17   ponds; there was sediment fill in the hollow or     17   wasn't.
18   the valley; there were drainage courses along the   18   Q. How about further north in the area that
19   upper eastern side. The upper pine or the upper     19   was later capped? Could you see any visible on
20   dam was not a substantial structure as it was at    20   the surface part of that stream or tributary in
21   the end of our project.                             21   that area?
22   Q. With regard to the area where you made the       22   A. My recollection was that they had already
23   slashed red line below SW-2, was there a stream     23   started -- well, they were using it as a refuse
                                              Page 94                                                  Page 96
 1   that you could see visibly on the surface?           1   area at the time. That's why there's the
 2   A. No, there was not at that point, because          2   distinction of the pre-law, post law.
 3   there was also disposal areas up in the upper        3   Q. So the area that was capped was already
 4   part of the area to be capped. I'd say that any      4   being used as a refuse area when you first got
 5   of the runoff was ephemeral at that time.            5   there?
 6   Q. Was the stream that you marked in there,          6   A. In part. Part of it was, yes.
 7   the intermittent stream, was it buried under fill    7   Q. Which part?
 8   material when you first got there?                   8   A. Certainly the area that's north of the
 9   A. I'm not sure I would characterize it that         9   north ditch on Exhibit 7, and I can't tell you
10   way, because I don't really know what it looked     10   how far down-slope at first, but part of that was
11   like before Alabama Byproducts had the road and     11   being used also.
12   any of the dam structure and things like that.      12   Q. Do you know where the headwaters of the
13   And I did say that there was fill in the hollow.    13   tributary were, in terms of north or south of the
14   Q. Okay. So what I'm really, I guess, trying        14   north ditch?
15   to ask is, the blue line intermittent stream that   15   A. I think the USGS mapping could get that
16   we see on the USGS maps, the older maps, was        16   out, a reference to it. I think it is within or
17   there any visible stream on the surface as it's     17   north of that area; but, again, it's an
18   depicted on the USGS maps, in that location when    18   intermittent stream ending the eroded valley.
19   you got to the site?                                19       (Whereupon, Plaintiff's Exhibit Number 2
20   A. See, I'm not sure -- I understand your           20   was marked for identification, a copy of which is
21   question, but I'm not sure I can make that          21   attached to the original of the transcript.)
22   comparison, because parts of the area had been      22   Q. Let me go ahead and show you this that I've
23   cleared and logged, and I really don't know what    23   marked as Exhibit 2 to your deposition, and these
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 26 of 134
Lois George                                                                                   25 (97 - 100)
                                             Page 97                                                  Page 99
 1   are some historic aerial photos and maps, I         1   A. Do you want to look at 19?
 2   believe. These were produced to us by Mr. Davis.    2   Q. Yes, ma'am. What is page 19 of Exhibit 2?
 3   Are these your documents? They're Bates-stamped     3   A. It's also a topographic map, but it's the
 4   PELA 1 through 26.                                  4   1971 version.
 5   A. Yes, they are.                                   5   Q. And does this map show the rock disposal
 6   Q. Did you use these in preparing your report?      6   area that we've been talking about?
 7   A. I did look at them, yes. There were              7   A. It does have a symbology on the top of the
 8   certain ones I relied on, not all of them.          8   ridge that indicates the disturbed land. I
 9   Q. Where did you get the aerial photos?             9   believe the words are -- I can't read what it
10   A. I obtained them from the photography lab at     10   says.
11   The University of Alabama.                         11   Q. Can you take the red pen, if you don't
12   Q. Did you obtain them after you were retained     12   mind, and circle on that map? Does it show the
13   as an expert in this case, or did you already      13   slough by the lower dam that we've been talking
14   have them on-hand?                                 14   about?
15   A. I retained them specifically for this           15   A. It does.
16   project.                                           16   Q. Could you circle that for us?
17   Q. Looking through this stack, there are some      17   A. (Witness complies.) May I label it?
18   USGS maps, I believe. Do any of them help you      18   Q. Yes, please.
19   with the question you were just asking?            19   A. (Witness complies.)
20   A. If I could read them.                           20   Q. Ms. George, my understanding of your
21   Q. The print is too small?                         21   testimony, and you please correct me if I'm
22   A. Yes, sir. I mean, let me find one.              22   wrong, is that what you're saying is, by the
23   Q. Number 18, maybe?                               23   time -- when you got to the site, this stream
                                             Page 98                                                 Page 100
 1   A. It's a little hard to see, but I believe         1   shown on these USGS maps was not visible on the
 2   that -- and I'm going to call it the valley.        2   surface, and it was in the area that at that time
 3   Q. Okay.                                            3   contained fill material. Is that accurate?
 4   A. The headwaters of an intermittent stream         4   A. I guess the problem I'm having is, we're
 5   depends on where USGS drew it, and it's pretty      5   talking about water versus -- we're talking about
 6   arbitrary.                                          6   flow versus the physical setting; and because it
 7   Q. Okay.                                            7   was still a valley, the drainage was flowing
 8   A. The stream does -- the valley does turn          8   through that valley, so I saw visible evidences
 9   north under what is the capped area, and it         9   of the flow in the valley.
10   becomes less and less steep as you go north, so    10   Q. What did that visible evidence look like?
11   the drainage would have been underneath the        11   A. Well, it was drainage that would go into
12   pre-law area.                                      12   the water bodies behind the ponds, and some of
13   Q. And you're pointing to Exhibit 6 when you       13   the early ditch work that was alongside the road
14   say, "The drainage would be underneath the         14   that I drew on Exhibit 6. I think that's about
15   pre-law area"?                                     15   all I could describe it as.
16   A. Yes, sir.                                       16   Q. While we're looking at this, would you turn
17   Q. What year is this map in number 18?             17   to the next page in that stack to PELA 20? What
18   A. I believe it's '71. Oh, it's 2014, and it       18   is this document?
19   just has the topos on it.                          19   A. This is a frame of black-and-white aerial
20       MR. BROCK: Richard might have brought his      20   photography dated April 4, 1951.
21   magnifying glass.                                  21   Q. Is that before there was any mining
22       MR. DAVIS: No, unfortunately I didn't.         22   activity conducted at the Maxine site?
23   That's not what I was looking for. I apologize.    23   A. There was no activity at the rock disposal
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 27 of 134
Lois George                                                                                26 (101 - 104)
                                            Page 101                                                 Page 103
 1   area.                                               1   looking at historical documents like that, we
 2   Q. Can you see the rock disposal area in this       2   could make that discernation.
 3   photo?                                              3   Q. Was the 1971 topo map you referenced what
 4   A. I can see the location of where it is now.       4   we looked at in Exhibit 2?
 5   Q. Okay. And can you see the slough?                5   A. Yes, gray circled slope.
 6   A. Yes.                                             6   Q. Do you know the dimensions of the dams when
 7   Q. Would you mark that with the red pen?            7   you first saw them?
 8   A. (Witness complies.)                              8   A. The lower dam probably covered the same
 9   Q. If you would, would you turn to page 26,         9   territory that it does today.
10   the last page? What is this document?              10   Q. In terms of its --
11   A. This is a poor quality color aerial photo.      11   A. Its width.
12   I'm looking for the date, but I don't see it.      12   Q. -- width?
13   Q. Yes, I didn't see one either.                   13   A. Yes.
14   A. I don't know if it got cut off. I think it      14   Q. What about its height?
15   had it on there when I received it. But it's a     15   A. I'm not certain about that.
16   more recent aerial photograph.                     16   Q. And you said during the time you were
17   Q. Yes, that's kind of what I was wondering,       17   there, that the discharge was moved from the
18   whether this was an old photo that had been        18   south end to the north end?
19   colorized somehow, or this was a more recent       19   A. Yes, the drainage pipe was at the south end
20   color photo. Do you have an estimation of          20   when we started, same way.
21   approximately what year it might be?               21   Q. Were there any other modifications or
22   A. No, I don't. It would be after the east         22   changes to the lower dam, that you recall, while
23   and west and parallel ditches were in place.       23   you were working on the site?
                                            Page 102                                                 Page 104
 1   Q. Can you see those on this photo?                 1   A. Well, I think I mentioned earlier that
 2   A. Sort of.                                         2   there was at least one period when limestone
 3   Q. Okay. Will you circle the area where you         3   riprap was placed on the backside of the dam.
 4   can see the area where the ditches are?             4   Q. When you say "the backside," do you mean
 5   A. I'm going to label it "area ditches."            5   the river side?
 6   Q. That sounds just fine.                           6   A. No, the --
 7   A. (Witness complies.)                              7   Q. The upgradient side?
 8   Q. Could I take a look at that real quick?          8   A. -- upstream side. I think there were hay
 9   A. Sure.                                            9   bales and lime and things like that placed in
10   Q. Thank you, ma'am. Ms. George, do you know       10   proximity of the pond from time to time, and that
11   what year the upper and lower dams were            11   was done in coordination with the agencies. But
12   constructed?                                       12   I don't remember any -- we kind of deviated from
13   A. No, I don't.                                    13   your first question, what did it look like when
14   Q. Do you have a range?                            14   we first got there.
15   A. No. They were there when we started work.       15   Q. Well, I'm asking you that, and then I'm
16   Q. Do you know what they are made of,              16   asking also about any changes that were made
17   material-wise?                                     17   while you were there. And we're talking now
18   A. I'm thinking about the answer to my last        18   about the lower dam.
19   question. The early '60s -- the '71 topo map       19   A. Other than what I've just said, I don't
20   doesn't have them on it, but it doesn't            20   really remember.
21   necessarily mean that it wasn't there in '71, or   21   Q. The upper dam, do you know how tall it was
22   was. The photography from the '60s may or may      22   when you first saw it?
23   not indicate it's there; so I don't think from     23   A. No, I don't.
Freedom Court Reporting, A Veritext Company                                                   877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 28 of 134
Lois George                                                                                          27 (105 - 108)
                                                 Page 105                                                        Page 107
 1   Q. Was its width the same as it is today?                 1   continue to put more material in that area?
 2   A. I don't believe so. I think it didn't have             2   A. Yes.
 3   the same width. I think it was shorter in                 3   Q. Do you know the depth of the material when
 4   length.                                                   4   you got there?
 5   Q. Was it expanded while you were there,                  5   A. Not when we initially started, but we
 6   lengthened?                                               6   drilled a number of wells at different locations.
 7   A. Yes, it was, and it had been repaired also.            7   The boring logs would indicate that.
 8   Q. In which direction was it lengthened? You              8   Q. We can look at it; but if I said it was
 9   might want to refer to Exhibit 6, if it will              9   like 70 to 75 feet worth of material, would that
10   help.                                                    10   sound accurate to you?
11   A. Yes, but I'm not sure my cartoon helps me             11   A. Yes, I believe 76, or something like that,
12   there, so I can't say.                                   12   was the maximum thickness. That may have been in
13   Q. Do you remember the height of the dam being           13   the pre-law area, though, the wells that are 4, 5
14   raised, the upper dam?                                   14   and 6.
15   A. I'm not certain.                                      15   Q. Right, north of the capped area?
16   Q. I know you've testified some about the                16   A. Yes.
17   ponds when you first saw them. The upper pond,           17   Q. What year was the reclaimed capped post law
18   do you know its depth?                                   18   area capped?
19   A. No, I don't.                                          19   A. Somewhere around '82, '83. There's a
20   Q. Do you know what volume of material that it           20   chronology in one of PELA's documents that has
21   would hold?                                              21   that date in it.
22   A. No.                                                   22   Q. Did PELA play any role in that process, the
23   Q. Same question about the lower pond, do you            23   capping?
                                                   Page 106                                                      Page 108
 1   know the depth of volume?                                 1   A. We did infiltration tests at a couple of
 2   A. No. We never made estimates about how much             2   locations after it was capped, and I know we also
 3   water they would hold.                                    3   had discussions about the sloping of the refuse
 4   Q. Or sediment?                                           4   and the areas we capped so that it would drain to
 5   A. Not what the dam held. We did make some                5   the western ditch.
 6   estimates about the amount of infill relative to          6   Q. On Exhibit 6, I want to ask you now about
 7   looking at the possibility of taking the water            7   the ditches that are shown. First, the dashed
 8   and letting it -- pumping it into the abandoned           8   line, it says, is a diversion ditch pre-law area
 9   parts of the underground mine.                            9   drainage. Would that be what is also referred to
10   Q. Yes, I've seen some reference to that in              10   as the east ditch?
11   some of the documents. Did that ever happen?             11   A. One of them, yes. Yes. Yes.
12   A. No, it did not. Again, we coordinated with            12   Q. Good point. I'm referring to the dashed
13   the agencies, and that was something that AWIC           13   line that starts right by MO-7 and goes south.
14   made the decision that that wasn't going to              14   A. Yes, sir.
15   happen.                                                  15   Q. Is that the east ditch?
16   Q. With reference to Exhibit 6, what's                   16   A. Yes.
17   referred to there is the capped reclaimed area.          17   Q. Would you take the pen and just write E
18   What did that look like when you first got to the        18   beside it?
19   site?                                                    19   A. (Witness complies.)
20   A. It was being used for current disposal of             20   Q. Was that ditch in place when you got to the
21   the refuse rock, but I can't tell you how far            21   site?
22   down in the valley it was being used at the time.        22   A. There was a drain that captured runoff, but
23   Q. During the time you were there, did ABC               23   I don't think it was in the same configuration as
Freedom Court Reporting, A Veritext Company                                                             877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 29 of 134
Lois George                                                                                28 (109 - 112)
                                            Page 109                                                 Page 111
 1   it was at the end of the project.                   1   A. Yes.
 2   Q. How was it reconfigured?                         2   Q. And that happened in approximately 1982 or
 3   A. Well, I think earthmoving equipment defined      3   '83, you said?
 4   it better, and I don't recall what side of the      4   A. You know, obviously, it was a work in
 5   road or if the road didn't exist after a certain    5   process because of coordinating with the
 6   point. I just don't remember that.                  6   agencies, and it would take time on the ground to
 7   Q. How deep was it when you got there?              7   make these things happen.
 8   A. It didn't have a consistent depth. It            8   Q. On Exhibit 6, is the north ditch shown on
 9   varied.                                             9   that drawing?
10   Q. From what to what?                              10   A. Part of it is.
11   A. I really don't remember.                        11   Q. Where is the part of it that is visible?
12   Q. Do you remember the width?                      12   A. It's the dash line that's between MO-4 and
13   A. You're talking about the ditch itself?          13   MO-8.
14   Q. Yes, ma'am.                                     14   Q. Can you take the pen and write an N on that
15   A. I don't remember that.                          15   ditch, or just above it?
16   Q. What area of the rock disposal area did the     16   A. (Witness complies.)
17   east ditch drain?                                  17   Q. Was the north ditch in existence when you
18   A. The initial one or the final one?               18   got to the site?
19   Q. The initial one.                                19   A. No, it was not.
20   A. The initial one?                                20   Q. When was it installed?
21   Q. By my question, I want you to understand        21   A. I certainly don't remember.
22   I'm asking basically pre-law or post law.          22   Q. Was it in operation when you finished your
23   A. Oh. Both.                                       23   work on the site in '84 or '85?
                                            Page 110                                                 Page 112
 1   Q. Initially it drained both?                       1   A. Yes.
 2   A. Yes.                                             2   Q. At that point in time, what area did the
 3   Q. Was that changed at some point in time?          3   north ditch drain?
 4   A. Yes, because when the area was capped, the       4   A. It captured the runoff from the pre-law
 5   area was graded so that it would slope towards      5   area.
 6   the west capped area; and if we look at Exhibit     6   Q. From the pre-law area north of in the area
 7   7, there were terraces that facilitated the         7   where MO-4 is?
 8   direction of runoff.                                8   A. Yes.
 9   Q. So tell me that again. It was changed in         9   Q. And where did it channel the drainage that
10   what way, the slope?                               10   it captured to?
11   A. The slope of the refuse rock and its            11   A. The north ditch went to the west ditch.
12   subsequent capping was sloped towards the          12   And referring to Exhibit 6, you can even see the
13   southwest, essentially, so that it would drain     13   contouring in the pre-law area, which is still
14   towards the ditch on the southwest.                14   visible today.
15   Q. So after that change in slope was made, the     15   Q. On Exhibit 6 or 7?
16   capped area drained to the west; is that right?    16   A. The contouring?
17   A. That's right.                                   17   Q. Yes.
18   Q. But the pre-law area still drained to the       18   A. 7.
19   east ditch; is that correct?                       19   Q. Right. In the area north of the capped
20   A. Yes.                                            20   area, right?
21   Q. And after that adjustment was made you          21   A. Yes.
22   described, the east ditch was draining only the    22   Q. When was that contouring done?
23   pre-law area?                                      23   A. I can't say precisely, no.
Freedom Court Reporting, A Veritext Company                                                   877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 30 of 134
Lois George                                                                                  29 (113 - 116)
                                            Page 113                                                   Page 115
 1   Q. Was it done after you got there?                1   cross-over.
 2   A. I'm really not sure.                            2   Q. It looks like it's also into the upper pond
 3   Q. On Exhibit 6, is the west ditch visible?        3   on the west side, but you correct me if that's
 4   A. Yes, it is.                                     4   incorrect.
 5   Q. Is it a solid line or a dash line?              5   A. I believe it went under the culvert and
 6   A. It is a solid line.                             6   into the upper pond.
 7   Q. Can you mark a W to indicate the west           7   Q. I'm going to show you some documents now
 8   ditch?                                             8   that relate to these topics that we've been
 9   A. I just want to make sure my terminology is      9   talking about. Some of them are PELA documents,
10   correct. I know the dash line is for the          10   a lot of them are ones that you used in your
11   pre-law, and I believe there are little           11   reference list in your report; some of them
12   indicators on there (indicating).                 12   aren't. But if you have some recollection or
13   Q. What did the west ditch drain? What did it     13   knowledge about these, then tell us; and there
14   discharge into at the time you completed your     14   will be some of them, maybe, that you don't, and
15   work on the site?                                 15   if that's the case, you can tell us that. The
16   A. The west ditch captured the runoff from the    16   reason I'm showing you these, you know, this is
17   capped area, post law area, sent it through the   17   not all just a memory test. I'm hoping that
18   basin that's shown on Figure 6 in the cartoon.    18   these will be useful to give us a framework to
19   Then after catching the sediment, the runoff      19   talk about some of this and to jog your memory
20   would have gone off down through the valley and   20   about things, okay?
21   drained into the Locust Fork.                     21   A. Okay.
22   Q. What did the east ditch discharge into? Is     22        (Whereupon, Plaintiff's Exhibit Number 9
23   it the upper pond?                                23   was marked for identification, a copy of which is
                                            Page 114                                                     Page 116
 1   A. Yes.                                            1   attached to the original of the transcript.)
 2   Q. Well, one more ditch on this drawing, which     2   Q. And as we go through these, if you want to
 3   is the slashed line to the west of the west        3   refer to these diagrams to help you remember it
 4   ditch. Do you see that?                            4   or explain it, that will be just fine.
 5   A. Yes, sir.                                       5   A. Okay, thank you.
 6   Q. What was that ditch referred to as?             6       MR. DAVIS: I have a question, what was
 7   A. Based on the diagram, we called it the          7   Exhibit 8?
 8   parallel ditch.                                    8          (Off-the-record discussion.)
 9   Q. Is that what you called it?                     9   Q. Ms. George, I have handed you a document
10   A. I don't remember calling it that, but          10   that's dated December 12, 1978, from the Drummond
11   that's what my drawing shows.                     11   production. Do you recall ever seeing this
12   Q. Right. So that dashed line is what's           12   before?
13   referred to as the parallel ditch on Exhibit 7,   13   A. I have seen it before today, but I don't
14   right?                                            14   recall seeing it, let's say, historically.
15   A. Yes.                                           15   Q. What is your recollection of when you saw
16   Q. Can you make a P beside that one, so we        16   it?
17   know?                                             17   A. Recently.
18   A. (Witness complies.)                            18   Q. Oh, you saw it reviewing to prepare for the
19   Q. And what did the parallel ditch drain?         19   deposition?
20   A. It captured the runoff from the pre-law        20   A. Yes, sir.
21   area north of the capped area.                    21   Q. This was before you got to the mine site,
22   Q. And what did it discharge that runoff into?    22   right, December '78?
23   A. It initially drained into under the            23   A. Yes.
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 31 of 134
Lois George                                                                                  30 (117 - 120)
                                             Page 117                                                 Page 119
 1   Q. And this is written by Mr. McDuff, who you        1   at Mr. Muncher's deposition, who is a Drummond
 2   said earlier that you remember working with him      2   witness, and I believe these are going to be
 3   some on the site, right?                             3   pictures from the '80s that were among those that
 4   A. Yes.                                              4   you produced. Can you flip through those and
 5   Q. In Section D on the second page, he writes        5   tell me that that is the case?
 6   that "The active spoil area has no runoff control    6   A. And I'm sorry, what was the question?
 7   whatsoever." Do you know what is referred to         7   Q. Can you tell me that those are your photos
 8   there as the active spoil area?                      8   from the 1980s?
 9   A. No, I don't.                                      9   A. Yes, they're photographs from PELA's
10   Q. You don't recall that terminology, or can        10   record.
11   you tell from the context of the document what      11   Q. If you would look at page 2933, is that a
12   he's talking about?                                 12   picture of the pre-law waste pile?
13   A. Not for certain, no. I would have to             13   A. Yes.
14   guess.                                              14   Q. Do you know what year that would have been
15   Q. When you arrived on the site, what was the       15   taken?
16   appearance of the pre-law waste pile to the east    16   A. Not specifically, no.
17   of the area that was later capped?                  17   Q. The next page, 2959, is that also a picture
18   A. I'm sorry. Would you repeat that again?          18   of the pre-law waste pile?
19   Q. Yes. I was just asking, what did that area       19   A. Yes.
20   look like?                                          20   Q. And the next one is 2963; same?
21   A. I'm sorry. Which area was it?                    21   A. Yes.
22   Q. That area (indicating). It would have been       22   Q. Do you know when that material was
23   the area to the east of the east ditch.             23   originally placed in that location?
                                             Page 118                                                 Page 120
 1   A. There was very little vegetation; it              1   A. Not the upper part of the material. '50s
 2   essentially was a plateau with a flat top, and       2   and '60s, and early '70s. It just depends on the
 3   was gullied to the west.                             3   location within the refuse pile.
 4   Q. Did that change at any point while you were       4   Q. Okay, I'll take that back. Thank you.
 5   there?                                               5   Back to the document that we were looking at
 6   A. Not notably that I recall, no.                    6   there on the second page, Mr. McDuff says in the
 7   Q. Does that area look any different today           7   last paragraph that "The old spoil areas are
 8   than it did in the early 1980s?                      8   severely eroded." Would you agree with that
 9   A. Absolutely, remarkable. There's very              9   characterization, based on what you saw when you
10   little area that is not vegetated; there's pine     10   first arrived on the scene?
11   trees of various sizes. I don't know whether        11        MR. DAVIS: Object to form.
12   they were planted or volunteers. There's small      12   A. The word "severely" is, you know, a
13   two-inch pine saplings growing and pines of         13   personal characterization, but they certainly
14   various heights and establishment. Pretty much,     14   were eroded.
15   the area is covered with a layer of pine straw.     15   Q. Would you characterize the photos we just
16   Q. Is there any ground vegetation that you          16   looked at as severely eroded material?
17   noticed other than pine straw?                      17   A. I think I would say highly eroded. That
18   A. There are some small -- I don't know what        18   would be more in tune to a technical, technical
19   kind of trees they are, they might be hardwoods     19   terminology.
20   or other pines.                                     20   Q. In the last sentence, he says that that
21   Q. Anything else?                                   21   area should be regraded and a vegetative cover
22   A. I don't think so.                                22   established. In the time you were out there, was
23   Q. I'll show you some pictures that we marked       23   that ever done?
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 32 of 134
Lois George                                                                                    31 (121 - 124)
                                             Page 121                                                      Page 123
 1   A. If he is referring to what we've been             1   A. I think so. I'm not certain. This is an
 2   talking about, the pre-law area, the answer is       2   Office of Surface Mining Commission document, so.
 3   no.                                                  3   Q. Yes, and I'm just asking for your
 4       (Whereupon, Plaintiff's Exhibit Number 10        4   recollection. Did they have their own setup of
 5   was marked for identification, a copy of which is    5   effluent limitations?
 6   attached to the original of the transcript.)         6   A. I think they did.
 7   Q. Let me show you what I've marked as Exhibit       7   Q. Do you remember what they were numerically,
 8   10 to your deposition. Have you seen that            8   in terms of those values?
 9   document before?                                     9   A. Just the pH; and, again, it could be AWIC
10   A. I have.                                          10   at the time, but 6 to 9 or 6 to 10 pH.
11   Q. Did you see it in connection with preparing      11   Q. What about for iron or manganese?
12   for the deposition?                                 12   A. I don't recall what those might have been.
13   A. Yes.                                             13        (Whereupon, Plaintiff's Exhibit Number 11
14   Q. Did you see it back in 1979?                     14   was marked for identification, a copy of which is
15   A. I don't recall if I had seen it or not. I        15   attached to the original of the transcript.)
16   could have.                                         16   Q. Let me show you what I've marked as Exhibit
17   Q. Do you recall any discussion about it            17   11, and this is one of the documents that was
18   during that time frame?                             18   listed in your reference list on your Expert
19   A. I think we have documents that refer to          19   Report, so apparently you reviewed it in
20   notice of violations; but whether or not PELA was   20   connection with doing your report, right?
21   given a copy of it, I don't know.                   21   A. I'm sorry, I'm not seeing the corresponding
22   Q. Were you told at any point in time that the      22   numbers.
23   Surface Mining Commission had issued this notice    23   Q. It's like the middle of page 13.
                                             Page 122                                                      Page 124
 1   of violation, and that some response was needed?     1   A. Yes, I'm sorry. I was looking at the wrong
 2   A. Oh, sure. I mean, that's why we were              2   page.
 3   contracted to do some of the work.                   3   Q. That's okay. In any event, this letter is
 4   Q. That's why you were hired?                        4   from August 6th of 1979, and it describes a visit
 5   A. Yes, sir.                                         5   to the mine. Do you recall, was this the first
 6   Q. I thought so, but I wanted to make sure           6   visit that you made there for PELA?
 7   that that was your recollection, too. On the         7   A. I think so. I have not seen this letter in
 8   second page, when it describes the violation, up     8   many years, decades.
 9   at the top, the handwritten part says, "Discharge    9   Q. In the third line there, is that your
10   from disturbed area not within effluent             10   maiden name?
11   limitations." Do you see that part?                 11   A. Yes, it is.
12   A. Yes, sir.                                        12   Q. How do you pronounce that?
13   Q. What were the effluent limitations they          13   A. Dildine.
14   were referring to, if you know?                     14   Q. Dildine, okay. And it says that you all
15   A. The Surface Mining Commission had                15   made a review of the notice of violation, which I
16   limitations established for, I'm certain for pH,    16   believe is the one we were just looking at. Does
17   total suspended solids, and possibly iron.          17   that square with your recollection?
18   Q. So that was a requirement of the Surface         18   A. I don't believe there were more than one in
19   Mining Commission and not AWIC?                     19   '79, so it appears that way.
20       MR. DAVIS: Object to form. You can              20   Q. This letter was written by Mr. Philip
21   answer.                                             21   Lamoreaux, correct?
22   Q. I don't know, and I'm not suggesting one         22   A. That's right.
23   way or the other.                                   23   Q. And you were working with him at the time
Freedom Court Reporting, A Veritext Company                                                       877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 33 of 134
Lois George                                                                                  32 (125 - 128)
                                             Page 125                                                 Page 127
 1   on this project?                                     1   term, not a regulatory term.
 2   A. Yes.                                              2   Q. What do you mean by that distinction?
 3   Q. Were you the project manager, or did you          3   A. Well, there currently is distinction. When
 4   have any particular title on this PELA project?      4   this project was going on, there may not have
 5   A. I think I evolved into that.                      5   been.
 6   Q. How often during the work on the site,            6   Q. Do you mean that Dr. Lamoreaux is using it
 7   roughly '79 to '84, were you on the site?            7   as a technical term or a regulatory term?
 8   A. Often.                                            8   A. A technical term. And how we referred to
 9   Q. Weekly?                                           9   the hollow may not be consistent throughout the
10   A. It could have been monthly for some time.        10   documentation.
11   Q. So monthly for a period of years?                11       (Whereupon, Plaintiff's Exhibit Number 12
12   A. No. I think after things got established,        12   was marked for identification, a copy of which is
13   there were other folks that did the monitor runs.   13   attached to the original of the transcript.)
14   Q. Were you there more often early in the           14   Q. Let me show you what I've marked as Exhibit
15   project?                                            15   12. Ms. George, have you seen this letter
16   A. Yes.                                             16   before?
17   Q. What was PELA hired to do in 1979?               17   A. Yes, I have.
18   A. I think there's subsequent documentation         18   Q. Is this what you referred to earlier as the
19   that shows that the work elements that Dr.          19   work elements that PELA was hired to perform?
20   Lamoreaux outlined was turned into a proposal       20   A. Yes.
21   that was authorized.                                21   Q. This has eleven separate items listed.
22   Q. We'll look at that, then, when we get to         22   Were all of those work elements performed?
23   that. In the third paragraph, Dr. Lamoreaux says    23   A. I think for the most part, yes.
                                             Page 126                                                 Page 128
 1   that "The rubble material is acting as a             1   Q. Does that generally and accurately describe
 2   catchment area for recharge." Do you see that        2   the work that PELA did, major components of it
 3   language?                                            3   anyway?
 4   A. Yes.                                              4   A. I think it's a better way to say it, to
 5   Q. What does that mean?                              5   help me with my recollection, yes.
 6   A. That when it rains and there's contact with       6        (Whereupon, Plaintiff's Exhibit Number 13
 7   the material or runoff across the area, the          7   was marked for identification, a copy of which is
 8   material would accumulate in the subsurface          8   attached to the original of the transcript.)
 9   saturation.                                          9   Q. I'm handing you now what I've marked
10   Q. Then a little lower down in that paragraph,      10   Exhibit 13, which is a letter dated November 1,
11   he says, "The area in violation is a tributary to   11   1979. Really, just to complete the record, it
12   the Locust Fork, which has, in part, been filled    12   appears that this is just confirming acceptance
13   with rock disposal material." Do you see that       13   of that proposal by PELA from Mr. Cook. Is that
14   part?                                               14   what it appears to you?
15   A. Yes, sir.                                        15   A. Yes, in the first paragraph. The second
16   Q. Is that reference to what you've drawn on        16   paragraph talks about drilling.
17   Exhibit 7? What you've labeled the intermittent     17   Q. Okay. And he says, "It will not be
18   stream, is that what he's referring to as the       18   necessary to drill the core test holes." Can you
19   tributary there?                                    19   explain what that meant?
20   A. Yes. If I may --                                 20   A. Based on what he's saying, referring back
21   Q. Sure.                                            21   to item 8 on Exhibit 12, we had proposed to core
22   A. -- "tributary," at this time being written       22   test holes. That's a special kind of drilling
23   by geologists and hydrogeologists, is a technical   23   rig that makes a rock core, and Mr. Cook offered
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 34 of 134
Lois George                                                                                  33 (129 - 132)
                                             Page 129                                                 Page 131
 1   that just drilling a shallow test hole rather        1       (Whereupon, Plaintiff's Exhibit Number 15
 2   than using that coring rig into bedrock, would be    2   was marked for identification, a copy of which is
 3   something that they wanted to do at this time.       3   attached to the original of the transcript.)
 4   Q. What would the coring that PELA had               4   Q. Take a look at what I've marked as Exhibit
 5   proposed demonstrate, versus what Mr. Cook           5   15 to your deposition. This is a document that
 6   authorized?                                          6   was listed in your reference list on your Expert
 7   A. I'm not sure specifically what it would           7   Report. The first paragraph talks about staking
 8   demonstrate, but I think the element was proposed    8   the location for MO-1. Do you see that part?
 9   to look at the makeup of the groundwater in the      9   A. Yes, sir.
10   bedrock, and Mr. Cook proposed looking at           10   Q. Do you remember by reference Exhibit 6
11   something more shallow initially. And I think       11   where MO-1 was?
12   this turned into MO-1.                              12   A. I thought it was between the two ponds and
13   Q. And MO-1, when it was ultimately drilled,        13   between the two dams, and I think there's
14   did it go into the bedrock or not?                  14   documentation, a map that shows the locations of
15   A. No, it did not. Well, possibly a few feet.       15   MO-1 and MO-2.
16   We knew we hit bedrock.                             16   Q. There probably is. If we get there, we'll
17       (Whereupon, Plaintiff's Exhibit Number 14       17   find it; and if we don't, I may come back and ask
18   was marked for identification, a copy of which is   18   you to give your best estimation of where it was.
19   attached to the original of the transcript.)        19   Was the purpose of it to ascertain groundwater
20   Q. I'm handing you what I've marked Exhibit 14      20   chemistry, or something else?
21   to your deposition. This is a PELA document,        21   A. At the time -- yes, in part. We were
22   dated November 6, 1979. It says in the first        22   looking at the dynamics of the system and how
23   sentence it's a progress statement. Do you          23   much water there might need to be handled to
                                             Page 130                                                 Page 132
 1   recall seeing these kinds of documents during the    1   potentially "dispose," in quotes, the water in
 2   project?                                             2   the underground mine. That was an initial
 3   A. There were many.                                  3   component of our project before this aspect
 4   Q. In paragraph 3, it talks about four water         4   (indicating), and I'm pointing to Exhibits 7 and
 5   samples collected. Do you recall where those         5   6, started.
 6   were taken?                                          6   Q. In the second paragraph, this is Dr.
 7   A. No. No, I don't.                                  7   Lamoreaux writing again, he says that MO-1 is
 8   Q. Did PELA do the sampling itself, or did TTL       8   going to be in a, [quote], "filled estuary" of
 9   or someone else do the sampling?                     9   the Locust Fork. What area is he referring to
10   A. We did the sampling.                             10   there?
11   Q. Did PELA have its own lab?                       11   A. I think he's talking about somewhere in the
12   A. Yes.                                             12   area between, like I said, the two ponds.
13   Q. Were all of the samples that are mentioned       13   Q. Between the two ponds?
14   in these documents conducted by PELA done in        14   A. Yes, down-slope of the upper pond or upper
15   PELA's lab?                                         15   dam, and up-slope of the lower pond and lower
16   A. I'm not sure. I'm not sure what the lab          16   dam.
17   methods and the holding times were at this time.    17   Q. So down-slope of the upper dam?
18   Our laboratory was in Lakeland, Florida.            18   A. Correct.
19   Q. Okay. So you shipped samples there for           19   Q. In the pond area?
20   analysis?                                           20   A. It would not have been a pond when we were
21   A. Yes.                                             21   working there, though.
22   Q. But it was a PELA-owned lab in Florida?          22   Q. But the dams were there, right?
23   A. Yes. Yes.                                        23   A. May I rephrase that?
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 35 of 134
Lois George                                                                                     34 (133 - 136)
                                             Page 133                                                       Page 135
 1   Q. Yes.                                              1   Q. You've looked for them?
 2   A. The area of -- capture of the runoff behind       2   A. I have looked for them.
 3   the upper dam wouldn't have covered the area we      3   Q. When you say "very few," what did you find,
 4   were drilling in.                                    4   if anything?
 5   Q. So you know it was below the upper dam?           5   A. The final 1984 report; slides, but they
 6   A. Yes.                                              6   didn't go back this far. I know we took
 7   Q. These initial two wells, right?                   7   pictures, but they didn't go back this far; and a
 8   A. MO-1 was.                                         8   couple of the interim progress reports.
 9   Q. What about MO-2?                                  9       MR. DAVIS: And the permit.
10   A. I think -- and again, hopefully we'll find       10   A. Oh, yes, and the permit application, 1982
11   a map. I think MO-2 was between the upper dam       11   permit application for the Maxine Mine.
12   and the location of MO-3.                           12   Q. And you've provided all those to Drummond's
13   Q. That would make sense.                           13   attorneys?
14   A. But without seeing one of the diagrams, I'm      14       MR. DAVIS: We produced to you what we had.
15   not certain.                                        15   These seemed to duplicate. We gave you the
16       (Whereupon, Plaintiff's Exhibit Number 16       16   photographs. You're welcome to look at that,
17   was marked for identification, a copy of which is   17   too, but my understanding is it's duplicate.
18   attached to the original of the transcript.)        18   A. I did not provide the permit application.
19   Q. Please look at what I've marked as Exhibit       19   I assumed they had the record of that.
20   16. It's another PELA letter by Dr. Lamoreaux.      20   Q. I think we're going to have that in this
21   A. (Witness complies.)                              21   stack. If you see something that you recognize
22   Q. So he gives a progress update on various         22   as something you also had at PELA that's a
23   items, all eleven. During this period of time,      23   duplicate, will you try to remember to let me
                                             Page 134                                                       Page 136
 1   what sort of work were you performing personally     1   know?
 2   on the project?                                      2   A. Sure.
 3   A. I really can't say with certainty in late         3   Q. This document, Exhibit 16, was one of the
 4   November, but it was likely fieldwork, sampling,     4   ones cited in your report. Do you know, is there
 5   preparing reports, helping to prepare the            5   anything about this that you relied on in your
 6   progress reports. Whatever was documented, I         6   report, or any opinion you formed?
 7   probably had some hand in it.                        7   A. I think they were for chronological
 8   Q. At that point in time, I guess you had been       8   reference.
 9   working there, what, two to three years?             9       (Whereupon, Plaintiff's Exhibit Number 17
10   A. Yes.                                             10   was marked for identification, a copy of which is
11   Q. Who was on-site with PELA that might have        11   attached to the original of the transcript.)
12   been your supervisor or superior, if anyone?        12   Q. I'm handing you what I've marked Exhibit
13   A. Dr. Lamoreaux was on-site from time to           13   17. Have you seen this document before,
14   time. I don't recall when Doug Powell, who had      14   Ms. George?
15   retired from USGS, had joined PELA as a senior      15   A. Yes, recently.
16   hydrogeologist, and he was on-site sometimes, or    16   Q. In connection with preparing for the
17   supervising and directing the activities.           17   deposition?
18   Q. So these documents were all produced by          18   A. Yes, sir.
19   Drummond, and they're represented, or testified     19   Q. Did you play any role in drafting the
20   from their files and everything. Does PELA have     20   conclusions that start on the second page which
21   copies of any old records from this era in its      21   is Bates-stamped 827?
22   possession?                                         22   A. I think all I can say is probably.
23   A. Very few.                                        23   Q. This document was also one that was listed
Freedom Court Reporting, A Veritext Company                                                        877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 36 of 134
Lois George                                                                                  35 (137 - 140)
                                             Page 137                                                 Page 139
 1   in the references for your report. If you'll         1   you see that part?
 2   turn to page 827, these are the conclusions that     2   A. Yes, sir, item 3.
 3   you all have drawn to date, as I understand it.      3   Q. Would that process still be going on today
 4   Right?                                               4   in that area?
 5   A. Yes.                                              5   A. It could be, but I believe it would be a
 6   Q. And it says they are based on evaluation of       6   more limited area, because the area up-slope has
 7   data obtained from field investigations. What        7   been capped. It should be vegetated.
 8   would that have consisted of?                        8   Q. Have you done any testing or looked at any
 9   A. More than likely, things that were                9   sampling data that would tell you whether that
10   documented in the previous documents and the        10   aquifer is still present or not?
11   progress reports to Mr. Cook.                       11   A. The material in the valley is still there,
12   Q. The first item says that "An aquifer system      12   so I think that part of the setting is much as it
13   has been created above the groundwater system in    13   was; but limited to what we were talking about,
14   the Pottsville Formation." By reference to          14   the lower part of the valley.
15   Exhibit 6 or 7, where would this aquifer system     15   Q. Are there any natural processes that would
16   that's referred to be located?                      16   make the aquifer go away if the material isn't
17   A. I'm not sure of its entirety, but I think        17   removed?
18   we were referring to the area between the upper     18   A. You said natural processes?
19   dam -- I'm sorry, the lower dam and slightly        19   Q. Right.
20   up-slope of the upper dam.                          20   A. Volunteer vegetation would reduce the
21   Q. Would you describe the material that was in      21   amount of recharge.
22   that area as permeable?                             22   Q. Is there any vegetation on either the upper
23   A. Permeability is relative. I know we did          23   or lower ponds at this time?
                                             Page 138                                                 Page 140
 1   some infiltration tests that would give us an        1   A. Not the lower. Not the lower. I guess
 2   indication of what the hydraulic conductivity        2   also, if the Locust Fork had a catastrophic flood
 3   was, but certainly it has a certain amount of        3   and overtopped the lower dam and deposited a lot
 4   ability to take on water and hold it.                4   of clay material, it could limit the amount of
 5   Q. Would you describe it as having a high            5   direct recharge into the sediments that are
 6   hydraulic conductivity?                              6   there. That's all I can think of right offhand.
 7   A. Again, you know, it's relative. I'm not           7   Q. Are you aware of that happening since 1979?
 8   sure what you mean by "high." No, I don't            8   A. I don't remember that we had any floods to
 9   believe so. I think there's enough clay material     9   that extent since 1979, no, but there were
10   in it, that it wouldn't necessarily have a high     10   before.
11   conductivity, like a beach sand or something.       11       (Whereupon, Plaintiff's Exhibit Number 18
12   Q. We may get to it in this stack, but was          12   was marked for identification, a copy of which is
13   there some testing done by PELA in this area that   13   attached to the original of the transcript.)
14   we're talking about now, to assess that             14   Q. Let me show you another PELA document that
15   permeability?                                       15   I've marked Exhibit 18.
16   A. The map indicates that there was an              16       MR. BROCK: This was also, Richard, Exhibit
17   infiltration test between the lower dam and the     17   41 to Hicks' deposition.
18   upper dam.                                          18       MR. DAVIS: Okay.
19   Q. And it's designated by the number 1, with a      19   Q. This was a letter from Dr. Lamoreaux to
20   black square beside it?                             20   Bruce Smith at the Surface Mining Commission.
21   A. Black square, yes, sir, on Exhibit 7.            21   Was this something that PELA did while you were
22   Q. In paragraph 3, it discusses the source of       22   working on the project, was to send updates to
23   recharge to the aquifer as rainfall drainage. Do    23   the mining commission?
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 37 of 134
Lois George                                                                                  36 (141 - 144)
                                             Page 141                                                 Page 143
 1   A. Yes. I think the record would indicate how        1   A. I guess he was referring to drainage to the
 2   frequently it was done. The purpose was to keep      2   Locust Fork.
 3   the Surface Mining Commission informed of            3   Q. Was there a problem on the site when you
 4   progress in addressing the notice of violation.      4   got there with acid water drainage?
 5   Q. Would you read to yourself on the second          5       MR. DAVIS: Object to form.
 6   page, 832, paragraph number 2, the first sentence    6   A. We were addressing what I think everybody
 7   about interstitial openings? Do you agree with       7   called low pH water. Whether or not it was
 8   that sentence, is it accurate?                       8   drainage, I'm not sure I can address that. I
 9   A. I don't have any reason to disagree with          9   know there was runoff, and we set up monitoring
10   it, and that's what I was attempting to describe    10   stations, and the results do indicate there was
11   to you during our last question and answer.         11   low pH measured at those locations.
12   Q. And that same paragraph talks about the          12   Q. Did you use the term "acid mine drainage"
13   thickness of the zone of saturation. What does      13   in describing that runoff?
14   that term mean?                                     14   A. I don't recall that we did.
15   A. It means the amount of material in the           15   Q. Are you familiar with that term?
16   subsurface that contained water.                    16   A. Oh, sure.
17   Q. In this case, does "subsurface" mean below       17   Q. How would you define acid mine drainage?
18   the surface of the fill that's in that area?        18   A. Well, it's low pH, high in other mineral
19   A. Yes.                                             19   contents.
20   Q. On the last page of this document, 834, it       20   Q. Did PELA take surface water samples on the
21   talks about installing a surface water gauging      21   Maxine site that would meet what you would
22   station. What does that measure?                    22   consider the definition of acid mine drainage?
23   A. Depending on its level of sophistication,        23   A. I haven't really made that correlation,
                                             Page 142                                                 Page 144
 1   it could measure the height or change of surface     1   because we didn't use that term, but there were
 2   water.                                               2   measurements at various locations for the
 3   Q. Do you recall any data being generated from       3   results. You could classify it as that. I don't
 4   that gauging station?                                4   know if it was really drainage from a
 5   A. I don't recall if we installed anything           5   mine-constituted area, though.
 6   that would constitute a station. We may have put     6   Q. What do you mean by "a mine-constituted
 7   some gauging -- technology has changed so much, I    7   area"?
 8   can't remember what they were called. They were      8   A. When I think of acid mine drainage and I
 9   more or less just a ruled-off porcelain and metal    9   think the way it initially came out in literature
10   yardstick that you would place so that you could    10   and discussions and investigations, were old
11   take readings periodically by observation.          11   portals of underground mines that the water was
12   Q. So this is not something that would measure      12   actually flowing out onto the ground and into
13   like flow of surface water on the site?             13   surface water systems; and likewise, the same
14   A. A gauging station like USGS has on the           14   thing from abandoned surface pits, I think our
15   Warrior River, certainly they measure flow and      15   reference to anything that was below a neutral
16   gauge height on a real frequent basis. But I        16   pH, we just referred to as low pH water.
17   think what we were referring to here was setting    17   Q. Numerically, what would be -- you said
18   up something that you would make an observation     18   "below neutral," but --
19   as to what the level was.                           19   A. 6. Sorry.
20   Q. In the numbered fourth paragraph where Dr.       20        (Whereupon, at this time a short break
21   Lamoreaux is talking about, [quote], "acid water    21   was taken.)
22   discharging from the system," what was it           22       (Whereupon, Plaintiff's Exhibit Number 19
23   discharging to?                                     23   was marked for identification, a copy of which is
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 38 of 134
Lois George                                                                                  37 (145 - 148)
                                             Page 145                                                 Page 147
 1   attached to the original of the transcript.)         1   Q. And the purpose of those diversion ditches
 2   Q. Back from a break, on the record, I'll show       2   was to reroute surface runoff and sediment on the
 3   you what I've marked as Exhibit 19. Following up     3   site; is that correct?
 4   with what we were just discussing, this relates      4   A. That's what it says.
 5   to the notice of violation that we looked at         5       (Whereupon, Plaintiff's Exhibit Number 21
 6   earlier. And my question is, down at the bottom      6   was marked for identification, a copy of which is
 7   it mentions a permanent treatment of acid mine       7   attached to the original of the transcript.)
 8   runoff, and assigns an abatement date. Do you        8   Q. Let me show you what I've marked Exhibit
 9   see that part?                                       9   21. Can you identify this for us for the record,
10   A. I do.                                            10   please?
11   Q. Was that part of what PELA was hired to do,      11   A. This is an internal memo written by me,
12   was to try to develop a permanent treatment of      12   dated July 30, 1980.
13   acid mine runoff on the site?                       13   Q. Okay. Do you remember writing this memo?
14   A. Yes. You know, I think that was                  14   A. I don't remember writing it, but I
15   everybody's goal. I'm sorry, I'm referring back     15   certainly remember the components, or some of the
16   to the NOV. I think I've answered that question.    16   components of it, yes.
17   I'm sorry.                                          17   Q. And the third item there, you say that "The
18   Q. I'm sorry, I thought you had something else      18   dam was constructed across an embayment." What
19   you wanted to add.                                  19   does the word "embayment" mean, or what does it
20   A. Well, I thought I was going to, but my           20   refer to on the site by reference by maybe
21   research didn't indicate that.                      21   Exhibit 6 or Exhibit 7?
22       (Whereupon, Plaintiff's Exhibit Number 20       22   A. It refers to that slough that I outlined on
23   was marked for identification, a copy of which is   23   one of the topographic maps. I think I was using
                                             Page 146                                                 Page 148
 1   attached to the original of the transcript.)         1   Dr. Lamoreaux's language. I believe that was in
 2   Q. I'm showing you what I've marked Exhibit 20       2   one of the previous letters.
 3   to your deposition. This is a PELA letter dated      3   Q. Throughout this memo, you refer to "a
 4   March 10, 1980, by Mr. Lamoreaux. Have you seen      4   system." Can you explain to us what you mean in
 5   this document before?                                5   this context, by "a system"?
 6   A. Yes, I have.                                      6   A. I think it's documented in the previous
 7   Q. This letter lays out eight alternatives, or       7   letter by Dr. Lamoreaux to Doug Cook, our
 8   potential alternatives for abatement of water        8   objectives at the time were trying to address the
 9   quality problems on the site. It says, "Were any     9   saturated materials in the valley fill, and how
10   of these eight or which of these eight were         10   to handle that water. Maybe that's what I meant
11   implemented?"                                       11   by "system." I'm not sure I would call something
12   A. Well, I'm certain that 1, 2 and 3 were not       12   like that a system today. Even on the next page,
13   accepted as alternatives, and 5, 6 or 7 -- 5, 6     13   750, we were looking at ways to, you know,
14   and 8 were not accepted as alternatives, but        14   physically handle that water.
15   ultimately there was a system of diversion          15   Q. Would "a system" in this context mean
16   ditches which, in part, may have been a             16   basically the same as a drainage area or a
17   springboard off of 4; and for some reason,          17   watershed or sub watershed?
18   there's no 7.                                       18   A. I don't know how to answer that.
19   Q. Yes, I noticed that, too. So the                 19   Q. When you say in item 5 that "The water in
20   alternative here that is closest to what was        20   the system had high concentrations of iron and
21   actually implemented is number 4?                   21   manganese," what particular area were you
22   A. Yes, just the discussion related to              22   referring to?
23   diversion ditches generally, yes.                   23   A. I don't think this document really
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 39 of 134
Lois George                                                                                 38 (149 - 152)
                                             Page 149                                                Page 151
 1   indicates that; but in the previous sentence,        1   A. Can be. Yes, sir.
 2   there's reference to the monitoring wells and the    2   Q. So this is water quality analyses, and this
 3   monitoring sites that are all in the lower part      3   data on this page is from three different dates
 4   of the valley.                                       4   from samples collected at the Maxine site?
 5   Q. If you look at the last page in this              5   A. Yes.
 6   Document 755, are you with me there?                 6   Q. August 27th, January 24th, and
 7   A. I'm there, yes.                                   7   February 22nd?
 8   Q. What is this document?                            8   A. Yes.
 9   A. It's a topographic map that was prepared --       9   Q. And the sample sites across the top
10   I believe it was prepared especially for Alabama    10   correspond to those that are marked on page 755;
11   Byproducts, and it shows some of the monitoring     11   is that correct?
12   stations.                                           12   A. They appear to, yes.
13   Q. And as I'm reading it, the ones that say MO      13   Q. Do you know who did the analysis on these
14   are for groundwater, and the ones that just say M   14   sample results on page 751?
15   are surface water; is that correct?                 15   A. PELA would have done the field
16   A. Yes. Referring back to item 4, that's            16   determinations, and I can only assume we sent
17   correct.                                            17   them to our laboratory. If not, it may have been
18   Q. And looking at page 755, that site M-2,          18   TTL.
19   where exactly was that located in relation to the   19   Q. On the next page, 752, these are just three
20   lower dam?                                          20   subsequent sample dates, correct?
21   A. Topographically, it looks like it's on the       21   A. Yes, in March and April of 1980.
22   lower dam; but as I was referring to earlier        22   Q. Page 753 are three more dates that go
23   today, the point of drainage at the lower dam was   23   through the latest, May 29, 1980; is that
                                             Page 150                                                Page 152
 1   at the south end.                                    1   correct?
 2   Q. Was the point of drainage at the south end        2   A. Yes, sir.
 3   at the time of this memo in 1980?                    3   Q. And following through to page 754, it looks
 4   A. I believe so, yes.                                4   like this sample ends at July 14, 1980. Is that
 5   Q. So what I'm really getting at is, was M-2         5   correct?
 6   measuring discharge at a spillway or over or         6   A. Yes.
 7   through the dam at that point?                       7   Q. At this time, was there a discharge permit
 8   A. There was drainage through, I'd say, the          8   that was in place in this area of the rock
 9   emergency spillway.                                  9   disposal area?
10   Q. Where was M-4 located that seems to be just      10   A. I don't believe so, no. I don't think that
11   north of that?                                      11   was a requirement.
12   A. It looks like it was something at the north      12   Q. Did you ever review a NPDES permit that
13   end of the pond, but I don't recall what it was.    13   related to an outfall number 24 that was in this
14   Q. Do you recall how those surface water            14   general area?
15   samples were collected from M-4? In other words,    15   A. I know it's in the compendium of the
16   was it standing water or moving water, or what      16   documents.
17   sort of surface water there was being sampled?      17   Q. Back then in 1980, were you aware of it?
18   A. Looking back on the table, it doesn't have       18   A. The pond hadn't been constructed at this
19   a flow associated with M-4, so there may not have   19   time.
20   been runoff.                                        20   Q. When do you first recall being aware that
21   Q. While we're on that page, let me make sure       21   there was a NPDES discharge permit at an outfall
22   that I'm interpreting this document correctly.      22   in this area of the rock disposal site?
23   On page 751, is that where you are?                 23   A. Upon review of the documents.
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 40 of 134
Lois George                                                                                  39 (153 - 156)
                                             Page 153                                                 Page 155
 1   Q. After this lawsuit was filed?                     1   topographical maps in that manner an accepted way
 2   A. Yes.                                              2   to perform a volumetric calculation?
 3   Q. So back in the eighties when you were on          3       MR. DAVIS: Object to form.
 4   the site, you were never cognizant of there being    4   A. Sure. You're comparing two different
 5   a NPDES sampling point in this area at all?          5   elevations. But you have to have the third
 6       MR. DAVIS: Object to the form.                   6   component, too, not just the difference in
 7   A. Not at the rock disposal area, no.                7   elevation.
 8   Q. Did you ever review the permit of effluent        8   Q. Third component, being?
 9   limitations or any other information in the          9   A. Well, the three dimensions.
10   permit itself?                                      10   Q. What is the third dimension?
11   A. There weren't any permits.                       11   A. The lateral extent and the actual -- we had
12   Q. Are you aware that there was a NPDES permit      12   a ground truthing, actual measurement based on
13   at some point in the 1980s on the Maxine site?      13   the drilling data.
14   A. Yes.                                             14   Q. In item 7, you performed some calculations
15   Q. When did it come into being, from your           15   to get an estimate of the -- how much water was
16   understanding?                                      16   in the aquifer, do you see that? Can you explain
17   A. I would have to look at the document, but I      17   how you made that calculation?
18   believe it was after construction of that basin,    18   A. Based on the cubic yards that were
19   which was in the mid '80s, near the mid '80s,       19   determined in item 6, using a porosity of
20   somewhere around there.                             20   25 percent, which would be the void space that
21   Q. Was it in effect from 1983 to '88, do you        21   would be occupied by water, do the calculations
22   know?                                               22   to go from cubic yards to gallons.
23   A. The permit?                                      23   Q. In item 8, you've got some calculations
                                             Page 154                                                 Page 156
 1   Q. Yes.                                              1   related to annual precipitation. Do you see that
 2   A. Without looking at the document, I'm not          2   part?
 3   certain of the dates, but I know there wasn't one    3   A. Yes, sir.
 4   early on.                                            4   Q. Where do the 4.3 feet come from?
 5   Q. Did you ever have to compare PELA's data to       5   A. I'm not certain. It may have been records
 6   the limits in the permit?                            6   accumulated by NOAA, the National Oceanic
 7   A. I think what I referred to earlier was            7   Atmosphere Administration, that were more
 8   comparing, specifically, I know, pH to the 6 to 9    8   specific to the area.
 9   limits. I would imagine we had compared the iron     9   Q. Do you know if that is -- that 4.3 figure,
10   and the other constituents, too, but I'm not sure   10   is that typical today of rainfall in the Maxine
11   if it was, like you talked about earlier, AWIC or   11   Mine area?
12   surface mining limitations, although I think it     12   A. No, I don't. I haven't looked at
13   was surface mining limitations.                     13   precipitation in that area in quite some time.
14   Q. In paragraph 6 here, you've got some             14   Generally Alabama, you know, middle Alabama,
15   figures for volumetric calculations. Do you see     15   somewhere around 55 inches.
16   that part?                                          16   Q. Around 55 inches is typical in middle
17   A. Yes.                                             17   Alabama?
18   Q. How did you perform those calculations?          18   A. Yes, sir.
19   A. I think based on some cross-sections that        19   Q. As I understand this, then, when you
20   were made using the two different dates of          20   convert that into gallons per minute, you're
21   topography, and the thickness of the fill           21   saying it's 480 gallons per minute working off of
22   material based on the MO-1 and MO-2.                22   52 inches in annual rainfall, and that would be
23   Q. Is the use of two different dated                23   daily?
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 41 of 134
Lois George                                                                                     40 (157 - 160)
                                             Page 157                                                       Page 159
 1   A. The 52 inches is per -- for a year.               1   fill up to 8 would cost $4,548 a day for
 2   Q. Right.                                            2   treatment?
 3   A. And the calculation was 252 million gallons       3   A. The water that's in it currently and the
 4   per year.                                            4   water that would continue to be there based on
 5   Q. Right.                                            5   rainfall and runoff to that area.
 6   A. So then you would relate that back to             6   Q. For how long would you have to treat it in
 7   gallons per day, hour, minute.                       7   this manner to keep the pH at 8?
 8   Q. Right. But the 480 gallons is a                   8   A. I don't think that was a component that was
 9   calculation of gallons that flow per minute every    9   evaluated.
10   day of the year for that year?                      10   Q. Do you recall how Mr. Cook or ABC responded
11   A. Oh, I'm sorry, yes. Yes.                         11   to this computation, I guess? I'm not sure it's
12   Q. Right?                                           12   a recommendation; but, I mean, as to number 3,
13   A. Yes. I misunderstood your question.              13   did they accept that?
14       (Whereupon, Plaintiff's Exhibit Number 22       14        MR. DAVIS: Object to form.
15   was marked for identification, a copy of which is   15   A. I don't recall what Mr. Cook's response was
16   attached to the original of the transcript.)        16   to it, but the Alabama Water Improvement
17   Q. Have a look at what I've marked as Exhibit       17   Commission did not accept the recommendation to
18   22 to your deposition. Are you familiar with        18   put the water in the mine.
19   this document?                                      19   Q. So this item number 3 also related to
20   A. Yes.                                             20   pumping water into the mine?
21   Q. Can you tell us what it is that Dr.              21   A. Yes. Yes, the whole letter does.
22   Lamoreaux is illustrating in these three numbered   22   Q. Now you've educated me.
23   scenarios in this document?                         23        (Whereupon, Plaintiff's Exhibit Number 23
                                             Page 158                                                       Page 160
 1   A. Based on the titration evaluation and the         1   was marked for identification, a copy of which is
 2   pages that follow, Dr. Lamoreaux was summarizing     2   attached to the original of the transcript.)
 3   the amount of water and the associated treatment     3   Q. I've showed you what I've marked as
 4   and costs that it would take to adjust the pH to     4   Plaintiff's Exhibit 23. This is a PELA document
 5   8, 9 or 10, with three different components of       5   dated December 30, 1980. Have you seen this
 6   being able to put the water down in the mine.        6   document before?
 7   First, you would have to treat the water in the      7   A. Yes, recently.
 8   mine up to this level, one of these levels, so       8   Q. In the fourth paragraph, he indicates that
 9   that whatever the pH was in the mine -- and I'm      9   the upper pond is silted up to the level of the
10   not sure it says it anywhere in here, it may --     10   spillway. Do you see that part?
11   so that when you introduce the water from the       11   A. I do.
12   surface into the mine, it just doesn't null-out,    12   Q. Do you recall seeing it in that condition?
13   you've already elevated the pH of the water in      13   A. I don't recall, but it does indicate I was
14   the mine.                                           14   there.
15   Q. Let me ask you this, because it looks to me      15   Q. But you don't recall one way or the other?
16   like number 1 and number 2 are dealing with the     16   A. No, I don't.
17   mine or the underground part of the pit, whereas    17   Q. Would you agree with me that a sediment
18   number 3, I'm not sure. Number 3 refers to the      18   pond, if it is full of sediment, can't perform
19   rock fill area, so does that relate to the waste    19   its function properly of settling-out solids?
20   pile area?                                          20        MR. DAVIS: Object to form.
21   A. I think that's the valley, the valley fill.      21   A. It certainly wouldn't be near as efficient.
22   Q. So what he's illustrating here is to bring       22   You would still have water slowing down and going
23   the pH of the water discharging from the valley     23   over the top of it. Some settlement would
Freedom Court Reporting, A Veritext Company                                                        877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 42 of 134
Lois George                                                                                 41 (161 - 164)
                                             Page 161                                                 Page 163
 1   happen, but it wouldn't be as efficient as it was    1   A. I don't know for certain.
 2   constructed to be.                                   2   Q. This is a document which I believe deals
 3   Q. Right. In fact, further in that paragraph,        3   with a mixing zone. Do you recall that?
 4   Dr. Lamoreaux says that it's filled in               4   A. Yes, sir.
 5   two-and-a-half to three feet, and that will          5   Q. Do you remember ever discussing this work
 6   greatly eliminate the retention time. Do you see     6   or a mixing zone with any state regulators?
 7   that part?                                           7   A. I think we discussed it on-site with AWIC.
 8   A. Yes.                                              8   Q. What's your best recollection of that
 9   Q. So that's a true statement, right?                9   discussion?
10   A. Yes.                                             10   A. Not substance.
11   Q. And if you eliminate the retention time,         11   Q. Do you know if notices of violation were
12   wouldn't it be true that more solids are going to   12   issued after this point in time where you
13   travel through the pond, over its surface,          13   established this so-called "mixing zone"?
14   downgradient toward the river?                      14   A. There was an additional notice of
15   A. I think that's what the last part of the         15   violation, but I thought it had to do with the
16   sentence says, yes.                                 16   upper part of the rock disposal area.
17   Q. He described this as an item of concern he       17   Q. Can you explain to us the methodology that
18   was presenting to ABC. Do you remember what         18   PELA employed in calculating or establishing what
19   action, if any, in response to this letter ABC      19   it referred to as a mixing zone?
20   took?                                               20   A. Using a boat; a tape that we used as a sign
21   A. Cleaned out the pond.                            21   to measure the depth of the water; used a
22   Q. Do you think or do you know that they did,       22   specific conductance meter that had a long cable
23   or is that your best recollection?                  23   on it, and I specifically remember this because
                                             Page 162                                                 Page 164
 1   A. I recall that there was earthmoving               1   typically the meters only had cables that were
 2   equipment in that area several times. Sediments      2   three or four feet long, and it had to be
 3   were removed.                                        3   acquired. Since this was pre-GPS or anything, we
 4   Q. Would you agree that if you don't                 4   may have had a rope stretched across the river
 5   periodically remove the sediments, that a            5   temporarily so that we could determine where we
 6   sediment pond is not going to function properly?     6   were at each station. The station was
 7        MR. DAVIS: Object to form.                      7   established so many feet from the bank all the
 8   A. Well, it depends on where the spillway is         8   way across at intervals; the depth of the water
 9   relative to how much water there is when the         9   was measured, and then the specific conductance
10   rainfall event comes in. But with time, yes, if     10   sign was lowered incrementally and measurements
11   it fills up to the point that everything is just    11   made.
12   washing over, yes.                                  12   Q. If you look at page 32 in this document,
13        (Whereupon, Plaintiff's Exhibit Number 24      13   it's got a topo map with some explanatory
14   was marked for identification, a copy of which is   14   material.
15   attached to the original of the transcript.)        15   A. Yes, sir.
16   Q. Let me show you what I've marked Exhibit 24      16   Q. So what does M1-1 represent, or MI-1?
17   to your deposition, and this is one of the          17   A. If you look on page 29, the last paragraph
18   documents you had in your reference list for your   18   indicates that MI-1 was in the mixing zone
19   Expert Report. Are you familiar with this           19   itself.
20   document?                                           20   Q. How far is MI-1 from the shoreline?
21   A. Yes.                                             21   A. I don't see that there's a specific
22   Q. Was this document ever submitted to state        22   reference to it, but in looking -- it says it's
23   regulators?                                         23   within the mixing zone. If you look at 34, page
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 43 of 134
Lois George                                                                                    42 (165 - 168)
                                             Page 165                                                    Page 167
 1   34, please --                                        1   zone exercise?
 2   Q. All right.                                        2   A. I think in answer to your earlier question,
 3   A. -- it shows the extent of the mixing zone         3   I don't know whether or not it was given to an
 4   out 25 to 35 feet, and it would be someplace in      4   agency, but it was completed at the request of
 5   that area that's what we called it, but I don't      5   Doug Cook, which I believe he had implemented as
 6   know specifically where.                             6   a result of the NOV or discussions with the
 7   Q. Do you know what depth the measurement was        7   agency. In fact, I think there is somewhere in
 8   taken at MI-1?                                       8   the record that Mr. Cook asked that we
 9   A. MI-1?                                             9   specifically do this as an additional aspect of
10   Q. Yes.                                             10   working on the rock disposal area.
11   A. I don't think the report indicates that.         11   Q. So Mr. Cook at ABC would have requested
12   Q. So on page 30, we have a comparison of MI-1      12   PELA to perform this mixing zone exercise?
13   and M-2. Is that M-2 location the same that we      13   A. He authorized it.
14   looked at earlier --                                14   Q. And they paid PELA to do it?
15   A. Yes.                                             15   A. Yes.
16   Q. -- on the south end of the lower dam?            16        (Whereupon, Plaintiff's Exhibit Number 25
17   A. Yes.                                             17   was marked for identification, a copy of which is
18   Q. So basically, this is comparing the water        18   attached to the original of the transcript.)
19   chemistry at M-2 versus MI-1 here on page 30?       19   Q. I've handed you what has been marked
20   A. That's correct. For comparison, if we look       20   Exhibit 25. This is also one of the documents
21   at the specific conductance on page 30 for MI-1,    21   listed in your expert list, reference list. This
22   and look back at the diagram on page 34, I'm not    22   is a folder that is titled Supplement to Permit
23   sure we can correlate the symbology; but the        23   Application. Is this similar to the documents
                                             Page 166                                                     Page 168
 1   specific conductance was 140, so it would -- I       1   that you said PELA had?
 2   can't compare the symbology. I was trying to do      2   A. No. We had the original permit
 3   that, but it's not working. There's too many         3   application.
 4   stipples that look the same that was reproduced.     4   Q. Have you seen this document before?
 5   Q. Right, for those different numeric levels         5   A. I have.
 6   of conductance?                                      6   Q. Did you review it recently?
 7   A. Yes. I was trying to see where the extent         7   A. Yes, sir.
 8   of the 140 was on the diagram.                       8   Q. Which permit was this application
 9   Q. So conceptually, what does the concept of a       9   pertaining to?
10   mixing zone mean in this application? What does     10   A. I don't see the permit number here, but it
11   it show you? What does it prove?                    11   was Maxine's P, whatever number it was, 32.
12   A. Well, it demonstrates where the water            12   Q. 3254, maybe? Something close to that. Is
13   entering the Locust Fork from the lower pond, it    13   that the surface mining or the mining permit?
14   shows an elevated, slightly elevated specific       14   A. Yes.
15   conductance, versus the conductance over the rest   15   Q. Did PELA provide some information to ABC in
16   of the river. It shows it had a limited extent      16   connection with its permit application in 1982?
17   out into the river and a limited extent down the    17   A. Yes.
18   river. It's 180 feet by 40 feet.                    18   Q. If you would look at page 219 in this
19   Q. To your knowledge, was any mixing zone ever      19   document, starting at the bottom of the page,
20   established at the Maxine site by any state         20   area 2, the reference to the active coal
21   regulators?                                         21   processing waste bank, what area of the site is
22   A. No.                                              22   that a reference to, if you know?
23   Q. To what use did PELA or ABC put this mixing      23   A. It makes reference to a map. The map is
Freedom Court Reporting, A Veritext Company                                                       877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 44 of 134
Lois George                                                                                  43 (169 - 172)
                                             Page 169                                                 Page 171
 1   after page -- I can't read the number on it, it's    1   sure it's that area.
 2   too small.                                           2   Q. Do you know if this information was
 3   Q. On the map?                                       3   actually submitted to the ASMC as part of the
 4   A. The Bates number.                                 4   permit application?
 5       MS. ANDREEN: It's 267.                           5   A. I don't have any reason to believe that it
 6   A. Looking at the map, map 405 on 267, it's          6   wasn't.
 7   the area labeled as number 2, the active washer      7   Q. If you'll turn to page 222 within that
 8   refuse disposal area. That is the capped area.       8   document, there's a PELA document there. Do you
 9   Q. Right, the capped area is basically what          9   see that?
10   they're talking about there?                        10   A. Yes.
11   A. Right. Yes, sir.                                 11   Q. It's from July 30th of 1982. Did you work
12   Q. And they describe in a couple of paragraphs      12   on this document?
13   a plan that they have for reclaiming and            13   A. Yes, sir.
14   abandoning that area. Are you familiar with the     14   Q. Did you draft all of it or parts of it?
15   content of what's set forth in this page?           15   A. I don't believe all of it, but possibly the
16   A. Yes, it talks about the diversion ditches.       16   majority of it, and then reviewed by Dr.
17   Q. Is this basically what ended up being            17   Lamoreaux and Mr. Powell.
18   implemented on the site? You can take your time     18   Q. If you'll turn to page 239 -- actually, I
19   to read it.                                         19   think I've already asked you all the questions
20   A. I think this is the conceptual stage still,      20   that I would have about that page.
21   so it's not the end result.                         21   A. Okay.
22   Q. Do you know if this Area 1 that they             22   Q. On page 241, the discussion of the surface
23   discuss was ever approved and constructed?          23   water monitoring program, do you see that part?
                                             Page 170                                                 Page 172
 1   A. I think it was approved. I think it was           1   A. Yes, I do.
 2   cleared. I'm really not sure if it was ever          2   Q. It describes, the wording uses "segregate
 3   used. If it was, it was after the fact. I'm not      3   runoff." Do you recall that being an objective
 4   really sure.                                         4   of this plan that PELA drafted?
 5   Q. In the top paragraph there on page 220,           5   A. I'm sorry, I don't see where "segregate"
 6   Bates-stamped 220, page 4 of the document, it's      6   is.
 7   discussing the reclamation of the post law area,     7   Q. It's in the first sentence under the
 8   and it says that they were going to cover it with    8   heading Surface Water Monitoring Program.
 9   one foot of clay and then revegetate it. Do you      9   A. Oh, "to segregate the runoff." Yes.
10   know if that's what was done?                       10   Q. And it indicates below, as we discussed
11   A. I think it was two feet of clay, and I know      11   earlier, that the east side channel would collect
12   it was revegetated.                                 12   from the old material, and the west side would
13   Q. Then it says that "The basin will be             13   collect from the capped area, correct?
14   reclaimed and vegetated." Did that ever happen?     14   A. Correct.
15   A. I'm not sure which basin is being                15   Q. As we've already discussed. Why was the
16   referenced here.                                    16   objective to segregate the runoff in that manner?
17   Q. I thought they were referring to the basin       17   A. To segregate the pre-law and the post law
18   shown in Exhibit 7.                                 18   contribution to drainage.
19   A. Could be.                                        19   Q. Was there a scientific reason to do it that
20   Q. But you don't know for sure?                     20   way?
21   A. Yes, I believe it is referring to an             21   A. Well, the science is based on the
22   additional basin besides the upper and the lower    22   configuration of land surface and the
23   ponds; but, again, this was conceptual. I'm not     23   configuration of a planned final land surface,
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 45 of 134
Lois George                                                                                 44 (173 - 176)
                                             Page 173                                                 Page 175
 1   but the reason was to move forward with              1   A. There wasn't any regulatory requirement at
 2   regulatory requirements for permitting and           2   the time.
 3   operating the Maxine Mine in their rock disposal     3   Q. That was your understanding?
 4   area.                                                4   A. Yes, sir.
 5   Q. Is what you just said, that was your              5   Q. And what was the basis of that
 6   understanding of the purpose of segregating the      6   understanding? I mean, you don't have any legal
 7   runoff?                                              7   training, do you?
 8   A. Yes, it was.                                      8   A. No.
 9   Q. And who told you that?                            9   Q. Did you make a legal analysis about what --
10   A. I think there were a number of discussions       10   A. I did not.
11   with Randy Johnson, the ABC engineers. I don't      11   Q. -- what they were obligated to do or not?
12   know if Mr. Willett was involved in discussions,    12   A. I did not. It wasn't our recommendation.
13   but I think there was correspondence regarding      13   We were consulting to Alabama Byproducts, with
14   that.                                               14   the objective of satisfying the NOVs and
15   Q. Do you remember the Clean Water Act ever         15   obtaining permits. It wasn't required. It
16   coming up in any of those discussions?              16   wasn't asked for.
17   A. No, sir.                                         17   Q. Okay. Some testimony earlier in the case
18   Q. How was the capped area reclaimed?               18   indicated that this area, the pre-law, is not
19   A. In part, it was the way the waste was            19   within the boundary of the mining permit. Do you
20   placed there. It was placed in maybe six-inch or    20   know if that's true, or not?
21   twelve-foot lifts so it would be more compact; it   21   A. It's my recollection that mining permits
22   was sloped to not necessarily a design plan, but    22   for underground mines had to do with their
23   it was sloped so it would drain towards the west;   23   surface activities, such as airshafts, washers,
                                             Page 174                                                 Page 176
 1   and terraced; and then the one foot or two foot      1   conveyors, roads, active rock disposal areas, and
 2   of cap material which was from a nearby borrow       2   that's what was permitted.
 3   pit; and it was tested, the material fit criteria    3   Q. But my question was whether the pre-law
 4   for using as cover. It was placed and then           4   rock disposal area was within the permit, or not?
 5   vegetated and augmented with nutrients and           5   A. No, it was not.
 6   whatever.                                            6   Q. Were you aware of that back in the '80s?
 7   Q. Was all of that reclamation work completed        7   A. Sure.
 8   by the time you left in '84?                         8   Q. What impact did that have, if any, on any
 9   A. Yes, in the capped area. The only part I'm        9   of the work that PELA did; did it matter?
10   not certain about was some of the lower ditch       10   A. I don't understand the question.
11   construction. I know the cross-over was             11   Q. Okay. Did it matter to PELA in any way, in
12   completed. Yes, it was completed, because we did    12   any of the hydrologic analysis or work you did,
13   monitoring, post cap monitoring.                    13   whether this area was within the mining permit
14   Q. What reclamation work was done on the            14   boundary or not?
15   pre-law area in comparison?                         15       MR. DAVIS: Object to the form. You can
16        MR. DAVIS: Object to the form.                 16   answer.
17   Q. If any?                                          17   A. I don't understand what "matter" means. We
18   A. The pre-law area north of the north ditch        18   were monitoring at surface water points and
19   was contoured to drain into the ditch.              19   groundwater points. I'm not sure I understand
20   Q. What about the rest of the pre-law area?         20   what you mean.
21   A. There was no work, to my knowledge, done on      21   Q. Would you have performed your work any
22   the pre-law area to the east of the capped area.    22   differently if the area had been within the
23   Q. Do you know why not?                             23   permit boundaries?
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 46 of 134
Lois George                                                                                  45 (177 - 180)
                                             Page 177                                                 Page 179
 1   A. I don't know the answer to that. The              1   recollection?
 2   permitting was completed in accordance with the      2   A. 3, 4, 5 and 6. I don't remember the
 3   requirements of surface mining regs as to what       3   sequence of installation, but the purpose of
 4   underground mines had to do at the time.             4   installing 7, 8 and 9 were related to evaluating
 5         (Whereupon, at this time a short break         5   the post effect of capping. One of the wells, 7
 6   was taken.)                                          6   or 8, was actually drilled through the post law
 7       (Whereupon, Plaintiff's Exhibit Number 26        7   area and cased through the post law area, and
 8   was marked for identification, a copy of which is    8   then drilled down into the pre-law area; so you
 9   attached to the original of the transcript.)         9   were just monitoring the pre-law, the deeper
10   Q. Can you tell, is Exhibit 26 a PELA               10   underneath, and then the other well was
11   document? I know part of it is, starting at         11   shallower, to make a comparison of what was going
12   1798.                                               12   on in the pre-law and the post law at the same
13   A. I believe so. I think it was generated by        13   location.
14   ABC as a result of follow-up questions. I was       14   Q. Let me see if I understand what you're
15   wondering that myself, to be honest with you,       15   saying. Are you saying within the depth of some
16   where it came from.                                 16   of the material, some of the deeper material was
17   Q. Item 3 talks about hydrology monitoring and      17   considered pre-law?
18   the, [quote], "old disposal area" for a year. I     18   A. Yes.
19   think that's referring to the capped area there.    19   Q. At what depth did it become or was it
20   In any event, is that what happened, in fact, did   20   deemed to be pre-law?
21   PELA monitor that for a year after vegetative       21   A. We'll have to look at the boring logs.
22   cover?                                              22   Q. Was that true for the entire capped area?
23   A. I believe so. I think our final report in        23   A. No.
                                             Page 178                                                 Page 180
 1   1984 documents all those activities, summarizes      1   Q.   Just parts of it?
 2   them, anyway.                                        2   A.   Just the upper part, is my recollection.
 3   Q. If you would look at page 1798, and just          3   Q.   Can you specify when you say "upper"?
 4   confirm if that is a PELA document that sets out     4   A.   No.
 5   some of the details of that monitoring program?      5   Q.   How much of it?
 6   A. It looks like a more formal recap of some         6   A.   No, I can't. I'm sorry.
 7   of the letters to Mr. Cook.                          7       (Whereupon, Plaintiff's Exhibit Number 27
 8   Q. Were there some groundwater wells that were       8   was marked for identification, a copy of which is
 9   installed as part of the monitoring program?         9   attached to the original of the transcript.)
10   A. Yes, MO-3 through MO-9.                          10   Q. Ms. George, will you take a look at what
11   Q. And are those shown on Exhibits 6 and 7?         11   I've marked as Exhibit 27? This is another PELA
12   A. Some of them are shown on 7; all of them         12   document that deals with these monitoring wells.
13   are shown on 6.                                     13   If you could, do you see the part that describes
14   Q. So Exhibit 6 contains all of the monitoring      14   four wells in the middle of the page, first page?
15   wells that PELA ever installed on the Maxine        15   A. Yes.
16   site?                                               16   Q. And the first one, A, it says "Up-dip from
17   A. Yes.                                             17   the capped area." What number monitoring well
18   Q. Were Wells 3 through 9 installed at the          18   would that correspond to in number 6?
19   same time?                                          19   A. Either 4 or 5 or 6.
20   A. I think 7 and 8 were installed after -- and      20   Q. What about B, "Down-dip from the capped
21   possibly 9, after the capping, so.                  21   area," what would that correspond to?
22   Q. Which ones were pre-capping and which ones       22   A. MO-3.
23   were post capping, to the best of your              23   Q. Two wells in the capped area, it looks like
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 47 of 134
Lois George                                                                                  46 (181 - 184)
                                             Page 181                                                 Page 183
 1   there are actually three, right?                     1        (Whereupon, Plaintiff's Exhibit Number 29
 2   A. That's correct.                                   2   was marked for identification, a copy of which is
 3   Q. So apparently there was an adjustment made        3   attached to the original of the transcript.)
 4   to this outline or plan?                             4   Q. Please look at what has been marked Exhibit
 5   A. Right. This was a plan.                           5   29 to your deposition. Have you seen this
 6   Q. And for the record, this was one of the           6   document before?
 7   documents you listed in your reference list on       7   A. I did sign it.
 8   your expert report. Did you review this for          8   Q. On the second page, it talks about breaker
 9   historical reference, or for what purpose in         9   rock samples. Do you recall where those samples
10   connection with your report?                        10   were taken from?
11   A. Chronological information.                       11   A. I think these were collected by ABC from
12       (Whereupon, Plaintiff's Exhibit Number 28       12   various locations underground in the mine, and
13   was marked for identification, a copy of which is   13   this was a component of requirement for the
14   attached to the original of the transcript.)        14   permit.
15   Q. If you would, take a look at what has been       15   Q. Okay. So this is underground --
16   marked Exhibit 28, and let us know if you recall    16   A. Yes.
17   seeing this document before?                        17   Q. -- breaker rock?
18   A. I do.                                            18   A. Yes.
19   Q. It looks like on the second page, you            19   Q. On the first page there's some data there
20   signed it. Is that right?                           20   for Maxine compared to other mines, and it
21   A. Yes, sir.                                        21   indicates that the neutralization potential is a
22   Q. In this letter, you and Dr. Lamoreaux set        22   lot lower than the others. Do you know why that
23   out eight different recommendations. Can you        23   was or would be?
                                             Page 182                                                 Page 184
 1   tell us which of these were undertaken? It looks     1   A. Maxine Mine was mining the American coal
 2   like the third page is a map, but I can't see any    2   seam; the Mary Lee 2, Segco 7 and Mary Lee 1,
 3   of the sites that are listed in that list of         3   were obviously mining the Mary Lee coal seam
 4   eight items.                                         4   which is a deeper coal seam, a different coal
 5   A. I can't say that they all were completed as       5   seam, and I think Segco and Chetopa were also
 6   a result of this letter. As I discussed earlier,     6   established in the Mary Lee coal seam.
 7   and I think there was another letter after           7   Regardless of that, there's different
 8   another inspection that upon going to the site,      8   environments at different places in the Warrior
 9   if we saw issues that were not consistent with       9   basin.
10   the planning, or based on things that had           10   Q. It also indicates a lot higher pyritic
11   happened during rain events, we made                11   sulfur content in the Maxine Mine samples. What,
12   recommendations to ABC to, as it says on page 2,    12   if anything, does that indicate?
13   to ensure the segregation and the monitoring and    13   A. That it's different from other locations.
14   maintenance.                                        14   Again, it likely has to do with the geology and
15   Q. Particular reference to number 7, you            15   the environment and deposition of the coal.
16   recommended building up a berm to prohibit          16        (Whereupon, Plaintiff's Exhibit Number 30
17   commingling. Do you recall if that was done?        17   was marked for identification, a copy of which is
18   A. I assume it was done since the NOV and the       18   attached to the original of the transcript.)
19   Order were addressed. I'm not sure I actually       19   Q. Ms. George, you're looking at Exhibit 30.
20   witnessed it.                                       20   Would you turn to page 3542? And there are some
21   Q. But as far as you recall, the segregation        21   latitude and longitude coordinates for wells, is
22   of the two streams was accomplished?                22   that what those are?
23   A. The ditches? Yes.                                23   A. Yes, sir.
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 48 of 134
Lois George                                                                                     47 (185 - 188)
                                                 Page 185                                                Page 187
 1   Q. Are these some of the wells that are on the          1   deposition?
 2   Maxine site?                                            2   A. I did sign it.
 3   A. No, sir.                                             3   Q. The main purpose of this, I guess, is just
 4   Q. Okay. What are these?                                4   chronology? It seems to indicate on the second
 5   A. These are wells that were drilled into the           5   page that as of this time, February of '83, that
 6   Pottsville formation to collect groundwater             6   the parallel ditch hadn't been constructed yet?
 7   monitoring information for the overall mine             7   A. Right, it appears to be still a work in
 8   permit.                                                 8   process.
 9   Q. The first two pages of this document, it             9   Q. So that was the last ditch that was
10   looks like it's a letter that you wrote                10   constructed, apparently, right?
11   December 15, 1992?                                     11   A. I can't say that with certainty, but
12   A. '82.                                                12   possibly.
13   Q. I'm sorry, '82. Do you recall this letter?          13   Q. Possibly, okay.
14   A. Not very well.                                      14       (Whereupon, Plaintiff's Exhibit Number 32
15   Q. Well, it seems to be discussing a process           15   was marked for identification, a copy of which is
16   of training ABC personnel to do some of the            16   attached to the original of the transcript.)
17   monitoring work. Do you remember that happening?       17   Q. I'm handing you what I've marked as Exhibit
18   A. Yes.                                                18   32 to your deposition. Did you play any role in
19   Q. So at some point in time, did they take             19   preparing this document?
20   over the groundwater well sample gathering?            20   A. More than likely, yes.
21   A. Some of the information that was being              21   Q. This is the first record that I see
22   collected was taken over by the mining staff. I        22   documenting surface water sampling results from
23   believe we needed a year of monitoring data            23   SW-2 and SW-3 and SW-1, so I want to ask you
                                                 Page 186                                                Page 188
 1   before you could submit a permit.                       1   about those with reference to Exhibit 6. Are
 2   Q. So did they go out and physically gather             2   those surface water sampling points shown on
 3   the samples from the wells?                             3   Exhibit 6?
 4   A. I'm not sure they did the sampling. This             4   A. Yes.
 5   is relative to the water level recorders and rain       5   Q. And if you look at page 430, the second
 6   gauges.                                                 6   page of this document, in the second paragraph,
 7   Q. It says in the third paragraph, "They                7   as I read it, it indicates that SW-2, the sample
 8   completed the monitoring well circuit." What            8   site, was in the west ditch. Do you see that
 9   does that mean?                                         9   part?
10   A. We went to each well at each mine site and          10   A. Yes, sir.
11   inspected the conditions of the well and the           11   Q. Is that correct?
12   instrumentation. One of the challenges in doing        12   A. Yes.
13   some of these projects is vandalism. People like       13   Q. It looks like, looking at Exhibit 6, that
14   to shoot at things that aren't -- things that are      14   SW-2 was a little bit downgradient from the basin
15   supposed to be there.                                  15   that's shown there in the ditch. Is that
16   Q. Use it as a target?                                 16   correct?
17   A. Yes. Not the mine people.                           17   A. Yes.
18   Q. Right.                                              18   Q. And SW-3, it says, was in the east ditch?
19        (Whereupon, Plaintiff's Exhibit Number 31         19   A. Yes.
20   was marked for identification, a copy of which is      20   Q. So that means that somebody was taking a
21   attached to the original of the transcript.)           21   surface water sample out of those particular
22   Q. Ms. George, have you seen this document             22   ditches and compiling this data, correct?
23   before, that we've marked as Exhibit 31 to your        23   A. That's right.
Freedom Court Reporting, A Veritext Company                                                        877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 49 of 134
Lois George                                                                                      48 (189 - 192)
                                                  Page 189                                                Page 191
 1   Q. Do you know how far apart SW-2 and SW-3               1   do you remember?
 2   were?                                                    2   A. Not at this time. The objective at this
 3   A. No, I don't, and unfortunately neither of             3   time was to get in the segregation of the waters
 4   these diagrams have scales.                              4   and monitor it and report as each event was taken
 5   Q. Do you remember approximately how many feet           5   and the date it was compiled.
 6   apart they were?                                         6   Q. So at this point in time you were just
 7   A. No, I don't.                                          7   trying to demonstrate a difference between the
 8   Q. What was used to mark or designate a                  8   two samples, SW-2 and SW-3?
 9   particular sampling spot that was designated 2           9   A. Just monitor what it was.
10   and 3?                                                  10   Q. Pardon?
11   A. I don't recall.                                      11   A. Monitor what the actual conditions were.
12   Q. On page 433 of this document, there's a              12   I'm not sure we were really making comparisons,
13   table. Would you take a look at that? It                13   because everything wasn't completed yet. I don't
14   appears to indicate three different sampling            14   see that the report really does anything other
15   dates for SW-2, SW-3, and MO-3. Is that correct?        15   than just reporting what was done and what the
16   A. Yes, sir.                                            16   results were.
17   Q. So when we see the column SW-2 and SW-3 on           17       (Whereupon, Plaintiff's Exhibit Number 33
18   the right, that will correspond to the two              18   was marked for identification, a copy of which is
19   locations we see on Exhibit 6?                          19   attached to the original of the transcript.)
20   A. Yes.                                                 20   Q. Let me show you Plaintiff's Exhibit 33.
21   Q. This indicates on February 4, 1983, at SW-2          21   Have you ever seen this before?
22   the pH was 4.4. That's below the 6 threshold            22   A. I have, just recently.
23   that you mentioned earlier, correct?                    23   Q. In connection with preparing for the
                                                  Page 190                                                Page 192
 1   A. It says 4.4, yes.                                     1   deposition?
 2   Q. So was there any action taken, that you               2   A. Yes.
 3   recall, to try to improve on the pH of that              3   Q. After the lawsuit was filed?
 4   discharge?                                               4   A. Yes.
 5   A. I don't recall at the time.                           5   Q. The bottom part of this has some
 6   Q. And it indicates that the pH from the SW-3            6   handwritten information that is recounting a
 7   sample was 2.9, correct?                                 7   conversation about possible NPDES permits. Were
 8   A. Yes.                                                  8   you involved in any of these discussions?
 9   Q. Do you recall any action that was taken to            9   A. I don't believe so. It doesn't indicate
10   improve the water chemistry from that sampling          10   that I was involved in the inspection at this
11   site?                                                   11   time.
12   A. Not that I recall. But if you look at the            12   Q. And it also refers to an agreement that was
13   last page, it indicates that grading of the             13   signed by Joe Myers. Do you know what that
14   systems weren't completed yet either, so it was a       14   reference is to?
15   work in process.                                        15   A. I'm sorry, let me find that, please.
16   Q. The last sentence of page 434 says "Grading          16   Q. That's the last sentence in the handwritten
17   of pre-law refuse disposal area was initiated on        17   part.
18   March 31, 1983." What grading was done of the           18   A. Oh, okay. I'm really not certain. It may
19   pre-law refuse?                                         19   be related to the conclusion of inspections or
20   A. I'm not certain, but it may have been                20   investigations regarding the lower part of the
21   referring to the area north of the north ditch.         21   valley. But I'm really not certain what it was.
22   Q. What were the parameters or the objective            22   Q. I'm just trying to find out if you have any
23   for SW-2 that you and ABC were trying to achieve,       23   recollection of being involved in any discussion
Freedom Court Reporting, A Veritext Company                                                        877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 50 of 134
Lois George                                                                                  49 (193 - 196)
                                             Page 193                                                 Page 195
 1   about possibly having to get a permit for a          1   Company. I don't know what their discussions
 2   discharge from the diversion ditch that was          2   were, but I know throughout our period of working
 3   draining the reclaimed area?                         3   with ABC, there were discussions of what might be
 4   A. Not on this occasion, no. That was always         4   required and what might not. But there was not a
 5   an internal discussion. We have to achieve what      5   requirement for a NPDES permit ultimately.
 6   is being required, but an NPDES permit was not       6   Q. Right. And I know you're not shown on this
 7   required.                                            7   letter anywhere, but I know there were a lot of
 8   Q. What are you referring to that was being          8   meetings and discussions. So that's what I'm
 9   required?                                            9   trying to get at, is whether you were ever a part
10   A. Addressing the rock disposal area, the           10   of any meetings or discussions about what's
11   pre-law area, the post law area, obtaining the      11   discussed in the fourth paragraph of this letter?
12   initial permit that was submitted in 1982 to the    12   A. I don't know who Mr. Simon is.
13   Surface Mining Commission; obtaining the            13   Q. And you were not involved in any
14   supplemental permit for the rock disposal area      14   discussions about a NPDES permit for the
15   off to the west; and satisfying the two Notices     15   reclaimed capped area?
16   of Violation.                                       16   A. I think I just said earlier that there were
17   Q. Earlier you mentioned, I think, the pH           17   discussions on-site, and even with the folks from
18   needing to be between 6 and 9. Were there ever      18   AWIC.
19   any other water chemistry parameters like that,     19   Q. Who were you having those discussions with?
20   that you were aware of, that ABC was trying to      20   A. Joe Myers was on-site several times.
21   achieve for the post law area?                      21   Q. Did he specifically talk about a NPDES
22   A. I believe I talked about iron and                22   permit in your presence?
23   manganese, but I don't recall the specific range    23   A. I don't remember what terms we used.
                                             Page 194                                                 Page 196
 1   that might have been applicable. Again, I            1   Q. What do you remember him saying?
 2   believe I was referring to ASMC, not AWIC. But       2   A. I don't remember any specifics of
 3   all the agencies, including OSM, were well aware     3   conversation.
 4   of what was going on.                                4   Q. In the last paragraph, there's a
 5        (Whereupon, Plaintiff's Exhibit Number 34       5   description of a meeting with ADEM staff on
 6   was marked for identification, a copy of which is    6   September 6, 1983. Were you a part of that
 7   attached to the original of the transcript.)         7   meeting?
 8   Q. I don't mean to belabor this point, but I'm       8   A. No. Any meetings I was involved with, with
 9   going to show you Exhibit 34, which is another       9   ADEM, I believe, were always at the site.
10   letter that relates to this same topic. If you      10       (Whereupon, Plaintiff's Exhibit Number 35
11   look at the third paragraph, that being -- well,    11   was marked for identification, a copy of which is
12   actually it's the fourth paragraph, there being     12   attached to the original of the transcript.)
13   some discussion about ADEM requiring a NPDES        13   Q. Ms. George, let me show you what I've
14   permit. It says, [quote], "For outflow through      14   marked Exhibit 35 to your deposition. Take a
15   the limestone filter," and I'm just trying to       15   look at that, and let me know if you assisted in
16   make absolutely certain that you don't have any     16   the preparation of this report?
17   knowledge about this, what's being described in     17   A. I did.
18   this letter, and weren't involved in any            18   Q. What is this report?
19   discussions about it?                               19   A. Maxine Rock Disposal Area Surface and
20   A. Well, I think I know what the limestone          20   Groundwater Monitoring.
21   filter is. I mean, we talked about that early       21   Q. The date on the front page is April 5th of
22   this morning about the lower pond and lower dam.    22   1984, on the cover page. Do you see that?
23   Again, this is a letter amongst ABC and Southern    23   A. Yes, sir.
Freedom Court Reporting, A Veritext Company                                                     877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 51 of 134
Lois George                                                                                  50 (197 - 200)
                                             Page 197                                                 Page 199
 1   Q. At that point, had the reclamation work on        1   Q. All right, stop there. How deep was Well
 2   the post law area been completed?                    2   Number 7 drilled?
 3   A. I believe so, I'm not certain. I was              3   A. 62 feet, it looks like.
 4   looking for a table which is in one of these         4   Q. And how deep was the post law material?
 5   final reports that has a chronology in it.           5   A. 16 or 17 feet.
 6   Q. Are you still reviewing it?                       6   Q. And so the rest of it, from the 16 or
 7   A. Yes. I was trying to look at some of the          7   17 feet down to the full depth, would be pre-law
 8   dates and monitoring about the surface water.        8   material?
 9   I'm just not certain all the ditches were in yet     9   A. That's right.
10   at this point. I know the wells were in, but I'm    10   Q. How about for Well Number 8, which is on
11   not sure --                                         11   page 158?
12   Q. On page 2 of the document, which is              12   A. It looks like it was drilled to about 15 or
13   Drummond 151, it seems to indicate that all the     13   16 feet.
14   wells were in, it speaks of them in the past        14   Q. Why was it so much shallower?
15   tense. Is that your understanding?                  15   A. Because we were making a comparison of --
16   A. Yes, sir.                                        16   if there was water in these wells, a comparison
17   Q. Starting on page 153, we talked about this       17   of the water quality and water level fluctuations
18   a little bit earlier, the depth of the wells and    18   in the two wells, pre-law and post law.
19   the depth of the material?                          19   Q. So if I'm understanding what you're saying,
20   A. Yes, sir.                                        20   the MO-8 was drilled due to its depth such that
21   Q. In the second paragraph, it's talking about      21   it was only sampling from the post law material?
22   Well MO-5 which, looking at Exhibit 6, is in the    22   A. That's right.
23   pre-law area north of the north ditch, correct?     23   Q. And 7, due to its depth, was sampling from
                                             Page 198                                                 Page 200
 1   A. Yes, sir.                                         1   the pre-law material below the post law material?
 2   Q. What does it indicate there about --              2   A. That's right.
 3   looking at these depths of the well, how deep the    3   Q. Would those be the only two wells where
 4   material was in that area?                           4   there would be a layer of post law material on
 5   A. 76 feet.                                          5   top of pre-law material?
 6   Q. And Well MO-6, how deep was the material in       6   A. MW-9 was a well drilled to monitor the post
 7   that area?                                           7   law, and there was only several feet of pre-law.
 8   A. 74 feet.                                          8   Q. What page are you looking at?
 9   Q. And you said earlier that in the locations        9   A. I'm sorry. 159.
10   of some of these wells, that at a certain depth     10   Q. So looking at the information on 159, how
11   there was pre-law refuse, correct?                  11   deep was the post law material?
12   A. Yes, sir.                                        12   A. About 41 feet.
13   Q. I don't recall which ones, but you said by       13   Q. And what was the total depth of the well?
14   looking at some of the borings information, you     14   A. The total depth that we drilled was 45,
15   could determine that. Is that contained in this     15   46 feet. The total depth of the well was all
16   document?                                           16   within the post law.
17   A. Yes, the last paragraph on that page, MO-7       17   Q. Starting on page 164, we've got some
18   and MO-8.                                           18   monitoring data, and these sample sites, again,
19   Q. What about MO-7 and MO-8?                        19   would correspond to the ones that we see on
20   A. They were drilled in the capped area, but        20   Exhibit 6?
21   they were drilled at two different depths. And      21   A. That's right.
22   if you look at pages 157 and 158, it shows how      22   Q. It looks like the last date of sampling in
23   deep they were drilled.                             23   this batch was January 5th of 1984, which is on
Freedom Court Reporting, A Veritext Company                                                    877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 52 of 134
Lois George                                                                                    51 (201 - 204)
                                             Page 201                                                      Page 203
 1   page 168?                                            1   A. I did.
 2   A. That is the last sampling date on the             2   Q. And what is it, for the record, please?
 3   table.                                               3   A. It's a report dated October 5, 1984,
 4   Q. For the surface water sampling for SW-2, on       4   entitled Maxine Rock Disposal Area Hydrologic and
 5   the first sample it's February 4th of '83, pH was    5   Water Quality Investigations.
 6   4.4, and it looks like the highest reading was on    6   Q. Do you know if this was the final such
 7   January 5th of '84 at 5.55. Was that an              7   report that was generated by PELA?
 8   acceptable level for pH to PELA?                     8   A. I believe it is, because it is the only
 9   A. We were monitoring and reporting the data.        9   final bound document that we have in our office.
10   We weren't making judgment of its acceptance.       10   Q. So you have this document in its entirety?
11   Q. Did you report the data to ABC only, or to       11   A. Yes.
12   someone else, too?                                  12   Q. Is it page-for-page the same as this
13   A. I think ultimately the final document of         13   exhibit we're looking at?
14   all the monitoring went to the Surface Mining       14   A. I haven't compared what I have in front of
15   Commission, for certain. Progress reports were      15   me, but I believe so. Yes, this is the final
16   supposed to have been provided on a monthly         16   document.
17   basis, according to the program, so this data was   17   Q. Have you given the copy that PELA had to
18   presented to ASMC.                                  18   Mr. Davis?
19   Q. In that same document, if you would turn to      19   A. We scanned it and provided it
20   page 193, this is something you mentioned           20   electronically to him.
21   earlier, I believe, some infiltration and           21       MR. BROCK: We might want to get a copy of
22   percolation tests?                                  22   that, okay?
23   A. 193, was that the page?                          23       MR. DAVIS: Okay. That may well be true,
                                             Page 202                                                      Page 204
 1   Q. Yes, 193.                                         1   and you're welcome to it. I'll just have to find
 2   A. Okay.                                             2   it.
 3   Q. It goes through 196. If I'm interpreting          3       THE WITNESS: I can.
 4   it correctly, it looks like there were eight         4       MR. DAVIS: We'll find it and give it to
 5   different sites picked for percolation tests. Is     5   him.
 6   that correct?                                        6       THE WITNESS: Okay.
 7   A. Yes.                                              7   Q. So in this document, pages 478 through 485
 8   Q. And on 194, the map shows where those             8   contains similar format and data to the reports
 9   locations were?                                      9   we saw before, right, in terms of the format, the
10   A. Yes.                                             10   table?
11   Q. And the results and data on page 196             11   A. Right, and it starts out with February 4,
12   correspond to those eight locations, right?         12   1983, where the pH was 4.4 that we've looked at
13   A. That's what the document says, yes.              13   in several other documents.
14   Q. That last document was one that you              14   Q. So it's cumulative?
15   designated in your reference list in your report,   15   A. Yes, sir. And it ends with September 4,
16   okay?                                               16   1984, so that's a year-and-a-half of information.
17   A. Yes, sir.                                        17   Q. On page 485, it looks like it's
18       (Whereupon, Plaintiff's Exhibit Number 36       18   September 5, 1984.
19   was marked for identification, a copy of which is   19   A. Excuse me.
20   attached to the original of the transcript.)        20   Q. That's all right. I just want to make sure
21   Q. Let me show you what I've marked Exhibit         21   I'm reading the right thing.
22   36. Did you assist in the preparation of this       22   A. Did I say 4th?
23   document?                                           23   Q. I think so.
Freedom Court Reporting, A Veritext Company                                                       877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 53 of 134
Lois George                                                                                     52 (205 - 208)
                                             Page 205                                                     Page 207
 1   A. Okay.                                             1       MR. DAVIS: Object to form.
 2   Q. In any event, there's no data for SW-2 at         2   Q. That's what it says, right?
 3   that time. I guess that means there was no flow      3       MR. DAVIS: Object to form, since I haven't
 4   to take a sample from?                               4   objected much.
 5   A. If you look down in the middle of the table       5   Q. Double objection to the same question.
 6   where it says Discharge --                           6   A. The wells were drilled across that area
 7   Q. Yes.                                              7   to -- without looking at the well construction
 8   A. -- SW-1 and 2 were dry, as they were on           8   diagrams, they were drilled in order to monitor
 9   many occasions.                                      9   the deepest part of the hollow or the valley.
10   Q. Right. It looks like on July 6th, you had        10   The water that was monitored in these wells was
11   the same thing for SW-2; so it looks like, if I'm   11   valley fill that was saturated from recharge.
12   reading this correctly, the last time there was     12   I'm sorry, in the refuse rock north of the capped
13   an actual sample was May 2, 1984. Is that           13   area would have been saturation of the refuse
14   correct? I'm on page 484.                           14   rock, and I think your question asked if we were
15   A. Yes.                                             15   monitoring the stream.
16   Q. Starting at page 489, there's a series           16   Q. No. I was just asking about that language
17   of -- well, there are three tables that relate to   17   and whether I'm interpreting correctly that it
18   surface water samples, and I understand this is     18   means those two wells are located in the course
19   basically a compilation of the data from all of     19   of the buried stream?
20   the samples that were taken by PELA as part of      20   A. Those three wells were drilled in the
21   this program?                                       21   hollow so we would have good representation of
22   A. Tables 8 and 9 are, yes, the surface water.      22   where the water may accumulate at the deepest
23   Table 7 is from published information.              23   portions of the hollow.
                                             Page 206                                                       Page 208
 1   Q. And Tables 8 and 9 in the Average column is       1 Q.      Okay. Was the tributary in the hollow?
 2   taking all of the samples that were shown in         2 A.      Yes, certainly.
 3   those underlying -- in Table 1 that we saw, and      3       (Whereupon, Plaintiff's Exhibit Number 37
 4   just tabulating an average?                          4   was marked for identification, a copy of which is
 5   A. Yes.                                              5   attached to the original of the transcript.)
 6   Q. Would you look at page 473? In the last           6   Q. Ms. George, I'm handing you Exhibit 37, and
 7   paragraph on that page, it's talking about           7   this was a document that was referenced in your
 8   groundwater monitoring wells MO-3, 5 and 6. Do       8   reference list for your report. This is an Order
 9   you see that part?                                   9   from the Alabama Surface Mining Commission, dated
10   A. Yes, sir.                                        10   March 14, 1985. And my question is simply, what
11   Q. And it says that MO-5 and 6 are established      11   does an administrative procedure order have to do
12   in the pre-law refuse rock upgradient from the      12   with geology or the opinion of a scientist?
13   capped area in the buried stream?                   13   A. Well, the reason we were doing all of this
14   A. That's what it says.                             14   was to satisfy NOVs and Order.
15   Q. Do you know who wrote that language?             15   Q. To satisfy what?
16   A. I may have.                                      16   A. The NOVs and the subsequent consent order,
17   Q. Does that have reference to the tributary,       17   or whatever the document was that was issued that
18   when it says the "buried stream"?                   18   was satisfied. It says it was satisfied here.
19   A. Yes, the intermittent stream.                    19   Q. Okay. Are you giving an opinion on the
20   Q. So from that, we would discern that these        20   legal meaning or effect of this Order?
21   monitoring wells 5 and 6, because they were         21   A. Not the meaning of it, but the effect was
22   producing water, unlike 4, are thought to be in     22   that the matter was addressed.
23   the buried stream, right?                           23   Q. Are you giving a legal opinion on the
Freedom Court Reporting, A Veritext Company                                                        877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 54 of 134
Lois George                                                                                     53 (209 - 212)
                                             Page 209                                                       Page 211
 1   effect of this Order on any of the claims in this    1   from ADEM to be released from the monitoring
 2   lawsuit by the Riverkeeper?                          2   requirement. Had you ever seen this letter prior
 3   A. No, absolutely not. I was using it as a           3   to being retained in the case?
 4   reference for the chronology, but it does            4   A. No, I had not.
 5   document, so to speak, closure of the situation.     5   Q. Who provided this letter to you?
 6   Q. Closure from whose perspective?                   6   A. I believe this was amongst the 3,000
 7   A. The Surface Mining Commission's                   7   documents.
 8   perspective.                                         8   Q. Was it attached to Mr. Brown's report?
 9       (Whereupon, Plaintiff's Exhibit Number 38        9   A. I'm not sure. I'm not sure I've seen this
10   was marked for identification, a copy of which is   10   before. If I have, I don't recollect it.
11   attached to the original of the transcript.)        11   Q. Are you offering any kind of legal opinion
12   Q. Let me show you what I've marked Exhibit 38      12   about the effect of this letter on any claim
13   to your deposition. This is another document        13   asserted in the case?
14   that you referenced in your reference list for      14   A. No, sir.
15   your report. This is an ADEM letter from 1992       15   Q. Does this letter have anything to do with
16   that has to do with releasing monitoring            16   any scientific opinion that you formed?
17   requirements. Had you ever seen this letter         17   A. Yes, it does.
18   prior to being retained in this lawsuit?            18   Q. How so?
19   A. No, I did not.                                   19   A. Well, it ultimately relates to the fact
20   Q. How does this letter inform any opinions         20   that Alabama Byproducts and ultimately Drummond
21   that you have formed in this case?                  21   satisfied the regulatory for these regarding the
22   A. It indicates granting the conclusion of the      22   two violations and the subsequent investigations
23   responsibilities for monitoring at all the          23   and modifications made to drainage, and the ASMC
                                             Page 210                                                       Page 212
 1   remaining outfalls, particularly outfall -- not      1   permitting, and the bond releases for that
 2   outfall -- Pond 027 associated with the basin.       2   permitting.
 3        MR. DAVIS: Are you sure you got the number      3   Q. Are you offering any opinion on the legal
 4   right?                                               4   effect of a reclamation bond release on any
 5        THE WITNESS: 24, excuse me.                     5   claims asserted in this case?
 6   Q. Who provided this letter to you?                  6   A. Not legal opinion, no, sir.
 7   A. I believe it was in -- if it was in my            7   Q. Are you offering an opinion as an expert on
 8   report, this was in Mr. Brown's compendium and       8   administrative procedures under Alabama law?
 9   Appendix A or B to his document.                     9   A. No, sir.
10   Q. Okay. That's your recollection, that this        10        (Whereupon, at this time a short break
11   letter was included in Anthony Brown's report?      11   was taken.)
12   A. Yes.                                             12        (Whereupon, at this time the deposition
13   Q. Are you offering any legal opinion about         13   was concluded at 6:10 p.m.)
14   the end effect of this monitoring release on any    14         FURTHER DEPONENT SAITH NOT.
15   claim Riverkeeper is making in this case?           15
16   A. No. I'm using it for reference to the            16
17   conclusion of activities.                           17
18        (Whereupon, Plaintiff's Exhibit Number 39      18
19   was marked for identification, a copy of which is   19
20   attached to the original of the transcript.)        20
21   Q. Let me show you what I've marked Exhibit 39      21
22   to your deposition. This is a Drummond Company      22
23   letter from July 7, 1992. Drummond had requested    23

Freedom Court Reporting, A Veritext Company                                                        877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 55 of 134
Lois George                                                         54 (213 - 213)
                                             Page 213
 1           CERTIFICATE
 2
 3   STATE OF ALABAMA)
 4   JEFFERSON COUNTY)
 5
 6       I hereby certify that the above and
 7   foregoing proceedings were taken down by me in
 8   stenotype, and the questions and answers thereto
 9   were reduced to computer print under my
10   supervision, and that the foregoing represents a
11   true and correct transcript of the testimony
12   given by said witness upon said proceedings.
13       I further certify that I am neither of
14   counsel nor of kin to the parties to the action,
15   nor am I anywise interested in the result of said
16   cause.
17
18
19      /s/Donna L. Winters
20      Donna L. Winters, ACCR #373
21      Expires 9-30-2018
22      Donna L. Winters, Commissioner
23      My Commission Expires 10-10-2021




Freedom Court Reporting, A Veritext Company                           877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 56 of 134
Lois George                                                                     214
 WORD INDEX           14 13:13 129:17,       124:4 125:17        2011 35:19 37:17
                      20 152:4 208:10        128:11 129:22       2014 98:18
 <$>                  140 6:5 166:1, 8       140:7, 9            2017 5:3 29:16
 $175 29:10           145 6:7               1980 48:23 146:4      43:20 58:7, 13
 $4,548 159:1         146 6:9                147:12 150:3        2018 1:22 2:9 4:1
                      147 6:10               151:21, 23 152:4,    5:6
 <0>                  15 3:21 15:4          17 160:5             202 7:14
 027 210:2             131:1, 5 185:11      1980s 24:20 59:18    208 7:16
                       199:12                118:8 119:8         209 7:17
 <1>                  151 197:13             153:13              21 147:5, 9
 1 5:8 12:8, 12       153 197:17            1981 6:14            210 7:19
  80:10 86:16 88:3    157 6:12 198:22       1982 111:2 135:10    2-11-83 7:4
  97:4 128:10         158 198:22 199:11      168:16 171:11       212 8:3
  138:19 146:12       159 200:9, 10          193:12              219 168:18
  158:16 169:22       16 133:16, 20         1983 7:9 153:21      22 22:22 157:14,
  184:2 206:3          136:3 199:5, 6, 13    189:21 190:18       18
 10 53:20 121:4, 8    160 6:13               196:6 204:12        220 170:5, 6
  123:10 146:4        162 6:14              1984 20:11 71:22     222 171:7
  158:5               164 200:17             82:18 135:5 178:1   22nd 151:7
 100 8:21             167 6:16               196:22 200:23       23 159:23 160:4
 10-10-2021 213:23    168 201:1              203:3 204:16, 18    235563 1:23
 10-2-80 6:12         17 5:3 29:17 58:7      205:13              239 171:18
 10-5-84 7:14          136:9, 13 199:5, 7   1985 208:10          24 152:13 162:13,
 11 35:10 38:4        177 6:18              1988 3:21            16 210:5
  123:13, 17          1798 177:12 178:3     1990s 34:12 50:6     241 171:22
 11-16-79 5:23 6:2    18 97:23 98:17        1992 185:11          2-4-80 6:7
 11-1-79 5:19          140:11, 15            209:15 210:23       24th 151:6
 1141 10:2            180 6:21 166:18       1993 20:3            25 1:22 5:6
 115 5:11             181 7:1               1994 20:3             155:20 165:4
 11-6-79 5:21         183 7:2                                     167:16, 20
 12 5:3 31:13 52:6    184 7:3               <2>                  252 157:3
  116:10 127:11, 15   186 7:4               2 88:1 96:19, 23     25th 2:9 4:1
  128:21              187 7:5                99:2 103:4 141:6    26 7:9 97:4 101:9
 121 5:13             19 99:1, 2 144:22      146:12 158:16        177:7, 10
 12-12-78 5:11         145:3                 168:20 169:7        267 169:5, 6
 12-13-82 7:2         191 7:7                182:12 184:2        27 5:5 60:18
 12-15-82 7:3         193 201:20, 23         189:9 197:12         61:23 62:13 64:6
 123 5:14              202:1                 205:8, 13            67:9 68:2 180:7,
 12-30-80 6:13        1938 88:5             2.9 190:7            11
 1-24-80 6:3          194 7:10 202:8        2:16-CV-01443-AK     27th 151:6
 127 5:17             1951 100:20           K 1:3                28 181:12, 16
 128 5:19             196 7:12 202:3, 11    20 100:17 145:22     282 2:8 8:14
 1-28-80 6:5          1971 88:5 99:4         146:2               2829 2:8 8:13
 12-8-83 7:10          103:3                2000s 50:19          29 67:22 151:23
 129 5:21             1975 14:2             2002 18:10            164:17 183:1, 5
 13 123:23 128:6,     1976 13:5             2003 83:2            2933 119:11
 10                   1978 20:11 23:5       2004 83:2            2959 119:17
 131 5:23              116:10               2006 34:17           2963 119:20
 133 6:2              1979 10:20 89:7       2009-2010 33:7
 136 6:3               93:3, 10 121:14                           <3>

Freedom Court Reporting, A Veritext Company                            877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 57 of 134
Lois George                                                                         215
 3 60:12, 15 130:4     40 29:2, 3 57:19      100:14 105:9          751 150:23 151:14
  138:22 139:2          75:4 166:18          106:16 107:14         752 151:19
  146:12 158:18, 18    405 169:6             108:6 111:8           753 151:22
  159:12, 19 177:17    40-hour 19:17         112:12, 15 113:3,     754 152:3
  178:18 179:2         41 75:4 140:17       18 123:10, 10          755 149:6, 18
  189:10                200:12               129:22 131:10          151:10
 3,000 211:6           42 75:4               132:5 137:15          7-5-79 5:13
 30 9:5 28:12, 15      4-22-83 7:5           144:19 146:13, 13     76 107:11 198:5
  68:11 147:12         43 77:4, 7            147:21 154:8, 14      7-7-92 7:19
  160:5 165:12, 19,    430 188:5             155:19 178:11, 13,    78 24:22 116:22
 21 184:16, 19         433 189:12           14 179:2 180:18,       79 48:23 91:4
 30th 171:11           434 190:16           19 188:1, 3, 13         93:14 124:19
 31 68:18 71:8         44 77:4               189:19, 22 193:18      125:7
  186:19, 23 190:18    45 5:10 77:4          196:6 197:22          7th 59:2, 14 60:21
 3-10-80 6:9            200:14               200:20 206:8, 11,
 32 72:1 164:12        4-5-84 7:12          21                     <8>
  168:11 187:14, 18    46 77:14 78:4        6:10 212:13            8 31:17 45:9, 13
 3254 168:12            200:15              60 5:5 57:18            116:7 128:21
 33 191:17, 20         473 206:6            60s 102:19, 22          146:14 155:23
 34 164:23 165:1,      478 204:7             120:2                  158:5 159:1, 7
 22 194:5, 9           48 78:12             62 199:3                178:20 179:4, 6
 35 16:16 29:2, 3      480 156:21 157:8     63 5:8                  199:10 205:22
  72:1 165:4 196:10,   484 205:14           6th 124:4 205:10        206:1
 14                    485 204:7, 17                               80s 10:18 11:22
 35209 8:22            489 205:16           <7>                     58:15 63:17 64:20
 35222 8:19            4th 201:5 204:22     7 34:21 46:23           119:3 153:19, 19
 35233 2:9 8:14                              83:6, 10 85:5 87:6,    176:6
 35405 10:3            <5>                  12 93:6 96:9           82 48:23 63:17
 3542 184:20           5 3:19 82:19          110:7 112:15, 18       107:19 185:12, 13
 36 73:14 74:6, 10,     107:13 146:13, 13    114:13 126:17         8-21-79 5:17
 23 202:18, 22          148:19 179:2         132:4 137:15          8-26-82 7:1
 37 74:9 208:3, 6       180:19 203:3         138:21 146:13, 18     827 136:21 137:2
 373 213:20             204:18 206:8, 21     147:21 155:14         83 5:9 48:23
 37th 8:18             5.55 201:7            170:18 178:11, 12,     63:18 69:14
 38 74:12 75:2         50s 120:1            20 179:4, 5 182:15      107:19 111:3
  209:9, 12            51 78:12              184:2 199:2, 23        187:5 201:5
 39 74:12 210:18,      52 78:21 156:22       205:23 210:23         832 141:6
 21                     157:1               70 107:9               834 141:20
                       53 78:21             70s 10:17 120:2        84 10:20 23:5
 <4>                   54 80:4              71 98:18 102:19,        24:22 69:14 71:23
 4 51:13 100:20        55 156:15, 16        21                      84:9 91:4 111:23
  107:13 146:17, 21    59 5:5 60:18 80:4    712 8:18                125:7 174:8 201:7
  149:16 170:6         5th 196:21 200:23    7-21-92 7:17           85 28:23 69:14
  179:2 180:19          201:7               7-26-83 7:7             71:23 84:9 111:23
  189:21 204:11, 15                         7-30-80 6:10           8-6-79 5:14
  206:22               <6>                  7-30-82 6:16, 18       88 153:21
 4,000 53:9            6 63:1, 5 64:5, 23   74 198:8
 4.3 156:4, 9           72:15 76:14 80:9    75 107:9               <9>
 4.4 189:22 190:1       83:16 84:21 89:9    750 148:13             9 8:3 47:10
  201:6 204:12          91:23 93:5 98:13                            115:22 123:10

Freedom Court Reporting, A Veritext Company                               877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 58 of 134
Lois George                                                                             216
  154:8 158:5          accurate 10:21          ADEM's 49:18             94:11 97:11
  178:18, 21 179:4      45:15 61:2 100:3       adjacent 39:5, 18        149:10 156:14, 14,
  193:18 205:22         107:10 141:8           adjoining 37:13         17 159:16 175:13
  206:1                accurately 128:1        adjust 158:4             208:9 211:20
 9:50 2:10             accused 34:3            adjustment 110:21        212:8 213:3
 90 28:23              achieve 190:23           181:3                  alleged 34:6
 90s 26:14 27:18        193:5, 21              Administration          allow 71:2
 9-30-2018 213:21      acid 142:21 143:4,       156:7                  alluvial 62:2
 96 5:4                12, 17, 22 144:8        administrative 50:8     alongside 100:13
                        145:7, 13               208:11 212:8           alterations 69:8
 <A>                   acquired 82:22          advance 60:10           alternative 146:20
 a.m 2:10               164:3                  adverse 39:19           alternatives 146:7,
 abandoned 106:8       acronym 51:10           advised 4:3             8, 13, 14
  144:14               Act 173:15              advisement 50:12        amended 3:20
 abandoning 169:14     acting 9:2 126:1        Advisory 49:19          American 16:7
 abatement 145:8       ACTION 1:3 50:9,        aerial 5:4 17:7, 17      184:1
  146:8                16, 21 161:19            18:3, 4 72:9 82:22     amount 28:22
 abbreviate 88:16       190:2, 9 213:14         97:1, 9 100:19          66:5 72:12 106:6
 abbreviating 88:17    active 117:6, 8          101:11, 16              138:3 139:21
 ABC 23:15 25:17        168:20 169:7           affiliated 24:23         140:4 141:15
  26:6 69:23 71:14      176:1                   59:10                   158:3
  81:7, 12 82:8 86:3   activities 21:13        agencies 104:11         analyses 151:2
  91:9, 10 106:23       37:11 39:18 40:20       106:13 111:6           analysis 67:15
  159:10 161:18, 19     41:2 82:11 95:2         194:3                   130:20 151:13
  166:23 167:11         134:17 175:23          agency 167:4, 7          175:9 176:12
  168:15 173:11         178:1 210:17           ago 63:23 64:1          Andreen 8:13
  177:14 182:12        activity 21:7 39:21      75:17                   169:5
  183:11 185:16         100:22, 23             agree 120:8 141:7       angle 68:3
  190:23 193:20        actual 155:11, 12        160:17 162:4           annual 156:1, 22
  194:23 195:3          191:11 205:13          AGREED 2:2 3:1,         answer 27:22 67:6
  201:11               add 145:19              8, 16                    69:4 86:23 102:18
 ability 138:4         added 46:19             agreement 54:4           121:2 122:21
 able 158:6            Addendum 6:18            192:12                  141:11 148:18
 Absolutely 118:9      addition 27:13          ahead 45:12 48:7         167:2 176:16
  194:16 209:3         additional 45:17         63:4 79:7 83:9          177:1
 accept 44:6 54:9       46:10, 15 163:14        96:22                  answered 52:13
  159:13, 17            167:9 170:22           aids 17:9                95:13 145:16
 acceptable 201:8      additions 69:9          air 17:2, 4, 13         answering 35:6
 acceptance 128:12     address 9:22 10:1       airshafts 175:23        answers 213:8
  201:10                143:8 148:8            ALABAMA 1:2             Anthony 210:11
 accepted 146:13, 14   addressed 182:19         2:6, 9 3:19 6:18       anybody 71:17, 20
  155:1                 208:22                  8:14, 19, 22 9:2, 3,   anymore 48:21
 accompanied 59:5      addressing 141:4        5 10:2, 7 14:11, 16     anyway 68:23
 accomplished           143:6 193:10            15:3, 10, 17, 18        75:6 128:3 178:2
  182:22               ADEM 7:8, 17             18:7, 15 20:6          anywise 213:15
 ACCR 213:20            50:2, 13, 13, 14, 22    21:11 22:4, 23         apart 189:1, 6
 accumulate 126:8       51:3 81:15 194:13       23:15 32:17, 17        apologize 60:9
  207:22                196:5, 9 209:15         33:3, 4, 23 34:3        98:23
 accumulated 156:6      211:1                   35:13 48:5, 17         apparently 123:19
                                                49:6 81:15 85:10        181:3 187:10

Freedom Court Reporting, A Veritext Company                                   877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 59 of 134
Lois George                                                                           217
 appear 74:12 77:4        68:1 69:1 70:6          areas 16:20 21:2     assume 151:16
  78:12 151:12            72:22, 23 73:1           25:6 40:22 41:16     182:18
 appearance 117:16        74:16 75:20 77:12,       67:2 78:1 80:23     assumed 135:19
 appearing 8:14, 19,     13, 20, 22 78:3, 13,      94:3 108:4 120:7    astounded 72:5
 22                      17 79:15, 16 80:11,       176:1               Atmosphere 156:7
 appears 12:15           21 82:3 89:17, 18,       arrived 117:15       attached 6:4 12:10
  68:4 124:19            20, 21, 22 90:12          120:10               13:12 45:11 52:20
  128:12, 14 187:7        91:16, 19, 20, 22       arrow 65:9 80:13      53:5 60:14 63:3
  189:14                  92:1, 17, 18 93:2, 4,    88:4, 11             83:8 96:21 116:1
 appendices 52:15        7, 9, 22 94:4, 22        arrows 83:21 86:8     121:6 123:15
 Appendix 13:12           95:18, 21 96:1, 3, 4,   art 13:23             127:13 128:8
  210:9                  8, 17 98:9, 12, 15       ascertain 131:19      129:19 131:3
 applicable 52:3          99:6 100:2 101:1,       asked 167:8           133:18 136:11
  194:1                  2 102:3, 4, 5             171:19 175:16        140:13 145:1
 Application 6:17,        106:17 107:1, 13,        207:14               146:1 147:7
 20 44:22 135:10,        15, 18 108:8             asking 12:2 27:20     157:16 160:2
 11, 18 166:10            109:16, 16 110:4, 5,     80:1 93:1 97:19      162:15 167:18
  167:23 168:3, 8, 16    6, 16, 18, 23 112:2,      104:15, 16 109:22    177:9 180:9
  171:4                  5, 6, 6, 13, 19, 20       117:19 123:3         181:14 183:3
 applications 25:10       113:17, 17 114:21,       207:16               184:18 186:21
 applied 70:15           21 117:6, 8, 17, 19,     ASMC 171:3            187:16 191:19
 appreciate 19:13        21, 22, 23 118:7, 10,     194:2 201:18         194:7 196:12
  74:7                   15 120:21 121:2           211:23               202:20 208:5
 appropriate 67:3         122:10 126:2, 7, 11     aspect 132:3 167:9    209:11 210:20
 approved 169:23          132:9, 12, 19 133:2,    aspects 14:15         211:8
  170:1                  3 137:18, 22              23:13, 23 26:4      attain 19:1
 approximate 74:5,        138:13 139:4, 6, 6       48:16 50:4 56:21    attempted 47:1
 6 75:2 80:8 87:17        141:18 144:5, 7         asserted 211:13      attempting 141:10
  93:6                    148:16, 21 152:8, 9,     212:5               attention 40:23
 approximate, 88:21      14, 22 153:5, 7          assess 51:14          41:1 61:11
 approximately            156:8, 11, 13            138:14              attorneys 10:5
  101:21 111:2            158:19, 20 159:5        Assessment 6:14,      135:13
  189:5                   162:2 163:16            22 11:2 21:13        attribute 62:20
 April 100:20             165:5 167:10             25:5                attributed 39:5
  151:21 196:21           168:20, 21 169:7, 8,    assessments 26:20    auditor 19:17, 19
 aquifer 38:14           8, 9, 14, 22 170:7       assign 3:12          augmentations 69:9
  75:23 76:7, 8, 10       171:1 172:13            assigns 145:8        augmented 174:5
  137:12, 15 138:23       173:4, 18 174:9, 15,    assist 202:22        August 124:4
  139:10, 16 155:16      18, 20, 22, 22           Assistance 22:23      151:6
 arbitrary 98:6           175:18 176:4, 13,       assisted 22:20       author 63:21
 archives 37:21          22 177:18, 19             23:1 196:15         authorities 20:21
 Area 5:18 6:1, 11,       179:7, 7, 8, 22         associate 59:6       Authority 38:12
 15, 23, 23 7:5, 12,      180:17, 23 190:17,      associated 16:23     authorized 125:21
 14 16:18 21:8, 18       21 193:3, 10, 11, 11,     22:8 41:2, 11        129:6 167:13
  24:12, 18 38:13        14, 21 195:15             66:16 93:12         Avenue 2:8 8:13
  46:4 57:1 59:20         196:19 197:2, 23         150:19 158:3        Average 206:1, 4
  62:1, 6 64:6, 9, 10,    198:4, 7, 20 203:4       210:2               aware 140:7
 22 65:1, 2, 3, 5, 12,    206:13 207:6, 13        Associates 12:19      152:17, 20 153:12
 15, 16, 17, 18, 19      area, 180:21              16:4 17:16           176:6 193:20
  66:1, 11 67:10                                                        194:3

Freedom Court Reporting, A Veritext Company                                   877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 60 of 134
Lois George                                                                            218
 AWIC 106:13            Bates-stamped           87:20 109:4 128:4     Brown's 31:8
 122:19 123:9            32:3 52:22 97:3       bill 29:7              52:16, 21 53:6, 17
 154:11 163:7            136:21 170:6          billed 57:5            56:22 210:8, 11
 194:2 195:18           Bay 33:19              billing 29:11 54:2     211:8
                        Bbrock@selcal.org      bills 57:8             Bruce 6:5 140:20
 <B>                     8:15                  Birmingham 2:8         bucket 11:12, 13
 bachelor's 13:20       beach 138:11            8:14, 18, 22 9:2      Buffalo 13:22 15:9
 back 11:20, 22         bear 12:6              bit 19:4 60:8          build 39:23
  19:11 34:23 35:18     bedrock 62:19           61:20 85:1 188:14     building 182:16
  52:5 83:23 92:21       73:16 75:8, 14         197:18                built 40:1
  120:4, 5 121:14        129:2, 10, 14, 16     BLACK 1:5 8:17         bump 29:2
  128:20 131:17         behalf 31:7             10:5 138:20, 21       buried 94:7
  135:6, 7 145:2, 15    belabor 194:8          black-and-white        206:13, 18, 23
  149:16 150:18         believe 15:4 16:12,     100:19                207:19
  152:17 153:3          14 17:10 18:18         blinds 12:22           Byproducts 23:15
  157:6 165:22           20:3 21:16 22:1, 6,   blue 86:8, 15 87:5,    85:10 94:11
  176:6                 20 24:11 27:7          13, 21, 22, 23 94:15   149:11 175:13
 background 13:18        29:19 34:9, 19        blurry 77:7            211:20
 backhoe 91:13           38:6 39:11 42:3       boat 60:1 163:20       By-Products 6:18
 backside 104:3          48:15, 20 50:1        bodies 100:12
 backside, 104:4         52:14 53:7, 16        bond 212:1, 4          <C>
 bacteria 75:11          54:6 56:22 59:11      books 27:7             cable 163:22
 bales 104:9             61:15 63:16 67:20     boot 75:5              cables 164:1
 bank 164:7 168:21       69:10 71:7 72:20      boring 107:7           Cahaba 23:2 25:15
 Bankhead 22:6           74:11 75:14 76:10      179:21                calculating 51:6
 Barry 3:22 8:12         77:17, 21 78:3, 15    borings 198:14          163:18
  10:4                   80:3 82:22 84:10      borrow 174:2           calculation 51:18
 based 16:11 48:8        87:17 91:13 97:2,     bottom 86:8 145:6       155:2, 17 157:3, 9
  56:8 114:7 120:9      18 98:1, 18 99:9        168:19 192:5          calculations 154:15,
  128:20 137:6           105:2 107:11          bound 203:9            18 155:14, 21, 23
  154:19, 22 155:12,     113:11 115:5          boundaries 176:23      calendar 29:4
 18 158:1 159:4          119:2 124:16, 18      boundary 175:19        call 12:18 72:21
  172:21 182:10          138:9 139:5 148:1      176:14                 86:12 88:14 89:18,
 basically 19:7          149:10 150:4          branch 50:14           22 98:2 148:11
  109:22 148:16          152:10 153:18         break 49:11, 15        called 51:8, 12
  165:18 169:9, 17       163:2 167:5            61:5 92:6, 19, 22      62:1 64:14 66:13
  205:19                 170:21 171:5, 15       144:20 145:2           76:22 77:1 80:9
 basin 25:14 59:16       177:13, 23 185:23      177:5 212:10           90:15 114:7, 9
  62:2 71:4 79:3, 16,    192:9 193:22          breaker 183:8, 17       142:8 143:7 165:5
 16, 19, 21, 23 84:14    194:2 196:9 197:3     brief 54:12            calling 67:7 114:10
  86:1 113:18            201:21 203:8, 15      bring 61:11 88:11      camera 73:7, 8, 9,
  153:18 170:13, 15,     210:7 211:6            158:22                10
 17, 22 184:9           belonging 36:16        Brock 3:22 8:3, 12     Canaan 38:21
  188:14 210:2          berm 182:16             9:18, 20 10:4 11:9    cap 174:2, 13
 basins 89:11, 13       best 57:21 63:18,       34:16 55:10 92:7      capabilities 19:22
 basis 52:15 142:16     19 64:2 76:11           98:20 140:16          capacity 10:12
  175:5 201:17           131:18 161:23          203:21                 90:23
 batch 200:23            163:8 178:23          Brookwood 8:21         Capped 6:22
 Bates 5:5 31:23        better 60:10 84:21      24:17                  65:16 72:23 73:1
  52:9 169:4                                   brought 98:20           78:17 89:21 94:4

Freedom Court Reporting, A Veritext Company                                  877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 61 of 134
Lois George                                                                                219
  95:19 96:3 98:9         38:4 42:12 46:12,      characterization        170:2
  106:17 107:15, 17,     22 47:1                  120:9, 13             clearing 39:23
 18 108:2, 4 110:4,      catastrophic 140:2      characterize 94:9      clearly 95:8
 6, 16 112:19            catch 71:4               120:15                client 33:22
  113:17 114:21          catching 113:19         chemicals 41:6         clients 20:20 26:23
  117:17 139:7           catchment 126:2          51:15                 Clifton 7:17
  169:8, 9 172:13        cause 9:8 37:12         chemistry 131:20       close 18:12 74:23
  173:18 174:9, 22        213:16                  165:19 190:10          78:5, 7 86:12
  177:19 179:22          causing 39:19            193:19                 168:12
  180:17, 20, 23         CD 5:7                  Chetopa 22:6           closed 42:4
  195:15 198:20          CEA 19:20                184:5                 closest 62:10
  206:13 207:12          Center 2:7 8:11         Chicago 42:20           146:20
 capping 107:23          certain 15:4 19:8,      chief 20:10, 15        close-up 68:12
  110:12 178:21, 23      22 40:22 46:8            57:2                  closure 41:21
  179:5                   73:2 87:19 97:8        Christina 8:13          209:5, 6
 capture 75:9 90:9        103:15 105:15          chronological          club 45:1
  133:2                   109:5 117:13            136:7 181:11          Coal 6:17, 20
 captured 108:22          122:16 123:1           chronology 107:20       16:22, 23 17:1
  112:4, 10 113:16        133:15 138:3            187:4 197:5 209:4      20:11 21:21 22:8
  114:20                  146:12 154:3           church 39:4             23:2, 12 25:15
 capturing 74:14          156:5 163:1            Cindy 61:11             26:8, 8 27:3, 4
 care 15:15               174:10 190:20          Circle 10:2 99:12,      47:20 66:1, 3, 5, 5,
 cartoon 79:5, 6          192:18, 21 194:16      16 102:3               6, 10, 18 168:20
  105:11 113:18           197:3, 9 198:10        circled 103:5           184:1, 3, 4, 4, 6, 15
 case 10:9 12:14          201:15                 circuit 186:8          coarse 66:22 68:22
  24:9 27:9 29:11,       certainly 21:9          citation 32:19, 23     Cobb 22:8
 14 30:3, 15, 21          57:18 96:8 111:21      cited 136:4            cognizant 153:4
  31:4 32:1 33:2, 8,      120:13 138:3           City 15:14 32:23       colleagues 15:12
 15, 16 34:5, 8, 10,      142:15 147:15           35:12 37:11 40:9      collect 172:11, 13
 17 35:21 36:3, 12        160:21 208:2           CIVIL 1:3 3:20          185:6
  37:2, 4, 6, 10, 19     certainty 134:3          9:5                   collected 77:11
  38:5, 8, 10, 19, 21     187:11                 claim 210:15            130:5 150:15
  39:2, 7, 10 40:3, 9,   certificate 16:9, 10,    211:12                 151:4 183:11
 18, 19 41:22 42:6,      15                      claims 209:1 212:5      185:22
 17 43:3, 12, 15, 18,    certification 19:21     clarification 19:13    color 101:11, 20
 22 44:7, 13, 15, 21,     20:7 46:1, 2, 6        clarify 42:15          colorized 101:19
 22 45:5, 15, 18, 22     certified 19:10, 16,    class 19:22 46:1, 2,   column 189:17
  46:5, 11, 18 47:8      19                      4, 6                    206:1
  53:8 54:2, 14, 21      certify 9:4 213:6,      classes 14:16          come 59:8 67:9,
  55:1, 18 56:6, 13      13                      classify 144:3         14 83:23 131:17
  57:6 62:2 78:18        challenges 186:12       clay 65:21 138:9        153:15 156:4
  97:13 115:15           change 110:15            140:4 170:9, 11       comes 21:9 162:10
  119:5 141:17            118:4 142:1            clay-type 91:2         Coming 52:5
  175:17 209:21          changed 66:2            Clean 173:15            73:18, 20 173:16
  210:15 211:3, 13        69:10, 11 110:3, 9     cleaned 91:5           commencing 2:10
  212:5                   142:7                   161:21                commingle 82:5
 cased 179:7             changes 103:22          clean-up 51:19         commingling 80:19
 cases 32:13, 16          104:16                 clear 95:14             182:17
  33:1 35:8, 14, 18      channel 79:22           cleared 40:1 94:23     Commission 48:2,
                          112:9 172:11                                  5, 16 49:3, 6 81:13,

Freedom Court Reporting, A Veritext Company                                     877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 62 of 134
Lois George                                                                              220
 14 121:23 122:15,      compliance 3:5          configuration          continue 107:1
 19 123:2 140:20,        81:2, 8                 69:10 108:23           159:4
 23 141:3 159:17        complies 47:12           172:22, 23            Continued 41:19
  193:13 201:15          52:8 61:4 65:8, 11     confirm 178:4          continuing 14:19
  208:9 213:23           74:8 75:3 78:5         confirming 128:12       17:22 18:1
 Commissioner 2:5        80:16 88:23 92:14      confused 85:2          contoured 174:19
  3:18 9:2 213:22        99:17, 19 101:8         87:22                 contouring 82:3
 Commission's 209:7      102:7 108:19           connection 20:14        112:13, 16, 22
 Committee 49:19,        111:16 114:18           31:3 121:11           contracted 21:15,
 21 50:7, 11 51:3        133:21                  123:20 136:16         18 122:3
 compact 173:21         component 18:2           168:16 181:10         contracting 20:19
 companies 21:14         61:18 132:3 155:6,      191:23                contractor 85:10
  22:18 23:1, 5         8 159:8 183:13          consent 208:16          91:10
  24:23 25:12           components 41:17        consider 16:17         contracts 48:14
 COMPANY 1:8             128:2 147:15, 16        23:8 143:22           contract-type 54:7
  7:19 10:8 24:6         158:5                  considered 179:17      contribution 81:17
  25:1 26:8 48:17       composition 65:23       consisted 137:8         172:18
  49:6 71:18 195:1      comprise 64:23          consistent 109:8       control 81:5 117:6
  210:22                comprising 68:22         127:9 182:9           conversation 192:7
 compare 154:5          computation 159:11      constituents 41:7, 8    196:3
  166:2                 computer 51:5            51:19 154:10          convert 156:20
 compared 28:1           213:9                  constitute 142:6       convey 79:14
  154:9 183:20          concentrations          constructed 59:17      conveyors 176:1
  203:14                 148:20                  84:5 85:9 88:8        Cook 5:14, 17, 19,
 comparing 154:8        concept 166:9            102:12 147:18         21, 23 6:2, 3, 9, 12,
  155:4 165:18          conceptual 169:20        152:18 161:2          13 7:2, 3, 10 82:14
 comparison 94:22        170:23                  169:23 187:6, 10       128:13, 23 129:5,
  165:12, 20 174:15     conceptually 166:9      construction 85:13     10 137:11 148:7
  179:11 199:15, 16     concern 161:17           153:18 174:11          159:10 167:5, 8, 11
 comparisons 191:12     conclude 39:7            207:7                  178:7
 compendium 52:18       concluded 212:13        consultant 51:4, 7     Cook's 159:15
  70:21 152:15          conclusion 192:19       consultants 27:1       cooperative 81:11
  210:8                  209:22 210:17           51:5 55:8             coordinated 17:15
 compensated 49:4       Conclusions 6:4         consultation 26:23      106:12
 Compensation            136:20 137:2           consulting 175:13      coordinates 73:7
  53:21                 concrete 80:4           contact 83:4 126:6      184:21
 compilation 205:19     condition 160:12        contain 57:8           coordinating 111:5
 compiled 191:5         Conditions 6:22         contained 100:3        coordination 20:20
 compiling 188:22        186:11 191:11           141:16 198:15          25:19 81:13
 Complaint 29:18        conductance             contains 178:14         104:11
 complete 12:13          163:22 164:9            204:8                 copies 37:14, 15, 22,
  20:2 128:11            165:21 166:1, 6, 15,   contamination          23 134:21
 completed 69:19        15                       26:19 33:18 34:7      copy 12:9, 13
  71:22 113:14          conducted 100:22         39:3, 8 41:10, 13      13:12 37:18 45:10
  167:4 174:7, 12, 12    130:14                  43:5, 8, 15 46:4       60:13 63:2 83:7
  177:2 182:5 186:8     conductivity 138:2,     content 169:15          96:20 115:23
  190:14 191:13         6, 11                    184:11                 121:5, 21 123:14
  197:2                 confidential 23:9       contents 143:19         127:12 128:7
 completion 65:22                               context 117:11          129:18 131:2
                                                 148:5, 15              133:17 136:10

Freedom Court Reporting, A Veritext Company                                    877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 63 of 134
Lois George                                                                             221
  140:12 144:23         cost 41:1, 17 48:12,   current 13:15            57:4 58:6, 12
  145:23 147:6          13 159:1                21:13 40:20 50:3        63:15 101:12
  157:15 160:1          costs 41:10 158:4       106:20                  107:21 137:3
  162:14 167:17         counsel 2:3 3:10,      currently 27:2, 7,       145:8 191:5
  177:8 180:8           11 5:7 9:6 55:18       23 28:3, 8 127:3         196:21 200:22
  181:13 183:2           213:14                 159:3                   201:2
  184:17 186:20         counter-sign 54:9      customers 48:15         dated 100:20
  187:15 191:18         country 45:1           cut 101:14               116:10 128:10
  194:6 196:11          counts 14:19                                    129:22 146:3
  202:19 203:17, 21     County 22:7 36:9       <D>                      147:12 154:23
  208:4 209:10           82:21 213:4           D.R 5:19 7:10            160:5 203:3 208:9
  210:19                couple 23:1 26:5       daily 156:23            dates 35:3 151:3,
 core 128:18, 21, 23     30:4 108:1 135:8      dam 62:7 68:21,         20, 22 154:3, 20
 coring 129:2, 4         169:12                22 69:9, 12, 21          189:15 197:8
 corner 79:4            course 17:21            70:8, 15, 18 71:6      DAVIS 8:20, 21
 corporate 34:1          19:17 20:2 207:18      72:21 76:15 77:16,      9:16 11:4 32:10,
 Corporation 6:19       courses 14:10, 12      21 84:14 86:9           11, 14 34:13, 15, 17
 correct 10:9, 18        17:5 93:18             88:8 89:17, 18, 20      36:23 45:13 55:6,
  13:6 18:7 20:12,      COURT 1:1 3:6           90:21 93:20 94:12      13 59:6 60:16
 13 26:11 31:17          4:4, 5 9:1, 15 36:7    99:13 103:8, 22         67:5 69:3 76:21
  37:8 42:18 43:12       44:6 45:6 47:6         104:3, 18, 21           86:22 92:5 97:2
  44:18 45:3, 20        courtroom 37:6          105:13, 14 106:5        98:22 116:6
  46:13, 14 52:23       cover 16:20 65:21       132:15, 16, 17          120:11 122:20
  78:22 83:18 99:21      92:12 120:21           133:3, 5, 11 137:19,    135:9, 14 140:18
  110:19 113:10          170:8 174:4           19, 20 138:17, 18        143:5 153:6 155:3
  115:3 124:21           177:22 196:22          140:3 147:18            159:14 160:20
  132:18 147:3          covered 21:17           149:20, 22, 23          162:7 174:16
  149:15, 17 151:11,     22:1 74:17 77:13       150:7 165:16            176:15 203:18, 23
 20 152:1, 5 165:20      103:8 118:15           194:22                  204:4 207:1, 3
  172:13, 14 181:2       133:3                 dam, 62:9                210:3
  188:11, 16, 22        created 137:13         damages 37:13           Davis's 59:7
  189:15, 23 190:7      credit 15:2            dams 70:3 89:8          day 2:9 4:1 14:15
  197:23 198:11         creosote 34:7           93:13 102:11            68:9, 10 157:7, 10
  202:6 205:14          criteria 174:3          103:6 131:13            159:1
  213:11                cross 80:12             132:22                 days 28:21
 corrective 50:15, 21   cross-over 59:19       Dan 56:18               dealing 158:16
 correctly 49:2          80:8, 18 115:1        darker 65:12            deals 163:2 180:12
  150:22 202:4           174:11                dash 88:2, 2, 3         decades 124:8
  205:12 207:17         cross-sections          111:12 113:5, 10       December 116:10,
 correlate 165:23        154:19                dashed 80:12            22 160:5 185:11
 correlation 143:23     cubic 155:18, 22        108:7, 12 114:12       decision 106:14
 correspond 151:10      cull 52:11, 18         data 137:7 139:9        declined 47:7
  180:18, 21 189:18      53:12                  142:3 151:3 154:5      deconstruct 84:23
  200:19 202:12         culvert 78:23           155:13 183:19          deemed 179:20
 correspondence          115:5                  185:23 188:22          deep 109:7 198:3,
  173:13                cumulative 204:14       200:18 201:9, 11,      6, 23 199:1, 4
 corresponding          Cunningham 39:17       17 202:11 204:8          200:11
  123:21                curiosity 72:10         205:2, 19              deeper 179:9, 16
 corrugated 78:23                              date 9:4 17:23           184:4
                                                18:11 34:15 35:19      deepest 207:9, 22

Freedom Court Reporting, A Veritext Company                                   877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 64 of 134
Lois George                                                                              222
 DEFENDANT 1:9           depositions 3:7       developed 41:1          discharging 142:22,
  8:23 38:18, 19, 20,     30:2, 5, 10 35:20     55:17                  23 158:23
 22 39:13, 14, 17         37:14 49:14          deviated 104:12         discovered 11:23
  40:10 42:23 44:15      deposits 16:23        devote 28:1             discovery 32:1
 defense 43:13           depth 105:18          diagram 79:4            discuss 169:23
  55:17                   106:1 107:3 109:8     84:22 114:7            discussed 163:7
 define 23:21             163:21 164:8          165:22 166:8            172:10, 15 182:6
  143:17                  165:7 179:15, 19     diagrams 116:3           195:11
 defined 109:3            197:18, 19 198:10     133:14 189:4           discusses 138:22
 definition 143:22        199:7, 20, 23         207:8                  discussing 145:4
 defunct 50:18            200:13, 14, 15       difference 19:4          163:5 170:7
 degree 13:20 14:9,      depths 198:3, 21       49:7 155:6 191:7        185:15
 23 15:6                 describe 54:16        different 17:8, 9       discussion 56:21
 delivering 3:22          69:21 100:15          18:22 19:5 23:23        116:8 121:17
 demonstrate 129:5,       128:1 137:21          36:20 40:4 41:5         146:22 163:9
 8 191:7                  138:5 141:10          64:15 65:19, 23         171:22 192:23
 demonstrates             169:12                66:4 67:2 68:2          193:5 194:13
  166:12                 described 110:22       70:11, 12, 13 75:16,   discussions 82:12
 denied 46:1              161:17 194:17        21 78:10 107:6           108:3 144:10
 Dense 41:19             describes 122:8        118:7 151:3             167:6 173:10, 12,
 Department 81:16         124:4 172:2           154:20, 23 155:4       16 192:8 194:19
 depending 20:21          180:13                158:5 166:5             195:1, 3, 8, 10, 14,
  28:14 141:23           describing 143:13      181:23 184:4, 7, 8,    17, 19
 depends 98:5            DESCRIPTION           13 189:14 198:21        Disposal 5:18 6:17,
  120:2 162:8             5:2 46:17 47:18       202:5                  20, 23 7:5, 12, 14
 depict 80:4              196:5                differently 176:22       21:8 59:20 80:21
 depicted 67:23          design 69:20 70:2,    difficult 11:11          91:19, 20 92:17, 18
  68:19 87:9, 18         20 79:8 81:19, 20,     73:3 78:10              93:2 94:3 99:5
  94:18                  22 82:6 173:22        difficulty 95:5          100:23 101:2
 depicts 64:7            designate 189:8       Dildine 124:13, 14       106:20 109:16
 DEPONENT                designated 85:5       Dillard 8:18             126:13 152:9, 22
  212:14                  88:15 138:19         dimension 155:10         153:7 163:16
 deposited 67:2           189:9 202:15         dimensions 103:6         167:10 169:8
  140:3                  designation 18:9,      155:9                   173:3 176:1, 4
 DEPOSITION              21 19:2, 6            Dimova's 31:10           177:18 190:17
  1:21 2:4, 11 3:3, 4,   detail 23:11 26:1     direct 85:12 140:5       193:10, 14 196:19
 14, 17 12:12 33:8        84:1                 directing 134:17         203:4
  35:22 37:6, 16, 18     detailed 5:22         direction 82:5          dispose, 132:1
  40:12 44:18 57:4       details 178:5          83:22 105:8 110:8      disregarded 86:4
  83:11 96:23            determination 76:6,   directly 24:13          distinction 96:2
  116:19 119:1           9 81:6, 7             disagree 141:9           127:2, 3
  121:8, 12 129:21       determinations        discern 206:20          DISTRICT 1:1, 2
  131:5 136:17            151:16               discernation 103:2       10:7
  140:17 146:3           determine 11:12       discernible 95:11       disturbance 95:8
  157:18 162:17           51:18 67:16 78:11    Discharge 5:15          disturbed 99:8
  183:5 184:15            164:5 198:15          70:6 71:5 103:17        122:10
  187:1, 18 192:1        determined 155:19      113:14, 22 114:22      ditch 59:17, 18
  196:14 209:13          determining 51:6       122:9 150:6 152:7,      77:10 82:4 84:1, 2,
  210:22 212:12          develop 145:12        21 190:4 193:2          2, 2, 19 86:19 96:9,
                                                205:6                  14 100:13 108:5, 8,

Freedom Court Reporting, A Veritext Company                                    877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 65 of 134
Lois George                                                                               223
 10, 15, 20 109:13,        204:7 208:7, 17        161:4 171:16            155:13
 17 110:14, 19, 22         209:5, 13 210:9        181:22                 drive 32:7 91:23
  111:8, 15, 17 112:3,    documentation          draft 12:16 47:16       DRUM 31:22
 11, 11 113:3, 8, 13,      125:18 127:10          171:14                 D-R-U-M 31:22
 16, 22 114:2, 4, 6, 8,    131:14                drafted 172:4           DRUMMOND 1:8
 13, 19 117:23            documented 134:6       drafting 136:19          7:19 10:7 24:6, 10,
  174:10, 18, 19           137:10 148:6          draftsman 15:21         13 25:1 32:3 52:9,
  187:6, 9 188:8, 15,     documenting            Drahozal 17:11          12, 21 53:11, 17
 18 190:21 193:2           187:22                drain 79:17 82:4         71:18 116:10
  197:23                  documents 11:16,        108:4, 22 109:17        119:1 134:19
 ditches 5:9 81:21        20 12:5 31:21           110:13 112:3            197:13 210:22, 23
  82:2 84:5, 11 85:4,      32:4, 6 46:9 52:10,    113:13 114:19           211:20
 7, 13, 17, 21 86:3       11, 12, 19, 22 53:3,    173:23 174:19          Drummond's
  101:23 102:4, 5         5, 10, 12, 17 55:2     Drainage 6:15            135:12
  108:7 146:16, 23         56:20 70:17, 21, 22    59:17, 18 68:7, 12     dry 205:8
  147:1 169:16             75:22 76:3 77:3        69:6 70:9 73:17        due 199:20, 23
  182:23 188:22            81:11 97:3 103:1       77:11, 20 79:10, 18,   duly 9:12
  197:9                    106:11 107:20         22 80:20 81:20          duplicate 135:15,
 diversion 108:8           115:7, 9 121:19        82:6 83:22 84:13,      17, 23
  146:15, 23 147:1         123:17 130:1, 14      19 86:11 93:18          dust 66:6
  169:16 193:2             134:18 137:10          98:11, 14 100:7, 11    duties 20:14
 DIVISION 1:2              152:16, 23 162:18      103:19 108:9           Dwight 7:20
  15:22 20:11, 15          167:20, 23 178:1       112:9 138:23           dynamics 131:22
  50:2                     181:7 204:13           143:1, 4, 8, 12, 17,
 DNPL 41:19                211:7                 22 144:4, 8 148:16      <E>
 document 42:7            doing 11:19 24:1        149:23 150:2, 8        earlier 52:14 78:9
  53:9, 11 54:7, 11        49:9 123:20            172:18 211:23           86:6 91:15 93:5
  66:13 83:10, 12          186:12 208:13         drained 110:1, 16,       104:1 117:2
  100:18 101:10           Donna 2:5 3:21         18 113:21 114:23         127:18 145:6
  116:9 117:11             9:1 213:19, 20, 22    draining 110:22          149:22 154:7, 11
  120:5 121:9 123:2       door 61:13              193:3                   165:14 167:2
  129:21 131:5            double 13:22 207:5     drains 84:16             172:11 175:17
  136:3, 13, 23           Doug 5:14, 17, 21,     draw 65:8 75:1           182:6 189:23
  140:14 141:20           23 6:2, 3, 9, 12, 13    80:13                   193:17 195:16
  146:5 148:23             7:2, 3 82:14          drawing 79:8 84:1        197:18 198:9
  149:6, 8 150:22          134:14 148:7           111:9 114:2, 11         201:21
  153:17 154:2             167:5                 drawn 87:7              early 10:18 26:14
  157:19, 23 160:4, 6     Down-dip 180:20         126:16 137:3            29:21 50:6, 19
  162:20, 22 163:2        downgradient           drew 98:5 100:14         63:17 93:15
  164:12 168:4, 19         161:14 188:14         drill 128:18             100:13 102:19
  170:6 171:8, 8, 12      downriver 70:7         drilled 107:6            118:8 120:2
  177:11 178:4            down-slope 96:10        129:13 179:6, 8         125:14 154:4
  180:12 181:17            132:14, 17             185:5 198:20, 21,       194:21
  183:6 185:9             Dr 14:17 77:2          23 199:2, 12, 20        earn 15:3 16:9
  186:22 187:19            125:19, 23 127:6       200:6, 14 207:6, 8,    earthmoving 109:3
  188:6 189:12             132:6 133:20          20                       162:1
  197:12 198:16            134:13 140:19         drillers 20:19          east 84:1, 19 85:5
  201:13, 19 202:13,       142:20 148:1, 7       drilling 128:16, 22      101:22 108:10, 15
 14, 23 203:9, 10, 16      157:21 158:2           129:1 133:4             109:17 110:19, 22
                                                                          113:22 117:16, 23,

Freedom Court Reporting, A Veritext Company                                     877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 66 of 134
Lois George                                                                            224
 23 172:11 174:22       e-mail 32:7          established 50:20       Excuse 28:5 55:5
  188:18                embankment 86:12      120:22 122:16           75:12 204:19
 eastern 22:7 93:19     embayment 147:18,     125:12 163:13           210:5
 Ebenezer 36:14, 15     19                    164:7 166:20           exercise 167:1, 12
 ecology 26:10          emergency 150:9       184:6 206:11           EXHIBIT 5:2
 edge 76:16             employed 163:18      establishing 163:18      12:8, 11 45:9, 12
 edition 13:15          employees 71:14      establishment            60:12, 15 63:1, 5, 5
 editor 15:21           ended 15:16 46:7      118:14                  64:5, 23 65:14
 educated 159:22         169:17              estimate 29:5            67:23 72:14 76:14
 education 14:8, 19     ends 152:4 204:15     41:14, 18 57:11, 17,    80:9 83:6, 10, 16
  17:22 18:1            engaged 39:21        18, 21 58:3 62:22        84:21 85:5 87:6,
 educational 13:18      engagement 55:8       155:15                 11 89:9 91:23
 Edwards 82:14          engineer 79:7        estimates 41:1           93:5, 6 96:9, 19, 23
 effect 3:4 6:14        engineering 70:2      106:2, 6                98:13 99:2 100:14
  153:21 179:5          engineers 49:22      estimation 101:20        103:4 105:9
  208:20, 21 209:1       71:14 173:11         131:18                  106:16 108:6
  210:14 211:12         enlargement 79:3     estuary 132:8            110:6 111:8
  212:4                  80:1                Eva 8:17                 112:12, 15 113:3
 effective 3:20         ensure 182:13        evaluated 159:9          114:13 115:22
 effects 39:20          entailed 49:20       evaluating 179:4         116:7 121:4, 7
 efficient 160:21       entering 166:13      evaluation 20:1          123:13, 16 126:17
  161:1                 entire 32:23 64:9     137:6 158:1             127:11, 14 128:6,
 effluent 122:10, 13     72:7 75:20 179:22   evaluations 26:21       10, 21 129:17, 20
  123:5 153:8           entirety 67:12, 13   event 124:3              131:1, 4, 10 133:16,
 effort 80:22            137:17 203:10        162:10 177:20          19 136:3, 9, 12
 efforts 17:15          entities 24:23        191:4 205:2             137:15 138:21
 eight 18:20 146:7,     entitled 203:4       events 11:17, 22         140:11, 15, 16
 10, 10 181:23          environment 26:10     182:11                  144:22 145:3, 22
  182:4 202:4, 12        184:15              everybody 143:6          146:2 147:5, 8, 21,
 eighties 153:3         Environmental 2:7    everybody's 63:19       21 157:14, 17
 either 23:3 32:7        8:11 17:1 19:17,     145:15                  159:23 160:4
  35:9 48:13 69:18      19, 23 20:8 25:5     evidence 3:14            162:13, 16 167:16,
  85:10 101:13           26:20 49:23 81:16    100:10                 20 170:18 177:7,
  139:22 180:19         environments 184:8   evidences 100:8         10 178:14 180:7,
  190:14                EPA 51:17            evolved 125:5           11 181:12, 16
 elaborate 21:5         ephemeral 87:2, 3    exactly 149:19           183:1, 4 184:16, 19
 electronic 37:15, 22    94:5                exam 19:15 20:4          186:19, 23 187:14,
 electronically 32:8    equipment 109:3      EXAMINATION             17 188:1, 3, 13
  203:20                 162:2                8:2 9:8, 20 19:18       189:19 191:17, 20
 element 129:8          era 134:21           examined 9:12            194:5, 9 196:10, 14
 Elements 6:21          eroded 62:14, 15     example 18:22            197:22 200:20
  125:19 127:19, 22      90:6 96:18 120:8,   exams 19:12              202:18, 21 203:13
 elevated 158:13        14, 16, 17           excavate 91:11           208:3, 6 209:9, 12
  166:14, 14            eroding 90:13        excavated 91:5           210:18, 21
 elevation 155:7        erosion 39:19        excavation 41:15        exhibits 4:2 30:9
 elevations 155:5       especially 149:10    exception 84:13          89:3 132:4 178:11
 eleven 22:21           Esquire 3:22         excluded 46:23          exist 109:5
  127:21 133:23         Essentially 19:3      47:4                   existed 77:23
 eliminate 161:6, 11     68:1 110:13 118:2                           existence 41:9, 12


Freedom Court Reporting, A Veritext Company                                  877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 67 of 134
Lois George                                                                               225
  84:8 90:1 111:17      fair 11:2 29:5            161:4                  Florida 18:23 19:2
 expanded 105:5          88:20                   fills 162:11             45:2 130:18, 22
 expenses 56:11         fall 29:15, 16           filter 70:18 71:1, 5,   FLORIE 8:20
 experience 16:11,      familiar 64:17           9 194:21                flow 100:6, 9
 13 17:3 18:17           66:23 67:7 76:2         filter, 194:15           142:13, 15 150:19
  19:8                   83:12 143:15            final 109:18 135:5       157:9 205:3
 experiencing 39:4       157:18 162:19            172:23 177:23          flowing 75:6 100:7
  43:5                   169:14                   197:5 201:13            144:12
 Expert 5:3 10:9,       fan 62:3                  203:6, 9, 15           fluctuations 199:17
 23 11:5, 12 12:14      far 96:10 106:21         find 97:22 131:17       focused 48:12
  29:14 31:6, 12         135:6, 7 164:20          133:10 135:3           folder 167:22
  33:12, 15 36:1, 12     182:21 189:1             192:15, 22 204:1, 4    folks 125:13
  37:23 38:3 40:5, 6,   farm 39:6                fine 18:13 28:7          195:17
 7 42:13 44:6           fashion 79:5, 6           36:22 55:13 65:10      follow 158:2
  46:20 47:7 53:15      feature 70:3              85:3 91:1 102:6        following 9:9
  55:3, 21 97:13        features 83:17 89:6       116:4                   145:3 152:3
  123:18 131:6          February 45:19           fines 66:6 67:1         follows 9:13
  162:19 167:21          151:7 187:5             finished 111:22         follow-up 177:14
  181:8 212:7            189:21 201:5            Fire 38:11              foot 59:22 170:9
 expertise 57:1          204:11                  firm 36:20, 23, 23       174:1, 1
 Expires 213:21, 23     federal 36:7              51:23 54:2, 5 59:7     force 3:4
 explain 72:3 116:4     feel 44:2                first 9:12 13:17        foregoing 9:6
  128:19 148:4          feet 107:9 129:15         15:18 16:22 23:7        213:7, 10
  155:16 163:17          156:4 161:5 164:2,       25:20 33:2 35:11       forest 59:19
 explanation 65:6, 9    7 165:4 166:18, 18        37:4 42:9, 16          forested 72:10
  86:16                  170:11 189:5             43:22 44:9, 13          84:22
 explanatory 164:13      198:5, 8 199:3, 5, 7,    57:15 58:18 61:23      forestry 72:13
 exposed 68:22          13 200:7, 12, 15          62:13 85:6 89:7, 8     Fork 62:10 68:21
  75:20 84:16           few, 135:3                93:10 94:8 96:4,        79:20 90:10
 exposure 51:15         field 14:13 16:19        10 103:7 104:13,         113:21 126:12
 Express 43:7, 9         23:2, 12 25:15          14, 22 105:17            132:9 140:2 143:2
 expression 84:17        26:8 60:3 137:7          106:18 108:7            166:13
 extensive 25:13         151:15                   120:10 124:5           form 3:11 17:3
 extent 87:19 140:9     fieldwork 134:4           128:15 129:22           67:5 69:3 76:21
  155:11 165:3          Figure 5:8, 9 63:9        131:7 137:12            86:22 120:11
  166:7, 16, 17          79:20 80:9, 10           141:6 152:20            122:20 143:5
                         83:11 113:18             158:7 172:7             153:6 155:3
 <F>                     156:9                    180:14, 16 183:19       159:14 160:20
 face 77:10             figures 154:15            185:9 187:21            162:7 174:16
 facilitated 110:7      filed 4:4 153:1           201:5                   176:15 207:1, 3
 facility 41:4, 6        192:3                   fit 174:3               formal 14:8 178:6
  42:2, 4               files 28:16 134:20       five 16:11 18:17        format 204:8, 9
 fact 11:1, 6, 13       filing 3:17               35:20                  formation 38:16
  44:9 65:20 85:20      fill 93:17 94:7, 13      flat 118:2               74:10 75:14, 18, 19
  93:11 161:3 167:7      95:14 100:3             flesh 11:10              137:14 185:6
  170:3 177:20           141:18 148:9            flip 28:6 119:4         formatted 54:11
  211:19                 154:21 158:19, 21       flood 140:2             formed 76:1 136:6
 facts 11:7              159:1 207:11            floods 140:8             209:21 211:16
 factual 10:13          filled 126:12 132:8      Floor 8:21              forth 55:18, 23
 faculty 14:18                                                            169:15

Freedom Court Reporting, A Veritext Company                                     877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 68 of 134
Lois George                                                                           226
 forward 51:18           generated 142:3        23:10 35:18 36:3     Groundwater 7:6,
  173:1                   177:13 203:7          45:12 48:7 60:1      13 21:20 26:19
 found 43:19             generating 31:3        63:4 79:7, 19 83:9    38:15 39:3 41:20
 four 26:7 72:1          Geologic 5:20          96:22 98:10           43:5 49:19 50:2,
  78:18 84:3 85:4, 7      22:13 25:12 66:14,    100:11 116:2         14 129:9 131:19
  86:3 130:4 164:2       16                     129:14 135:6, 7       137:13 149:14
  180:14                 Geological 15:17,      139:16 151:22         176:19 178:8
 fourth 142:20           23 17:10               155:22 186:2          185:6, 20 196:20
  160:8 194:12           geologist 18:6, 14,   goal 145:15            206:8
  195:11                 23 57:2               goes 34:23 84:18      group 50:16 51:3,
 frame 25:4 28:8         Geologists 16:8        108:13 202:3         8 53:5
  100:19 121:18           17:12 18:1 49:22     going 10:15 11:9,     growing 74:18
 framework 115:18         126:23               13 12:18 15:12         118:13
 Fredonia 13:21          geologist's 17:11      28:13 46:5 55:11     grown 72:7
  15:11                  geology 13:20, 23      63:4, 6 64:4 66:12   guess 16:22 20:17
 frequent 142:16          14:9 16:19 184:14     83:23 87:23 88:4,     28:11 33:17 58:2
 frequently 141:2         208:12               18 89:1 92:2, 10       65:14 81:1 86:12
 front 58:6 196:21       geomorphologist        98:2 102:5 106:14     87:4, 6 94:14
  203:14                  17:7                  115:7 119:2 127:4     100:4 117:14
 full 3:5 9:21           geomorphology          132:8 135:20          134:8 140:1 143:1
  90:17, 18, 20           17:2                  139:3 145:20          159:11 187:3
  160:18 199:7           geophysical 24:11      160:22 161:12         205:3
 function 79:12          GEORGE 1:21            162:6 170:8          guesstimate 58:1
  80:17 160:19            2:4, 11 5:10 9:7,     179:11 182:8         gullied 118:3
  162:6                  11, 23 10:4 20:9       194:4, 9
 FURTHER 3:1, 8,          29:13 35:8 46:22     Good 9:21 11:18       <H>
 16 41:1 74:3 75:1        49:11 61:7 86:19      22:12 49:16 93:1     hand 45:12 64:4
  95:18 161:3             92:21 99:20           108:12 207:21        134:7
  212:14 213:13           102:10 116:9         GPS 73:7, 11          handed 116:9
                          127:15 136:14        graded 110:5          167:19
 <G>                      180:10 184:19        grading 190:13, 16,   handing 128:9
 gallons 155:22           186:22 196:13        18                    129:20 136:12
  156:20, 21 157:3, 7,    208:6                graduate 14:1, 10     187:17 208:6
 8, 9                    getting 150:5         graduated 15:11       handle 148:10, 14
 gas 15:12               Gilbert 5:11          grandfathering        handled 131:23
 gather 186:2            give 19:5 33:8         19:11                handwritten 122:9
 gathered 25:11           35:22 41:9 44:3      granting 209:22       192:6, 16
 gathering 185:20         55:14 57:23 59:9     gray 103:5            happen 106:11, 15
 gauge 142:16             63:15 115:18         great 12:20           111:7 161:1
 gauges 186:6             131:18 138:1         greater 28:17         170:14
 gauging 141:21           204:4                greatly 161:6         happened 11:22
  142:4, 7, 14           given 121:21          Green 56:18           69:13 95:7 111:2
 General 17:1 37:9        167:3 203:17         Green's 57:1          177:20 182:11
  39:15 77:5 78:13        213:12               grew 14:6             happening 140:7
  83:22 92:4 152:14      gives 133:22          ground 62:13          185:17
 Generally 33:14         giving 32:23           72:11 111:6          happy 55:7, 14
  36:11 38:9 59:13        208:19, 23            118:16 144:12        hard 49:7 98:1
  128:1 146:23           glass 98:21            155:12               hardwoods 118:19
  156:14                 go 10:15 11:19        grounds 3:13          harm 36:14
                          12:5 14:21 16:3                            Harvest 38:8, 11, 13

Freedom Court Reporting, A Veritext Company                                 877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 69 of 134
Lois George                                                                          227
 Hattiesburg 40:9,      honest 34:14          identify 64:3          183:21 184:10
 18, 22                  177:15                73:11 147:9           188:7 189:21
 hay 104:8              hope 92:22            Illinois 42:18         190:6, 13 209:22
 heading 172:8          hopefully 11:10        43:23 44:1, 4, 10    indicating 113:12
 headwaters 96:12        133:10               illustrating 157:22    117:22 132:4
  98:4                  hoping 115:17          158:22               indication 138:2
 hearing 33:10          hour 29:7, 10         illustration 92:6     indicative 75:10
 height 103:14           157:7                imagine 154:9         indicators 113:12
  105:13 142:1, 16      hourly 54:19 56:8     impact 38:16          individual 44:23
 heights 118:14         hours 15:2 56:9,       44:10 176:8           52:10 82:10
 held 106:5             16 57:5, 9, 14, 19,   impede 44:10          individual's 61:10
 help 34:15 97:18       19, 22                implemented           industry 15:13
  105:10 116:3          House-Pearson          146:11, 21 167:5     infill 106:6
  128:5                  61:12                 169:18               infiltration 83:21
 helped 25:9            hug 84:15             impounded 90:5         86:17 88:1, 3
 helpful 35:4           hummocky 73:3          93:16                 108:1 138:1, 17
 helping 134:5          hydraulic 22:13       impoundment 71:2,      201:21
 helps 55:6 105:11       138:2, 6             3                     inform 209:20
 Hercules 40:21         hydrogeologic 46:3    impoundments 70:4     information 10:14,
  41:4                  hydrogeologist        improve 190:3, 10     14 25:11 34:20
 Hicks 7:20 30:6,        134:16               Improvement            45:18 46:10, 15, 17
 12, 14 66:22 71:20     hydrogeologists        81:14 159:16          48:3, 11 55:4
  140:17                 126:23               inches 156:15, 16,     73:11 153:9
 high 14:5 138:5, 8,    hydrogeology          22 157:1               168:15 171:2
 10 143:18 148:20        14:13 16:23          include 31:8 41:12,    181:11 185:7, 21
 higher 184:10          Hydrologic 5:20       14, 18 56:10           192:6 198:14
 highest 201:6           6:22 7:15 176:12     included 21:12         200:10 204:16
 highlighting 72:2       203:4                 25:16 31:11 70:21     205:23
 highly 120:17          hydrology 177:17       88:6 210:11          informed 141:3
 hired 122:4                                  includes 35:1         in-house 14:18
  125:17 127:19         <I>                   including 194:3       initial 58:5 109:18,
  145:11                idea 72:18            incorrect 115:4       19, 20 132:2 133:7
 Historic 5:4 55:4      identification 12:9   increased 66:10        193:12
  97:1                   45:10 60:13 63:2     incrementally         initially 107:5
 historical 10:14        83:7 96:20 115:23     164:10                110:1 114:23
  11:16 40:19 103:1      121:5 123:14         indicate 40:3 88:5     129:11 144:9
  181:9                  127:12 128:7          102:23 107:7         initiated 190:17
 historically 67:18      129:18 131:2          113:7 141:1          initiatives 50:8
  116:14                 133:17 136:10         143:10 145:21        input 81:12
 hit 129:16              140:12 144:23         160:13 184:12        inspected 186:11
 hold 105:21 106:3       145:23 147:6          187:4 189:14         Inspection 5:12
  138:4                  157:15 160:1          192:9 197:13          7:8 182:8 192:10
 holding 130:17          162:14 167:17         198:2                inspections 192:19
 hole 129:1              177:8 180:8          indicated 175:18      installation 179:3
 holes 128:18, 22        181:13 183:2         indicates 16:8        installed 25:10
 hollow 76:11, 18,       184:17 186:20         18:5 20:10 37:5       111:20 142:5
 19 84:17 87:1           187:15 191:18         45:18 84:22 99:8      178:9, 15, 18, 20
  93:17 94:13 127:9      194:6 196:11          138:16 149:1         installing 141:21
  207:9, 21, 23 208:1    202:19 208:4          160:8 164:18          179:4
                         209:10 210:19         165:11 172:10

Freedom Court Reporting, A Veritext Company                                877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 70 of 134
Lois George                                                                            228
 instance 11:1 47:3,     irreparably 36:14     jury 43:19              153:22 154:3, 8
 6 73:19                 issue 34:4                                    156:9, 14 161:22
 Institute 16:7          issued 29:23          <K>                     163:1, 11 165:6, 7
 institutes 15:16         121:23 163:12        Karst 38:14             167:3 168:22
 instruction 54:20        208:17               keep 37:23 60:3         169:22 170:10, 11,
 instructor 14:14        issues 17:1 82:9       141:2 159:7           20 171:2 173:12
 instrumentation          182:9                Keith 8:12              174:11, 23 175:20
  186:12                 item 38:7 39:12       Kellerman 24:12,        177:1, 11 181:16
 Intent 29:22             128:21 137:12        15                      183:22 189:1
 interested 11:21         139:2 147:17         K-E-L-L-E-R-M-A-        192:13 194:20
  213:15                  148:19 149:16        N 24:17                 195:1, 2, 6, 7, 12
 interim 135:8            155:14, 19, 23       Key 7:7                 196:15 197:10
 interject 11:4           159:19 161:17        kin 213:14              203:6 206:15
 intermittent 87:2, 3,    177:17               kind 25:8 49:7         knowledge 12:1
 5, 9 88:6, 19 93:6      items 52:9 127:21      101:17 104:12          16:18 115:13
  94:7, 15 96:18          133:23 182:4          118:19 128:22          166:19 174:21
  98:4 126:17            its 24:7 57:5          211:11                 194:17
  206:19                  69:10 71:3 103:10,   kinds 130:1            known 60:10
 internal 50:12, 13      11, 14 105:1, 18      kjohnston@selcal.or
  147:11 193:5            110:11 130:11        g 8:16                 <L>
 interpretation 17:2,     134:21 137:17        knew 129:16            lab 61:17, 19
 4, 13 18:3 55:3          141:23 160:19        Knob 22:6               97:10 130:11, 15,
 interpreting 150:22      161:13 168:16        Knoll 32:20, 22        16, 22
  202:3 207:17            199:20, 23 201:10     35:11 37:4, 13, 16    label 99:17 102:5
 interstitial 141:7       203:10               K-N-O-L-L 32:22        labeled 79:2
 intervals 164:8                               know 11:11 13:2         126:17 169:7
 interviews 48:9         <J>                    25:2 28:2 29:20       laboratory 130:18
 introduce 158:11        Jack 5:12 82:12,       30:14, 17, 20 35:18    151:17
 inventory 25:13         20                     36:8 41:23 43:18      Lakeland 130:18
 invested 57:22          Janice 44:14           46:7, 16 49:10, 13,   Lamoreaux 12:19
 investigate 21:19       January 6:14          15 53:10 57:7, 14       14:17 16:4 17:16
 Investigations 7:15      151:6 200:23          63:13, 22 69:13        77:2 124:21
  21:12 69:19 70:14       201:7                 70:18, 22 71:13        125:20, 23 127:6
  137:7 144:10           Jefferson 82:21        86:19 90:23 91:8       132:7 133:20
  192:20 203:5            213:4                 92:2 93:15 94:10,      134:13 140:19
  211:22                 Jim 17:11             23 95:4, 6, 9 96:12     142:21 146:4
 invoiced 57:14          JOB 1:23 15:18         101:14 102:10, 16      148:7 157:22
 invoices 56:5           Joe 192:13 195:20      103:6 104:21           158:2 161:4
 involve 21:7 27:3       jog 115:19             105:16, 18, 20         171:17 181:22
 involved 25:21          Johnson 173:11         106:1 107:3 108:2     Lamoreaux's 148:1
  56:12 173:12           Johnson's 31:9         111:4 113:10          land 99:8 172:22,
  192:8, 10, 23          Johnston 8:12          114:17 115:16         23
  194:18 195:13          joined 134:15          117:7 118:11, 18      landfills 43:14
  196:8                  judgment 201:10        119:14, 22 120:12     lane 89:2
 involving 24:9          July 7:9 147:12        121:21 122:14, 22     language 126:3
 iron 75:11, 11           152:4 171:11          133:5 135:6 136:1,     148:1 206:15
  122:17 123:11           205:10 210:23        4 137:23 138:7          207:16
  148:20 154:9           JUNE 1:22 2:9          143:9 144:4           Large 2:6 9:4
  193:22                  4:1 59:2, 14 60:21    145:14 148:13, 18      21:18 43:11 88:3
                                                151:13 152:15         larger 52:12

Freedom Court Reporting, A Veritext Company                                  877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 71 of 134
Lois George                                                                                229
 late 10:17 34:12         161:19 181:22            202:15 208:8          long 16:1, 15 18:9
  134:3                   182:6, 7 185:10, 13      209:14                 26:13 27:16 55:9
 lateral 155:11           194:10, 18, 23          listed 16:6 20:23       63:23 64:1 159:6
 latest 151:23            195:7, 11 209:15,        35:10, 15 37:5         163:22 164:2
 latitude 184:21         17, 20 210:6, 11, 23      38:4, 21 46:22        longitude 184:21
 law 2:6, 7 8:11          211:2, 5, 12, 15         51:16 53:4 85:4       long-term 48:13
  36:20 64:17 65:17,     letters 148:2 178:7       123:18 127:21         look 12:12 28:15,
 18 66:9 67:10           letting 106:8             131:6 136:23          16, 21 31:9 35:2
  72:22 77:20, 23        level 51:16 141:23        167:21 181:7           54:11 60:23 61:8
  79:15, 16 80:11, 20     142:19 158:8             182:3                  70:10, 11, 16 75:4
  82:3 96:2 107:17        160:9 186:5             listing 45:15           93:9 97:7 99:1
  109:22 113:17           199:17 201:8            literature 144:9        100:10 102:8
  170:7 172:17           levels 51:19 158:8       litigation 27:9, 11,    104:13 106:18
  179:6, 7, 12 193:11,    166:5                   12, 16 28:1, 23         107:8 110:6
 21 197:2 199:4, 18,     license 19:1              29:6 34:22 42:15       117:20 118:7
 21 200:1, 4, 7, 11,     licensed 18:6, 14        little 11:11 19:4       119:11 125:22
 16 212:8                licensure 19:12           26:2 60:8 61:20        129:9 131:4
 laws 3:5                lifts 173:21              74:3 84:23 98:1        133:19 135:16
 lawsuit 10:6 42:14      lighter 65:2              113:11 118:1, 10       149:5 153:17
  44:3 82:16 153:1       likewise 144:13           126:10 188:14          157:17 164:12, 17,
  192:3 209:2, 18        lime 104:9                197:18                23 165:20, 22
 Lawyer 82:14            limestone 70:15, 18,     located 137:16          166:4 168:18
 layer 74:17 118:15      23 71:5, 9 104:2          149:19 150:10          178:3 179:21
  200:4                   194:15, 20               207:18                 180:10 181:15
 layered 73:16           limit 85:6 140:4         Location 5:8            183:4 188:5
 layers 73:21            limitations 122:11,       43:10, 11 72:20        189:13 190:12
 lays 146:7              13, 16 123:5 153:9        74:13 75:16 78:16      194:11 196:15
 leading 3:11             154:12, 13               80:8 85:17, 20         197:7 198:22
 leave 71:2              limited 56:16             88:1 94:18 101:4       205:5 206:6
 led 51:3                 139:6, 13 166:16,        119:23 120:3          looked 15:15 53:1
 Lee 184:2, 2, 3, 6      17                        131:8 133:12           60:22 70:12, 20
 left 65:14 82:19        limits 154:6, 9           165:13 179:13          72:8 73:19 89:6
  84:8 174:8             Lincoln 33:1             locations 73:6          94:10 95:1, 1, 7, 9,
 left-hand 79:4           35:12 37:11              83:20 107:6 108:2     10 103:4 120:16
 legal 175:6, 9          line 73:4 80:11, 12       131:14 143:11          135:1, 2 139:8
  208:20, 23 210:13       86:8, 15 87:5, 7, 14,    144:2 183:12           145:5 156:12
  211:11 212:3, 6        16, 23 92:15 93:23        184:13 189:19          165:14 204:12
 legislative 50:8         94:15 108:8, 13          198:9 202:9, 12       Looking 20:22
 length 105:4             111:12 113:5, 5, 6,     Locust 62:10            24:21 34:21 48:16
 lengthened 105:6, 8     10 114:3, 12 124:9        68:21 79:19 90:10      50:23 57:16 65:13
 Leslie 59:6             Liquids 41:20             113:21 126:12          68:21 71:8 74:10
 Letter 5:14, 17, 19,    list 18:20, 23            132:9 140:2 143:2      75:6 77:6, 12 80:5
 21, 23 6:2, 3, 5, 9,     19:14 22:12 25:3,        166:13                 97:17 98:23
 12, 13 7:1, 2, 3, 4,    7, 19 31:19 35:17        logged 94:23            100:16 101:12
 10, 17, 19 29:23         38:7 41:7 50:15         logging 24:11           103:1 106:7 120:5
  54:7, 8, 10, 12 55:8    51:17 53:4 115:11       logs 107:7 179:21       124:1, 16 129:10
  124:3, 7, 20 127:15     123:18 131:6            LOIS 1:21 2:4, 11       131:22 148:13
  128:10 133:20           162:18 167:21, 21        5:10 9:7, 11, 23       149:18 150:18
  140:19 146:3, 7         181:7 182:3             Lois's 11:5             154:2 164:22
  148:7 159:21                                                            169:6 184:19

Freedom Court Reporting, A Veritext Company                                      877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 72 of 134
Lois George                                                                             230
  188:13 197:4, 22       88:22 99:2 102:10      93:4 94:6 96:20,      matters 27:2 28:9
  198:3, 14 200:8, 10    109:14                23 115:23 118:23        29:6 35:1
  203:13 207:7          magnifying 98:21        121:5, 7 123:14, 16   maximum 107:12
 looks 17:18 18:20      maiden 124:10           127:12, 14 128:7, 9   Maxine 5:12, 15, 18,
  44:17 46:10, 12       main 187:3              129:18, 20 131:2, 4   20 6:1, 6, 11, 15, 19,
  65:13 78:21 83:16     maintained 40:1         133:17, 19 136:10,    23 7:5, 8, 12, 14, 18,
  115:2 149:21          maintenance 182:14     12 140:12, 15          20 21:8 22:4, 16
  150:12 152:3          major 13:22 128:2       144:23 145:3, 23       23:16 24:9 25:6,
  158:15 178:6          majority 59:20          146:2 147:6, 8        21 27:3 52:1 58:9
  180:23 181:19          62:23 64:12            151:10 157:15, 17      69:17 87:9 100:22
  182:1 185:10           171:16                 160:1, 3 162:14, 16    135:11 143:21
  188:13 199:3, 12      makeup 129:9            167:17, 19 177:8       151:4 153:13
  200:22 201:6          making 76:6             180:8, 11 181:13,      156:10 166:20
  202:4 204:17           191:12 199:15         16 183:2, 4 184:17      173:3 178:15
  205:10, 11             201:10 210:15          186:20, 23 187:15,     183:20 184:1, 11
 lot 11:20 12:5         Mallard 10:2           17 191:18 194:6         185:2 196:19
  17:17 28:5 49:13      management 20:18        196:11, 14 202:19,     203:4
  55:21 64:15 71:14      81:16                 21 208:4 209:10,       Maxine's 168:11
  83:16, 17 115:10      manager 125:3          12 210:19, 21          McDuff 5:12
  140:3 183:22          manganese 123:11       marker 92:8             82:12, 20 117:1
  184:10 195:7           193:23                market 47:20            120:6
 Louisiana 15:14        manganese, 148:21      Mary 184:2, 2, 3, 6    McRoy 7:18
 low 143:7, 11, 18      manmade 84:11          Massey 50:1            mean 26:22 28:5,
  144:16                 85:7 86:7             master's 14:22         9 42:14 62:9
 lower 59:16 62:2,      manner 155:1            15:6                   63:22 85:17 89:12
 5, 7, 9 68:20 69:7,     159:7 172:16          material 41:15          97:22 102:21
 21 70:18 74:22         map 87:7, 8 88:16       62:12, 17 64:12, 14    104:4 122:2 126:5
  76:15 79:4 84:14       98:17 99:3, 5, 12      65:18, 19 66:4, 11,    127:2, 6 138:8
  86:9 88:8 89:17,       102:19 103:3          14, 17 67:8, 17         141:14, 17 144:6
 19, 20 90:1 93:12       131:14 133:11          76:2 90:17, 19, 20     147:19 148:4, 15
  99:13 102:11           138:16 149:9           91:2, 12 94:8          159:12 166:10
  103:8, 22 104:18       164:13 168:23, 23      100:3 105:20           175:6 176:20
  105:23 126:10          169:3, 6, 6 182:2      107:1, 3, 9 119:22     186:9 194:8, 21
  132:15, 15 137:19      202:8                  120:1, 16 126:1, 7,   meaning 208:20, 21
  138:17 139:14, 23     mapped 87:1            8, 13 137:21 138:9     means 85:22
  140:1, 1, 3 149:3,    mapping 96:15           139:11, 16 140:4       141:15 176:17
 20, 22, 23 165:16      mappings 17:14          141:15 154:22          188:20 205:3
  166:13 170:22         maps 5:4 17:8           164:14 172:12          207:18
  174:10 183:22          87:1, 18 88:5          174:2, 3 179:16, 16   meant 128:19
  192:20 194:22, 22      94:16, 16, 18 97:1,    197:19 198:4, 6        148:10
 lowered 164:10         18 100:1 147:23         199:4, 8, 21 200:1,   measure 141:22
 lunch 92:19, 22, 22     155:1                 1, 4, 5, 11             142:1, 12, 15
                        March 146:4            materials 31:2          163:21
 <M>                     151:21 190:18          91:1 148:9            measured 143:11
 M1-1 164:16             208:10                material-wise           164:9
 M-2 149:18 150:5       mark 60:9 78:4          102:17                measurement
 165:13, 13, 19          101:7 113:7 189:8     matter 33:14 77:5       155:12 165:7
 M-4 150:10, 15, 19     marked 12:9, 11         176:9, 11, 17         measurements
 ma'am 18:16             31:22 45:10 60:13,     208:22                 144:2 164:10
 27:21 28:4 77:9        15 63:2 83:7, 10

Freedom Court Reporting, A Veritext Company                                   877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 73 of 134
Lois George                                                                                231
 measuring 150:6            156:11 158:6, 8, 9,      178:10 180:22         moved 37:20 86:9
 meet 30:12 143:21         12, 14, 17 159:18,        189:15 206:8           103:17
 meeting 196:5, 7          20 173:3 183:12          MO-4 111:12            moving 15:13 68:5
 meetings 195:8, 10         184:1, 11 185:7          112:7                  150:16
  196:8                     186:10, 17              MO-5 197:22            multiple 21:23
 member 49:18              mine-constituted          206:11                 22:1, 19
 Memo 7:7 147:11,           144:5, 6                MO-6 198:6             Muncher 30:6, 12,
 13 148:3 150:3            mineral 15:22            MO-7 92:10             20
 Memorandum 5:11            143:18                   108:13 198:17, 19     Muncher's 119:1
  6:10                     mines 21:10 22:9,        MO-8 111:13            Musick 7:1, 4, 8
 memory 89:1               15, 19, 20, 21, 22        198:18, 19 199:20      82:11 83:3
  115:17, 19                23:11, 16, 20 24:2,     MO-9 178:10            MW-9 78:16 200:6
 mention 49:18             4, 7 25:9, 17 26:2,      Mobile 33:19, 19       Myers 192:13
  70:17                    6, 7 66:17 144:11        modifications           195:20
 mentioned 104:1            175:22 177:4             103:21 211:23
  130:13 189:23             183:20                  moment 15:5 34:2       <N>
  193:17 201:20            mining 17:1 21:2,         75:17                 name 9:22 10:4
 mentions 47:19            14, 16, 19, 21, 21       MONDAY 1:22             17:11 22:10 34:1
  145:7                     22:8 23:1, 5 24:22      money 48:12             36:22 59:8 61:10
 Messrs 8:12                25:11 27:3 36:13        monitor 125:13          69:5 124:10
 met 30:16 50:2             48:9, 10, 11 81:4, 5,    177:21 191:4, 9, 11   named 90:9
 metal 142:9               13 95:2, 8 100:21         200:6 207:8           names 22:3, 11, 17
 meter 163:22               121:23 122:15, 19       monitored 207:10        23:3 41:8
 meters 164:1               123:2 140:20, 23        Monitoring 5:8         narrow 78:2, 3
 methodology                141:3 154:12, 13         7:6, 13 21:13         National 20:7
  163:17                    168:13, 13 175:19,       25:10 83:19 143:9      156:6
 methods 14:13             21 176:13 177:3           149:2, 3, 11 171:23   native 90:12
  17:8 130:17               184:1, 3 185:22          172:8 174:13, 13      natural 62:19
 MI-1 164:16, 18, 20        193:13 201:14            176:18 177:17          84:15 139:15, 18
  165:8, 9, 12, 19, 21      208:9 209:7              178:5, 9, 14 179:9    nature 36:11 37:9
 mid 27:18 58:15           minute 156:20, 21         180:12, 17 182:13      39:1, 15 40:17
  153:19, 19                157:7, 9                 185:7, 17, 23 186:8    43:2 44:20
 middle 64:10              missing 46:15             196:20 197:8          near 42:20 73:21
  123:23 156:14, 16        Mississippi 42:6,         200:18 201:9, 14       77:17 153:19
  180:14 205:5             10, 13                    206:8, 21 207:15       160:21
 midway 20:23              misspoke 52:13            209:16, 23 210:14     nearby 44:23
 million 157:3             misunderstood             211:1                  174:2
 mind 21:9 64:3             157:13                  Monrovia 38:8, 11,     necessarily 82:13
  99:12                    mixing 163:3, 6, 13,     13                      102:21 138:10
 Mine 5:12, 15, 18,        19 164:18, 23            Montevallo 32:19        173:22
 20 6:1, 6, 15, 19          165:3 166:10, 19,        34:10 35:14, 21       necessary 3:9
  7:8, 18, 20 21:22        23 167:12                 36:17 37:19            128:18
  22:1, 4, 6, 10, 13, 16   MO 149:13                monthly 125:10, 11     need 19:8 49:11,
  25:6, 20, 22 26:6        MO-1 129:12, 13           201:16                14 61:1 131:23
  58:9, 13, 17, 21          131:8, 11, 15 132:7     months 29:1 51:17      needed 40:23
  60:20 67:3 91:16,         133:8 154:22            morning 9:21            85:21, 22 86:1
 18 106:9 116:21           MO-2 131:15               45:13 194:22           122:1 185:23
  124:5 132:2               133:9, 11 154:22        Morrison 38:8, 17      needing 193:18
  135:11 143:12, 17,       MO-3 76:17 78:6          Mount 38:21            neighboring 39:20
 22 144:8 145:7, 13         84:20 133:12            move 173:1

Freedom Court Reporting, A Veritext Company                                       877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 74 of 134
Lois George                                                                           232
 neither 189:3          NPDES 7:18, 20                                 116:18 122:2
  213:13                 152:12, 21 153:5,      <O>                    135:10 143:16
 neutral 144:15         12 192:7 193:6          Object 67:5 69:3       157:11 172:9
 neutral, 144:18         194:13 195:5, 14,       76:21 86:22           192:18
 neutralization         21                       120:11 122:20        oil 15:12
  183:21                null-out 158:12          143:5 153:6 155:3    okay 11:17 12:2, 6,
 never 60:11 66:15      NUMBER 1:3, 23           159:14 160:20        19 17:18 18:12
  77:1 91:18 106:2       8:2 12:8 14:10          162:7 174:16          22:12 31:6 45:7
  153:4                  16:9 19:8 21:10,        176:15 207:1, 3       46:21 48:7 52:17
 New 13:21 14:3         12 22:9, 18 24:3        objected 207:4         55:10 61:4 64:11
  15:9, 14               28:16 31:22, 23        objection 207:5        65:7 67:8 74:8
 nice 92:22              45:9 56:9, 16 57:8     objections 3:9, 12     78:7 79:7 91:20
 NOAA 156:6              60:12 61:23 62:13      objective 172:3, 16    92:18 94:14 98:3,
 Noble 59:6              63:1, 16 64:6, 8, 10    175:14 190:22        7 101:5 102:3
 Non-aqueous 41:20       72:1 80:14 83:6         191:2                 115:20, 21 116:5
 nondisclosure 23:8      86:16 88:2 96:19       objectives 148:8       120:4 124:3, 14
 north 69:11 74:4        97:23 98:17 107:6      obligated 175:11       128:17 130:19
  84:2 85:5 87:13,       115:22 121:4           observation 142:11,    140:18 147:13
 15 91:22 95:18          123:13 127:11          18                     171:21 175:17
  96:8, 9, 13, 14, 17    128:6 129:17           observations 85:14     176:11 183:15
  98:9, 10 103:18        131:1 133:16           obtain 14:22 97:12     185:4 187:13
  107:15 111:8, 17       136:9 138:19           obtained 14:9          192:18 202:2, 16
  112:3, 6, 11, 19       140:11 141:6            97:10 137:7           203:22, 23 204:6
  114:21 150:11, 12      144:22 145:22          obtaining 175:15       205:1 208:1, 19
  174:18, 18 190:21,     146:21 147:5            193:11, 13            210:10
 21 197:23, 23           152:13 157:14          obviously 28:13       old 11:20 77:18
  207:12                 158:16, 16, 18, 18      79:8 93:11 111:4      101:18 120:7
 northeast 75:1          159:12, 19, 23          184:3                 134:21 144:10
 NORTHERN 1:1            162:13 167:16          occasion 193:4         172:12 177:18
  10:7                   168:10, 11 169:1, 4,   occasions 23:18, 19   older 37:22 80:10
 notably 118:6          7 173:10 177:7           27:19 30:16 50:3      94:16
 Notary 2:5 9:3          180:7, 17, 18           205:9                oldest 35:19
 notch 69:11, 21         181:12 182:15          occupied 155:21       once 77:22
  70:6                   183:1 184:16           occupies 59:20        ones 97:8 115:10
 notes 60:3              186:19 187:14          occurred 46:20         136:4 149:13, 14
 notice 3:17 5:13        191:17 194:5           Oceanic 156:6          178:22, 22 198:13
  6:7 29:22 121:20,      196:10 199:2, 10       October 203:3          200:19
 23 124:15 141:4         202:18 208:3           offer 47:1            ongoing 40:20
  145:5 163:14           209:9 210:3, 18        offered 3:14           42:4 45:5
 noticed 118:17         numbered 142:20          128:23               on-hand 97:14
  146:19                 157:22                 offering 210:13       on-site 41:16 82:7,
 notices 163:11         numbers 52:10            211:11 212:3, 7      11, 13 134:11, 13,
  193:15                 123:22                 offhand 140:6         16 163:7 195:17,
 NOV 145:16             numeric 166:5           Office 21:15, 18      20
  167:6 182:18          numerically 123:7        26:15 123:2 203:9    open 28:9, 12, 16
 November 5:3            144:17                 offices 2:7 82:23     openings 141:7
  58:7 128:10           numerous 50:3           Off-the-record        operating 22:14
  129:22 134:4          nutrients 174:5          116:8                 173:3
 NOVs 175:14            nutshell 33:17          Oh 34:18 87:10        operation 36:13
  208:14, 16                                     98:18 109:23          42:2 84:6 111:22

Freedom Court Reporting, A Veritext Company                                  877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 75 of 134
Lois George                                                                                233
 operations 50:12,        outfall 152:13, 21      pages 53:10 158:2       125:4 148:21
 13 57:3                   210:1, 2                185:9 198:22           182:15 188:21
 Operators 22:23          outfalls 210:1           204:7                  189:9
  48:10, 10               outflow 194:14          paid 167:14            particularly 26:6
 opinion 36:12            outlet 69:11            paragraph 21:1          210:1
  37:10 38:9, 14          Outline 6:21 181:4       47:18 120:7           parties 2:3 3:12
  39:1 40:17, 22          outlined 125:20          125:23 126:10          34:7 213:14
  41:9, 12 43:6 44:3,      147:22                  128:15, 16 130:4      parts 65:23 94:22
 11 55:3 136:6            outside 61:13            131:7 132:6            106:9 171:14
  208:12, 19, 23          outskirts 40:21          138:22 141:6, 12       180:1
  210:13 211:11, 16       overall 185:7            142:20 154:14         path 87:17 92:4,
  212:3, 6, 7             overburden 66:14,        160:8 161:3           15
 opinions 11:15           16, 18                   164:17 170:5          pattern 84:21
  55:16 56:1 209:20       overtopped 140:3         186:7 188:6           peer 26:20, 22
 opportunity 61:7                                  194:11, 12 195:11     PELA 5:3, 5, 14, 17,
 opposed 67:1             <P>                      196:4 197:21          19, 21, 23 6:2, 3, 5,
  75:15                   P.E 16:4 17:16           198:17 206:7          9, 12, 13, 21 7:1, 2,
 oral 3:23 9:8            p.m 212:13              paragraphs 169:12      3, 4, 13 12:19, 21,
 Order 7:16 60:8,         PAGE 8:2 13:13          parallel 84:2 85:6     22, 23 13:1, 5, 8
 11 182:19 207:8           31:13 35:10 38:4        101:23 114:8, 13,      23:6, 14 24:5, 10,
  208:8, 11, 14, 16, 20    47:10 52:6, 7          19 187:6               22 25:20 26:3, 9
  209:1                    53:20 67:22 68:11,     parameters 190:22       27:13 49:4 54:13,
 organic 41:7             11, 18 73:14 99:2        193:19                16, 20, 23 57:5, 22
 organized 60:9            100:17 101:9, 10       Pardon 191:10           60:18 69:20, 23
 origin 62:17, 18          117:5 119:11, 17       part 10:10, 11          77:1 81:6, 20
  67:16                    120:6 122:8             14:18 15:14 17:21      85:12, 18 86:2
 original 3:23             123:23 124:2            21:3 26:7 36:15        97:4 100:17
  12:10 45:11 60:14        136:20 137:2            43:13 59:17 71:9       107:22 115:9
  63:3 83:8 84:17          141:6, 20 148:12        72:11 74:9, 22         121:20 124:6
  86:20 96:21 116:1        149:5, 18 150:21,       84:12 86:6, 20         125:4, 17 127:19
  121:6 123:15            23 151:3, 10, 14, 19,    89:23 94:4 95:20       128:2, 13 129:4, 21
  127:13 128:8            22 152:3 164:12,         96:6, 6, 7, 10         130:8, 11, 14
  129:19 131:3            17, 23 165:12, 19,       111:10, 11 120:1       133:20 134:11, 15,
  133:18 136:11           21, 22 168:18, 19        122:9, 11 126:12,     20 135:22 138:13
  140:13 145:1             169:1, 15 170:5, 6     14 127:23 131:8,        140:14, 21 143:20
  146:1 147:7              171:7, 18, 20, 22      21 139:1, 12, 14        145:11 146:3
  157:16 160:2             178:3 180:14, 14        145:9, 11 146:16       151:15 160:4
  162:15 167:18            181:19 182:2, 12        149:3 154:16           163:18 166:23
  168:2 177:9 180:9        183:8, 19 184:20        156:2 158:17           167:12, 14 168:1,
  181:14 183:3             187:5 188:5, 6          160:10 161:7, 15      15 171:8 172:4
  184:18 186:21            189:12 190:13, 16       163:16 171:3, 23       176:9, 11 177:10,
  187:16 191:19            196:21, 22 197:12,      173:19 174:9          21 178:4, 15
  194:7 196:12            17 198:17 199:11         177:11 178:9           180:11 201:8
  202:20 208:5             200:8, 17 201:1, 20,    180:2, 13 188:9        203:7, 17 205:20
  209:11 210:20           23 202:11 204:17         192:5, 17, 20 195:9   PELA-owned
 originally 14:3           205:14, 16 206:6, 7     196:6 205:20           130:22
  119:23                  page-for-page            206:9 207:9           PELA's 20:10
 OSM 194:3                 203:12                 particular 15:6         76:3 81:12, 17
 outcome 34:8                                      38:1 50:7 68:15,       107:20 119:9
  39:10 43:17                                     17 72:2, 15 95:9

Freedom Court Reporting, A Veritext Company                                      877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 76 of 134
Lois George                                                                            234
  130:15 154:5           permitted 22:20        physically 148:14      128:6 129:17
 PELLA 12:21, 22          176:2                  186:2                 131:1 133:16
 pen 64:4 87:11, 21      permitting 22:14,      picked 202:5           136:9 140:11
  92:3 99:11 101:7       21 24:1 173:2          picture 73:22          144:22 145:22
  108:17 111:14           177:2 212:1, 2         76:16 119:12, 17      147:5 157:14
 pending 10:6            person 59:8            pictures 5:7 75:7      159:23 160:4
 people 11:23            personal 12:1           77:6 78:19, 21        162:13 167:16
  82:15 186:13, 17        120:13                 118:23 119:3          177:7 180:7
 percent 28:12, 15,      personally 27:20        135:7                 181:12 183:1
 23 29:2, 3 155:20        51:22 134:1           piecing 95:6           184:16 186:19
 percentage 27:23        personnel 185:16       pile 62:21, 23         187:14 191:17, 20
  28:2, 19               perspective 209:6, 8    64:13 66:4, 19        194:5 196:10
 percolation 201:22      pertaining 168:9        117:16 119:12, 18     202:18 208:3
  202:5                  pesticides 41:6         120:3 158:20          209:9 210:18
 perform 23:6, 15         44:23                 piles 64:16            plan 169:13 172:4
  24:6 27:12 56:19       PG 5:2                 pine 59:19 62:5        173:22 181:4, 5
  127:19 154:18          pH 122:16 123:9,        72:2, 15 74:13, 17,   planned 172:23
  155:2 160:18           10 143:7, 11, 18       18 93:12, 12, 19       planning 81:12
  167:12                  144:16, 16 154:8       118:10, 13, 15, 17    182:10
 performed 22:5           158:4, 9, 13, 23      pines 118:13, 20       planted 118:12
  67:15 127:22            159:7 189:22          pinpoint 69:15         plateau 118:2
  155:14 176:21           190:3, 6 193:17       pipe 78:21 79:10,      play 69:20 107:22
 performing 134:1         201:5, 8 204:12       12, 14 103:19          136:19 187:18
 period 10:17 23:5       phase 19:11 41:20      pipeline 39:6          Please 4:3 9:22
  24:5, 21 104:2         Philip 124:20          pit 158:17 174:3       12:6 47:11 52:7
  125:11 133:23          phone 73:9             pits 144:14            53:20 88:21 92:8
  195:2                  photo 17:2, 4, 13      Place 8:21 38:1        99:18, 21 133:19
 periodically 142:11      18:3 62:13 64:6, 7     89:9, 11 101:23       147:10 165:1
  162:5                   67:23 68:4, 13, 16,    108:20 142:10         183:4 192:15
 permanent 145:7,        19 71:8 73:15           152:8                 203:2
 12                       74:1, 9 77:14         placed 65:21           point 94:2 108:12
 Permeability             79:13 86:9 101:3,      66:19 104:3, 9        109:6 110:3 112:2
  137:23 138:15          11, 18, 20 102:1        119:23 173:20, 20     118:4 121:22
 permeable 137:22        photograph 5:9          174:4                 134:8 149:23
 Permit 6:16, 19          67:9 68:2 101:16      placement 65:22        150:2, 7 153:5, 13
  7:18, 20 21:9          Photographs 5:5         76:1 79:9 82:2        162:11 163:12
  25:10 135:9, 10, 11,    60:6, 7, 16 61:8      places 31:21 75:21     185:19 191:6
 18 152:7, 12, 21         63:7 119:9 135:16      84:18 184:8           194:8 197:1, 10
  153:8, 10, 12, 23      photography 17:8,      PLAINTIFF 1:6          pointing 98:13
  154:6 167:22           17 72:9 82:22           8:15, 19 38:22, 23    132:4
  168:2, 8, 10, 13, 16    97:10 100:20           39:13 40:10, 11       points 176:18, 19
  171:4 175:19            102:22                 42:22 43:1 44:13,     188:2
  176:4, 13, 23          photos 5:4 18:4        15                     policy 23:8
  183:14 185:8            60:20 61:21 72:1,     plaintiffs 31:7        polluting 34:4
  186:1 193:1, 6, 12,    4, 4 73:12 74:12,       44:16                 pollution 21:20
 14 194:14 195:5,        14, 15 75:4 77:4       Plaintiff's 12:8       pond 59:16, 16
 14, 22                   78:12, 22 80:4, 15     45:9 60:12 63:1, 5    67:8, 17 69:7, 8
 permits 153:11           97:1, 9 119:7          83:6 93:5 96:19       89:14, 19, 20, 23
  175:15, 21 192:7        120:15                 115:22 121:4          90:17 91:4 104:10
                         physical 100:6          123:13 127:11         105:17, 23 113:23

Freedom Court Reporting, A Veritext Company                                   877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 77 of 134
Lois George                                                                             235
  115:2, 6 132:14, 15,   Pottsville 73:16, 21    presented 201:18      professional 16:5, 8
 19, 20 150:13            75:8, 18, 19 84:16     presenting 161:18      18:6, 14, 23
  152:18 160:9, 18        90:13 137:14           Preserve 36:15        professionals 16:14
  161:13, 21 162:6        185:6                  president 26:10        18:19 20:8 49:22
  166:13 194:22          Powell 134:14           pretty 20:16 77:7     professor 17:6
  210:2                   171:17                  98:5 118:14           31:10
 ponds 90:1, 7, 9        Power 48:17 49:6        prevent 80:19         program 15:7
  92:1 93:17 95:15,      pre 77:23               previous 35:17         18:10 22:23 49:19
 16 100:12 105:17        pre-capping 178:22       45:14 137:10          50:4, 20, 21 51:5,
  131:12 132:12, 13      precipitation 156:1,     148:2, 6 149:1       12 171:23 172:8
  139:23 170:23          13                      primarily 26:17        178:5, 9 201:17
 poor 101:11             precise 63:22            27:18 56:14 62:14     205:21
 porcelain 142:9         precisely 78:11          82:8                 programs 51:1
 porosity 155:19          112:23                 primary 89:6          progress 5:22
 portals 144:11          pre-GPS 164:3           print 97:21 213:9      63:16 129:23
 portion 68:23           pre-law 64:17, 23       prior 3:14 30:14       133:22 134:6
 portions 59:18           65:3, 5, 19 66:1, 4,    34:22 68:13           135:8 137:11
  207:23                 11 67:10 77:12, 13,      209:18 211:2          141:4 201:15
 position 16:1 26:9,     19 79:17, 18 80:20      private 39:22         prohibit 182:16
 13 73:4                  82:5 91:22 96:2        Probably 24:20        Project 6:11 20:18,
 positive 59:12           98:12, 15 107:13        25:13 28:12 29:2     21 21:16 25:7
  61:16                   108:8 109:22            49:13 50:19 62:23     52:1 55:5 69:6, 17
 possession 134:22        110:18, 23 112:4, 6,    103:8 131:16          93:21 97:16 109:1
 possibility 106:7       13 113:11 114:20         134:7 136:22          125:1, 3, 4, 15
 possible 192:7           117:16 119:12, 18      Problem 5:16           127:4 130:2 132:3
 possibly 26:7 66:3       121:2 172:17            100:4 143:3           134:2 140:22
  83:2 122:17             174:15, 18, 20, 22     problems 146:9        projects 17:14, 17
  129:15 171:15           175:18 176:3           Procedure 3:20         21:5 23:9, 21, 22
  178:21 187:12, 13       179:8, 9, 12, 17, 20    9:5 208:11            26:17 28:11 37:22
  193:1                   190:17, 19 193:11      procedures 212:8       51:22 55:5 186:13
 post 64:17 65:16,        197:23 198:11          proceedings 9:9       pronounce 12:21
 18 66:9 67:10            199:7, 18 200:1, 5,     213:7, 12             124:12
  72:22 77:20, 23        7 206:12                process 19:7 55:22    proper 88:15
  79:14, 16 80:11, 20    preparation 53:14        66:20 70:13 81:12    properly 82:4
  82:3 96:2 107:17        57:15 196:16            107:22 111:5          160:19 162:6
  109:22 113:17           202:22                  139:3 185:15         properties 20:1
  170:7 172:17           prepare 63:11            187:8 190:15          44:23 51:1
  174:13 178:23           83:14 116:18           processes 19:23       property 33:19
  179:5, 6, 7, 12         134:5                   139:15, 18            34:4 36:16 37:13
  193:11, 21 197:2       prepared 58:5           Processing 6:17, 20    38:17 39:5, 18, 20
  199:4, 18, 21 200:1,    63:14 79:9, 20          168:21                72:15 84:9
 4, 6, 11, 16             149:9, 10              processor 13:10       proposal 125:20
 postgraduate 15:2       preparing 28:23          56:14                 128:13
 potential 21:19          46:20 97:6 121:11      produce 55:7          Proposed 6:21
  41:2 50:4 51:19         134:5 136:16           produced 41:5          36:13 46:4 128:21
  82:2 146:8 183:21       187:19 191:23           60:17 97:2 119:4      129:5, 8, 10
 potentially 95:1        presence 195:22          134:18 135:14        Protection 38:12
  132:1                  present 26:9            producing 206:22      prove 166:11
 Potter 44:14 45:18       139:10                 production 53:9,
  46:11, 18                                      12 116:11

Freedom Court Reporting, A Veritext Company                                   877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 78 of 134
Lois George                                                                           236
 provide 55:2, 4        PX-23 6:13            quite 42:4 72:5         141:9 146:17
  57:12 85:16           PX-24 6:14            90:23 156:13            171:5 172:19
  135:18 168:15         PX-25 6:16            quote 64:23 132:8       173:1 208:13
 provided 5:10 9:4      PX-26 6:18            142:21 177:18          reasonable 57:11
  32:6, 9 52:11         PX-27 6:21            194:14                  58:3
  135:12 201:16         PX-28 7:1             quotes 132:1           Rebuttal 5:6
  203:19 210:6          PX-29 7:2                                     31:12 57:20 58:16,
  211:5                 PX-3 5:5              <R>                    18
 Providing 26:23        PX-30 7:3             rain 182:11 186:5      recall 22:15 32:18
  27:16                 PX-31 7:4             rainfall 138:23         34:1 41:7 43:12
 proximity 74:21        PX-32 7:5              156:10, 22 159:5       48:9 50:10 51:10
  104:10                PX-33 7:7              162:10                 70:1 80:2 86:4, 5
 Public 2:6 9:3         PX-34 7:10            raining 68:9            91:14 103:22
  38:12 43:6 48:1, 3,   PX-35 7:12            rains 126:6             109:4 116:11, 14
 4, 15 49:3, 5          PX-36 7:14            raised 105:14           117:10 118:6
 published 205:23       PX-37 7:16            RAM 51:8, 13            121:15, 17 123:12
 pulled 49:23 56:20     PX-38 7:17            R-A-M 51:9              124:5 130:1, 5
 pumping 38:14          PX-39 7:19            ran 86:21               134:14 142:3, 5
  106:8 159:20          PX-4 5:6              Randy 173:11            143:14 150:13, 14
 punish 11:19           PX-5 5:7              range 41:5 102:14       152:20 159:10, 15
 purged 37:21           PX-6 5:8               193:23                 160:12, 13, 15
 purpose 70:23          PX-7 5:9              rate 29:9 54:19         162:1 163:3 172:3
  71:3 80:17 81:1       PX-8 5:10              56:8                   181:16 182:17, 21
  90:7 131:19 141:2     PX-9 5:11             rates 54:1              183:9 185:13
  147:1 173:6 179:3     pyritic 184:10        ravine 76:19            189:11 190:3, 5, 9,
  181:9 187:3                                 RBCA 50:16             12 193:23 198:13
 purposes 86:14         <Q>                   Rdavis@starneslaw.     recap 178:6
 pursuant 55:17         Qualifications        com 8:23               received 101:15
 put 17:20, 23 28:8     47:13, 19 49:17       read 9:16 97:20        recharge 126:2
  31:19 48:8 50:23      qualified 44:2         99:9 141:5 169:1,      138:23 139:21
  51:4, 17 64:9         Quality 7:15 21:2     19 188:7                140:5 207:11
  80:14 84:6 107:1      22:3 25:4 101:11      reading 3:2            reciprocity 55:9
  142:6 158:6           146:9 151:2            149:13 201:6          reclaimed 106:17
  159:18 166:23         199:17 203:5           204:21 205:12          107:17 170:14
 PX-1 5:3               question 23:4 35:7    readings 142:11         173:18 193:3
 PX-10 5:13             52:14 58:16 85:3      real 102:8 142:16       195:15
 PX-11 5:14             89:8 94:21 97:19      really 11:21 17:14     reclaiming 169:13
 PX-12 5:17             102:19 104:13          57:23 64:8 72:5,      reclamation 25:20,
 PX-13 5:19             105:23 109:21         12 73:2, 4, 5 89:1     21 26:3 78:17
 PX-14 5:21             116:6 119:6            92:11 94:10, 14, 23    170:7 174:7, 14
 PX-15 5:23             141:11 145:6, 16       104:20 109:11          197:1 212:4
 PX-16 6:2              157:13 167:2           113:2 128:11          recognize 47:7
 PX-17 6:3              176:3, 10 207:5, 14    134:3 143:23           135:21
 PX-18 6:5              208:10                 144:4 148:23          recollect 211:10
 PX-19 6:7              questions 3:10, 11     150:5 170:2, 4        recollection 11:17
 PX-2 5:4               55:11 93:1, 3          191:12, 14 192:18,     63:18, 20, 22 74:2
 PX-20 6:9              171:19 177:14         21                      76:12 81:10 95:22
 PX-21 6:10             213:8                 realm 57:19             115:12 116:15
 PX-22 6:12             quick 102:8           reason 12:2 19:3        122:7 123:4
                                               53:8 68:15 115:16      124:17 128:5

Freedom Court Reporting, A Veritext Company                                 877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 79 of 134
Lois George                                                                             237
  161:23 163:8          149:2 162:18          regarding 26:23         131:10 135:23
  175:21 179:1          164:22 167:21          50:3 173:13            140:8 142:8
  180:2 192:23          168:20, 22, 23         192:20 211:21          147:13, 14, 15
  210:10                181:7, 9 182:15       Regardless 184:7        161:18 163:5, 23
 recommendation         188:1 192:14          regional 51:16          173:15 179:2
  159:12, 17 175:12     202:15 206:17         registrations 16:6      185:17 189:5
 recommendations        208:8 209:4, 14       Registry 20:8           191:1 195:23
  70:2 81:18, 23        210:16                regraded 120:21         196:1, 2
  82:6, 13 85:16       referenced 103:3       regs 177:3             remembered 61:10,
  86:2 181:23           170:16 208:7          regulations 19:23      12
  182:12                209:14                 81:2, 3, 4            remote 17:21 18:4
 recommended           references 18:18       regulators 162:23      remove 91:11
  69:23 182:16          19:9 31:5, 11, 16      163:6 166:21           162:5
 reconfigured 109:2     52:5 137:1            regulatory 20:20       removed 66:18
 Record 6:10 9:22      referred 66:22          127:1, 7 173:2         139:17 162:3
  48:21 60:17 61:2      69:1 76:11 77:2        175:1 211:21          rendered 37:10
  86:14 92:21           89:14 91:18           relate 115:8 157:6      38:10
  119:10 128:11         106:17 108:9           158:19 205:17         repaired 105:7
  135:19 141:1          114:6, 13 117:7       related 40:19, 22      repeat 117:18
  145:2 147:9 167:8     127:8, 18 137:16       75:18 146:22          rephrase 132:23
  181:6 187:21          144:16 154:7           152:13 156:1          Report 5:3, 6, 12
  203:2                 163:19                 159:19 179:4           7:13 10:20 11:15
 recorders 186:5       referring 13:3          192:19                 12:14, 16 13:11
 records 11:16          23:10 67:11 70:22     relates 145:4           31:3, 5, 7, 8, 9, 10,
  134:21 156:5          76:3 86:7, 11          194:10 211:19         10, 12, 12, 14 33:12,
 recount 23:11          108:12 112:12         relating 3:6           15 35:10 36:1
 recounting 192:6       121:1 122:14          relation 149:19         38:4 40:4, 5, 6, 8,
 recovering 66:10       126:18 128:20         relative 19:22         12 44:17 46:20
 recovery 41:19         132:9 137:18           79:10 106:6            47:10 48:8, 18
 red 64:4 87:11         142:17 143:1           137:23 138:7           52:6, 16, 21 53:6,
  92:3, 12, 15 93:23    145:15 148:22          162:9 186:5           15, 18, 21 56:1
  99:11 101:7           149:16, 22 170:17,    release 210:14          57:15, 21 58:6, 12,
 reduce 139:20         21 177:19 190:21        212:4                 16, 18, 19 97:6
 reduced 213:9          193:8 194:2           released 211:1          115:11 123:19, 20
 refer 31:4 34:19      refers 70:19           releases 212:1          131:7 135:5 136:4,
  59:15 62:1, 3 63:6    147:22 158:18         releasing 209:16       6 137:1 162:19
  64:13 65:15 66:12,    192:12                relied 97:8 136:5       165:11 177:23
 21 67:3 69:5          refuse 62:18, 21, 23   remaining 210:1         181:8, 10 191:4, 14
  76:18 80:7 88:13      64:12, 13, 14 65:1,   remarkable 118:9        196:16, 18 201:11
  105:9 116:3          22 66:11, 15, 21, 22   remedial 41:2, 17       202:15 203:3, 7
  121:19 147:20         74:16 90:12, 17, 19   remediation 26:19       208:8 209:15
  148:3                 95:23 96:4 106:21      40:20 41:11, 14        210:8, 11 211:8
 reference 53:4         108:3 110:11           42:3                  Reporter 4:4 9:1,
  56:20 72:14 75:23     120:3 169:8           remember 17:22         15
  76:13 86:14 89:3      190:17, 19 198:11      18:11, 12 22:3, 10,   reporting 191:15
  96:16 106:10, 16      206:12 207:12, 13     17 23:3 36:22           201:9
  115:11 123:18        regard 40:3 57:20       104:12, 20 105:13     reports 27:1 37:23
  126:16 131:6, 10      86:3 93:22             109:6, 11, 12, 15      38:3 42:13 48:19
  136:8 137:14                                 111:21 114:10          55:19, 21 63:17
  144:15 147:20                                116:3 117:2 123:7      80:10 134:5, 6

Freedom Court Reporting, A Veritext Company                                  877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 80 of 134
Lois George                                                                             238
  135:8 137:11         result 21:21 167:6      91:17 92:3 95:4          110:11 126:13
  197:5 201:15          169:21 177:14          107:15 108:13            128:23 152:8, 22
  204:8                 182:6 213:15           110:16, 17 112:19,       153:7 158:19
 report-writing        results 143:10         20 114:12, 14             163:16 167:10
  14:14 20:18           144:3 151:14           116:22 117:3             173:3 176:1, 4
 represent 164:16       187:22 191:16          123:20 124:22            183:9, 17 193:10,
 representation         202:11                 132:22 133:7            14 196:19 203:4
  207:21               resume 13:12, 15        137:4 139:19             206:12 207:12, 14
 representative 64:9    14:22 16:5 17:18       140:6 157:2, 5, 8,      Rodger 38:7, 17
 represented 134:19     18:5 20:9, 17         12 161:3, 9 165:2        role 69:20 107:22
 represents 19:21      retained 4:4 5:7        166:5 169:9, 11          136:19 187:18
  213:10                10:8, 12, 13 11:7      181:1, 5, 20 186:18     Ronnie 7:7
 reproduced 166:4       29:13 30:15, 21        187:7, 10 188:23        rope 164:4
 request 167:4          33:20 36:18 38:18,     189:18 195:6            Roughly 24:3
 requested 167:11      22 39:13 40:10          199:1, 9, 22 200:2,      28:19 125:7
  210:23                42:22 44:14 47:23     21 202:12 204:9,         row 48:1
 require 55:23          49:3 54:17 55:1       11, 20, 21 205:10        rubble 126:1
 required 19:12         97:12, 15 209:18       206:23 207:2            Rule 3:19 9:5
  175:15 193:6, 7, 9    211:3                  210:4                   ruled-off 142:9
  195:4                retainer 54:4          right-hand 76:15         rules 3:6, 20 9:5
 requirement           retention 11:5         riprap 68:22              55:23
  122:18 152:11         55:17 161:6, 11        70:10, 15 104:3         runoff 37:12
  175:1 183:13         retired 59:12          risk 50:23 51:6, 14,      77:11 79:14 80:23
  195:5 211:2           61:16 134:15          15                        83:22 94:5 108:22
 requirements 22:14    revegetate 170:9       risk-based 50:15, 21      110:8 112:4
  173:2 177:3          revegetated 170:12     River 33:19 39:19         113:16, 19 114:20,
  209:17               review 27:1 30:9        86:10 104:5             22 117:6 126:7
 requiring 194:13       31:6, 11 32:3 46:9     142:15 161:14            133:2 143:9, 13
 reroute 147:2          55:4 124:15            164:4 166:16, 17,        145:8, 13 147:2
 research 15:16         152:12, 23 153:8      18                        150:20 159:5
  145:21                168:6 181:8           RIVERKEEPER               172:3, 9, 16 173:7
 reserved 3:3          reviewed 29:18, 22      1:5 8:17 10:6           runs 125:13
 residence 39:22        30:2 31:2 123:19       29:23 209:2
 resistant 73:21        171:16                 210:15                  <S>
 resolution 41:22      reviewing 52:15        road 77:19, 22           SAITH 212:14
 resource 26:20         81:10 116:18           91:15, 21 92:4, 16      sales 48:13
 resources 15:22        197:6                  94:11 100:13            Sam 5:11
  16:22                reviews 26:20, 22       109:5, 5                sample 151:9, 14,
 respective 2:3        revisions 50:4         roads 176:1              20 152:4 185:20
 responded 159:10      Richard 7:11 8:20      Roadway 43:7, 9,          188:7, 21 190:7
 response 122:1         32:10, 10, 11 98:20   19                        200:18 201:5
  159:15 161:19         140:16                Rock 5:15, 18 6:1,        205:4, 13
 responsibilities      ridge 99:8             6, 11, 15, 23 7:5, 12,   sampled 150:17
  209:23               rig 128:23 129:2       14 21:8 59:20            samples 130:5, 13,
 responsibility        Right 10:15 13:13       62:18, 21 64:12, 13     19 143:20 150:15
  33:17, 18             22:11 27:14 28:10      66:15, 21 70:10          151:4 183:9, 9
 responsible 34:7       35:15, 16 37:7         74:16 80:21 91:19,       184:11 186:3
  43:14                 40:13 43:15 48:23     20 92:16 93:2             191:8 205:18, 20
 rest 166:15 174:20     51:13 52:22 56:1       99:5 100:23 101:2        206:2
  199:6                 68:4 71:15 88:20       106:21 109:16

Freedom Court Reporting, A Veritext Company                                   877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 81 of 134
Lois George                                                                              239
 sampling 67:15         scene 120:10              156:1 160:10          September 196:6
  130:8, 9, 10 134:4    scheduling 28:14          161:6 164:21           204:15, 18
  139:9 153:5 186:4     school 14:5 17:6          166:7 168:10          sequence 95:6
  187:22 188:2          science 172:21            171:9, 23 172:5        179:3
  189:9, 14 190:10      scientific 172:19         179:14 180:13         series 48:18 205:16
  199:21, 23 200:22      211:16                   182:2 187:21          serve 71:3
  201:2, 4              scientist 208:12          188:8 189:17, 19      Service 48:1, 5, 15
 sand 138:11            scientists 49:23          191:14 196:22          49:3, 5
 saplings 118:13        scope 54:13               200:19 206:9          services 23:6 24:6
 satisfied 208:18, 18   scratch 93:5             seeing 116:11, 14       27:12
  211:21                screening 51:16           123:21 130:1          set 52:12 54:10, 13
 satisfy 208:14, 15     seam 184:2, 3, 4, 5,      133:14 160:12          55:18, 23 143:9
 satisfying 175:14      6                         181:17                 169:15 181:22
  193:15                Second 2:8 8:13          seen 57:8 63:9         sets 178:4
 saturated 148:9         38:7 117:5 120:6         87:8 106:10           setting 25:12 46:3
  207:11                 122:8 128:15             116:13 121:8, 15       100:6 139:12
 saturation 126:9        132:6 136:20             124:7 127:15           142:17
  141:13 207:13          141:5 181:19             136:13 146:4          settled 34:9 39:11
 Sauk 42:17 43:4,        183:8 187:4 188:5,       160:5 168:4 183:5      42:1 91:1
 10                     6 197:21                  186:22 191:21         settlement 160:23
 saw 68:12 90:18        Section 31:16             209:17 211:2, 9       settling-out 85:23
  93:10 95:3 100:8       34:21 46:22 47:13       seep 75:14              160:19
  103:7 104:22           49:17 52:5 66:8         seepage 73:17, 18      setup 123:4
  105:17 116:15, 18      117:5                    75:9                  Seventh 8:21
  120:9 182:9 204:9     sediment 62:2            seeps 76:7             severely 120:8, 12,
  206:3                  68:6 71:4, 4 85:23      Segco 184:2, 5         16
 saying 29:4 53:3        89:11, 13 90:6, 9, 9,   segregate 80:22        shade 65:12
  86:6 99:22 128:20     11, 14, 16, 17 91:4       172:2, 5, 9, 16, 17   shale 62:14, 15, 16
  156:21 179:15, 15      93:16, 17 106:4         segregated 85:22       shallow 129:1, 11
  196:1 199:19           113:19 147:2            segregating 81:8       shallower 179:11
 says 10:20 21:1         160:17, 18 162:6         173:6                  199:14
  42:18 86:16 99:10     Sedimentation 21:1       segregation 182:13,    sheen 75:10
  108:8 120:6, 20        22:2 37:12              21 191:3               Shelby 36:9
  122:9 124:14          sediments 140:5          seminar 17:22          shipped 130:19
  125:23 126:11          162:2, 5                 18:2                  shoot 186:14
  128:17 129:22         see 11:16 13:13          send 140:22            shoreline 164:20
  132:7 137:6, 12        21:3 32:1, 17           senior 17:12           short 14:12 17:20
  146:9 147:4            45:17 46:16 47:14        134:15                 61:5 144:20 177:5
  158:10 161:4, 16       55:12 62:12 63:14       sense 11:8 133:13       212:10
  164:22 170:8, 13       67:9, 17 72:10          sensing 17:21 18:4     shorter 105:3
  180:16 182:12          73:15 79:13 84:3,       sent 113:17 151:16     shortly 69:19
  186:7 188:18          15 90:14 94:1, 16,       sentence 120:20        short-term 48:14
  190:1, 16 194:14      20 95:19 98:1             129:23 141:6, 8       shot 68:12
  202:13 205:6           101:2, 4, 5, 12, 13      149:1 161:16          show 12:11 60:15
  206:11, 14, 18         102:1, 4 112:12          172:7 190:16           63:4 72:14 79:9
  207:2 208:18           114:4 121:11, 14         192:16                 83:9, 22 87:11, 12,
 scales 189:4            122:11 126:2, 13        separate 79:17, 17     16 92:3 96:22
 scanned 203:19          131:8 135:21             127:21                 99:5, 12 115:7
 scenarios 157:23        139:1 145:9             separately 11:6         118:23 121:7
                         154:15 155:16                                   123:16 127:14

Freedom Court Reporting, A Veritext Company                                    877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 82 of 134
Lois George                                                                         240
  140:14 145:2          47:2 48:6 51:10       Sites 5:8 22:1, 4    sorry 16:12 17:20
  147:8 162:16          52:2, 4 53:19, 23      83:19 149:3 151:9    18:11 22:9 23:2
  166:11 191:20         54:3, 15, 18 58:8      182:3 200:18         31:1 32:21 34:2
  194:9 196:13          59:4, 23 60:19         202:5                52:13 55:6 79:22
  202:21 209:12         63:8 69:22 70:20      situation 209:5       87:13 117:18, 21
  210:21                71:7, 16, 19, 21      Six 24:4, 4 25:16     119:6 123:21
 showed 160:3           77:15 80:2 85:19       29:1 51:17           124:1 137:19
 showing 5:9            87:10 89:15 93:8      six-inch 173:20       144:19 145:15, 17,
  115:16 146:2          97:22 98:16           size 72:6            18 157:11 172:5
 shown 54:1 72:19       108:14 114:5          sizes 118:11          180:6 185:13
  79:23 80:8 83:17,     116:20 122:5, 12      Skelton 39:12         192:15 200:9
 19, 21 84:13 87:5      126:15 131:9          skip 77:8             207:12
  89:9 100:1 108:7      136:18 138:21         Slagle 50:1          sort 26:17 41:4
  111:8 113:18          139:2 151:1 152:2     slashed 93:23         81:23 102:2 134:1
  170:18 178:11, 12,    156:3, 18 163:4        114:3                150:17
 13 188:2, 15 195:6     164:15 168:7          slides 135:5         sound 107:10
  206:2                 169:11 171:13         slightly 137:19      sounds 102:6
 shows 79:5 84:1        173:17 175:4           166:14              source 43:8 75:15
  114:11 125:19         181:21 184:23         slope 103:5 110:5,    138:22
  131:14 149:11         185:3 188:10          10, 11, 15           South 2:8 8:13, 18
  165:3 166:14, 16      189:16 196:23         sloped 110:12         70:7 71:6 87:6, 13
  198:22 202:8          197:16, 20 198:1,      173:22, 23           96:13 103:18, 19
 side 68:4 69:7, 12    12 202:17 204:15       sloping 108:3         108:13 150:1, 2
  79:15 80:21 93:19     206:10 211:14         slough 88:5, 9        165:16
  104:5, 7, 8 109:4     212:6, 9               99:13 101:5         SOUTHERN 1:2
  115:3 172:11, 12     site 10:17 21:22        147:22               2:7 8:11 194:23
 sign 9:17 163:20       40:21, 23 41:21       slowing 160:22       southwest 110:13,
  164:10 183:7          58:10, 14, 22 59:14   slurry 67:2          14
  187:2                 60:21 64:20 69:17     Small 22:23 23:1     space 155:20
 signature 3:2          71:13 72:7, 8          74:18 79:3 97:21    speak 209:5
 signed 181:20          73:23 74:20 75:15      118:12, 18 169:2    speaks 197:14
  192:13                78:14 79:1 82:19      Smith 6:5 140:20     special 16:18
 significance 72:3      84:6 85:14 86:16,     sneak 61:3            128:22
 significant 28:22     17, 21 87:9 89:5       so-called 163:13     specialized 14:11
 significantly 43:11    91:16, 18 93:3, 15    software 51:12, 21   specialty 16:18
 silted 160:9           94:19 99:23           Soil 39:3 41:15       17:12
 siltstone 62:16        100:22 103:23         solid 80:11 90:20    specific 22:10
 similar 74:13          106:19 108:21          113:5, 6             41:16 63:15 67:20
  83:16 167:23          111:18, 23 113:15     solids 85:23          70:1 85:20 156:8
  204:8                 116:21 117:3, 15       122:17 160:19        163:22 164:9, 21
 similar-type 18:21     125:6, 7 142:13        161:12               165:21 166:1, 14
 Simon 7:11 195:12      143:3, 21 145:13      somebody 32:20        193:23
 simply 208:10          146:9 147:3, 20        188:20              specifically 20:22
 Simpson 59:7           149:18 151:4          someplace 165:4       37:16 50:10 82:1
 sir 10:19 11:3         152:22 153:4, 13      somewhat 65:23        97:15 119:16
  13:14 18:8 21:4       166:20 168:21          73:3                 129:7 154:8
  26:12 28:18 29:8      169:18 178:16         Sonya 50:1            163:23 165:6
  30:13 31:18 32:2      182:8 185:2           sophistication        167:9 195:21
  40:14, 16 42:8, 19    186:10 188:8           141:23              specifics 196:2
  44:12 45:21 46:14     190:11 196:9

Freedom Court Reporting, A Veritext Company                               877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 83 of 134
Lois George                                                                           241
 specify 180:3          43:23 44:3 45:2        studies 21:2 22:3,    49:5 52:20 54:12
 spell 24:14            162:22 163:6           13 47:20              55:14 61:2 69:5
 spelled-out 20:16,     166:20 213:3           Study 5:20 6:1, 6     70:5 71:11, 12
 17                    statement 5:22          sub 148:17            90:18, 22 92:11
 spent 28:13, 17        129:23 161:9           subcontractors        93:13 94:9, 20, 21
 spillway 69:2         STATES 1:1               20:19                102:9 105:11
  150:6, 9 160:10       18:20 19:5, 14, 16     subject 33:14 77:5    113:2, 9 122:2, 6
  162:8                 50:22 51:6             subjects 14:12        126:21 129:7
 spoil 66:19 117:6,    station 141:22          submit 186:1          130:16, 16 136:2
 8 120:7                142:4, 6, 14 164:6,    submitted 31:7        137:17 138:8
 spoken 82:15, 18      6                        55:19 56:5 58:6,     143:8, 16 148:11
 sponsor 50:7          stations 143:10         12, 18 162:22         150:21 154:10
 sponsorships 16:13     149:12                  171:3 193:12         155:4 158:10, 18
 spot 189:9            status 93:2             subsequent 110:12     159:11 165:23
 spread 29:1           stay 60:11               125:18 151:20        170:2, 4, 15, 20
 Spring 36:15          steep 98:10              208:16 211:22        171:1 176:7, 19
 springboard 146:17    stenotype 213:8         substance 163:10      182:19 186:4
 square 124:17         stereoscopes 17:9       substantial 93:20     191:12 197:11
  138:20, 21           stippled 65:2           substitute 14:17      204:20 210:3
 stack 52:21 60:16     stipples 166:4          subsurface 126:8      211:9, 9
  97:17 100:17         STIPULATED 2:2           141:16, 17          Surface 7:6, 13
  135:21 138:12         3:1, 8, 16             Sue 29:23             21:10, 15, 19, 20
 staff 56:11, 12, 15   stipulation 9:6         sufficiency 66:10     22:19, 22 25:5
  185:22 196:5         stipulations 9:15       sufficient 78:7       26:6 48:9 66:17
 stage 169:20          stop 48:4 66:7          suggesting 122:22     67:11 68:5 81:4, 4,
 staking 131:7          88:4 199:1             Suite 2:8 8:14       13 83:20 94:1, 17
 stamp 52:10           Storage 5:15 6:1,       sulfur 184:11         95:20 100:2
 stamped 60:18         6, 11, 15 50:20         Sulkin 31:10          121:23 122:15, 18
 standard 29:9          51:2                   summarizes 178:1      123:2 140:20
 standing 68:20        straight 89:17          summarizing 158:2     141:3, 18, 21 142:1,
  150:16               straw 74:18             SUNY 13:21           13 143:20 144:13,
 starkly 78:10          118:15, 17             superior 134:12      14 147:2 149:15
 STARNES 8:20          stream 75:5 87:2,       supervise 85:12       150:14, 17 154:12,
  33:21, 22 36:18      5, 9 88:7, 19 93:7,     supervising 134:17   13 158:12 161:13
  54:2, 5              9, 23 94:6, 7, 15, 17   supervision 25:19     168:13 171:22
 start 31:16 88:1       95:9, 20 96:18          213:10               172:8, 22, 23
  92:10 136:20          98:4, 8 99:23          supervisor 85:15      175:23 176:18
 started 17:16          126:18 206:13, 18,      134:12               177:3 187:22
  18:10 95:23          19, 23 207:15, 19       Supplement 6:16,      188:2, 21 193:13
  102:15 103:20        streams 81:9            19 167:22             196:19 197:8
  107:5 132:5           182:22                 supplemental          201:4, 14 205:18,
 starting 13:18        Street 8:18              193:14              22 208:9 209:7
  168:19 177:11        stretched 164:4         supply 38:13 43:6    surprised 72:12
  197:17 200:17        structure 73:15         support 27:17        Survey 15:17, 23
  205:16                93:20 94:12             28:1 42:15 56:10,    17:10
 starts 108:13         structures 72:19        12                   suspended 122:17
  204:11                80:5                   supposed 54:20       SW-1 74:3 187:23
 State 2:6 9:3, 21     stuck 91:14              186:15 201:16        205:8
  18:6 21:11 32:17     studied 17:7            sure 32:22 34:13,    SW-2 84:13 93:23
  33:2 35:13 36:7                              16 35:5 37:17, 20     187:23 188:7, 14

Freedom Court Reporting, A Veritext Company                                 877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 84 of 134
Lois George                                                                       242
  189:1, 15, 17, 21    talk 11:7 48:2       term 40:7 66:15      thereto 3:15 213:8
  190:23 191:8          55:10 61:20          127:1, 1, 7, 7, 8   thick 74:17
  201:4 205:2, 11       115:19 195:21        141:14 143:12, 15   thicker 92:15
 SW-3 76:17 78:6,      talked 93:11          144:1               thickness 107:12
 8, 16 84:20 187:23     154:11 193:22       Termination 6:7       141:13 154:21
  188:18 189:1, 15,     194:21 197:17       terminology 40:6     thing 19:3 144:14
 17 190:6 191:8        talking 48:22         64:16, 19 66:23      204:21 205:11
 sworn 9:12             86:15, 20 87:23      70:19 88:12 89:16   things 20:22 25:3
 symbology 87:4         99:6, 13 100:5, 5    113:9 117:10         27:13 62:3 64:4
  88:7 99:7 165:23      104:17 109:13        120:19               94:12 95:7, 7
  166:2                 115:9 117:12        terms 28:20 54:10     104:9 111:7
 system 50:21           121:2 132:11         64:17 72:18 96:13    115:20 125:12
  59:17, 19 79:10       138:14 139:13        103:10 123:8         137:9 182:10
  131:22 137:12, 13,    142:21 169:10        195:23 204:9         186:14, 14
 15 146:15 148:4, 5,    197:21 206:7        terraced 174:1       think 10:13 20:16
 11, 12, 15, 20        talks 128:16 130:4   terraces 110:7        22:11, 21 26:5
 system, 142:22         131:7 141:12, 21    terracing 78:17       27:18 29:5 30:16
 systems 144:13         169:16 177:17       terrain 73:2          33:1, 21 34:22, 23
  190:14                183:8               territory 103:9       50:11 64:14 70:12
                       tall 104:21          test 86:17 88:2, 3    72:17 73:1 74:21
 <T>                   tank 39:5 50:20       115:17 128:18, 22    75:16 76:22 78:5,
 table 150:18          tanks 51:2            129:1 138:17        9 82:10 83:15
  189:13 197:4         tape 163:20          tested 174:3          84:12, 20 87:15
  201:3 204:10         target 186:16        testified 9:13        88:14 95:13 96:15,
  205:5, 23 206:3      task 67:20            43:20 45:19 46:3    16 100:14 101:14
 tables 205:17, 22     taught 14:15          105:16 134:19        102:23 104:1, 8
  206:1                teacher 14:17        testify 33:10 36:5    105:2, 3 108:23
 tabulating 206:4      technical 40:4        45:6 46:2            109:3 118:22
 take 12:12 19:15       56:15 120:18, 18    testifying 35:9       120:17 121:19
  35:2 49:11, 14        126:23 127:7, 8     testimony 3:23        123:1, 6 124:7
  60:6, 7 61:1, 21     technology 142:7      5:10 37:6 39:16      125:5, 12, 18
  89:1 92:3, 6 99:11   tedious 12:4          40:15 42:13 43:2     127:23 128:4
  102:8 108:17         tell 13:17 16:21      44:20 46:23 47:4     129:8, 11 131:13
  111:6, 14 120:4       23:22 26:2 38:9      49:2 53:16 70:6      132:11 133:10, 11
  131:4 138:4           47:22 49:7, 20       99:21 175:17         135:20 136:7, 22
  142:11 143:20         50:16 64:22 67:23    213:11               137:17 138:9
  158:4 169:18          68:18 73:5, 23      Testing 59:11         139:12 140:6
  180:10 181:15         77:5 78:13 80:5      61:17, 19 83:21      141:1 142:17
  185:19 189:13         84:20 88:16 89:6,    138:13 139:8         143:6 144:8, 9, 14
  196:14 205:4         12 95:3 96:9         tests 108:1 138:1     145:14, 16 147:23
 taken 2:4 3:23         106:21 110:9         201:22 202:5         148:6, 23 152:10
  14:11 61:6 68:2       115:13, 15 117:11   Texas 15:13 51:8      154:7, 12, 19
  73:9 74:1 92:20       119:5, 7 139:9      Thank 11:18           158:21 159:8
  119:15 130:6          157:21 177:10        14:21 22:12 31:6     161:15, 22 163:7
  144:21 165:8          182:1                35:6 46:21 49:16     165:11 167:2, 7
  177:6 183:10         temporarily 164:5     64:11 92:13          169:20 170:1, 1, 11
  185:22 190:2, 9      Tennessee 21:16,      102:10 116:5         171:19 173:10, 13
  191:4 205:20         22 32:20              120:4                177:13, 19, 23
  212:11 213:7         tense 197:15         theirs 85:11          178:20 182:7
                                                                  183:11 184:5

Freedom Court Reporting, A Veritext Company                             877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 85 of 134
Lois George                                                                             243
  193:17 194:20           19 156:13 161:6,       training 14:12, 19     true 161:9, 12
  195:16 201:13           11 162:10 163:12        17:3 175:7 185:16      175:20 179:22
  204:23 207:14            169:18 174:8          transcript 3:23         203:23 213:11
 thinking 102:18           175:2 177:4, 5         12:10 45:11 60:14     trust 13:3
 third 124:9 125:23        178:19 185:19          63:3 83:8 96:21       truthing 155:12
  147:17 155:5, 8, 10      187:5 190:5 191:2,     116:1 121:6           try 11:14 12:4
  182:2 186:7             3, 6 192:11 205:3,      123:15 127:13          60:9 67:16 84:23
  194:11                  12 212:10, 12           128:8 129:19           89:16 135:23
 thought 63:20            times 11:12 37:21       131:3 133:18           145:12 190:3
  75:17 122:6              56:9 70:14, 17         136:11 140:13         trying 32:18 75:9
  131:12 145:18, 20        91:7 130:17 162:2      145:1 146:1 147:7      80:2 94:14 95:12
  163:15 170:17            195:20                 157:16 160:2           148:8 166:2, 7
  206:22                  title 19:4 125:4        162:15 167:18          190:23 191:7
 thousands 25:13          titled 47:13 53:21      177:9 180:9            192:22 193:20
 three 16:12, 13           167:22                 181:14 183:3           194:15 195:9
  18:18 26:7 75:4         titration 158:1         184:18 186:21          197:7
  134:9 151:3, 19, 22     today 11:10 12:19       187:16 191:19         TTL 61:15 130:8
  155:9 157:22             23:10 53:16 103:9      194:7 196:12           151:18
  158:5 161:5 164:2        105:1 112:14           202:20 208:5          Tuesday 7:9
  181:1 189:14             116:13 118:7           209:11 210:20         tune 120:18
  205:17 207:20            139:3 148:12           213:11                turn 13:11 31:13
 threshold 189:22          149:23 156:10         transfer 43:11          47:10 52:6 53:20
 thumb 32:7               today's 57:4           transitioned 81:15      67:22 68:18 73:14
 thumbed 30:4, 11         toe 72:21 89:21        transported 66:20       77:14 98:8 100:16
 tie 93:13                told 49:12 61:9        travel 161:13           101:9 137:2 171:7,
 time 3:13, 13             121:22 173:9          treat 158:7 159:6      18 184:20 201:19
  10:17 12:12 15:11       Tom 7:1, 4, 7 59:7     Treating 32:18         turned 125:20
  18:17 19:10 24:5,        82:11                  33:4, 23 34:3          129:12
 21 25:4 27:23            top 65:4 68:6           35:14                 Tuscaloosa 10:2
  28:8, 12, 16, 20, 20,    73:20, 21 90:20, 22   treatment 41:20         15:10 26:15 59:11
 22 29:3 42:5, 9, 16       91:22 92:12 99:7       145:7, 12 158:3        61:17
  44:9 49:12, 14           118:2 122:9 151:9      159:2                 twelve-foot 173:21
  50:22 53:14 58:1,        160:23 170:5          tree 72:2, 16          two 35:9 46:9
 5, 17 61:1, 5 63:23       200:5                 treed 84:22             55:18 74:15 80:23
  64:1 66:2 67:21         topic 194:10           trees 72:6 73:5         85:21 86:8 89:8,
  68:8 72:9, 9 79:20      topics 115:8            74:13, 17, 18 77:13   11 90:7 92:1
  81:14 90:5, 5 91:3,     topo 87:1 88:5          118:11, 19             95:15 131:12, 13
 14, 17 92:19 94:5         102:19 103:3          trial 3:13 33:10        132:12, 13 133:7
  96:1 99:23 100:2         164:13                 36:3, 5 40:15          134:9 154:20, 23
  103:16 104:10, 10       topographic 99:3        43:20 45:19, 23, 23    155:4 170:11
  106:22, 23 110:3         147:23 149:9          tributary 76:20, 23     174:1 180:23
  111:6 112:2             topographical 155:1     77:1, 3 86:21          182:22 185:9
  113:14 120:22           Topographically         87:17 88:13 95:20      189:18 191:8
  121:18, 22 123:10        149:21                 96:13 126:11, 19       193:15 198:21
  124:23 125:10           topography 84:15,       206:17 208:1           199:18 200:3
  126:22 129:3            17 154:21              tributary, 126:22       207:18 211:22
  130:17 131:21           topos 98:19            trickle 68:7 73:17     two-and-a-half
  133:23 134:8, 13,       total 122:17           tried 34:17             161:5
 14 139:23 144:20          200:13, 14, 15        trip 58:13 59:5        two-inch 118:13
  148:8 150:3 152:7,      tracks 91:13           trucking 43:11

Freedom Court Reporting, A Veritext Company                                    877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 86 of 134
Lois George                                                                          244
 type 22:5, 15        update 46:19           vandalism 186:13       volume 105:20
 types 51:1            133:22                vapors 39:4             106:1
 typical 156:10, 16   updated 45:7, 8, 14    varied 109:9           volumetric 154:15
 typically 35:20      updates 140:22         various 14:12           155:2
  164:1               Up-dip 180:16           118:11, 14 133:22     volumetrics 56:22
                      upgradient 62:6         144:2 183:12          Volunteer 139:20
 <U>                   104:7 206:12          vary 28:13             volunteers 118:12
 Uh-huh 62:16         upper 33:19 59:15      vegetated 118:10       VS 1:7
 ultimate 43:17        72:21 77:16 89:18,     139:7 170:14
 ultimately 48:1      20, 23 90:1, 14         174:5                 <W>
  51:4 129:13          91:4 93:12, 19, 19,   vegetation 72:6        wait 46:12
  146:15 195:5        19 94:3 102:11          118:1, 16 139:20,     waived 3:18
  201:13 211:19, 20    104:21 105:14, 17     22                     walk 89:5
 undergraduate         113:23 115:2, 6       vegetative 120:21      Walker 22:7
  13:19 17:5           120:1 132:14, 14,      177:21                walking 77:17
 underground 21:10    17 133:3, 5, 11        vehicle 60:1, 2        want 16:6 23:20
  22:19, 21 25:6       137:18, 20 138:18     verbally 82:7           58:2 63:6 89:4
  48:10 50:19 51:2     139:22 160:9          verdict 45:22           99:1 105:9 108:6
  106:9 132:2          163:16 170:22         version 45:14           109:21 113:9
  144:11 158:17        180:2, 3               51:13 99:4             116:2 187:23
  175:22 177:4        up-slope 132:15        versus 32:17, 19, 23    203:21 204:20
  183:12, 15           137:20 139:6           33:3 35:11, 13        wanted 55:13
 underlying 206:3     Upstate 13:21           38:8 100:5, 6          122:6 129:3
 underneath 75:20     upstream 104:8          129:5 165:19           145:19
  98:11, 14 179:10    use 17:16 40:19         166:15                WARRIOR 1:5
 understand 10:8,      48:1 51:6, 21 97:6    vice 26:9               8:17 10:5 25:14
 16 45:14 46:21        143:12 144:1          vicinity 74:3 76:17     39:19 142:15
  52:20 55:22 65:7     154:23 166:23          77:18 79:2 84:19       184:8
  74:6 80:1 87:20      186:16                view 55:2 59:13        wash-aways 66:3
  94:20 95:4 109:21   useful 115:18          Village 42:17, 17      washer 66:21
  137:3 156:19        uses 172:2              43:4, 4, 10            169:7
  176:10, 17, 19      USGS 87:1, 4, 8, 18    Violation 5:13 6:8     washers 175:23
  179:14 205:18        88:4, 15 94:16, 18     122:1, 8 124:15       washing 66:1, 20
 understanding         96:15 97:18 98:5       126:11 141:4           162:12
  52:17 54:23 70:5     100:1 134:15           145:5 163:11, 15      Waste 6:17, 20
  75:13 90:8 99:20     142:14                 193:16                 27:4 67:4, 10 76:1
  135:17 153:16       Usual 9:15             violations 121:20       77:23 81:9 117:16
  173:6 175:3, 6      UT 88:12                211:22                 119:12, 18 158:19
  197:15 199:19                              visible 94:17           168:21 173:19
 Understood 11:9      <V>                     95:11, 19 100:1, 8,   Water 7:15 21:1,
  49:2 55:14 85:19    valley 74:4 76:19      10 111:11 112:14       20 22:2 25:4
 undertaken 182:1      78:3 93:18 95:15       113:3                  37:12 38:12 43:6
 unfortunately         96:18 98:2, 8         visibly 94:1            68:5 71:2 75:6, 10,
  98:22 189:3          100:7, 8, 9 106:22    vision 73:5            11, 12 81:14 83:20
 UNITED 1:1            113:20 139:11, 14     visit 58:9, 17, 21      90:5 93:16 95:16
 University 14:11,     148:9 149:4            59:14 60:4, 21         100:5, 12 106:3, 7
 16 15:3 32:19         158:21, 21, 23         124:4, 6               130:4 131:23
  34:10 35:14, 21      192:21 207:9, 11      visual 17:9             132:1 138:4
  36:16 37:19 97:11   values 123:8           void 155:20             141:16, 21 142:2,
 unnamed 88:13                                                      13, 21 143:4, 7, 20

Freedom Court Reporting, A Veritext Company                                877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 87 of 134
Lois George                                                                                245
  144:11, 13, 16          179:10 180:17          whatsoever 117:7         171:11 174:7, 14,
  146:8 148:10, 14,       185:14, 15, 20         White 21:17             21 176:9, 12, 21
 19 149:15 150:14,        186:8, 10, 11 194:3,   Whitt 50:1               185:17 187:7
 16, 16, 17 151:2        11, 20 197:22           wide 41:5 92:8           190:15 197:1
  155:15, 21 158:3, 6,    198:3, 6 199:1, 10     width 103:11, 12        worked 15:21
 7, 11, 13, 23 159:3,     200:6, 13, 15           105:1, 3 109:12         21:6 22:22 24:10
 4, 16, 18, 20 160:22     203:23 205:17          wild 58:2                26:3 30:18 32:13
  162:9 163:21            207:7 208:13           Willett 173:12           33:6 36:19 37:2
  164:8 165:18            211:19                 Winters 2:5 3:21         42:9 43:22 44:10
  166:12 171:23          wells 25:11, 14          9:1 213:19, 20, 22      56:9 71:14 82:21
  172:8 173:15            83:20 107:6, 13        withdrawal 38:15        worked, 42:14
  176:18 186:5            133:7 149:2 178:8,     witness 3:3 9:7         working 20:9 27:2
  187:22 188:2, 21       15, 18 179:5             11:1, 6, 6 34:14, 18    28:10 64:20 69:6,
  190:10 193:19           180:12, 14, 23          35:6 47:12 52:8        16, 18 82:20
  197:8 199:16, 17,       184:21 185:1, 5         61:4 65:8, 11 74:8      103:23 117:2
 17 201:4 203:5           186:3 197:10, 14,       75:3 78:5 80:16         124:23 132:21
  205:18, 22 206:22      18 198:10 199:16,        88:23 92:14 99:17,      134:9 140:22
  207:10, 22             18 200:3 206:8, 21      19 101:8 102:7           156:21 166:3
 waterfront 33:18         207:6, 10, 18, 20       108:19 111:16           167:10 195:2
 waters 191:3            went 14:5 53:11          114:18 119:2           works 55:22
 Watershed 21:17          90:10 91:21             133:21 204:3, 6        worth 107:9
  148:17, 17              112:11 115:5            210:5 213:12           wow 34:18
 waterways 36:14          186:10 201:14          witnessed 182:20        write 64:5 65:4
 way 18:22 29:20         We're 10:15 11:9        wondering 101:17         74:6 75:2 88:12,
  44:11 55:22 66:12       12:2 23:9 24:21         177:15                 18, 21 108:17
  79:19 81:8 85:13        49:16 53:9 71:8        Wood 32:18 33:4,         111:14
  89:3 91:23 94:10        74:21 77:6, 12         23 34:3 35:13           writes 117:5
  95:9 103:20             80:5 83:23 86:15,      Woods 32:20, 22         writing 56:1 78:6
  110:10 122:23          20 87:23 92:21           35:11 37:4, 13, 16      82:7 92:12 132:7
  124:19 128:4            100:4, 5, 16 104:17    Word 13:10 56:14         147:13, 14
  144:9 155:1             135:20 138:14           79:6 120:12            written 16:13 20:4
  160:15 164:8            150:21 203:13           147:19                  48:18 54:4 117:1
  172:20 173:19          west 65:15 79:15        wording 172:2            124:20 126:22
  176:11                  80:10, 20 84:1         words 99:9 150:15        147:11
 ways 70:13 83:17         85:5, 21 101:23        work 5:22 6:21          wrong 99:22 124:1
  148:13                  110:6, 16 112:11        11:5 13:8 21:6         wrote 74:23
 Weekly 125:9             113:3, 7, 13, 16        22:5, 15, 18 23:13,     185:10 206:15
 welcome 31:5 35:1        114:3, 3 115:3         15, 23 24:1, 12, 22
  135:16 204:1            118:3 172:12            25:8, 21 26:15, 17     <Y>
 well 11:8 20:16          173:23 188:8            28:2 29:6 34:11        yards 155:18, 22
  21:8 23:14 25:13        193:15                  36:23 48:19 49:4,      yardstick 142:10
  28:9, 21 64:8 74:5     western 26:7            20 50:16 51:21          year 14:1 16:2
  75:17, 19 79:12         77:10 108:5             54:2, 13, 20 56:5,      24:19 29:1, 4 33:5
  93:11 95:13, 23        we've 11:23 14:18       19 57:5 71:17, 22        34:11 45:19 59:3
  100:11 104:1, 15        30:16 31:23 37:20       79:11 82:8 87:20        63:13, 14 69:13, 15
  109:3 114:2 127:3       95:5 99:6, 13           100:13 102:15           98:17 101:21
  129:15 143:18           115:8 121:1             111:4, 23 113:15        102:11 107:17
  145:20 146:12           172:15 186:23           122:3 125:6, 19         119:14 157:1, 4, 10,
  155:9 162:8             200:17 204:12           127:19, 22 128:2       10 177:18, 21
  166:12 172:21                                   134:1 163:5             185:23

Freedom Court Reporting, A Veritext Company                                      877-373-3660
  Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 88 of 134
Lois George                                                                246
 year-and-a-half
  204:16
 years 16:11, 12, 16
  18:17 19:8 34:11,
 23 35:17, 20 47:23
  48:22 50:5 124:8
  125:11 134:9
 York 13:21 14:3
  15:9, 14
 you, 85:17

 <Z>
 zone 141:13 163:3,
 6, 13, 19 164:18, 23
  165:3 166:10, 19
  167:1, 12




Freedom Court Reporting, A Veritext Company                        877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 89 of 134
Lois George (Continuation)                                                                                       1 (214 - 217)
                                                        Page 214                                                          Page 216
 1          UNITED STATES DISTRICT COURT                            1            STIPULATIONS
 2          NORTHERN DISTRICT OF ALABAMA                            2             (Continued)
 3            SOUTHERN DIVISION                                     3
 4                                                                  4        IT IS FURTHER STIPULATED AND AGREED that
 5   CASE NUMBER: 2:16-CV-01443-AKK                                 5 it shall not be necessary for any objections except
 6                                                                  6 as to form or leading questions, and that counsel
 7   BLACK WARRIOR RIVERKEEPER, INC.,                               7 for the parties may make objections and assign
 8       Plaintiff,                                                 8 grounds at the time of the trial, or at the time
 9     vs.                                                          9 said deposition is offered in evidence or prior
10   DRUMMOND COMPANY,                                             10 thereto.
11       Defendant.                                                11
12                                                                 12        IT IS FURTHER STIPULATED AND AGREED that
13                DEPOSITION                                       13 the notice of filing of the deposition by the
14                  OF                                             14 Commissioner is waived.
15               LOIS GEORGE                                       15
16            (VOLUME 2, PAGES 214-312)                            16
17               June 27, 2018                                     17
18                                                                 18
19   REPORTED BY:                                                  19
20        Kimberly B. Dowdy, CSR, RPR                              20
21         Freedom Court Reporting                                 21
22         2031 Shady Crest Drive                                  22
23         Hoover, Alabama 35216                                   23
                                                        Page 215                                                          Page 217
 1           STIPULATIONS                                           1            APPEARANCES
 2                                                                  2
 3        IT IS STIPULATED AND AGREED by and between                3   APPEARING ON BEHALF OF THE PLAINTIFF:
 4 the parties through their respective counsel, that               4    SOUTHERN ENVIRONMENTAL LAW CENTER
 5 the deposition of LOIS GEORGE may be taken before                5    BY: Mr. Barry Brock
 6 Kimberly B. Dowdy, Commissioner, at 100 Brookwood                6    Ms. Christina Andreen
 7 Place, 7th Floor, Birmingham, Alabama, on the 27th               7    2829 Second Avenue South, Suite 282
 8 day of June, 2018.                                               8    Birmingham, Alabama 35233
 9                                                                  9
10        IT IS FURTHER STIPULATED AND AGREED that 10                    Eva Dillard, Staff Attorney
11 the signature to and the reading of the deposition              11    Black Warrior Riverkeeper, Inc.
12 by the witness is specifically NOT waived, the                  12    712 37th Street South
13 deposition to have the same force and effect as if              13    Birmingham, Alabama 35222-206
14 full compliance had been had with all laws and                  14
15 rules of Court relating to the taking of                        15 APPEARING ON BEHALF OF THE DEFENDANT:
16 depositions.                                                    16  STARNES DAVIS FLORIE, LLP
17                                                                 17  BY: Mr. Richard E. Davis
18                                                                 18  100 Brookwood Place, 7th Floor
19                                                                 19  Birmingham, Alabama 35209
20                                                                 20
21                                                                 21   ALSO PRESENT: Jorge Solis, law clerk
22                                                                 22         David Diab, law clerk
23                                                                 23

Freedom Court Reporting, A Veritext Company                                                                       877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 90 of 134
Lois George (Continuation)                                                                                  2 (218 - 221)
                                                      Page 218                                                         Page 220
 1                INDEX                                             1   can't promise you I won't repeat a question, but
 2                                                                  2   I'll try not to do that.
 3   EXAMINATION                                   PAGE:            3              What I really want to focus on today
 4   By Mr. Brock                            219                    4   are your two reports, but as we go through that it
 5                                                                  5   may bring up some factual issues about things we
 6                EXHIBITS                                          6   discussed before, and if it does, we'll deal with
 7                                                                  7   that in that way.
 8   Plaintiff's Exhibit No. 40....................229              8              So we went through your resumé last
     (L. George Rebuttals to A. Brown's report)
 9                                                                  9   time and we went through most of these reports, but
     Plaintiff's Exhibit No. 41....................279
10   (L. George Rebuttals to G. Johnson's report)                  10   I'm going to just put these over in front of you.
11   Plaintiff's Exhibit No 42 . ...           .. .301             11   Exhibit 1 is your first expert report and Exhibit 4
     (Aerial of BW1, BW2, BW3, BW4 & BW5)
12                                                                 12   is the second one. If you can just go ahead and
13                                                                 13   take a look at those and confirm if that's true?
     ERRATA SHEET                                  310
14                                                                 14         A.    I have looked through Exhibit 1
     DEPONENT'S CERTIFICATE                                311
15                                                                 15   Monday. So that one was fine. Exhibit 4 is my
     CERTIFICATE OF REPORTER                                312
16                                                                 16   rebuttal report.
17                                                                 17         Q.    Is that a complete copy of it? I
18                                                                 18   don't think there were any attachments or
19                                                                 19   appendices or anything like that.
20                                                                 20         A.    No, there were not. It's a complete
21                                                                 21   copy.
22                                                                 22         Q.    What I'm also going to do is put
23                                                                 23   before you a copy of Anthony Brown's report because
                                                        Page 219                                                       Page 221
 1             I, Kimberly B. Dowdy, CSR, RPR, a                    1   some of your report deals with his. I think it
 2   Court Reporter and Notary Public of the State of               2   will be easier if we're able to refer to it as we
 3   Alabama, acting as Commissioner, do certify that on            3   did with Mr. Sisk.
 4   this date, as provided by the Alabama Rules of                 4             You have in front of you what we have
 5   Civil Procedure and the foregoing stipulation of               5   marked as Exhibit 8 to Mr. Sisk's deposition this
 6   counsel, there came before me at 100 Brookwood                 6   morning, which is a complete copy of Anthony
 7   Place, 7th Floor, Birmingham, Alabama, on June                 7   Brown's expert report with all of the tables and
 8   27th, 2018, beginning at 2:23 p m., LOIS GEORGE,               8   figures, and some of those figures are referred to
 9   witness in the above cause for oral examination,               9   in your report, I believe, but we'll confirm that.
10   whereupon the following proceedings were had:                 10             Do you remember looking at his report
11                 LOIS GEORGE,                                    11   and those figures that are attached?
12   after having been first duly sworn under oath, was            12       A.     Yes. Yes, I do. The appendices
13   examined and testified as follows:                            13   aren't here, but we likely won't need those.
14             COURT REPORTER: Usual stipulations                  14       Q.     I hope not, but if we do, if there's
15   with read and sign?                                           15   something in there you want to look at we'll go
16             MR. DAVIS: Yes, ma'am.                              16   find it.
17   EXAMINATION BY MR. BROCK:                                     17       A.     Thank you.
18       Q. Ms. George, thank you for coming back                  18       Q.     So on page four of Exhibit 1, if
19   to finish your deposition today. I'm sorry we                 19   you'll turn to that page, we start off with a
20   couldn't finish it the first time, but I'll try to            20   discussion there of interpretation of aerial
21   be as efficient as I can be, and if I ask you                 21   photography and topographic maps, right?
22   something I've already asked you, I apologize. I              22       A.     Yes, sir.
23   think I remember most of what we talked about but I           23       Q.     This was something that you testified
Freedom Court Reporting, A Veritext Company                                                                   877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 91 of 134
Lois George (Continuation)                                                                       3 (222 - 225)
                                               Page 222                                                  Page 224
 1   that you have some experience and expertise about?     1        A.     Correct.
 2       A.     Yes, sir.                                   2        Q.     Now, you said you want to refer to the
 3       Q.     In particular, this is about Figures        3   figures as collectively. Was that a collective
 4   8, 9, 10, 11 and 12 of the Brown report. If you        4   comment that you were just --
 5   could turn to Figure 8, and you were questioned        5        A.     That was one, yes.
 6   here the methodology of review of the photos and       6        Q.     That would be applicable to all five
 7   things that went into this figure. I know since        7   of the figures that we're talking about, 8 through
 8   this there's been an additional report and a           8   12?
 9   response to that report. So do you recall, has         9        A.     That's right.
10   this issue been cleared up for you or do you still    10        Q.     Looking at Figure 8, as I understand
11   have questions or criticisms about this Figure 8?     11   it, the red outlined area is the extent of the GOB
12             MR. DAVIS: Object to form.                  12   pile; is that the way you interpret it?
13       A.     Could we talk about them                   13        A.     That's what he shows in the legend,
14   collectively instead of individually?                 14   yes.
15       Q.     Sure.                                      15        Q.     And the yellow within the red circle
16       A.     My first comment was regarding the         16   is meant to portray erosion of the GOB pile; is
17   methodology, and I don't believe that Mr. Brown       17   that your understanding of it?
18   discussed his methodology of viewing and              18        A.     It is now, after his rebuttal
19   interpreting the maps, how he was able to make        19   response where he discussed the distinction
20   these outlines. He talked about -- in his             20   between the red and the yellow. The application
21   rebuttal he talked about the use of the               21   of the lines on the map weren't discussed in his
22   topographic maps but not the aerial photography.      22   initial report.
23       Q.     Are there particular methodologies or      23        Q.     Okay. I'm with you. And so the area
                                               Page 223                                                  Page 225
 1   techniques that are recognized for review of aerial    1   that we see along the closest to the river in
 2   photography that he could cite to or reference?        2   yellow is meant to show erosion, but erosion
 3       A.     Certainly. And just a response as           3   outside the GOB pile, correct?
 4   to whether or not he looked at them on the             4       A. Correct. And there are many other
 5   computer or stereoscopically or on paper.              5   areas on the photograph that he could have
 6       Q.     For the record, what does                   6   outlined in yellow that are the results of
 7   stereoscopically mean?                                 7   erosion.
 8       A.     A stereoscope is a viewing                  8       Q. Where would those be in your view?
 9   instrument much like a pair of glasses, or can be      9       A. I'm not sure the 65 is -- on Figure
10   a larger instrument that looks like it has            10   8 there are some gullies at other locations down
11   binoculars on it and it allows you to look at         11   to the Locust Fork, but if you look down at the
12   aerial photography stereo pairs, photography that     12   end of the ridge, the south end of the ridge,
13   overlaps, and you can actually see it in three        13   these are natural erosion gullies, these two
14   dimension.                                            14   parallel lines.
15       Q.     Now, in his rebuttal report I believe      15       Q. So you're gesturing to two parallel
16   he indicated that the maps had been digitized as      16   lines down near the bottom of the part that's
17   part of this process. Does that help to answer the    17   within the red area on the photo?
18   question at all?                                      18       A. That's correct. And I don't agree
19       A.     I believe he was talking about the         19   with his delineation of the extent of the refuse
20   topographic mapping.                                  20   pile. I don't believe it goes this far south and
21       Q.     Okay. And so you're saying he still        21   --
22   has not described in sufficient detail how he         22       Q. Let's take those one at a time.
23   reviewed the photographs?                             23       A. Okay.
Freedom Court Reporting, A Veritext Company                                                       877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 92 of 134
Lois George (Continuation)                                                                          4 (226 - 229)
                                               Page 226                                                      Page 228
 1       Q.     So the first thing is you're saying         1   photo that we're looking at in Figure 8?
 2   some of the area that he shows as erosion of GOB is    2       A.     Not this photo alone, but several of
 3   you say actually natural erosion or erosion of --      3   the other photographs.
 4   how did you put it?                                    4       Q.     Are the other photographs contained
 5       A.     No, I didn't say that it was erosion        5   within his stack of figures?
 6   of GOB. He just wasn't comprehensive in                6       A.     Yes.
 7   assigning what was erosion. Up near the bend in        7       Q.     Can you tell us for the record which
 8   the Locust Fork he has these yellow outlined           8   other photographs you're basing it on when --
 9   erosion areas, but there are other areas on the        9       A.     Figure 9 would have 1975 and 1987.
10   aerial outside of what he's assigned as GOB that      10       Q.     What do you conclude by looking at
11   represent erosion. So why --                          11   those two photographs?
12       Q.     We need to mark those.                     12       A.     That the area that he has delineated
13       A.     -- have it here and not other areas,       13   to include the refuse pile is wooded at the time,
14   I guess, is the point.                                14   particularly in the 1975. The 1987 photograph is
15       (Whereupon, a discussion was held off the         15   a color infrared photograph and the red and pink
16        record.)                                         16   colors indicate vegetation. The refuse pile is
17       Q.     Okay. As I understand your testimony,      17   shown in the grays and the blues where there is
18   you're saying in addition to the yellow areas shown   18   no vegetation.
19   along the ridge outside the red circle to the         19       Q.     So if there's any vegetation shown on
20   riverside of the GOB pile, there are additional       20   this map, then that would mean that it's not
21   areas of erosion that could have been depicted?       21   refuse?
22       A.     Correct; that aren't associated with       22       A.     Yes, in this particular area that
23   the GOB pile.                                         23   we're talking about that's between the refuse
                                               Page 227                                                        Page 229
 1        Q. Okay. Can you indicate where those             1   pile and the lower pond.
 2   would be just by maybe drawing arrows to them?         2       Q.     With regard to the area that you're
 3        A. Yeah. This photograph is a little              3   talking about now that you're talking about an
 4   bit fuzzy but these areas are within his red area      4   error in his delineation of the pile, what did the
 5   delineating what he's calling the GOB. If you          5   topographic maps indicate about elevations in that
 6   recall yesterday that's the term that I was not        6   area?
 7   familiar -- well, I'm familiar with it, but we         7       A.     I'm not sure I understand what
 8   did not use that term.                                 8   you're asking.
 9        Q. Let me understand. So if I'm                   9       Q.     Did the elevation change up or down in
10   understanding, you're saying the GOB pile actually    10   that area based on comparing the older maps to, I
11   does not move as far south as he depicts it?          11   think, the 1971 map, which was based on topography
12        A. That's right.                                 12   from 1965, I think?
13        Q. And it ends somewhere north of where          13       A.     I'd like to refer to his Figure 14,
14   he shows the boundary?                                14   14 and 15 in his rebuttal report because he made
15        A. That's correct.                               15   significant revisions to the interpretation of
16        Q. Can you draw a line approximately             16   the changes.
17   where you think the GOB pile ends?                    17       Q.     Okay. So I don't think we marked this
18        A. (Indicating). Something like that.            18   previously, so we'll mark this Exhibit 40 to your
19        Q. What's your basis of that opinion?            19   deposition. This is Mr. Brown's rebuttal report so
20        A. Aerial photography, mapping by                20   you can look at that and let us know what we need
21   Alabama By-Products, and the mapping that I           21   to look at.
22   showed on Figure 1, which is Exhibit 6.               22       (Whereupon, Plaintiff's Exhibit Number 40
23        Q. The aerial photography, is that this          23        was marked for identification.)
Freedom Court Reporting, A Veritext Company                                                          877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 93 of 134
Lois George (Continuation)                                                                          5 (230 - 233)
                                              Page 230                                                         Page 232
 1       A.     On Figure 14 Mr. Brown made                 1   simply, what was the basis for your view that the
 2   revisions to the map, I think, to reflect some of      2   delineation of the southern end of the GOB pile was
 3   my comments regarding the source of the maps that      3   incorrect and you answered that. Have you answered
 4   he used but also changed the contour interval.         4   that fully?
 5   The contour interval of the topographic maps --        5       A.     Yes, I think so.
 6   and to a certain extent we're moving on to the         6       Q.     Still looking at page four of your
 7   second opinion here, the contour maps of the USGS      7   report, the last paragraph under the first section
 8   maps are 20-foot contour maps. His first               8   in the second sentence, it says, the gullies are
 9   presentation had 10-foot contours, 10-foot             9   the result of erosion of the steep natural
10   contour interval, which would be an inaccurate        10   escarpment along the west bank of the Locust Fork."
11   way to portray it since you can't make the map        11             Do you see that language?
12   more accurate than the initial maps were.             12       A.     Yes.
13            And that goes the same with the              13       Q.     And that's what you were telling us
14   topographic changes on Figure 15, which there was     14   earlier that you drew the arrows to demonstrate; am
15   no defined contour interval. And some of the          15   I correct about that?
16   values just didn't correspond with the legend, so     16       A.     Yes. Those are the areas that he
17   Mr. Brown's Figure 15 is very different than the      17   had in yellow, but with Mr. Brown's explanation
18   original Figure 15.                                   18   of how he utilized the yellow versus the red, I
19       Q.     Is it different in terms of the            19   think this last paragraph is addressed also.
20   delineation of the extent of the GOB pile?            20       Q.     The last paragraph is addressed to
21       A.     No, the red area that he used, I           21   what?
22   guess, is his reference area is the same in all       22       A.     The last paragraph addresses the
23   the figures.                                          23   question I had about what was outlined in yellow
                                              Page 231                                                         Page 233
 1       Q.     Okay. And I'm trying to understand.         1   versus what was outlined in red. That wasn't
 2   So I understood your first criticism or comment        2   discussed in his report at all, the red and the
 3   about Figure 8 that we started looking at, and the     3   yellow. He clarified that in his rebuttal
 4   second thing is, you said it was incorrectly           4   report. In other words --
 5   delineated down on the south end and you drew in       5       Q.     No, I'm with you. I understand.
 6   where you believe that the GOB pile footprint          6       A.     Okay.
 7   should have been shown to end, right?                  7       Q.     Yeah, I think the first time around it
 8       A.     Correct.                                    8   wasn't clear exactly what the red and the yellow
 9       Q.     And then you made reference to              9   meant or included, right?
10   Exhibits -- to Figures 14 and 15 as being pertinent   10       A.     Not at all.
11   to that point I thought.                              11       Q.     And he clarified that in the rebuttal
12       A.     Yes. I was answering your question         12   report?
13   about the changes in the elevation that you           13       A.     Yes, sir.
14   asked.                                                14       Q.     The way that your report is
15       Q.     How are Figures 14 and 15 pertinent to     15   structured, this section is called "Findings and
16   this issue of the delineation of the southern end     16   Opinions", and it looks to me like each section
17   of the GOB pile footprint?                            17   where there's bold single-spaced typed is a
18       A.     Because those -- the red line              18   separate opinion; is that correct?
19   represents the area that Mr. Brown used for his       19       A.     Some are probably a combination of a
20   volumetric computations of how much was placed        20   finding and an opinion.
21   and how much was eroded.                              21       Q.     Okay. But my point is, you intended
22       Q.     Okay. You may have answered my             22   to break it down that way based on these bold
23   question, but it was, I think, or should have been    23   headings?
Freedom Court Reporting, A Veritext Company                                                          877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 94 of 134
Lois George (Continuation)                                                                            6 (234 - 237)
                                                     Page 234                                                 Page 236
 1       A.     Yes, sir.                                        1   different ages are, but to fit this number and
 2       Q.     And when I read through your report I            2   back calculate, or however Mr. Brown came up with
 3   put numbers beside them so that the one we just             3   those numbers, is just purely assumption.
 4   looked at would be number one. Then you come down           4       Q. You have his rebuttal report as
 5   to the next bold section that starts "The analysis          5   Exhibit 40, and what I want to do is let's look on
 6   of volumes", and I numbered that number two. So             6   page two at Rebuttal 1, Anthony Brown. And this is
 7   that would be the second opinion or conclusion that         7   the part where he was provided more information
 8   you're offering, right?                                     8   about the topographic analysis, right?
 9       A.     Yes, sir.                                        9       A. Yes.
10       Q.     And this relates to the volumetric              10       Q. And so after reading that do you
11   calculations of the GOB pile, which you say are            11   question the methodology that aquilogic used?
12   speculative?                                               12       A. I don't question the methodology
13       A.     Yes, sir.                                       13   that they used for comparing the two topographic
14       Q.     Right. Explain why you say that.                14   maps. I question the results of comparing the
15       A.     Covered a little bit of that already            15   two topographic maps, as I described, different
16   talking about the contour intervals. Comparing a           16   vintage, different scale, and the resulting
17   map that was prepared in 1938, which is a                  17   accuracy, and then the application of that
18   different scale. The topographic map from 1938             18   information.
19   was prepared at a scale of one to 62,000. The              19       Q. Are you questioning the use of this
20   1971 topographic map is prepared at a scale of             20   Spatial Analyst software that he cites?
21   one to 24,000, so overlaying those and comparing           21       A. No, not at all.
22   the differences in the elevation, the precision            22       Q. Then what --
23   of determining that difference in elevation is             23       A. I'm not -- I'm not questioning the
                                                     Page 235                                                 Page 237
 1   somewhat questionable. That is the first portion            1   application of the tools that they used to make
 2   of my critique.                                             2   the resulting maps. I'm questioning the accuracy
 3             The second is the comparison of                   3   of the resulting maps, again, because of the
 4   Mr. Brown's calculations from his original report           4   difference of the age of the maps, and the
 5   to his rebuttal report had vast changes in his              5   contour interval. And what I'm also questioning
 6   assumptions or how much was placed and how much             6   is Mr. Brown's application and use of that
 7   was eroded up to three times the amount.                    7   information that came out of that modeling.
 8       Q.     As I understood it, that was to                  8       Q.     So the first component of that has to
 9   account for the different number of years between           9   do with the maps being at different scale and ages
10   when the photo was taken and the map was published.        10   even if you digitize them, you're saying there
11       A.     That is correct, but it's all based             11   could be an issue with that?
12   on assumption. In his first computations I                 12       A.     Certainly. And just a change in
13   believe the erosion rate was something like                13   accuracy of five feet over the whole acreage
14   32,000, the second report it was 92 or 93,000              14   could make a difference of several hundred
15   cubic yards per year. Those are vast differences           15   thousand cubic yards likely.
16   and the --                                                 16       Q.     Have you made any independent
17       Q.     Well, you understand --                         17   calculation of what you think the volume of
18       A.     -- volume --                                    18   material is in the pre-law or post-law GOB areas?
19       Q.     I'm sorry. Go ahead.                            19       A.     No, I haven't. Their numeric
20       A.     The information that was provided by            20   information isn't sufficient to do that.
21   the topographic changes, the net loss, that near           21       Q.     Okay. If you were going to attempt to
22   700,000 cubic yards could be a difference between          22   do that in 2017, how would you go about it?
23   what the interpretation of these maps of very              23       A.     I haven't been asked to do that so I
Freedom Court Reporting, A Veritext Company                                                            877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 95 of 134
Lois George (Continuation)                                                                             7 (238 - 241)
                                                    Page 238                                                   Page 240
 1   really haven't given that consideration.                     1   think of that PELA used in connection with its
 2       Q.     Is it possible to make an accurate                2   volumetric calculations?
 3   calculation of the differential in volume in that            3       A. Not that I can think of.
 4   pile as Mr. Brown has endeavored to do in his                4       Q. If you turn to page five in your
 5   report?                                                      5   report, opinion or conclusion, Number 3 starts "Mr.
 6       A.     I think one could make                            6   Brown's assertions about hydrologic flow
 7   determinations and it would be estimates of the              7   calculations." Do you see that part?
 8   distinction in the volume, and it would take some            8       A. I think that would be Number 4.
 9   ground -- some drilling to measure the actual                9       Q. What would Number 3 be?
10   thickness. But to come up with a value for how              10       A. That Mr. Johnson relies on Mr.
11   much had eroded, I don't believe that there's               11   Brown's interpretations, conclusions, and
12   information available to do that.                           12   opinions. And if Mr. Brown's are flawed,
13       Q.     So just so I'm clear in understanding            13   Mr. Johnson's interpretations, opinions, and
14   your testimony, you're just saying there isn't any          14   conclusions are also flawed.
15   data or information in the world that would allow           15       Q. Okay.
16   you to make a calculation like that?                        16       A. He accepts them and says it numerous
17             MR. DAVIS: Object to form. You can                17   times in his 2017 report and his 2018 report.
18   answer.                                                     18       Q. No question. That's straightforward.
19       A.     Well, let's look at the Maxine                   19   I understand there, if Brown's wrong, then
20   disposal area. The information that is available            20   Johnson's wrong because he relied on him. That's
21   that I'm aware of doesn't include volume that               21   it?
22   Alabama By-Products placed in these areas over              22       A. Yes.
23   the years. And in order to make determinations              23       Q. All right. So moving down to Number
                                                      Page 239                                                 Page 241
 1   of erosion it was being placed and potentially               1   4, you say that Mr. Brown failed to consider storm
 2   eroded at the same time under different                      2   runoff in his analysis. Explain that for us.
 3   climatological conditions, under different                   3       A.     Mr. Brown, and I believe Mr. Johnson
 4   compaction rates, different slopes. To apply one             4   also, referred to different flow potentials
 5   value to the whole area for erosion over 365 days            5   through the valley and relate that to the quality
 6   really is just assumption.                                   6   of water that might be discharging into the
 7       Q.      How did PELA perform its volumetric              7   Locust Fork. The language used in the report.
 8   calculations when it did those back in the '80's?            8   In my opinion, didn't account for the fact that
 9       A.      To the best of my recollection, this             9   when you have peak flows, the residence time of
10   was done in the early '80's. Our calculations               10   that rain water and runoff would not be
11   were limited to -- may I refer to Exhibit 6?                11   comparable to any waters that have been
12       Q.      Yes, absolutely.                                12   tested that --
13       A.      The area between the lower dam and              13       Q.     Is this an issue -- I'm sorry. Go
14   somewhere between the upper dam and MO3, we used            14   ahead.
15   elevations from existing USGS topographic maps,             15       A.     -- that are in the valley fill. So
16   the detailed topographic mapping that was                   16   relative to any consideration of handling or
17   provided by Alabama By-Products, I don't recall             17   treating, I felt that there was not a
18   the date, but in addition to that we had two                18   representation of conditions that occurred or
19   drill holes that indicated the thickness of the             19   could occur.
20   material. And the volume we came up was just an             20       Q.     So is this an issue about
21   estimate for what was there at that time based on           21   concentration of chemicals in the flow -- in the
22   that data.                                                  22   discharge being affected by the rate of flow?
23       Q.      Well, was there anything else you can           23       A.     Yes, but also the characterization
Freedom Court Reporting, A Veritext Company                                                              877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 96 of 134
Lois George (Continuation)                                                                          8 (242 - 245)
                                                   Page 242                                                 Page 244
 1   of the potential volume that might be going out           1   assumptions in and get your number crunch and get
 2   into the Locust Fork.                                     2   results that are based purely on assumption. I
 3        Q. Did you see the volume calculations               3   don't think there's enough information to be able
 4   that were performed by Amec Foster Wheeler,               4   to do that at this point.
 5   Drummond's consultants?                                   5        Q. So the next conclusion or opinion,
 6        A. I think I saw the end result of                   6   Number 5, would be at the bottom of the page. Tell
 7   them. I didn't look at the calculations                   7   us what that one is, please.
 8   themselves.                                               8        A. Yes, sir. It's essentially
 9        Q. I was just wondering if you had any               9   consistent with Number 4 above.
10   criticism of their methodology?                          10        Q. Your next conclusion or opinion at the
11             MR. DAVIS: Object to the form.                 11   top of page six relates to Mr. Brown's Key Opinion
12        A. I don't have an opinion regarding                12   1, right?
13   that, no.                                                13        A. Yes, sir.
14        Q. Are you expressing criticisms of                 14        Q. What is his Key Opinion 1?
15   questions about the methodology that Mr. Brown and       15        A. On page two that you've opened Mr.
16   Mr. Johnson used to arrive at the flow                   16   Brown's October 2017 report to, indicates that
17   calculations?                                            17   his key opinion is -- or question, that he, I
18        A. No, and I'm not sure they actually               18   guess, is answering, "Have operations at the
19   made the flow calculations. What my criticism            19   Drummond Maxine Mine site physically altered
20   is, is about the characterization of the amount          20   natural surface water streams?"
21   of water and the characterization of its                 21        Q. As I read your criticism, you're
22   character being toxic and not considering the            22   questioning the use of the term flow
23   retention time with storm events.                        23   characteristics?
                                                   Page 243                                                 Page 245
 1        Q. Well, if you take a sample at the                 1             MR. DAVIS: Object to form.
 2   point where water from the site -- surface water is       2       A. Yes.
 3   discharging to the Locust Fork, wouldn't that             3       Q. Can you explain what you mean by that?
 4   sample tell you what the concentration or the water       4       A. Well, I don't know what Mr. Brown
 5   chemistry of the discharge is?                            5   means by flow characteristics, and I was
 6        A. At a specific time, yes.                          6   referring to his discussions within the report
 7        Q. Have you made any sort of calculations            7   where he says that the flow characteristics have
 8   or analysis to try to account for what differences        8   been altered. Flow characteristics would mean
 9   there might be in a sample like that based on flow        9   the -- there's something that has changed in the
10   conditions?                                              10   stream to change the way the water flows.
11        A. No, I haven't.                                   11       Q. Would a change in the bottom elevation
12        Q. Is there a methodology or procedure              12   change the flow characteristics?
13   that can be used to do that?                             13       A. Yes. Change in bottom elevation,
14        A. It likely could be modeled, yes.                 14   deposits of stream bars along the edge of the
15        Q. So in other words, if you take a                 15   bank of the river.
16   sample and you say the flow today is ten gallons         16       Q. But if there were deposits of
17   per minute and this is the water chemistry, that         17   nonnatural river bottom materials on the bottom of
18   you might be able to model it to say if the flow         18   the Locust Fork would that change the flow
19   was a hundred gallons per minute what impact would       19   characteristics?
20   it have on the water chemistry?                          20             MR. DAVIS: Object to the form.
21        A. You might be able to if you had                  21   Foundation.
22   sufficient data. Of course, some modeling is             22       A. It would depend on their thickness,
23   based on assumption and you can put your forward         23   where they were, and natural deposits could do
Freedom Court Reporting, A Veritext Company                                                          877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 97 of 134
Lois George (Continuation)                                                                       9 (246 - 249)
                                              Page 246                                                   Page 248
 1   the same thing. Mr. Brown doesn't define what he      1       Q. If I'm understanding your testimony
 2   means and doesn't provide any information to          2   you said you believe that the rate of erosion has
 3   address that.                                         3   decreased at some point?
 4       Q.     Okay. But could you answer my              4       A. Yes.
 5   question, which was, if you did deposit nonnatural    5       Q. So you're comparing now to what point
 6   material from the mine site on the bottom of the      6   in the past?
 7   Locust Fork, would it change the flow                 7       A. Well, obviously based on my
 8   characteristics?                                      8   knowledge when PELA started working at the site,
 9            MR. DAVIS: Object to the form.               9   there is a lot of --
10       A.     I think I answered that when I said       10       Q. Let's try to break it down.
11   it could depending on the thickness.                 11       A. Okay.
12       Q.     Have you made any assessment about        12       Q. You're giving an opinion that the rate
13   whether there are such materials on the bottom of    13   of erosion is less now than it was in 1984 when you
14   the Locust Fork adjacent to the mine site?           14   were last working on the site?
15            MR. DAVIS: Object to form.                  15       A. Yes.
16       A.     I have looked at information that         16       Q. What is your basis for that? Any
17   indicates to me that there are no obstructions or    17   scientific or factual basis?
18   thicknesses of either natural deposits or            18       A. My observations of the aerial
19   deposits that may have come from the refuse pile     19   photography that indicate that the majority of
20   that have changed the configuration of the Locust    20   the area is vegetated, and also my site visit.
21   Fork.                                                21       Q. And now the second question, are you
22       Q.     What materials have you looked at that    22   giving an opinion that sediment from the mine site
23   indicate that?                                       23   currently is not eroding into the Locust Fork?
                                              Page 247                                                   Page 249
 1       A. The studies that PELA did in the               1        A. Sure there's sediment into the
 2   early 1980's.                                         2   Locust Fork, not only from limited areas that may
 3       Q. Would the conditions have changed              3   get there from the refuse pile, but there's also
 4   since the 1980's?                                     4   erosion from the natural bedrock that is exposed.
 5       A. Yes. And I think that conditions               5        Q. So you said sure, there's erosion from
 6   regarding the rock disposal area have changed         6   the site. So my follow-up question is, do you know
 7   such that erosion would have decreased over the       7   how much?
 8   years. I've also looked at the information of         8        A. No. No, I don't. Not
 9   Lynn Sisk where they did water quality and            9   quantitatively, no --
10   measured the depth of water and showed the           10        Q. And is it an efficient quantity to
11   configuration of the bottom of the Locust Fork.      11   affect the flow characteristics?
12   I believe his investigations were completed in       12        A. I don't know quantitatively, no, but
13   2016, 2017.                                          13   from looking at the data I don't believe there's
14       Q. What did Mr. Sisk say, if anything,           14   sufficient information -- I mean, sufficient
15   about deposits of material on the bottom of the      15   sediment that would make any obstruction.
16   Locust Fork?                                         16        Q. What data?
17       A. I don't recall reading about what he          17        A. I just described that. The data
18   said but the diagrams that were made don't           18   from PELA studies, the data from Mr. Sisk's
19   indicate that there are any obstructions.            19   studies, and I hadn't finished my answer to your
20       Q. Okay.                                         20   question. Dr. Dimova's studies. Dr. Dimova
21       A. The bottom has a relative uniform             21   sampled a limited number of sites based on the
22   shape to it throughout the whole area where the      22   latitude and longitude of the coordinates that
23   bottom was measured.                                 23   were given. The locations of her sample sites
Freedom Court Reporting, A Veritext Company                                                       877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 98 of 134
Lois George (Continuation)                                                                         10 (250 - 253)
                                                    Page 250                                                 Page 252
 1 were very close to the shoreline and would not be            1       A. Yes.
 2 indicative of the entire channel of the Locust               2       Q. None whatsoever?
 3 Fork.                                                        3       A. There may be a limited area of
 4      Q.   So I got PELA's data from the '80's,               4   mixing zone, but when you look at the information
 5 Mr. Sisk's data, and Dr. Dimova's data. Anything             5   that's -- all the information upstream and the
 6 else?                                                        6   information downstream, there is no impact
 7      A.   My observations.                                   7   indicated.
 8      Q.   Observations of photographs or                     8       Q. Have you looked at sampling results of
 9 observations of the site?                                    9   the discharge that's actually leaving the mine
10      A.   Both.                                             10   site?
11      Q.   The next opinion, I guess, would be               11       A. I've looked at testing that was
12 Number 7 there in the middle of the page, has to do         12   documented in Mr. Brown's report. I have looked
13 with restoration. Are you with me?                          13   at the water quality information that was
14      A.   Yes, sir.                                         14   documented in PELA's report, and the
15      Q.   Okay. And as I'm paraphrasing your                15   investigation that we completed of the specific
16 opinion there you're saying based on the data from          16   conductance values at the Locust Fork. Yes, I
17 testing upstream and downstream that the                    17   have.
18 remediation recommended by Mr. Johnson and Brown is 18               Q. Okay. And in connection with this
19 not warranted.                                              19   Opinion Number 7, is this confined to the Locust
20      A.   Yes.                                              20   Fork or are you opining also about any harm or
21      Q.   Is that a correct paraphrase?                     21   impact to Tributary 1?
22      A.   Yes.                                              22       A. My opinion as written here is based
23      Q.   Okay. What specific remediation                   23   on the information of the Locust Fork.
                                                    Page 251                                                 Page 253
 1   though are you referring to there?                         1       Q.     Next, and I guess the last area of
 2        A. Restoring the site to natural                      2   opinion in this report, Number 8, pertains to
 3   conditions by removal of all the refuse material.          3   certain regulatory actions; is that correct?
 4        Q. Are you saying that no mitigation is               4       A.     Yes, sir. Regulatory actions and
 5   warranted based on those two water samples?                5   also activities that were completed in the rock
 6        A. Yes, based on the fact that the                    6   disposal area.
 7   information indicates that there is no impact on           7       Q.     And you conclude the section with
 8   the stream.                                                8   reference to an order from the Surface Mining
 9        Q. What about inshore or near-shore                   9   Commission from 1985 down at the bottom of the
10   impact on macroinvertebrates and other organisms;         10   page; do you see that?
11   have you considered that?                                 11       A.     Yes, sir.
12             MR. DAVIS: Object to the form.                  12       Q.     What does an administrative order do
13   Foundation. You can answer.                               13   to inform your opinion as to a geologist about any
14        A. I have reviewed the information that              14   scientific issue presented in this case?
15   I think you're referring to, the expert reports.          15             MR. DAVIS: Object to the form.
16   I think the water quality is what I'm referring           16       A.     I think I answered that yesterday.
17   to. And the water quality obviously is the                17   The document --
18   environment that the organisms live in, but my            18             MR. DAVIS: Monday.
19   opinion is based on the water quality.                    19             MR. BROCK: Monday.
20        Q. And is it your opinion that there is              20       A.     Seems like yesterday.
21   no adverse impact on the water quality in the             21       Q.     Seems like a month ago to me, but go
22   Locust Fork from any discharges from the Maxine           22   ahead.
23   Mine?                                                     23       A.     The order itself was used as a frame
Freedom Court Reporting, A Veritext Company                                                           877-373-3660
     Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 99 of 134
Lois George (Continuation)                                                                      11 (254 - 257)
                                               Page 254                                                   Page 256
 1   of chronological reference but also the fact that      1   right?
 2   the document indicated that the activities were        2       A. Yes.
 3   completed and satisfied the regulatory                 3       Q. Let's be honest about it, the data
 4   requirements at the time.                              4   that was taken at SW3 that showed the runoff from
 5        Q. And we talked about this yesterday             5   the east ditch being captured from the pre-law GOB
 6   and --                                                 6   pile was vastly different than the data taken from
 7              MR. DAVIS: Monday.                          7   the runoff from the post-law GOB pile, wasn't it?
 8        Q. Monday. And I don't need to reiterate          8             MR. DAVIS: Object to form and
 9   it all, but the segregation of the surface water       9   foundation.
10   runoff from the post-law area as Drummond calls it    10       A. There was a difference in the
11   from the pre-law area, that was done as I             11   measurements, yes, and site.
12   understood your earlier testimony, really based on    12       Q. There was difference of orders of
13   legal or regulatory reasons; in other words, what     13   magnitude, wasn't there?
14   ABC believed that it was legally obligated to do;     14             MR. DAVIS: Object to form and
15   is that correct?                                      15   foundation.
16              MR. DAVIS: Object to the form.             16       A. May we look at the tables again,
17   Foundation.                                           17   please?
18        A. I'm not sure I can answer it the way          18       Q. Sure. This is Exhibit 36 that we
19   you asked it. But it's my understanding that the      19   looked at on Monday and I think you testified was
20   actions that were completed were completed to         20   the last report that PELA did of water quality.
21   address notices of violation, an order, and           21   I'm going to show it to you in just a minute. And
22   permit requirements, and those were all               22   I'm comparing SW2 is the runoff that came from the
23   satisfied.                                            23   post-law area. Can you confirm that?
                                               Page 255                                                   Page 257
 1       Q. Right. And what I'm asking is, that             1       A.     Yes.
 2   was done for legal reasons as opposed to scientific    2       Q.     And SW3 is the data for the runoff
 3   reasons?                                               3   that came off the pre-law area, correct?
 4             MR. DAVIS: Object to the form.               4       A.     Yes.
 5   Foundation.                                            5       Q.     And on these figures, laboratory
 6       A. The reasons the activities were                 6   analysis for total iron, would you tell us what the
 7   completed, yes, were legal reasons. But there          7   reading is for SW2 versus SW3?
 8   were scientific design and investigations that         8       A.     Total iron in milligrams per liter
 9   were completed to address that.                        9   for SW2 is 1.9 and for SW3 is 501.
10       Q. Right, and those investigations were           10       Q.     Would that be a difference in orders
11   designed to establish that the post-law runoff was    11   of magnitude?
12   a lot cleaner than the pre-law runoff, right?         12       A.     Yes.
13             MR. DAVIS: Object to the form.              13       Q.     Would there be a scientific reason
14   Foundation.                                           14   that you can think of why you would have that
15       A. No. The investigations were done               15   disparity and leave the site that way?
16   to -- well, initially the investigations were         16             MR. DAVIS: Object to the form.
17   done to provide a guide as to how to move forward     17       A.     The information in this report was
18   to address satisfying the NOV's and the               18   gathered to address the regulatory or legal
19   regulatory requirements. The monitoring that was      19   requirements at the time.
20   done for about a year after the reclamation was       20       Q.     Okay. That's all I was asking.
21   completed was provided to the agency for their        21   You've answered the question. Thank you.
22   review to make those decisions.                       22             Please turn to page seven in your
23       Q. And we looked at the data on Monday,           23   report, if you would. On that same topic, if you
Freedom Court Reporting, A Veritext Company                                                        877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 100 of 134
Lois George (Continuation)                                                                        12 (258 - 261)
                                                   Page 258                                                 Page 260
 1   look at the paragraph in the middle of the page           1        A.    We concluded --
 2   that starts, "The October 5, 1984 report"?                2        Q.    I'm sorry. Go ahead.
 3        A. Yes.                                              3        A.    We concluded our tasks and
 4        Q. If you could take a second just to                4   documented it, and it's my understanding this
 5   read that to yourself and let me know when you've         5   document was provided to ASMC.
 6   read it.                                                  6        Q.    Exhibit 36 when you say this document?
 7        A. Yes, sir.                                         7        A.    I'm sorry. Yes, Exhibit 36. With
 8        Q. And this refers to that report we were            8   all of the other progress reports and permit
 9   just looking at, right, Exhibit 36?                       9   application and everything.
10        A. Yes.                                             10        Q.    In 1984 you knew what the Clean Water
11        Q. It says that work was completed by ABC           11   Act was, right?
12   in fulfillment of the requirements of ASMC. Do you       12        A.    Yes, sir.
13   see that part?                                           13        Q.    And I'm asking did it ever occur to
14        A. Yes.                                             14   you upon leaving the site in 1984 that there might
15        Q. Where were those requirements set                15   be Clean Water Act liability issues in the future
16   forth?                                                   16   given the water chemistry that we see in this data
17        A. I believe in the Notice of                       17   coming off of that GOB pile?
18   Violations but I'm not certain.                          18             MR. DAVIS: Object to the form and
19        Q. Anywhere else that you can think of?             19   foundation.
20        A. Permitting requirements but that                 20        A.    I think it's a legal --
21   still might be ASMC. It would be, excuse me,             21             MR. DAVIS: And to the extent that it
22   ASMC.                                                    22   calls for a legal conclusion.
23        Q. I'm sorry. Did you say permitting?               23        Q.    My question was: Did that ever occur
                                                   Page 259                                                 Page 261
 1        A.     Permitting requirements.                      1   to you?
 2        Q.     I think I asked you this yesterday but        2            MR. DAVIS: Same objection. He wants
 3   I'm going to ask you again in reference to this           3   you to give a legal opinion today that he wouldn't
 4   material, and that portion of your report. Was            4   let you give last Monday. Go ahead and answer
 5   there any discussion to your recollection of future       5   subject to the objection.
 6   Clean Water Act issues or obligations in connection       6        A.    I don't recall, no, sir. We
 7   with the discussion of the regulatory requirements?       7   finished our job.
 8             MR. DAVIS: Object to the form.                  8        Q.    You don't remember if that ever
 9        A.     I'm not understanding your question.          9   occurred to you or not?
10   I know we talked about a lot of different things         10            MR. DAVIS: Same objection.
11   regarding that, but I'm not sure I understand.           11        A.    No, sir, I don't remember.
12        Q.     In connection with discussing the            12        Q.    Let's take a quick break.
13   requirements of ASMC or the regulators during this       13        (Whereupon, a break was taken at 3:33 p.m.)
14   timeframe, you're talking about 1984, was there          14        Q.    We are back on the record, Ms. George.
15   ever any mention of the Clean Water Act or future        15   I turned in your first report to the section on
16   obligations under the Clean Water Act?                   16   References, Section 8.
17             MR. DAVIS: Object to the form.                 17        A.    Yes, sir.
18        A.     I certainly don't remember any               18        Q.    And I had a few questions about some
19   discussions about future obligations.                    19   of those. The second item on there you list as the
20        Q.     Was that something that PELA                 20   Risk-Based Corrected Action Guidance Manual.
21   considered in any way?                                   21        A.    Yes, sir.
22        A.     Not to my recollection, no.                  22        Q.    How did you use that in formulating
23        Q.     You knew --                                  23   your opinions or drafting your report?
Freedom Court Reporting, A Veritext Company                                                          877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 101 of 134
Lois George (Continuation)                                                                     13 (262 - 265)
                                             Page 262                                                    Page 264
 1       A.      I didn't make a specific use of any       1   of the waste pile. Has the water chemistry
 2   specific section of it. I'm very familiar with        2   improved recently since the '80's?
 3   it. And in order to move forward with                 3       A.     I'm sorry. You were talking about
 4   remediation it's typical that some sort of risk       4   the runoff not the actual waste pile itself?
 5   is evaluated.                                         5       Q.     Yes.
 6       Q.      Are there any particular sections or      6       A.     Based on sampling at specific
 7   pages out of that manual that you think are           7   points, no. It's fairly consistent.
 8   applicable to your report in this case?               8       Q.     Is there any reason to believe that it
 9       A.      Well, just the fact that you really       9   will improve naturally in the future without some
10   need sufficient data to move forward to put          10   remedial action being taken?
11   together a conceptual model, to evaluate risks,      11             MR. DAVIS: Object to the form and
12   to make decisions about how to remediate. And I      12   foundation.
13   can't tell you specifically what section in that     13       A.     Again, are we referring to a
14   guidance is those --                                 14   specific location?
15       Q.      Do you believe there's a need for        15       Q.     Not in that question. I'm just
16   additional data as to Maxine Mine to make an         16   talking about to any surface water runoff off of
17   assessment about remediation?                        17   the pre-law waste pile. Is it going to improve in
18       A.      If there were to be remediation          18   the future without any corrective action being
19   there's not enough data right now to make a          19   taken?
20   conclusion what's the best way to remediate.         20             MR. DAVIS: Object to the form and
21       Q.      What additional data would you           21   foundation, and to the extent it calls for
22   recommend?                                           22   speculation.
23       A.      Well, there could be pilot tests         23       A.     And I certainly can't answer based
                                             Page 263                                                    Page 265
 1   completed.                                            1   on any runoff. The runoff is going to be
 2        Q.    What do you mean by that?                  2   dependent on rainfall, climatological conditions.
 3        A.    A pilot test is an experiment on a         3       Q. Are there any natural processes that
 4   certain theory or an area to see whether or not       4   are going to improve the water chemistry of the
 5   an application might work.                            5   runoff coming off the pre-law GOB file?
 6        Q.    How would that work or how would you       6            MR. DAVIS: Same three objections.
 7   conceive that might be applicable to Maxine?          7       A. Further natural revegetation that's
 8        A.    It could be applicable to the low          8   occurred since Alabama By-Products completed
 9   flat areas in the vicinity of the two dams.           9   their remediation.
10        Q.    What sort of pilot program would you      10       Q. Has the vegetation increased since the
11   conceive of?                                         11   1980's from then to now?
12        A.    I don't have anything specific. I         12       A. Yes, substantially.
13   haven't been asked to make any formulations nor      13       Q. And as you just said though, the
14   have I.                                              14   sampling data has not improved with the vegetation
15        Q.    Based on the data that we looked at       15   increasing, has it?
16   from PELA's water sampling in the 1980's to now,     16            MR. DAVIS: Object to form.
17   has the water chemistry improved on the pre-law      17   Foundation.
18   waste pile area?                                     18       A. It depends on where the samples are
19             MR. DAVIS: Object to the form.             19   taken and under what circumstances.
20        A.    I'm not sure there is any data            20       Q. Well, that was really a yes or no
21   specifically on the pre-law waste data.              21   question. Have the sampling data improved as the
22        Q.    I'm talking about like SW8 and SW9        22   vegetation has become -- has increased on the site?
23   that are measuring the discharges off of that area   23            MR. DAVIS: Object to the form and
Freedom Court Reporting, A Veritext Company                                                       877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 102 of 134
Lois George (Continuation)                                                                          14 (266 - 269)
                                                    Page 266                                                  Page 268
 1   foundation; and I think she answered it.                   1   making available copies, and some of the references
 2       Q.     He doesn't want you to answer that              2   you listed we could not find them publicly
 3   question. He really doesn't want you to answer.            3   available online so I just want to ask, I guess, if
 4             MR. DAVIS: No, he really doesn't want            4   you have a copy if we wanted to get it that you
 5   you to answer yes or no to the question in which           5   could get it to Richard or something like that.
 6   sampling points are not specified and not specified        6   The first one is on the top of page 13. It says
 7   to be --                                                   7   it's Alabama coal data for 1993.
 8       Q.     You can answer yes or no and then               8        A. It's a Geological Survey
 9   explain.                                                   9   publication. It should be available to the
10             MR. DAVIS: If you can.                          10   public, but I'll be glad to --
11       Q.     And the question is the vegetation has         11            MR. DAVIS: You can copy and provide
12   increased, the sampling results have not improved,        12   it to me and I'll give them a copy.
13   correct?                                                  13        A. Okay.
14       A.     I understand your question.                    14        Q. And when it says 136p does that mean
15             MR. DAVIS: Object to form.                      15   you were looking at that page or does that mean
16   Foundation.                                               16   that's how many pages are in the document?
17       A.     At certain locations at certain                17        A. It's the number of pages in the
18   points in time you could say there is comparable          18   document.
19   results; however, they are just points in time            19        Q. So we can't tell from that what you
20   and specific climatological conditions.                   20   actually looked at within it?
21       Q.     The ADEM Investigation and Remediation         21        A. No.
22   Guidance Manual, how did you use that in connection       22        Q. That's not a pinpoint site in other
23   with your opinions in your report?                        23   words?
                                                    Page 267                                                  Page 269
 1       A.     Pretty much in concert with the same            1         A. No, it is not.
 2   way as the risk assessment. This guidance                  2         Q. For any of these do you actually have
 3   document specifies different -- the approaches             3   copies of them?
 4   that are taken or required for investigations,             4         A. Oh, yes. Some of them are personal
 5   and steps to hone down the feasibility of                  5   copies.
 6   remediation, then the selection of remediation.            6         Q. Okay. The next one though, Samuel
 7       Q.     Did you use it though in connection             7   Cassidy, Elements of Practical Coal Mining, is that
 8   with any one of those eight opinions we identified         8   a book?
 9   in particular?                                             9         A. Yes, it is.
10       A.     I don't know what number it might              10         Q. And you have a copy of that?
11   be, but there is a part to the opinion on page            11         A. Yes, I do.
12   six, the middle of the page, regarding                    12         Q. About halfway down the page Henry
13   restoration of the site to natural condition.             13   McCalley, report on the Warrior coal basin. Do you
14       Q.     Okay. You list an ADEM Administrative          14   have a copy of that?
15   Code provision about Brownfield redevelopment. How        15         A. I have a reproduction of it, yes, a
16   did you use that in connection with this report?          16   reprint of it. Yes.
17       A.     I think the same. Just a foundation            17         Q. And the next one too, Metzger, do you
18   for requirement for investigation and a process           18   have a copy of that?
19   to come to the final results of any remediation.          19         A. I believe I do. If I don't, PELA
20       Q.     Some of these references, and this is          20   has a copy, I believe, in our library.
21   not something you were necessarily a party to, but        21         Q. And you're citing these things, does
22   we have an agreement in the case as to things that        22   that indicate that you just looked at some part of
23   are publicly available we are not exchanging, or          23   it, it's like background information, or did you
Freedom Court Reporting, A Veritext Company                                                            877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 103 of 134
Lois George (Continuation)                                                                          15 (270 - 273)
                                                Page 270                                                         Page 272
 1   rely on it in a more substantial way in drafting         1   report?
 2   the report?                                              2       A.     Yes.
 3       A.     Background information, just to               3       Q.     Do you know Professor Dimova?
 4   refamiliarize myself with parts of the Warrior           4       A.     I may have met her, but, no, I don't
 5   Basin and coal seams, the strata.                        5   really know her.
 6       Q.     On page 14 there are two that we              6       Q.     Have you worked with her on any
 7   couldn't locate. The first is Szabo & Copeland           7   projects or research?
 8   Geologic map. Do you have a copy of that?                8       A.     No.
 9       A.     I believe I have the digital                  9       Q.     Do you know her student Daniel
10   downloaded copy. The original paper copies are          10   Montiel?
11   larger than the table.                                  11       A.     Yes, I know Daniel.
12       Q.     And then the next one, William               12       Q.     Have you worked with him on projects?
13   Thornbury, Principles of Geomorphology, is that a       13   I understand he may have interned or worked at PELA
14   book you have a copy of?                                14   for some period of time?
15       A.     It's a textbook. I have it.                  15       A.     He was an intern for two months
16       Q.     Did that play into any of the eight          16   several years ago, but I did not work with him.
17   particular opinions in your report?                     17       Q.     Other than these additional reference
18       A.     Again, just used to look up some             18   materials between the time of your first report and
19   terminology regarding stream geomorphology.             19   your second report, did you do any field
20       Q.     All right. We can close that one up          20   investigation or sampling or testing or anything of
21   and move to Exhibit 4, your rebuttal report of PELA     21   that nature?
22   dated May 25, 2018. You looked at that earlier and      22       A.     Not in the field, no.
23   said that was a complete copy of the report?            23       Q.     And I think you said before, but I'm
                                                  Page 271                                                       Page 273
 1       A. Yes, sir.                                         1   not sure, but you did not make a visit to the site
 2       Q. On page one, fourth paragraph down,               2   before writing the rebuttal report?
 3   you set out the purpose of this report is to             3       A.     That's correct.
 4   specifically address Mr. Johnson and Mr. Brown's         4       Q.     Did you prepare the entire report
 5   rebuttal reports, right?                                 5   yourself?
 6       A. Yes.                                              6       A.     Yes, with the assistance of a word
 7       Q. Did you consider any other data or                7   processor. Excuse me. I think I also testified
 8   information other than looking at their reports to       8   on Monday that Mr. Green provided some assistance
 9   draft this rebuttal report?                              9   but he did not prepare the report.
10       A. Yes, I did.                                      10       Q.     In this report unlike the first one
11       Q. What was that?                                   11   that said opinions and conclusions, this one in
12       A. I looked at the 1988 US EPA guidance             12   Section 2.0 says Discussion is the heading, right?
13   document to refresh my memory. I looked at a            13       A.     Yes, sir.
14   number of the references regarding rock                 14       Q.     Does this Discussion section contain
15   description --                                          15   your opinions and conclusions?
16       Q. It looks like --                                 16       A.     In addition to the ones we've
17       A. -- sediment description, standards               17   already talked about, yes.
18   for describing and classifying soils.                   18       Q.     The first section deals with
19       Q. Looks like on page 17 there's a couple           19   restoration, and let me direct your attention to
20   of ASTM standards. Would that be two of the things      20   the second paragraph that starts with "Regarding".
21   you're talking about?                                   21       A.     Yes, sir.
22       A. Yes, sir.                                        22       Q.     Do you see that part?
23       Q. Is that connected with Ms. Dimova's              23       A.     Yes, sir.
Freedom Court Reporting, A Veritext Company                                                            877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 104 of 134
Lois George (Continuation)                                                                            16 (274 - 277)
                                                   Page 274                                                      Page 276
 1       Q.     At the end of that in the last                 1   entire refuse area has to be removed.
 2   sentence you mention some scoping and screening           2       Q.     Let me ask it this way. Are there any
 3   alternatives. Can you define for us what you mean         3   of these items that you believe that he hasn't
 4   by that?                                                  4   considered at all, these criterion as you call
 5       A.     Sure. The procedures that are                  5   them?
 6   outlined for -- just for instance, CERCLA, or             6       A.     I don't know what all he considered
 7   RCRA, or addressing ADEM procedures, or any other         7   in formulating his conclusion.
 8   state procedures at this time for going from              8       Q.     Well, he put it in writing and this is
 9   defining the extent of the problem and leading up         9   your critique of what he put in writing, so that's
10   to a remedy typically require that you scope out         10   why I'm asking you.
11   potential remedial alternatives and then screen          11       A.     But I don't know what he actually
12   them down to a narrower list of the ones that            12   considered to get to his opinion about
13   might be applicable, and use scientific                  13   restoration.
14   information about the site to make a selection.          14       Q.     Did his written report fail to address
15       Q.     Has Drummond asked you to do any of           15   any of these criterion?
16   that?                                                    16             MR. DAVIS: Object. The report would
17       A.     No.                                           17   speak for itself. You can answer if you can take a
18       Q.     This bullet point list you have of            18   memory test.
19   nine items, where did that come from?                    19       A.     I think I answered the counter
20       A.     This was out of the -- well, based            20   question of what he might have addressed. Now
21   on my experience and also out of the EPA guidance        21   you're asking me what he didn't address. I'm
22   document.                                                22   sorry. I'm just --
23       Q.     Make sure I know which one that is on         23       Q.     Right. The way I read your report you
                                                   Page 275                                                        Page 277
 1   your reference list.                                      1   listed nine criterion from a CERCLA document and
 2       A.     Yes, sir.                                      2   the implementation is that these should be
 3       Q.     Which one is that?                             3   considered in connection with any remedy at Maxine;
 4       A.     On page 18 it's the October 1988               4   is that correct?
 5   guidance document.                                        5             MR. DAVIS: Object. The report will
 6       Q.     So as your reference list indicates            6   speak for itself --
 7   that's a document about CERCLA; is that right?            7        Q.     Or it's there for no reason? What is
 8       A.     Yes.                                           8   the reason why you put it there if it's not an
 9       Q.     And so by including that list here             9   implication that it's relevant to --
10   you're saying that would be applicable to                10        A.     The reason -- the reason that I put
11   assessment at the Maxine site?                           11   it there -- and I think I explained it was
12       A.     The list, yes.                                12   reference to the risk assessment document also
13       Q.     Have any of these nine bullet points          13   and the ADEM document -- is there are steps and
14   that you listed there been considered in the             14   criteria that a methodical approach that should
15   opinions you've read by Mr. Johnson?                     15   be taken and presented. I don't believe Mr.
16             MR. DAVIS: Object to the extent that           16   Johnson has done that.
17   Johnson's document would speak for itself.               17        Q.     And I'm asking you in what respects
18       A.     He does make reference to human               18   with specific reference to these criterion.
19   health and the environment, compliance with              19             MR. DAVIS: Same objection.
20   standards. Does have a -- Mr. Johnson does have          20        A.     I'm sorry. Would you ask the
21   a recommendation for treatment, but I don't              21   question again? I believe I answered when you
22   believe there's substantiating information to use        22   said which ones did he address.
23   what he says to move forward to conclude that the        23             MR. DAVIS: Just let him ask you a
Freedom Court Reporting, A Veritext Company                                                               877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 105 of 134
Lois George (Continuation)                                                                      17 (278 - 281)
                                               Page 278                                                   Page 280
 1   question and then we'll provide the answer and I'll    1   PELA's report.
 2   provide the objection, asked and answered. The         2       A. I'm not positive he was quoting it
 3   documents speak for themselves.                        3   but that's where it came from. Yes, sir.
 4       Q.      Have you listed all of the criterion       4       Q. My concern was I did not believe that
 5   that you believe he has addressed?                     5   that sentence was Mr. Johnson's words, and the fact
 6       A.      That he has addressed?                     6   that it was inside the box made it appear that
 7       Q.      Yes.                                       7   maybe it was. But I think we cleared it up now.
 8       A.      No. I did not go through his               8       A. Okay. Good.
 9   document and list what he has addressed.               9       Q. So you just took that block out of
10       Q.      Let me ask you a question about the       10   this page of his report and put it inside the box?
11   formulating of this report. So the information        11       A. Yes, sir.
12   that's inside the boxes, you're quoting from          12       Q. At the bottom of page three in the box
13   someone else's report --                              13   where you're referring to Johnson page A-2, do you
14       A.      Yes.                                      14   see that part?
15       Q.      -- is that correct? But sometimes         15       A. Yes, sir.
16   there's information inside the box that appears       16       Q. And so inside the box you have quoted
17   that it is not quoting from somebody else's report,   17   a portion of his report about removal being the
18   like at the top of page three, in that box there's    18   best option, right?
19   a sentence that's in italics and then there's a       19       A. Yes.
20   sentence below it that's not. Can you explain         20       Q. And after that box concludes you
21   what's going on there?                                21   wrote, "Refer to my comments on page 1, above".
22       A.      The information in its entirety in        22       A. Yes, sir.
23   the box is from Mr. Johnson's report. And if we       23       Q. So that was your response to
                                               Page 279                                                   Page 281
 1   could pull up his rebuttal report.                     1   everything inside the box?
 2        (Whereupon, Plaintiff's Exhibit Number 41         2       A. Yes, sir.
 3         was marked for identification.)                  3       Q. Now, page one is the introduction page
 4        Q. I'm handing you his rebuttal report            4   and it doesn't seem to address anything in the box.
 5   marked as Exhibit 41. Okay. So this is starting        5       A. Correct. It should have said page
 6   right here where I'm pointing is what you've put       6   two.
 7   inside the box, right?                                 7       Q. So it should be page two?
 8        A. Yes, sir.                                      8       A. Yes, sir.
 9        Q. Okay. And this is from Mr. Johnson's           9       Q. So you're just reincorporating
10   rebuttal report but this particular part of it is     10   everything you said on page two. And in that box
11   him quoting something that somebody else said;        11   that you quoted with Mr. Johnson's rationale, he
12   those are not his words is why it makes it a little   12   says that removal would be a, quote, "permanent
13   confusing I think.                                    13   solution." Do you agree with that?
14        A. The information in the boxes                  14            MR. DAVIS: Object to the form.
15   throughout my rebuttal report is specifically         15       A. I don't think I got past the fact
16   from either Mr. Johnson or Mr. Brown's report.        16   that I don't agree with the remediation, the
17   And if there are italics, some of them may be         17   method that he is approaching -- or recommending.
18   direct quotes from my report or others, or I          18   I don't have an opinion regarding that, no.
19   think Mr. Johnson did paraphrase things in some       19       Q. You can't say yes or no about whether
20   instances.                                            20   if you removed all the waste that that would be a
21        Q. Right. So the information in the              21   permanent solution to the problems at the site?
22   first sentence inside that box comes from             22            MR. DAVIS: Object to the form.
23   Mr. Johnson's rebuttal report and he is quoting       23       A. No, I don't have an opinion about
Freedom Court Reporting, A Veritext Company                                                        877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 106 of 134
Lois George (Continuation)                                                                     18 (282 - 285)
                                              Page 282                                                  Page 284
 1   that. Like I said, I don't think I got past the       1   include certain things. And the first one is that
 2   fact that I strongly disagree with the total          2   you should account for each contaminant migration
 3   removal.                                              3   pathway. Do you agree with that?
 4       Q.      I got that part but I'm just asking if    4       A. Certainly. A restoration of any
 5   it would be a permanent solution, and you say you     5   site should account for pathways.
 6   can't answer that?                                    6       Q. Okay. The second thing is he says it
 7       A.      No, I don't have an opinion about         7   should be designed to minimize active controls and
 8   that right now.                                       8   the need for ongoing maintenance and monitoring.
 9       Q.      Would removal of the waste material       9   Do you agree with that?
10   reduce future maintenance and upkeep of the          10             MR. DAVIS: Object to the form and
11   property?                                            11   foundation.
12             MR. DAVIS: Object to form.                 12       A. Generically, yes.
13       Q.      Maintenance and monitoring? Let me       13       Q. Do you believe that there is a way to
14   ask you this way. Those are Mr. Johnson's words.     14   stabilize the mine waste on the site without
15             MR. DAVIS: Same objection.                 15   removing the trees on the site?
16       A.      I guess maintenance of what and          16       A. I don't have an opinion about
17   monitoring of what?                                  17   stabilization.
18       Q.      Well, I believe from his opinion it      18       Q. Okay. In the next box that you quoted
19   was evident that he meant maintenance and            19   on that page, you quote Mr. Johnson says steep
20   monitoring of a treat-in-place system for the        20   slopes and the GOB pile are susceptible to erosion
21   pollution on the site coming off the GOB pile.       21   and sloughing. Do you agree with that or disagree?
22       A.      Sorry. A treat in place?                 22             MR. DAVIS: Object to the form.
23       Q.      Yes. Are you familiar with that          23       A. I disagree based on my observations.
                                              Page 283                                                  Page 285
 1   terminology?                                          1   There are steep slopes that are vegetated with
 2       A.     Certainly.                                 2   pine trees and covered with pine straw. There's
 3       Q.     That's what he was referring to; that      3   no indication that any rain events have washed
 4   it would -- removal would reduce the maintenance      4   the pine straw away and exposed -- exposed the
 5   and monitoring requirements in the future, and I'm    5   refuse material where there is current
 6   asking if you agree or disagree?                      6   vegetation.
 7       A.     As opposed to a treat in place?            7       Q. Okay. At the bottom of the page you
 8       Q.     Yes.                                       8   refer to Figure A-2. Do you see that?
 9             MR. DAVIS: Object to the form.              9       A. Yes, sir.
10   Foundation.                                          10       Q. Can you explain to me like I'm an
11       A.     I guess it could, but I don't really      11   eight year old what your criticism means there with
12   have an opinion because I don't understand the       12   regard to this figure, even though you may think it
13   specifics of the treat in place.                     13   should be younger that than, indulge me?
14       Q.     Have you developed on your own any        14       A. I'm older than eight years old and I
15   kind of conceptual proposal for treatment in-place   15   don't understand it either, what these numbers
16   scenarios on the Maxine site?                        16   relate to in the map in his report.
17       A.     No, not since working with Alabama        17       Q. You said the existing slope line does
18   By-Products in the early '80's when we worked        18   not clearly correspond with the contours.
19   together.                                            19       A. I'm assuming this black line is the
20       Q.     In the top of page four in the box        20   cross-section across this map.
21   where you quoted Mr. Johnson's language, he says     21       Q. You're pointing to Figure A-1?
22   that if you are going to engage in restoration of    22       A. Yes. Sorry.
23   the GOB pile in place that any such program should   23       Q. Okay.
Freedom Court Reporting, A Veritext Company                                                       877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 107 of 134
Lois George (Continuation)                                                                        19 (286 - 289)
                                              Page 286                                                         Page 288
 1        A. And on Figure A-2, that the two               1   and site control. And you say based on aerial
 2   lines refer to -- two different colored lines         2   photography that you think the areas are
 3   refer to an existing slope and a regraded slope.      3   substantially reforested?
 4   And I did make a comparison or attempted to make      4       A.     Yes, sir.
 5   a comparison of what I think are land surface         5       Q.     Which photographs would that be based
 6   contours on the map, although they're not             6   on?
 7   labeled, as to where the steeper areas and the        7       A.     The recent aerial photography from
 8   flat areas are in relation to the cross-section,      8   Google Earth. Google Earth Pro, which I
 9   and just was not a good reference between one         9   reference on page 18.
10   document and the other.                              10       Q.     And how would you define substantially
11        Q. Do you understand how he derived the         11   reforested?
12   existing slope that's shown in Figure A-2?           12       A.     The majority of. The vast majority
13        A. I understand how one might, but I'm          13   of.
14   not sure how Mr. Johnson did.                        14       Q.     What could you tell about ground cover
15        Q. Let me ask simply then: Do you               15   and vegetative ground cover from an overhead Google
16   believe that what he depicts as the existing slope   16   photo?
17   is inaccurate?                                       17       A.     In looking at the photography
18        A. I don't know if it's accurate or             18   available on Google Earth that covers sometime
19   not. There's no numbers on the contours if           19   back into '90's to 2017, which you can look at
20   that's what they are on Figure --                    20   historically through the program, I looked at the
21        Q. Look at the copy that you have, if you       21   progression of revegetation, and based on the
22   don't mind. I think we marked -- this is my copy.    22   recent photography there are very limited areas
23   It's got a few things written on it. Here it is.     23   that indicate unvegetated areas on top of the
                                              Page 287                                                         Page 289
 1       A.     Sorry.                                     1   refuse pile.
 2       Q.     I'm sorry. I took it from you.             2       Q. In your opinion, which would be better
 3       A.     I wasn't trying to grab it out of          3   at stopping erosion: Ground cover vegetation or
 4   your hand. Assuming these are land surface            4   pine trees?
 5   contours, they're not labeled as to what the          5       A. Depends on the slope for one thing.
 6   elevation is.                                         6       Q. How about on a 45-degree slope?
 7       Q.     On Figure A-1?                             7       A. I really don't have an opinion.
 8       A.     Yes, sir.                                  8   Lots of variables. Depends on the soil makeup.
 9       Q.     Anything else? I'm just trying to          9   I don't have an opinion on that.
10   have you explain it so that we can make sure         10       Q. Mr. Johnson at some point cited some
11   Mr. Johnson can straighten himself out.              11   provisions from the Alabama Code about landfills
12             MS. ANDREEN: Those are bigger pages        12   and prescribed methods for vegetation in those
13   if you need to pull it out.                          13   areas. Do you recall reviewing that material?
14       A.     I can see there is no numbers on          14       A. I don't recall, no.
15   them.                                                15       Q. Do you know if that would be
16       Q.     Okay. Have you finished your              16   applicable to the Maxine site in your -- do you
17   explanation on that?                                 17   have an opinion about that?
18       A.     I think so.                               18       A. No, I don't.
19       Q.     Okay. On page five of your report         19       Q. Just to be clear about this, in the
20   after the last box where you refer to page 31 of     20   bottom paragraph on that page you refer to upstream
21   Mr. Brown's --                                       21   and downstream samples. I want to just make sure I
22       A.     Yes, sir.                                 22   understand what you're referring to there.
23       Q.     -- opinion, this is about vegetation      23             I think it may be easiest to refer to
Freedom Court Reporting, A Veritext Company                                                          877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 108 of 134
Lois George (Continuation)                                                                          20 (290 - 293)
                                                     Page 290                                                 Page 292
 1   the sampling map. There's that one and there's one          1   shift the timeframes just made assumptions to get
 2   other one before that that both shows the sampling          2   to that point.
 3   locations, whichever one you feel more comfortable          3             And that would be the same on the --
 4   looking at.                                                 4   this graph Number 16, the differential between --
 5       A.     It would be SW15 and SW1.                        5   the numeric differential between two points can
 6       Q.     And what Figure are you referencing?             6   be anywhere on that graph up and down, year by
 7       A.     I'm sorry. Figure 29 in Mr. Sisk's               7   year, and use that information to back calculate
 8   Exhibit 8. Mr. Brown's report of October 2017.              8   and apply the erosion rate or the application
 9       Q.     Thank you. In that same paragraph you            9   rate. So again, I think it's speculative.
10   say that the chemical character of, quote, "surface        10       Q. Do you know if the literature -- if
11   water downstream does not exhibit impact." What do         11   there's literature out there that supports the use
12   you mean by surface water?                                 12   of the methodology that aquilogic used to derive
13       A.     The water in the Locust Fork is                 13   these figures?
14   surface water.                                             14       A. The ultimate volumetrics?
15       Q.     You're referring to the water in the            15       Q. Yes.
16   river at that point?                                       16             MR. DAVIS: Do you know?
17       A.     Yes, that's what was sampled.                   17       A. No. No.
18       Q.     I think we already talked about the             18       Q. So as aquilogic concedes they assumed
19   mixing zone that PELA established.                         19   constant rates of erosion and GOB placement in
20       (Whereupon, a discussion was held off the              20   connection with these calculations. Are there any
21        record.)                                              21   other assumptions that you believe that they made?
22       Q.     Let me ask you a little bit narrower            22             MR. DAVIS: Object to the form.
23   question again about the volumetrics now that we           23       A. Well, the area that was outlined in
                                                     Page 291                                                 Page 293
 1   see the full back and forth. And I understood your          1   red was based on interpretation or assumptions
 2   testimony earlier about the difference in the               2   also.
 3   contour lines on the maps and the response was that         3        Q. So that's --
 4   regardless of the display intervals the underlying          4        A. I don't agree with. Not that I can
 5   volumetric changes in Figures 14 and 15 that we             5   determine, no, sir.
 6   looked at is the same, so what is your response to          6        Q. And so aquilogic compared pre-mining
 7   that; that the volumetrics are the same?                    7   information to the 1965 information and concluded
 8       A.      Mr. Brown saying the volumetrics are            8   that the net addition of material was 3.35 million
 9   the same?                                                   9   cubic yards. And that's quoted on page nine of
10       Q.      Yes.                                           10   your report.
11       A.      At certain points in time and that             11             Do you believe that figure is
12   time was adjusted based on my comment.                     12   accurate?
13       Q.      Well, first break it down. Is he               13             MR. DAVIS: Object to the form.
14   correct that the underlying volumetrics are the            14        A. I'm sorry. Where are you on the
15   same? The volumetric changes? I'm sorry.                   15   page?
16       A.      I disagree with that statement.                16        Q. It's in the box on the top of page
17   Although we talked about, very early on, that the          17   nine.
18   net loss volume although comparing the basis of            18        A. The top part?
19   two different maps could give you variability,             19        Q. It's in the sentence that starts
20   the net loss is a -- could be numerically derived          20   "Regardless". So I'm trying to break it down into
21   to show the difference in elevation between the            21   some smaller component parts. And this is, the
22   two maps. And the use of that number may have              22   first step is they're saying the net volume gain
23   been where he started from, and then in order to           23   from mining started in 1965 and the material is
Freedom Court Reporting, A Veritext Company                                                            877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 109 of 134
Lois George (Continuation)                                                                          21 (294 - 297)
                                                Page 294                                                        Page 296
 1   approximately 3.35 million cubic yards. And I'm          1   Mr. Johnson's report where he's estimating the
 2   asking if you dispute that figure.                       2   amount of material that would have to be moved
 3       A. Yeah, I think it's based on the                   3   under various remediation scenarios.
 4   assumptions. I do dispute it.                            4             Have you made any independent
 5       Q. For the reasons you've already                    5   calculations, alternative calculations, to check
 6   articulated?                                             6   his numbers?
 7       A. Yes, sir.                                         7             MR. DAVIS: Object to the form and
 8       Q. On page 10 near the bottom of the                 8   foundation.
 9   page, the last paragraph, the previous question was      9       A.     No, I haven't. And his numbers are
10   about the net volume gain. This sentence was            10   based on Mr. Brown's is my understanding with one
11   during that same time period, '56 to 1965, they         11   exception.
12   calculated that approximately 4.18 million cubic        12       Q.     Specifically in that top box on page
13   yards was deposited on the site. Do you dispute         13   12 he's saying that he estimates that approximately
14   that figure?                                            14   half of the remaining material on the site would
15       A. It was hiding.                                   15   have to be removed to uncover Tributary 1. And I'm
16       Q. For the record, which figure are you             16   just asking if you made any independent analysis
17   looking at there?                                       17   about that?
18       A. I'm looking at Figure 16 and the --              18       A.     No, I haven't.
19   I'm looking at the 2017 report though.                  19       Q.     Turn it over to page 14 where you are
20       Q. Yeah, I think the figures in this box            20   addressing Dr. Dimova's work.
21   on page 10 would be from the 2018 report.               21       A.     Yes, sir.
22       A. Again, whether we look at the                    22       Q.     Let me ask you as a general principle,
23   revised or the original, I think the numbers are        23   is analysis of grain size and water content a valid
                                                  Page 295                                                      Page 297
 1   based on assumptions.                                    1   way to distinguish native from non-native material
 2       Q. Well, they do say approximately, so, I            2   on the river bottom?
 3   mean, we understand they're not trying to be             3             MR. DAVIS: Object to the form.
 4   precise.                                                 4       A. Grain size analysis and water
 5             MR. DAVIS: Object to form. I'm not             5   content is a component of describing earth
 6   sure that was a question.                                6   materials. That's specifically what's referred
 7       A. I was going to offer the assumptions              7   to as GOB or sediments.
 8   that we talked about earlier.                            8       Q. Is grain size and water content
 9       Q. The same assumptions you listed                   9   analysis a valid way to determine if the material
10   earlier?                                                10   is gravel as opposed to clay?
11       A. Yes, sir.                                        11       A. Yes.
12       Q. Would that same response apply to the            12       Q. On page 15 of your report you cite
13   last figure, the 7.58 million cubic yards, which        13   some aspects or components that you say are absent
14   they have calculated as the approximate total           14   from Dr. Dimova's report.
15   amount of material that was placed on a GOB pile?       15       A. Yes.
16       A. Yes.                                             16       Q. What's the source of that list of
17       Q. So to summarize your testimony, you              17   items?
18   question those, or you don't agree with those based     18       A. Many years of experience.
19   on assumptions they made, but you haven't made any      19       Q. You call that standard accepted
20   independent alternative calculations?                   20   industry procedures and protocols?
21       A. I have not made any calculations.                21       A. Yes, sir.
22       Q. Let me ask you a different question.             22       Q. And that basically amounts to, you
23   On page 11 and 12 you quoted from the section of        23   just said, your experience?
Freedom Court Reporting, A Veritext Company                                                            877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 110 of 134
Lois George (Continuation)                                                                               22 (298 - 301)
                                                   Page 298                                                           Page 300
 1       A.     I wasn't finished with my answer.                 1        A.    Oh, same thing. It's even more
 2       Q.     Okay.                                             2   detailed than Mr. Maher's document.
 3             MR. DAVIS: He doesn't want to hear                 3             MR. DAVIS: During the pause here, I
 4   your answer.                                                 4   sure don't want to slow anything down any more but
 5       Q.     You stopped talking. That's why I                 5   can you give me an idea about how much you've got
 6   assumed you were finished.                                   6   left because I may need to make a call.
 7       A.     I did? I'm sorry. I didn't think I                7             MR. BROCK: Not much.
 8   stopped.                                                     8             MR. DAVIS: More than ten minutes?
 9             There are many protocols that are                  9   I'm not trying to press you.
10   used for data gathering and data interpretation             10             MR. BROCK: Yeah, that's pretty
11   and data reporting and standard formats. They're            11   specific. Ten to 15, 15 to 20. Not more than
12   outlined in ADEM documents, some of the ADEM                12   that.
13   documents we talked about before, EPA documents,            13             MR. DAVIS: Let me make a call.
14   textbooks that discuss how to assess sites and              14         (Whereupon, a break was taken.)
15   contamination and report them. These are                    15        Q.    (BY MR. BROCK) One aspect of your
16   standard procedures that are used by the oil and            16   report addressing Dimova is confusing to me. I
17   gas industry for looking at what's underneath our           17   want to see if we can figure it out.
18   feet, the coal industry, any mineral industry,              18             So on the bottom of page 15 your
19   just standard procedures that address the detail            19   report says that the sample location coordinates
20   that's needed to describe what you do in the                20   indicate that the sites were on the left bank of
21   field, describe how you interpret the                       21   the river facing downstream. How did you determine
22   information, and describe sufficiently how you              22   that?
23   report the information.                                     23        A.    Based on the coordinates that were
                                                      Page 299                                                        Page 301
 1       Q.      Let me ask a more narrow question.               1   in her report and plotting them on Google Earth,
 2   This list of eight things that you listed here, did          2   Maps, whatever.
 3   those come out of your mind and you typed them down          3        Q. I'm just going to show you -- I'm
 4   or did they come from a secondary source?                    4   going to mark it Exhibit 42 to this deposition.
 5       A.      Both.                                            5   That was a deposition -- an exhibit to Dr. Dimova's
 6       Q.      Okay. What was the secondary source?             6   deposition. And my understanding, or I think she
 7       A.      The guidance documents that we were              7   testified, is this is a plot of the coordinates and
 8   referring to earlier from ADEM. Also the                     8   it shows the sample points on the opposite side of
 9   guidance sample examination manual, Swanson,                 9   the river from what is stated in your report.
10   which is one of my references; Maher, which is              10             MR. DAVIS: Make sure you read the
11   one of my references; Compton, Field Geology                11   whole sentence of what you said in your report.
12   Manual.                                                     12        (Whereupon, Plaintiff's Exhibit Number 42
13       Q.      So, for example, looking at page 18 on          13        was marked for identification.)
14   the references you said Maher, and this indicates           14        A. That's true. It should be right
15   that this is a document about logging drill                 15   bank.
16   cuttings in Oklahoma; is that right?                        16        Q. Your report should say right bank?
17       A.      It is -- it is a reference document             17        A. That's correct.
18   that is utilized by the consulting industry and             18        Q. And all the analysis that follows
19   the oil and gas industry, and it describes how              19   about morphological conditions along the banks and
20   you would retrieve and describe samples of land             20   everything, are you talking about the right bank of
21   surface and the subsurface.                                 21   the river facing downstream or the left bank?
22       Q.      And the Swanson material, what                  22        A. I'm talking about where the samples
23   relevance does that have to core sampling?                  23   were.
Freedom Court Reporting, A Veritext Company                                                                 877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 111 of 134
Lois George (Continuation)                                                                           23 (302 - 305)
                                                  Page 302                                                       Page 304
 1       Q. How do you know -- how are you certain              1       A.     Her report, I believe, said they
 2   about that, that you --                                    2   were approximately 2.3 feet or shorter.
 3       A. Because --                                          3       Q.     So would this 20 acres of developed
 4       Q. -- are referring to the right bank                  4   land near a sampling spot -- I'm trying to
 5   instead of the left bank?                                  5   understand, how would that affect a core sample
 6       A. Because I was referring to where she                6   that went down three feet below the river bottom?
 7   took her samples. I was about to say, what I               7       A.     The facility has been there for a
 8   wrote for the rest of it is not relevant to what           8   number of years based on the aerial photography,
 9   bank I referred to.                                        9   so that sediments being transported downstream
10       Q. Okay. So all of the information on                 10   over a number of years could be deposited near
11   page 16 you're saying would be equally applicable         11   shore and comprise part of the thickness or all
12   whether it was the right or the left bank?                12   of the thickness of that sample.
13       A. That's correct.                                    13       Q.     You haven't reviewed Dr. Dimova's
14       Q. Have you been to those sample sites?               14   deposition, have you?
15       A. No, I have not.                                    15       A.     No, I haven't.
16       Q. You indicate on page 16 you reviewed               16       Q.     You described already the potential
17   some aerial photography. Is that what you                 17   impact or relevance of the development. What would
18   reviewed?                                                 18   the potential impact on a core sample be from an
19       A. Yes, sir. I have been at BW2, the                  19   inflow feature near the sampling site?
20   sample site close to the --                               20       A.     Again, it could be contributing
21       Q. To the dam?                                        21   sediments that would drop out depending on the
22       A. Yes.                                               22   size, their grain size, close to BW5 or at BW5
23       Q. In the paragraph in the middle of that             23   and be a component of the sample.
                                                    Page 303                                                     Page 305
 1   page you discuss some onshore commercial                   1       Q. What about at BW2?
 2   development and activity in the proximity of the           2       A. They might make it all the way
 3   sampling site BW5, right?                                  3   there.
 4       A. Yes, sir.                                           4       Q. Oh, no. I'm just saying, is there any
 5       Q. Can you just explain how that                       5   inflow feature into the river at that point that
 6   development or onshore activity would impact a core        6   might affect the bottom sediments?
 7   sample?                                                    7             MR. DAVIS: BW2? I just didn't hear
 8       A. The facility I'm referring to is a                  8   you.
 9   large land disturbance. Vegetation was removed.            9       A. I'm not really sure precisely where
10   It has or has had waterfront activities, a barge          10   that sample location is relative to the dam.
11   loading facility, and it is upstream of sample            11       Q. I thought you said you'd been there a
12   BW5, and materials would travel downstream from           12   few seconds ago.
13   that waterfront to BW5 potentially, as would              13       A. Well, I plotted --
14   sediments that are coming out of the tributary or         14       Q. Go ahead.
15   slough or whatever we want to call it that is             15       A. I've been on the dam and seen the --
16   close to BW5.                                             16   the area -- the proximity where she sampled.
17       Q. Did you look at the photos of the core             17       Q. What does the term "gravel" mean in
18   samples?                                                  18   term of sizing or classifying rock material?
19       A. No, I didn't know there were any                   19       A. It's -- without looking at the
20   photos of the core samples.                               20   Wentworth scale or the grain size distribution,
21       Q. Do you know the depth of the core                  21   it has a specific millimeter size associated with
22   samples in terms of how far below the river bottom        22   it.
23   the samples extended?                                     23       Q. Okay. With regard to BW5 you said
Freedom Court Reporting, A Veritext Company                                                             877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 112 of 134
Lois George (Continuation)                                                                      24 (306 - 309)
                                               Page 306                                                   Page 308
 1   that the aerial photography showed lateral bar and     1        A. Not at this time.
 2   bank deposits. What does that mean?                    2        Q. Looks like in your reference list you
 3       A.     Lateral deposits are deposits that          3   refer to the ASTM Standard 2487 and 2488?
 4   are parallel to the configuration of the stream,       4        A. Yes, sir.
 5   like a sand bar. The historical photography            5        Q. Are you familiar with the NIST
 6   showed in the vicinity of the sampling that these      6   standards?
 7   deposits are visible. It could depend on the           7        A. I know what NIST means.
 8   river level at the time of the aerial photography      8        Q. What is it?
 9   but they do indicate that there's sediment             9        A. National Institute of Scientific
10   deposition close to the bank.                         10   Testing, I believe is what it's called.
11       Q.     And what relationship would that have      11        Q. Are there one set of standards ASTM
12   or what relevance would that have to whether a core   12   versus NIST that would be preferable for this
13   sample was appropriate?                               13   application or the analysis that Dr. Dimova
14       A.     It would depend --                         14   performed?
15       Q.     Go ahead.                                  15        A. The ASTM standards are standards
16       A.     It would depend on where the sample        16   that are typically used in describing subsurface
17   was taken, whether it was taken actually in the       17   materials or surface materials.
18   bar or at a deeper location where the sediments       18        Q. Have either of those standards been
19   could vary. They could have a different grain         19   superseded or appealed to your knowledge?
20   size or a different composition.                      20        A. Well, they have a date of 2000 so
21       Q.     So you're saying if the sample was         21   it's likely that they have been revised over
22   taken in the bar then it might not necessarily be     22   time.
23   representative of typical river conditions in that    23        Q. I'm not going to go through each one
                                               Page 307                                                   Page 309
 1   area?                                                  1   of them, but in the reference list there were
 2       A.     No.                                         2   several that we checked and couldn't find online
 3       Q.     Is that the point?                          3   publically available. If we were to request that
 4       A.     No, I'm not saying that. I'm saying         4   you provide it to Richard so we could get it, would
 5   that one sample at a location particularly close       5   you agree to do that?
 6   to the riverbank isn't representative of the           6       A. Sure.
 7   sediment of the Locust Fork, the natural sediment      7       Q. Okay. I think that's all.
 8   of the Locust Fork.                                    8            MR. DAVIS: All right. Thank you.
 9       Q.     What if the core sample is deep enough      9       (Whereupon, the preceding deposition was
10   to give you like a hundred-year picture of the        10   concluded at 5:36 p.m.)
11   river bottom, it still wouldn't be an adequate        11
12   representation of the river bottom in that area?      12
13       A.     It would be a representation of the        13
14   sedimentation that occurred at that core              14
15   location, not necessarily a profile across the        15
16   river that you would look at all of them. That        16
17   one sample can't be representative of Locust          17
18   Fork.                                                 18
19       Q.     How many would you need to establish       19
20   what was representative of that area of Locust        20
21   Fork?                                                 21
22       A.     I haven't made that determination.         22
23       Q.     Do you have an estimation?                 23

Freedom Court Reporting, A Veritext Company                                                        877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 113 of 134
Lois George (Continuation)                                                                  25 (310 - 312)
                                            Page 310                                                 Page 312
 1             ERRATA SHEET                              1         REPORTER'S CERTIFICATE
 2                                                       2   STATE OF ALABAMA )
                                                             JEFFERSON COUNTY )
 3      PLEASE LIST ANY CORRECTIONS BELOW                3
 4        PLEASE DO NOT WRITE ON THE                     4       I hereby certify that the above and foregoing
             TRANSCRIPT
 5                                                       5   deposition was taken down by me in stenotype, and
 6      PAGE NO. LINE NO.       CORRECTION               6   the questions and answers thereto were transcribed
 7                                                       7   by means of computer-aided transcription, and that
 8   1.______________________________________            8   the foregoing represents a true and correct
 9   2.______________________________________            9   transcript of the testimony given by said witness
10   3.______________________________________           10   upon said hearing, to the best of my ability and
11   4.______________________________________           11   understanding.
12   5.______________________________________           12       I further certify that I am neither of
13   6.______________________________________           13   counsel, nor of kin to the parties to the action,
14   7.______________________________________           14   nor am I in anywise interested in the result of
15   8.______________________________________           15   said cause.
16   9.______________________________________           16
17   10._____________________________________           17   /S/Kimberly B. Dowdy
18   11._____________________________________           18   Kimberly B Dowdy, CCR, RPR
                                                             Alabama CCR #62
19   12._____________________________________           19
                                                             My Commission expires:
20   13._____________________________________           20   March 16, 2020
21   14._____________________________________           21
22   15._____________________________________           22
23   16._____________________________________           23
                                         Page 311
 1           DEPONENT'S CERTIFICATE
 2
 3
 4            I, LOIS GEORGE, the witness herein,
 5   have read the transcript of my testimony and the
 6   same is true and correct, to the best of my
 7   knowledge. Any corrections and/or additions, if
 8   any, are listed separately.
 9
10
11
12           ______________________
13           LOIS GEORGE
14
15
16           NOTARY PUBLIC:
17           COMMISSION EXPIRES:
18
19
20
21           Dated: _________________
22
23

Freedom Court Reporting, A Veritext Company                                                    877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 114 of 134
Lois George (Continuation)                                                      313
 WORD INDEX           1993 268:7          365 239:5            283:18
                                          37th 217:12
 <1>                  <2>                                      <9>
 1 220:11, 14         2 214:16 310:9      <4>                  9 222:4 228:9
  221:18 227:22       2.0 273:12          4 220:11, 15 240:8    310:16
  236:6 244:12, 14    2.3 304:2            241:1 244:9         90's 288:19
  252:21 280:21       2:16-CV-01443-AK     270:21 310:11       92 235:14
  296:15 310:8        K 214:5             4.18 294:12          93,000 235:14
 1.9 257:9            2:23 219:8          40 229:18, 22
 10 222:4 294:8, 21   20 300:11 304:3      236:5               <A>
  310:17              2000 308:20         40229 218:8          A-1 285:21 287:7
 100 215:6 217:18     2016 247:13         41 279:2, 5          A-2 280:13 285:8
  219:6               2017 237:22         41279 218:8           286:1, 12
 10-foot 230:9, 9      240:17 244:16      42 301:4, 12         ABC 254:14
 11 222:4 295:23       247:13 288:19      42301 218:11          258:11
  310:18               290:8 294:19       45-degree 289:6      ability 312:10
 12 222:4 224:8       2018 214:17 215:8                        able 221:2 222:19
  295:23 296:13        219:8 240:17       <5>                   243:18, 21 244:3
  310:19               270:22 294:21      5 244:6 258:2        absent 297:13
 13 268:6 310:20      2020 312:20          310:12              absolutely 239:12
 136p 268:14          2031 214:22         5:36 309:10          accepted 297:19
 14 229:13, 14        20-foot 230:8       501 257:9            accepts 240:16
  230:1 231:10, 15    214-312 214:16      56 294:11            account 235:9
  270:6 291:5         219 218:4                                 241:8 243:8 284:2,
  296:19 310:21       24,000 234:21       <6>                  5
 15 229:14 230:14,    2487 308:3          6 227:22 239:11      accuracy 236:17
 17, 18 231:10, 15    2488 308:3           310:13               237:2, 13
  291:5 297:12        25 270:22           62 312:18            accurate 230:12
  300:11, 11, 18      27 214:17           62,000 234:19         238:2 286:18
  310:22              27th 215:7 219:8    65 225:9              293:12
 16 292:4 294:18      282 217:7                                acreage 237:13
  302:11, 16 310:23   2829 217:7          <7>                  acres 304:3
  312:20              29 290:7            7 250:12 252:19      Act 259:6, 15, 16
 17 271:19                                 310:14               260:11, 15
 18 275:4 288:9       <3>                 7.58 295:13          acting 219:3
  299:13              3 240:5, 9 310:10   700,000 235:22       Action 261:20
 1938 234:17, 18      3.35 293:8 294:1    712 217:12            264:10, 18 312:13
 1965 229:12 293:7,   3:33 261:13         7th 215:7 217:18     actions 253:3, 4
 23 294:11            31 287:20            219:7                254:20
 1971 229:11          310 218:11                               active 284:7
  234:20              311 218:11          <8>                  activities 253:5
 1975 228:9, 14       312 218:11          8 221:5 222:4, 5,     254:2 255:6
 1980's 247:2, 4      32,000 235:14       11 224:7, 10          303:10
  263:16 265:11       35209 217:19         225:10 228:1        activity 303:2, 6
 1984 248:13 258:2    35216 214:23         231:3 253:2         actual 238:9 264:4
  259:14 260:10, 14   35222-206 217:13     261:16 290:8        addition 226:18
 1985 253:9           35233 217:8          310:15               239:18 273:16
 1987 228:9, 14       36 256:18 258:9     80's 239:8, 10        293:8
 1988 271:12 275:4     260:6, 7            250:4 264:2


Freedom Court Reporting, A Veritext Company                             877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 115 of 134
Lois George (Continuation)                                                            314
 additional 222:8      ALABAMA 214:2,         APPEARING               asked 219:22
  226:20 262:16, 21    23 215:7 217:8, 13,     217:3, 15               231:14 237:23
  272:17               19 219:3, 4, 7         appears 278:16           254:19 259:2
 additions 311:7        227:21 238:22         appendices 220:19        263:13 274:15
 address 246:3          239:17 265:8           221:12                  278:2
  254:21 255:9, 18      268:7 283:17          applicable 224:6        asking 229:8
  257:18 271:4          289:11 312:2, 18       262:8 263:7, 8          255:1 257:20
  276:14, 21 277:22    allow 238:15            274:13 275:10           260:13 276:10, 21
  281:4 298:19         allows 223:11           289:16 302:11           277:17 282:4
 addressed 232:19,     altered 244:19         application 224:20       283:6 294:2
 20 276:20 278:5, 6,    245:8                  236:17 237:1, 6         296:16
 9                     alternative 295:20      260:9 263:5 292:8      ASMC 258:12, 21,
 addresses 232:22       296:5                  308:13                 22 259:13 260:5
 addressing 274:7      alternatives 274:3,    apply 239:4 292:8       aspect 300:15
  296:20 300:16        11                      295:12                 aspects 297:13
 ADEM 266:21           Amec 242:4             approach 277:14         assertions 240:6
  267:14 274:7         amount 235:7           approaches 267:3        assess 298:14
  277:13 298:12, 12     242:20 295:15         approaching 281:17      assessment 246:12
  299:8                 296:2                 appropriate 306:13       262:17 267:2
 adequate 307:11       amounts 297:22         approximate 295:14       275:11 277:12
 adjacent 246:14       analysis 234:5         approximately           assign 216:7
 adjusted 291:12        236:8 241:2 243:8      227:16 294:1, 12       assigned 226:10
 administrative         257:6 296:16, 23       295:2 296:13           assigning 226:7
  253:12 267:14         297:4, 9 301:18        304:2                  assistance 273:6, 8
 adverse 251:21         308:13                aquilogic 236:11        associated 226:22
 Aerial 218:11         Analyst 236:20          292:12, 18 293:6        305:21
  221:20 222:22        Andreen 217:6          area 224:11, 23         assumed 292:18
  223:1, 12 226:10      287:12                 225:17 226:2            298:6
  227:20, 23 248:18    answer 223:17           227:4 228:12, 22       assuming 285:19
  288:1, 7 302:17       238:18 246:4           229:2, 6, 10 230:21,    287:4
  304:8 306:1, 8        249:19 251:13         22 231:19 238:20        assumption 235:12
 affect 249:11          254:18 261:4           239:5, 13 247:6, 22     236:3 239:6
  304:5 305:6           264:23 266:2, 3, 5,    248:20 252:3            243:23 244:2
 age 237:4             8 276:17 278:1          253:1, 6 254:10, 11    assumptions 235:6
 agency 255:21          282:6 298:1, 4         256:23 257:3            244:1 292:1, 21
 ages 236:1 237:9      answered 231:22         263:4, 18, 23 276:1     293:1 294:4 295:1,
 ago 253:21 272:16      232:3, 3 246:10        292:23 305:16          7, 9, 19
  305:12                253:16 257:21          307:1, 12, 20          ASTM 271:20
 agree 225:18           266:1 276:19          areas 225:5 226:9,       308:3, 11, 15
  281:13, 16 283:6      277:21 278:2          9, 13, 18, 21 227:4     attached 221:11
  284:3, 9, 21 293:4   answering 231:12        232:16 237:18          attachments 220:18
  295:18 309:5          244:18                 238:22 249:2           attempt 237:21
 AGREED 215:3,         answers 312:6           263:9 286:7, 8         attempted 286:4
 10 216:4, 12          Anthony 220:23          288:2, 22, 23          attention 273:19
 agreement 267:22       221:6 236:6            289:13                 Attorney 217:10
 ahead 220:12          anywise 312:14         arrive 242:16           available 238:12,
  235:19 241:14        apologize 219:22       arrows 227:2            20 267:23 268:1, 3,
  253:22 260:2         appealed 308:19         232:14                 9 288:18 309:3
  261:4 305:14         appear 280:6           articulated 294:6       Avenue 217:7
  306:15

Freedom Court Reporting, A Veritext Company                                  877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 116 of 134
Lois George (Continuation)                                                               315
 aware 238:21            278:5 280:4            Brock 217:5 218:4       call 276:4 297:19
                         282:18 284:13           219:17 253:19           300:6, 13 303:15
 <B>                     286:16 292:21           300:7, 10, 15          called 233:15
 back 219:18 236:2       293:11 304:1           Brookwood 215:6          308:10
 239:8 261:14            308:10                  217:18 219:6           calling 227:5
 288:19 291:1           believed 254:14         Brown 222:4, 17         calls 254:10
 292:7                  bend 226:7               230:1 231:19            260:22 264:21
 background 269:23      best 239:9 262:20        236:2, 6 238:4         captured 256:5
 270:3                   280:18 311:6            241:1, 3 242:15        CASE 214:5
 bank 232:10             312:10                  245:4 246:1             253:14 262:8
 245:15 300:20          better 289:2             250:18 291:8            267:22
 301:15, 16, 20, 21     bigger 287:12           Brownfield 267:15       Cassidy 269:7
 302:4, 5, 9, 12        binoculars 223:11       Brown's 218:8           cause 219:9 312:15
 306:2, 10              Birmingham 215:7         220:23 221:7           CCR 312:18, 18
 banks 301:19            217:8, 13, 19 219:7     229:19 230:17          CENTER 217:4
 bar 306:1, 5, 18, 22   bit 227:4 234:15         232:17 235:4           CERCLA 274:6
 barge 303:10            290:22                  237:6 240:6, 11, 12,    275:7 277:1
 Barry 217:5            BLACK 214:7             19 244:11, 16           certain 230:6
 bars 245:14             217:11 285:19           252:12 271:4            253:3 258:18
 based 229:10, 11       block 280:9              279:16 287:21           263:4 266:17, 17
 233:22 235:11          blues 228:17             290:8 296:10            284:1 291:11
 239:21 243:9, 23       bold 233:17, 22         bullet 274:18            302:1
 244:2 248:7             234:5                   275:13                 Certainly 223:3
 249:21 250:16          book 269:8 270:14       BW1 218:11               237:12 259:18
 251:5, 6, 19 252:22    bottom 225:16           BW2 218:11               264:23 283:2
 254:12 263:15           244:6 245:11, 13,       302:19 305:1, 7         284:4
 264:6, 23 274:20       17, 17 246:6, 13        BW3 218:11              CERTIFICATE
 284:23 288:1, 5, 21     247:11, 15, 21, 23     BW4 218:11               218:11, 11 311:1
 291:12 293:1            253:9 280:12           BW5 218:11 303:3,        312:1
 294:3 295:1, 18         285:7 289:20           12, 13, 16 304:22,      certify 219:3
 296:10 300:23           294:8 297:2            22 305:23                312:4, 12
 304:8                   300:18 303:22          By-Products             change 229:9
 basically 297:22        304:6 305:6             227:21 238:22           237:12 245:10, 11,
 basin 269:13 270:5      307:11, 12              239:17 265:8           12, 13, 18 246:7
 basing 228:8           boundary 227:14          283:18                 changed 230:4
 basis 227:19 232:1     box 278:16, 18, 23                               245:9 246:20
 248:16, 17 291:18       279:7, 22 280:6, 10,   <C>                      247:3, 6
 bedrock 249:4          12, 16, 20 281:1, 4,    calculate 236:2         changes 229:16
 beginning 219:8        10 283:20 284:18         292:7                   230:14 231:13
 BEHALF 217:3, 15        287:20 293:16          calculated 294:12        235:5, 21 291:5, 15
 believe 221:9           294:20 296:12           295:14                 channel 250:2
 222:17 223:15, 19      boxes 278:12            calculation 237:17      character 242:22
 225:20 231:6            279:14                  238:3, 16               290:10
 235:13 238:11          break 233:22            calculations 234:11     characteristics
 241:3 247:12            248:10 261:12, 13       235:4 239:8, 10         244:23 245:5, 7, 8,
 248:2 249:13            291:13 293:20           240:2, 7 242:3, 7,     12, 19 246:8
 258:17 262:15           300:14                 17, 19 243:7             249:11
 264:8 269:19, 20       bring 220:5              292:20 295:20, 21      characterization
 270:9 275:22                                    296:5, 5                241:23 242:20, 21
 276:3 277:15, 21

Freedom Court Reporting, A Veritext Company                                    877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 117 of 134
Lois George (Continuation)                                                             316
 check 296:5            come 234:4              computations          considered 251:11
 checked 309:2           238:10 246:19           231:20 235:12         259:21 275:14
 chemical 290:10         267:19 274:19          computer 223:5         276:4, 6, 12 277:3
 chemicals 241:21        299:3, 4               computer-aided        considering 242:22
 chemistry 243:5, 17,   comes 279:22             312:7                consistent 244:9
 20 260:16 263:17       comfortable 290:3       concedes 292:18        264:7
  264:1 265:4           coming 219:18           conceive 263:7, 11    constant 292:19
 Christina 217:6         260:17 265:5           concentration         consultants 242:5
 chronological 254:1     282:21 303:14           241:21 243:4         consulting 299:18
 circle 224:15          comment 222:16          conceptual 262:11     contain 273:14
  226:19                 224:4 231:2             283:15               contained 228:4
 circumstances           291:12                 concern 280:4         contaminant 284:2
  265:19                comments 230:3          concert 267:1         contamination
 cite 223:2 297:12       280:21                 conclude 228:10        298:15
 cited 289:10           commercial 303:1         253:7 275:23         content 296:23
 cites 236:20           Commission 253:9        concluded 260:1, 3     297:5, 8
 citing 269:21           311:17 312:18           293:7 309:10         Continued 216:2
 Civil 219:5            Commissioner            concludes 280:20      contour 230:4, 5, 7,
 clarified 233:3, 11     215:6 216:14           conclusion 234:7      8, 10, 15 234:16
 classifying 271:18      219:3                   240:5 244:5, 10       237:5 291:3
  305:18                compaction 239:4         260:22 262:20        contours 230:9
 clay 297:10            COMPANY 214:10           276:7                 285:18 286:6, 19
 Clean 259:6, 15, 16    comparable 241:11       conclusions 240:11,    287:5
  260:10, 15             266:18                 14 273:11, 15         contributing 304:20
 cleaner 255:12         compared 293:6          condition 267:13      control 288:1
 clear 233:8 238:13     comparing 229:10        conditions 239:3      controls 284:7
  289:19                 234:16, 21 236:13,      241:18 243:10        coordinates 249:22
 cleared 222:10         14 248:5 256:22          247:3, 5 251:3        300:19, 23 301:7
  280:7                  291:18                  265:2 266:20         Copeland 270:7
 clearly 285:18         comparison 235:3         301:19 306:23        copies 268:1 269:3,
 clerk 217:21, 22        286:4, 5               conductance 252:16    5 270:10
 climatological         complete 220:17,        configuration         copy 220:17, 21, 23
  239:3 265:2           20 221:6 270:23          246:20 247:11         221:6 268:4, 11, 12
  266:20                completed 247:12         306:4                 269:10, 14, 18, 20
 close 250:1 270:20      252:15 253:5           confined 252:19        270:8, 10, 14, 23
  302:20 303:16          254:3, 20, 20 255:7,   confirm 220:13         286:21, 22
  304:22 306:10         9, 21 258:11 263:1       221:9 256:23         core 299:23 303:6,
  307:5                  265:8                  confusing 279:13      17, 20, 21 304:5, 18
 closest 225:1          compliance 215:14        300:16                306:12 307:9, 14
 coal 268:7 269:7,       275:19                 connected 271:23      Correct 224:1
 13 270:5 298:18        component 237:8         connection 240:1       225:3, 4, 18 226:22
 Code 267:15             293:21 297:5            252:18 259:6, 12      227:15 231:8
  289:11                 304:23                  266:22 267:7, 16      232:15 233:18
 collective 224:3       components 297:13        277:3 292:20          235:11 250:21
 collectively 222:14    composition 306:20      consider 241:1         253:3 254:15
  224:3                 comprehensive            271:7                 257:3 266:13
 color 228:15            226:6                  consideration          273:3 277:4
 colored 286:2          comprise 304:11          238:1 241:16          278:15 281:5
 colors 228:16          Compton 299:11                                 291:14 301:17
 combination 233:19

Freedom Court Reporting, A Veritext Company                                  877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 118 of 134
Lois George (Continuation)                                                             317
  302:13 311:6         dams 263:9              Defendant 214:11        304:16
  312:8                Daniel 272:9, 11         217:15                describes 299:19
 Corrected 261:20      data 238:15             define 246:1 274:3     describing 271:18
 CORRECTION             239:22 243:22           288:10                 297:5 308:16
  310:6                 249:13, 16, 17, 18     defined 230:15         description 271:15,
 CORRECTIONS            250:4, 5, 5, 16        defining 274:9         17
  310:3 311:7           255:23 256:3, 6        delineated 228:12      design 255:8
 corrective 264:18      257:2 260:16            231:5                 designed 255:11
 correspond 230:16      262:10, 16, 19, 21     delineating 227:5       284:7
  285:18                263:15, 20, 21         delineation 225:19     detail 223:22
 counsel 215:4          265:14, 21 268:7        229:4 230:20           298:19
  216:6 219:6           271:7 298:10, 10,       231:16 232:2          detailed 239:16
  312:13               11                      demonstrate 232:14      300:2
 counter 276:19        date 219:4 239:18       depend 245:22          determination
 COUNTY 312:2           308:20                  306:7, 14, 16          307:22
 couple 271:19         dated 270:22            dependent 265:2        determinations
 course 243:22          311:21                 depending 246:11        238:7, 23
 COURT 214:1, 21       David 217:22             304:21                determine 293:5
  215:15 219:2, 14     DAVIS 217:16, 17        depends 265:18          297:9 300:21
 cover 288:14, 15       219:16 222:12           289:5, 8              determining 234:23
  289:3                 238:17 242:11          depicted 226:21        developed 283:14
 Covered 234:15         245:1, 20 246:9, 15    depicts 227:11          304:3
  285:2                 251:12 253:15, 18       286:16                development 303:2,
 covers 288:18          254:7, 16 255:4, 13    DEPONENT'S             6 304:17
 Crest 214:22           256:8, 14 257:16        218:11 311:1          Diab 217:22
 criteria 277:14        259:8, 17 260:18,      deposit 246:5          diagrams 247:18
 criterion 276:4, 15   21 261:2, 10            deposited 294:13       difference 234:23
  277:1, 18 278:4       263:19 264:11, 20       304:10                 235:22 237:4, 14
 criticism 231:2        265:6, 16, 23 266:4,   DEPOSITION              256:10, 12 257:10
  242:10, 19 244:21    10, 15 268:11            214:13 215:5, 11,      291:2, 21
  285:11                275:16 276:16          13 216:9, 13           differences 234:22
 criticisms 222:11      277:5, 19, 23           219:19 221:5           235:15 243:8
  242:14                281:14, 22 282:12,      229:19 301:4, 5, 6    different 230:17, 19
 critique 235:2        15 283:9 284:10,         304:14 306:10          234:18 235:9
  276:9                22 292:16, 22            309:9 312:5            236:1, 15, 16 237:9
 cross-section          293:13 295:5           depositions 215:16      239:2, 3, 4 241:4
  285:20 286:8          296:7 297:3 298:3      deposits 245:14, 16,    256:6 259:10
 crunch 244:1           300:3, 8, 13 301:10    23 246:18, 19           267:3 286:2
 CSR 214:20 219:1       305:7 309:8             247:15 306:2, 3, 3,    291:19 295:22
 cubic 235:15, 22      day 215:8               7                       306:19, 20
  237:15 293:9         days 239:5              depth 247:10           differential 238:3
  294:1, 12 295:13     deal 220:6               303:21                 292:4, 5
 current 285:5         deals 221:1 273:18      derive 292:12          digital 270:9
 currently 248:23      decisions 255:22        derived 286:11         digitize 237:10
 cuttings 299:16        262:12                  291:20                digitized 223:16
                       decreased 247:7         describe 298:20, 21,   Dillard 217:10
 <D>                    248:3                  22 299:20              dimension 223:14
 dam 239:13, 14        deep 307:9              described 223:22       Dimova 249:20
 302:21 305:10, 15     deeper 306:18            236:15 249:17          272:3 300:16
                                                                       308:13

Freedom Court Reporting, A Veritext Company                                  877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 119 of 134
Lois George (Continuation)                                                              318
 Dimova's 249:20        documents 278:3       either 246:18            Eva 217:10
  250:5 271:23          298:12, 13, 13         279:16 285:15           evaluate 262:11
  296:20 297:14         299:7                  308:18                  evaluated 262:5
  301:5 304:13          Dowdy 214:20          Elements 269:7           events 242:23
 direct 273:19          215:6 219:1           elevation 229:9           285:3
  279:18                312:17, 18             231:13 234:22, 23       evidence 216:9
 disagree 282:2         downloaded 270:10      245:11, 13 287:6        evident 282:19
  283:6 284:21, 23      downstream             291:21                  exactly 233:8
  291:16                250:17 252:6          elevations 229:5         EXAMINATION
 discharge 241:22       289:21 290:11          239:15                   218:3 219:9, 17
  243:5 252:9           300:21 301:21         else's 278:13, 17         299:9
 discharges 251:22      303:12 304:9          endeavored 238:4         examined 219:13
  263:23                Dr 249:20, 20         ends 227:13, 17          example 299:13
 discharging 241:6      250:5 296:20          engage 283:22            exception 296:11
  243:3                 297:14 301:5          entire 250:2 273:4       exchanging 267:23
 discuss 298:14         304:13 308:13          276:1                   excuse 258:21
  303:1                 draft 271:9           entirety 278:22           273:7
 discussed 220:6        drafting 261:23       environment              Exhibit 218:8, 8, 11
  222:18 224:19, 21     270:1                  251:18 275:19            220:11, 11, 14, 15
  233:2                 draw 227:16           ENVIRONMENTA              221:5, 18 227:22
 discussing 259:12      drawing 227:2         L 217:4                   229:18, 22 236:5
 discussion 221:20      drew 231:5 232:14     EPA 271:12                239:11 256:18
  226:15 259:5, 7       drill 239:19 299:15    274:21 298:13            258:9 260:6, 7
  273:12, 14 290:20     drilling 238:9        equally 302:11            270:21 279:2, 5
 discussions 245:6      Drive 214:22          eroded 231:21             290:8, 11 301:4, 5,
  259:19                drop 304:21            235:7 238:11            12
 disparity 257:15       DRUMMOND               239:2                   Exhibits 231:10
 display 291:4          214:10 244:19         eroding 248:23           existing 239:15
 disposal 238:20        254:10 274:15         erosion 224:16            285:17 286:3, 12,
  247:6 253:6           Drummond's 242:5       225:2, 2, 7, 13         16
 dispute 294:2, 4, 13   duly 219:12            226:2, 3, 3, 5, 7, 9,   experience 222:1
 distinction 224:19                           11, 21 232:9              274:21 297:18, 23
  238:8                 <E>                    235:13 239:1, 5         experiment 263:3
 distinguish 297:1      earlier 232:14         247:7 248:2, 13         expert 220:11
 distribution 305:20     254:12 270:22         249:4, 5 284:20          221:7 251:15
 DISTRICT 214:1, 2       291:2 295:8, 10       289:3 292:8, 19         expertise 222:1
 disturbance 303:9       299:8                ERRATA 218:11            EXPIRES 311:17
 ditch 256:5            early 239:10 247:2     310:1                    312:18
 DIVISION 214:3          283:18 291:17        error 229:4              Explain 234:14
 document 253:17        Earth 288:8, 8, 18    escarpment 232:10         241:2 245:3 266:9
  254:2 260:5, 6         297:5 301:1          essentially 244:8         278:20 285:10
  267:3 268:16, 18      easier 221:2          establish 255:11          287:10 303:5
  271:13 274:22         easiest 289:23         307:19                  explained 277:11
  275:5, 7, 17 277:1,   east 256:5            established 290:19       explanation 232:17
 12, 13 278:9           edge 245:14           estimate 239:21           287:17
  286:10 299:15, 17     effect 215:13         estimates 238:7          exposed 249:4
  300:2                 efficient 219:21       296:13                   285:4, 4
 documented 252:12,      249:10               estimating 296:1         expressing 242:14
 14 260:4               eight 267:8 270:16    estimation 307:23        extended 303:23
                         285:11, 14 299:2

Freedom Court Reporting, A Veritext Company                                   877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 120 of 134
Lois George (Continuation)                                                              319
 extent 224:11          filing 216:13           248:23 249:2            282:10 283:5
  225:19 230:6, 20      fill 241:15             250:3 251:22           fuzzy 227:4
  260:21 264:21         final 267:19            252:16, 20, 23
  274:9 275:16          find 221:16 268:2       290:13 307:7, 8, 18,   <G>
                         309:2                 21                      gain 293:22 294:10
 <F>                    finding 233:20         form 216:6 222:12       gallons 243:16, 19
 facility 303:8, 11     Findings 233:15         238:17 242:11          gas 298:17 299:19
  304:7                 fine 220:15             245:1, 20 246:9, 15    gathered 257:18
 facing 300:21          finish 219:19, 20       251:12 253:15          gathering 298:10
  301:21                finished 249:19         254:16 255:4, 13       general 296:22
 fact 241:8 251:6        261:7 287:16           256:8, 14 257:16       Generically 284:12
  254:1 262:9 280:5      298:1, 6               259:8, 17 260:18       Geologic 270:8
  281:15 282:2          first 219:12, 20        263:19 264:11, 20      Geological 268:8
 factual 220:5           220:11 222:16          265:16, 23 266:15      geologist 253:13
  248:17                 226:1 230:8 231:2      281:14, 22 282:12      Geology 299:11
 fail 276:14             232:7 233:7 235:1,     283:9 284:10, 22       Geomorphology
 failed 241:1           12 237:8 261:15         292:22 293:13           270:13, 19
 fairly 264:7            268:6 270:7            295:5 296:7 297:3      GEORGE 214:15
 familiar 227:7, 7       272:18 273:10, 18     formats 298:11           215:5 218:8, 10
  262:2 282:23           279:22 284:1          formulating 261:22       219:8, 11, 18
  308:5                  291:13 293:22          276:7 278:11            261:14 311:4, 13
 far 225:20 227:11      fit 236:1              formulations            gesturing 225:15
  303:22                five 224:6 237:13       263:13                 give 261:3, 4
 feasibility 267:5       240:4 287:19          forth 258:16 291:1       268:12 291:19
 feature 304:19         flat 263:9 286:8       forward 243:23           300:5 307:10
  305:5                 flawed 240:12, 14       255:17 262:3, 10       given 238:1
 feel 290:3             Floor 215:7             275:23                  249:23 260:16
 feet 237:13 298:18      217:18 219:7          Foster 242:4             312:9
  304:2, 6              FLORIE 217:16          Foundation 245:21       giving 248:12, 22
 felt 241:17            flow 240:6 241:4,       251:13 254:17          glad 268:10
 field 272:19, 22       21, 22 242:16, 19       255:5, 14 256:9, 15    glasses 223:9
  298:21 299:11          243:9, 16, 18          260:19 264:12, 21      go 220:4, 12
 Figure 222:5, 7, 11     244:22 245:5, 7, 8,    265:17 266:1, 16        221:15 235:19
  224:10 225:9          12, 18 246:7            267:17 283:10           237:22 241:13
  227:22 228:1, 9        249:11                 284:11 296:8            253:21 260:2
  229:13 230:1, 14,     flows 241:9 245:10     four 221:18 232:6        261:4 278:8
 17, 18 231:3 285:8,    focus 220:3             283:20                  305:14 306:15
 12, 21 286:1, 12, 20   following 219:10       fourth 271:2             308:23
  287:7 290:6, 7        follows 219:13         frame 253:23            GOB 224:11, 16
  293:11 294:2, 14,      301:18                Freedom 214:21           225:3 226:2, 6, 10,
 16, 18 295:13          follow-up 249:6        front 220:10 221:4      20, 23 227:5, 10, 17
  300:17                footprint 231:6, 17    fulfillment 258:12       230:20 231:6, 17
 figures 221:8, 8, 11   force 215:13           full 215:14 291:1        232:2 234:11
  222:3 224:3, 7        foregoing 219:5        fully 232:4              237:18 256:5, 7
  228:5 230:23           312:4, 8              FURTHER 215:10           260:17 265:5
  231:10, 15 257:5      Fork 225:11 226:8       216:4, 12 265:7         282:21 283:23
  291:5 292:13           232:10 241:7           312:12                  284:20 292:19
  294:20                 242:2 243:3           future 259:5, 15, 19     295:15 297:7
 file 265:5              245:18 246:7, 14,      260:15 264:9, 18       goes 225:20 230:13
                        21 247:11, 16

Freedom Court Reporting, A Veritext Company                                   877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 121 of 134
Lois George (Continuation)                                                              320
 going 220:10, 22       help 223:17             indicate 227:1          10
  237:21 242:1          Henry 269:12             228:16 229:5           intended 233:21
  256:21 259:3          hiding 294:15            246:23 247:19          interested 312:14
  264:17 265:1, 4       historical 306:5         248:19 269:22          intern 272:15
  274:8 278:21          historically 288:20      288:23 300:20          interned 272:13
  283:22 295:7          holes 239:19             302:16 306:9           interpret 224:12
  301:3, 4 308:23       hone 267:5              indicated 223:16         298:21
 Good 280:8 286:9       honest 256:3             239:19 252:7           interpretation
 Google 288:8, 8, 15,   Hoover 214:23            254:2                   221:20 229:15
 18 301:1               hope 221:14             indicates 244:16         235:23 293:1
 grab 287:3             human 275:18             246:17 251:7            298:10
 grain 296:23           hundred 237:14           275:6 299:14           interpretations
  297:4, 8 304:22       243:19                  Indicating 227:18        240:11, 13
  305:20 306:19         hundred-year            indication 285:3        interpreting 222:19
 graph 292:4, 6         307:10                  indicative 250:2        interval 230:4, 5,
 gravel 297:10          hydrologic 240:6        individually 222:14     10, 15 237:5
  305:17                                        indulge 285:13          intervals 234:16
 grays 228:17           <I>                     industry 297:20          291:4
 Green 273:8            idea 300:5               298:17, 18, 18         introduction 281:3
 ground 238:9           identification           299:18, 19             investigation
  288:14, 15 289:3       229:23 279:3           inflow 304:19            252:15 266:21
 grounds 216:8           301:13                  305:5                   267:18 272:20
 guess 226:14           identified 267:8        inform 253:13           investigations
  230:22 244:18         impact 243:19           information 235:20       247:12 255:8, 10,
  250:11 253:1           251:7, 10, 21 252:6,    236:7, 18 237:7, 20    15, 16 267:4
  268:3 282:16          21 290:11 303:6          238:12, 15, 20         iron 257:6, 8
  283:11                 304:17, 18              244:3 246:2, 16        issue 222:10
 Guidance 261:20        implementation           247:8 249:14            231:16 237:11
  262:14 266:22          277:2                   251:7, 14 252:4, 5,     241:13, 20 253:14
  267:2 271:12          implication 277:9       6, 13, 23 257:17        issues 220:5 259:6
  274:21 275:5          improve 264:9, 17        269:23 270:3            260:15
  299:7, 9               265:4                   271:8 274:14           italics 278:19
 guide 255:17           improved 263:17          275:22 278:11, 16,      279:17
 gullies 225:10, 13      264:2 265:14, 21       22 279:14, 21           item 261:19
  232:8                  266:12                  292:7 293:7, 7         items 274:19
                        inaccurate 230:10        298:22, 23 302:10       276:3 297:17
 <H>                     286:17                 infrared 228:15         its 239:7 240:1
 half 296:14            include 228:13          initial 224:22           242:21 278:22
 halfway 269:12          238:21 284:1            230:12
 hand 287:4             included 233:9          initially 255:16        <J>
 handing 279:4          including 275:9         in-place 283:15         JEFFERSON 312:2
 handling 241:16        incorrect 232:3         inshore 251:9           job 261:7
 harm 252:20            incorrectly 231:4       inside 278:12, 16       Johnson 240:10
 heading 273:12         increased 265:10,        279:7, 22 280:6, 10,    241:3 242:16
 headings 233:23        22 266:12               16 281:1                 250:18 271:4
 health 275:19          increasing 265:15       instance 274:6           275:15, 20 277:16
 hear 298:3 305:7       independent             instances 279:20         279:16, 19 280:13
 hearing 312:10          237:16 295:20          Institute 308:9          284:19 286:14
 held 226:15 290:20      296:4, 16              instrument 223:9,        287:11 289:10


Freedom Court Reporting, A Veritext Company                                    877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 122 of 134
Lois George (Continuation)                                                              321
 Johnson's 218:10      274:9                   245:18 246:7, 14,      Lynn 247:9
  240:13, 20 275:17   leave 257:15            20 247:11, 16
  278:23 279:9, 23    leaving 252:9            248:23 249:2           <M>
  280:5 281:11         260:14                  250:2 251:22           ma'am 219:16
  282:14 283:21       left 300:6, 20           252:16, 19, 23         macroinvertebrates
  296:1                301:21 302:5, 12        290:13 307:7, 8, 17,    251:10
 Jorge 217:21         legal 254:13 255:2,     20                      magnitude 256:13
 June 214:17 215:8    7 257:18 260:20,        logging 299:15           257:11
  219:7               22 261:3                LOIS 214:15             Maher 299:10, 14
                      legally 254:14           215:5 219:8, 11        Maher's 300:2
 <K>                  legend 224:13            311:4, 13              maintenance
 Key 244:11, 14, 17    230:16                 longitude 249:22         282:10, 13, 16, 19
 Kimberly 214:20      level 306:8             look 220:13              283:4 284:8
 215:6 219:1          liability 260:15         221:15 223:11          majority 248:19
 312:17, 18           library 269:20           225:11 229:20, 21       288:12, 12
 kin 312:13           limited 239:11           236:5 238:19           makeup 289:8
 kind 283:15           249:2, 21 252:3         242:7 252:4            making 268:1
 knew 259:23           288:22                  256:16 258:1           Manual 261:20
 260:10               line 227:16 231:18       270:18 286:21           262:7 266:22
 know 222:7            285:17, 19 310:6        288:19 294:22           299:9, 12
 229:20 245:4         lines 224:21             303:17 307:16          map 224:21
 249:6, 12 258:5       225:14, 16 286:2, 2    looked 220:14            228:20 229:11
 259:10 267:10         291:3                   223:4 234:4             230:2, 11 234:17,
 272:3, 5, 9, 11      list 261:19 267:14       246:16, 22 247:8       18, 20 235:10
 274:23 276:6, 11      274:12, 18 275:1, 6,    252:8, 11, 12           270:8 285:16, 20
 286:18 289:15        9, 12 278:9 297:16       255:23 256:19           286:6 290:1
 292:10, 16 302:1      299:2 308:2 309:1       263:15 268:20          mapping 223:20
 303:19, 21 308:7      310:3                   269:22 270:22           227:20, 21 239:16
 knowledge 248:8      listed 268:2             271:12, 13 288:20      maps 221:21
 308:19 311:7          275:14 277:1            291:6                   222:19, 22 223:16
                       278:4 295:9 299:2      looking 221:10           229:5, 10 230:3, 5,
 <L>                   311:8                   224:10 228:1, 10       7, 8, 8, 12 235:23
 labeled 286:7        liter 257:8              231:3 232:6             236:14, 15 237:2, 3,
  287:5               literature 292:10,       249:13 258:9           4, 9 239:15 291:3,
 laboratory 257:5     11                       268:15 271:8           19, 22 301:2
 land 286:5 287:4     little 227:3 234:15      288:17 290:4           March 312:20
  299:20 303:9         279:12 290:22           294:17, 18, 19         mark 226:12
  304:4               live 251:18              298:17 299:13           229:18 301:4
 landfills 289:11     LLP 217:16               305:19                 marked 221:5
 language 232:11      loading 303:11          looks 223:10             229:17, 23 279:3, 5
  241:7 283:21        locate 270:7             233:16 271:16, 19       286:22 301:13
 large 303:9          location 264:14          308:2                  material 237:18
 larger 223:10         300:19 305:10          loss 235:21 291:18,      239:20 246:6
  270:11               306:18 307:5, 15       20                       247:15 251:3
 lateral 306:1, 3     locations 225:10        lot 248:9 255:12         259:4 282:9 285:5
 latitude 249:22       249:23 266:17           259:10                  289:13 293:8, 23
 LAW 217:4, 21, 22     290:3                  Lots 289:8               295:15 296:2, 14
 laws 215:14          Locust 225:11           low 263:8                297:1, 9 299:22
 leading 216:6         226:8 232:10           lower 229:1 239:13       305:18
                       241:7 242:2 243:3

Freedom Court Reporting, A Veritext Company                                   877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 123 of 134
Lois George (Continuation)                                                           322
 materials 245:17     million 293:8         natural 225:13         301:12 304:8, 10
  246:13, 22 272:18   294:1, 12 295:13       226:3 232:9           numbered 234:6
  297:6 303:12        mind 286:22 299:3      244:20 245:23         numbers 234:3
  308:17, 17          Mine 244:19            246:18 249:4          236:3 285:15
 Maxine 238:19        246:6, 14 248:22       251:2 265:3, 7        286:19 287:14
  244:19 251:22       251:23 252:9           267:13 307:7          294:23 296:6, 9
  262:16 263:7        262:16 284:14         naturally 264:9        numeric 237:19
  275:11 277:3        mineral 298:18        nature 272:21          292:5
  283:16 289:16       minimize 284:7        near 225:16 226:7      numerically 291:20
 McCalley 269:13      Mining 253:8           235:21 294:8          numerous 240:16
 mean 223:7           269:7 293:23           304:4, 10, 19
  228:20 245:3, 8     minute 243:17, 19     near-shore 251:9       <O>
  249:14 263:2        256:21                necessarily 267:21     oath 219:12
  268:14, 15 274:3    minutes 300:8          306:22 307:15         Object 222:12
  290:12 295:3        mitigation 251:4      necessary 216:5         238:17 242:11
  305:17 306:2        mixing 252:4          need 221:13             245:1, 20 246:9, 15
 means 245:5          290:19                 226:12 229:20          251:12 253:15
  246:2 285:11        MO3 239:14             254:8 262:10, 15       254:16 255:4, 13
  308:7 312:7         model 243:18           284:8 287:13           256:8, 14 257:16
 meant 224:16         262:11                 300:6 307:19           259:8, 17 260:18
  225:2 233:9         modeled 243:14        needed 298:20           263:19 264:11, 20
  282:19              modeling 237:7        neither 312:12          265:16, 23 266:15
 measure 238:9        243:22                net 235:21 291:18,      275:16 276:16
 measured 247:10,     Monday 220:15         20 293:8, 22            277:5 281:14, 22
 23                   253:18, 19 254:7, 8    294:10                 282:12 283:9
 measurements         255:23 256:19         nine 274:19             284:10, 22 292:22
  256:11              261:4 273:8            275:13 277:1           293:13 295:5
 measuring 263:23     monitoring 255:19      293:9, 17              296:7 297:3
 memory 271:13        282:13, 17, 20        NIST 308:5, 7, 12      objection 261:2, 5,
  276:18              283:5 284:8           non-native 297:1       10 277:19 278:2
 mention 259:15       month 253:21          nonnatural 245:17       282:15
  274:2               months 272:15          246:5                 objections 216:5, 7
 met 272:4            Montiel 272:10        north 227:13            265:6
 method 281:17        morning 221:6         NORTHERN 214:2         obligated 254:14
 methodical 277:14    morphological         Notary 219:2           obligations 259:6,
 methodologies        301:19                 311:16                16, 19
  222:23              move 227:11           notice 216:13          observations
 methodology 222:6,   255:17 262:3, 10       258:17                 248:18 250:7, 8, 9
 17, 18 236:11, 12    270:21 275:23         notices 254:21          284:23
  242:10, 15 243:12   moved 296:2           NOV's 255:18           obstruction 249:15
  292:12              moving 230:6          NUMBER 214:5           obstructions
 methods 289:12       240:23                 229:22 234:4, 6        246:17 247:19
 Metzger 269:17                              235:9 236:1 240:5,    obviously 248:7
 middle 250:12        <N>                   8, 9, 23 244:1, 6, 9    251:17
  258:1 267:12        narrow 299:1           249:21 250:12         occur 241:19
  302:23              narrower 274:12        252:19 253:2           260:13, 23
 migration 284:2      290:22                 267:10 268:17         occurred 241:18
 milligrams 257:8     National 308:9         271:14 279:2           261:9 265:8
 millimeter 305:21    native 297:1           291:22 292:4           307:14


Freedom Court Reporting, A Veritext Company                                877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 124 of 134
Lois George (Continuation)                                                             323
 October 244:16          266:23 267:8            296:12, 19 297:12    PELA's 250:4
  258:2 275:4 290:8      270:17 273:11, 15       299:13 300:18         252:14 263:16
 offer 295:7             275:15                  302:11, 16 303:1      280:1
 offered 216:9          opposed 255:2            310:6                perform 239:7
 offering 234:8          283:7 297:10           PAGES 214:16          performed 242:4
 Oh 269:4 300:1         opposite 301:8           262:7 268:16, 17      308:14
  305:4                 option 280:18            287:12               period 272:14
 oil 298:16 299:19      oral 219:9              pair 223:9             294:11
 Okay 223:21            order 238:23            pairs 223:12          permanent 281:12,
  224:23 225:23          253:8, 12, 23          paper 223:5           21 282:5
  226:17 227:1           254:21 262:3            270:10               permit 254:22
  229:17 231:1, 22       291:23                 paragraph 232:7,       260:8
  233:6, 21 237:21      orders 256:12           19, 20, 22 258:1      Permitting 258:20,
  240:15 246:4           257:10                  271:2 273:20         23 259:1
  247:20 248:11         organisms 251:10,        289:20 290:9         personal 269:4
  250:15, 23 252:18     18                       294:9 302:23         pertains 253:2
  257:20 267:14         original 230:18         parallel 225:14, 15   pertinent 231:10, 15
  268:13 269:6           235:4 270:10            306:4                photo 225:17
  279:5, 9 280:8         294:23                 paraphrase 250:21      228:1, 2 235:10
  284:6, 18 285:7, 23   outlined 224:11          279:19                288:16
  287:16, 19 298:2       225:6 226:8            paraphrasing          photograph 225:5
  299:6 302:10           232:23 233:1            250:15                227:3 228:14, 15
  305:23 309:7           274:6 292:23           part 223:17           photographs
 Oklahoma 299:16         298:12                  225:16 236:7          223:23 228:3, 4, 8,
 old 285:11, 14         outlines 222:20          240:7 258:13         11 250:8 288:5
 older 229:10           outside 225:3            267:11 269:22        photography
  285:14                 226:10, 19              273:22 279:10         221:21 222:22
 ones 273:16            overhead 288:15          280:14 282:4          223:2, 12, 12
  274:12 277:22         overlaps 223:13          293:18 304:11         227:20, 23 248:19
 ongoing 284:8          overlaying 234:21       particular 222:3,      288:2, 7, 17, 22
 online 268:3 309:2                             23 228:22 262:6        302:17 304:8
 onshore 303:1, 6       <P>                      267:9 270:17          306:1, 5, 8
 opened 244:15          p.m 219:8 261:13         279:10               photos 222:6
 operations 244:18       309:10                 particularly 228:14    303:17, 20
 opining 252:20         PAGE 218:3               307:5                physically 244:19
 opinion 227:19          221:18, 19 232:6       parties 215:4         picture 307:10
  230:7 233:18, 20       236:6 240:4 244:6,      216:7 312:13         pile 224:12, 16
  234:7 240:5 241:8     11, 15 250:12           parts 270:4 293:21     225:3, 20 226:20,
  242:12 244:5, 10,      253:10 257:22          party 267:21          23 227:10, 17
 11, 14, 17 248:12,      258:1 267:11, 12       pathway 284:3          228:13, 16 229:1, 4
 22 250:11, 16           268:6, 15 269:12       pathways 284:5         230:20 231:6, 17
  251:19, 20 252:19,     270:6 271:2, 19        pause 300:3            232:2 234:11
 22 253:2, 13 261:3      275:4 278:18           peak 241:9             238:4 246:19
  267:11 276:12          280:10, 12, 13, 21     PELA 239:7 240:1       249:3 256:6, 7
  281:18, 23 282:7,      281:3, 3, 5, 7, 10      247:1 248:8           260:17 263:18
 18 283:12 284:16        283:20 284:19           249:18 256:20         264:1, 4, 17 282:21
  287:23 289:2, 7, 9,    285:7 287:19, 20        259:20 269:19         283:23 284:20
 17                      288:9 289:20            270:21 272:13         289:1 295:15
 Opinions 233:16         293:9, 15, 16 294:8,    290:19               pilot 262:23 263:3,
  240:12, 13 261:23     9, 21 295:23                                  10

Freedom Court Reporting, A Veritext Company                                  877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 125 of 134
Lois George (Continuation)                                                            324
 pine 285:2, 2, 4        potentially 239:1     progress 260:8         264:15 265:21
  289:4                   303:13               progression 288:21     266:3, 5, 11, 14
 pink 228:15             potentials 241:4      projects 272:7, 12     276:20 277:21
 pinpoint 268:22         Practical 269:7       promise 220:1          278:1, 10 290:23
 Place 215:7             preceding 309:9       property 282:11        294:9 295:6, 18, 22
  217:18 219:7           precise 295:4         proposal 283:15        299:1
  282:22 283:7, 13,      precisely 305:9       protocols 297:20      questionable 235:1
 23                      precision 234:22      298:9                 questioned 222:5
 placed 231:20           preferable 308:12     provide 246:2         questioning 236:19,
  235:6 238:22           pre-law 237:18        255:17 268:11         23 237:2, 5 244:22
  239:1 295:15            254:11 255:12        278:1, 2 309:4        questions 216:6
 placement 292:19         256:5 257:3          provided 219:4         222:11 242:15
 Plaintiff 214:8          263:17, 21 264:17    235:20 236:7           261:18 312:6
  217:3                   265:5                239:17 255:21         quick 261:12
 Plaintiff's 218:8, 8,   pre-mining 293:6      260:5 273:8           quote 281:12
 11 229:22 279:2         prepare 273:4, 9      provision 267:15       284:19 290:10
  301:12                 prepared 234:17,      provisions 289:11     quoted 280:16
 play 270:16             19, 20                proximity 303:2        281:11 283:21
 please 244:7            prescribed 289:12     305:16                 284:18 293:9
  256:17 257:22          PRESENT 217:21        Public 219:2           295:23
  310:3, 4               presentation 230:9    268:10 311:16         quotes 279:18
 plot 301:7              presented 253:14      publically 309:3      quoting 278:12, 17
 plotted 305:13           277:15               publication 268:9      279:11, 23 280:2
 plotting 301:1          press 300:9           publicly 267:23
 point 226:14            Pretty 267:1          268:2                 <R>
  231:11 233:21           300:10               published 235:10      rain 241:10 285:3
  243:2 244:4 248:3,     previous 294:9        pull 279:1 287:13     rainfall 265:2
 5 274:18 289:10         previously 229:18     purely 236:3 244:2    rate 235:13
  290:16 292:2           principle 296:22      purpose 271:3          241:22 248:2, 12
  305:5 307:3            Principles 270:13     put 220:10, 22         292:8, 9
 pointing 279:6          prior 216:9           226:4 234:3           rates 239:4 292:19
  285:21                 Pro 288:8             243:23 262:10         rationale 281:11
 points 264:7 266:6,     probably 233:19       276:8, 9 277:8, 10    RCRA 274:7
 18, 19 275:13           problem 274:9         279:6 280:10          read 219:15 234:2
  291:11 292:5           problems 281:21                              244:21 258:5, 6
  301:8                  Procedure 219:5       <Q>                    275:15 276:23
 pollution 282:21         243:12               quality 241:5          301:10 311:5
 pond 229:1              procedures 274:5,      247:9 251:16, 17,    reading 215:11
 portion 235:1           7, 8 297:20 298:16,   19, 21 252:13          236:10 247:17
  259:4 280:17           19                     256:20                257:7
 portray 224:16          proceedings 219:10    quantitatively        really 220:3 238:1
  230:11                 process 223:17         249:9, 12             239:6 254:12
 positive 280:2           267:18               quantity 249:10        262:9 265:20
 possible 238:2          processes 265:3       question 220:1         266:3, 4 272:5
 post-law 237:18         processor 273:7        223:18 231:12, 23     283:11 289:7
  254:10 255:11          Professor 272:3        232:23 236:11, 12,    305:9
  256:7, 23              profile 307:15        14 240:18 244:17      reason 257:13
 potential 242:1         program 263:10         246:5 248:21          264:8 277:7, 8, 10,
  274:11 304:16, 18       283:23 288:20         249:6, 20 257:21     10
                                                259:9 260:23

Freedom Court Reporting, A Veritext Company                                 877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 126 of 134
Lois George (Continuation)                                                               325
 reasons 254:13           288:9 299:17          relevance 299:23        13, 17, 23 279:1, 4,
  255:2, 3, 6, 7 294:5    308:2 309:1            304:17 306:12          10, 15, 16, 18, 23
 rebuttal 220:16         References 261:16      relevant 277:9           280:1, 10, 17
  222:21 223:15           267:20 268:1           302:8                   285:16 287:19
  224:18 229:14, 19       271:14 299:10, 11,    relied 240:20            290:8 293:10
  233:3, 11 235:5        14                     relies 240:10            294:19, 21 296:1
  236:4, 6 270:21        referencing 290:6      rely 270:1               297:12, 14 298:15,
  271:5, 9 273:2         referred 221:8         remaining 296:14        23 300:16, 19
  279:1, 4, 10, 15, 23    241:4 297:6 302:9     remedial 264:10          301:1, 9, 11, 16
 Rebuttals 218:8, 10     referring 245:6         274:11                  304:1
 recall 222:9 227:6       251:1, 15, 16         remediate 262:12,       REPORTED
  239:17 247:17           264:13 280:13         20                       214:19
  261:6 289:13, 14        283:3 289:22          remediation 250:18,     REPORTER
 reclamation 255:20       290:15 299:8          23 262:4, 17, 18         218:11 219:2, 14
 recognized 223:1         302:4, 6 303:8         265:9 266:21           REPORTER'S
 recollection 239:9      refers 258:8            267:6, 6, 19 281:16     312:1
  259:5, 22              reflect 230:2           296:3                  Reporting 214:21
 recommend 262:22        reforested 288:3, 11   remedy 274:10            298:11
 recommendation          refresh 271:13          277:3                  reports 220:4, 9
  275:21                 refuse 225:19          remember 219:23          251:15 260:8
 recommended              228:13, 16, 21, 23     221:10 259:18           271:5, 8
  250:18                  246:19 249:3           261:8, 11              represent 226:11
 recommending             251:3 276:1 285:5     removal 251:3           representation
  281:17                  289:1                  280:17 281:12           241:18 307:12, 13
 record 223:6            regard 229:2            282:3, 9 283:4         representative
  226:16 228:7            285:12 305:23         removed 276:1            306:23 307:6, 17,
  261:14 290:21          regarding 222:16        281:20 296:15          20
  294:16                  230:3 242:12           303:9                  represents 231:19
 red 224:11, 15, 20       247:6 259:11          removing 284:15          312:8
  225:17 226:19           267:12 270:19         repeat 220:1            reprint 269:16
  227:4 228:15            271:14 273:20         report 218:8, 10        reproduction
  230:21 231:18           281:18                 220:11, 16, 23          269:15
  232:18 233:1, 2, 8     regardless 291:4        221:1, 7, 9, 10        request 309:3
  293:1                   293:20                 222:4, 8, 9 223:15     require 274:10
 redevelopment           regraded 286:3          224:22 229:14, 19      required 267:4
  267:15                 regulators 259:13       232:7 233:2, 4, 12,    requirement 267:18
 reduce 282:10           regulatory 253:3, 4    14 234:2 235:4, 5,      requirements 254:4,
  283:4                   254:3, 13 255:19      14 236:4 238:5          22 255:19 257:19
 refamiliarize 270:4      257:18 259:7           240:5, 17, 17 241:7     258:12, 15, 20
 refer 221:2 224:2       reincorporating         244:16 245:6            259:1, 7, 13 283:5
  229:13 239:11           281:9                  252:12, 14 253:2       research 272:7
  280:21 285:8           reiterate 254:8         256:20 257:17, 23      residence 241:9
  286:2, 3 287:20        relate 241:5 285:16     258:2, 8 259:4         respective 215:4
  289:20, 23 308:3       relates 234:10          261:15, 23 262:8       respects 277:17
 reference 223:2          244:11                 266:23 267:16          response 222:9
  230:22 231:9           relating 215:15         269:13 270:2, 17,       223:3 224:19
  253:8 254:1 259:3      relation 286:8         21, 23 271:3, 9          280:23 291:3, 6
  272:17 275:1, 6, 18    relationship 306:11     272:1, 18, 19 273:2,    295:12
  277:12, 18 286:9       relative 241:16        4, 9, 10 276:14, 16,    rest 302:8
                          247:21 305:10         23 277:5 278:11,

Freedom Court Reporting, A Veritext Company                                    877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 127 of 134
Lois George (Continuation)                                                             326
 restoration 250:13     river 225:1 245:15,     250:16 251:4           242:3 253:10
  267:13 273:19         17 290:16 297:2         275:10 291:8           258:13 260:16
  276:13 283:22          300:21 301:9, 21       293:22 296:13          263:4 273:22
  284:4                  303:22 304:6           302:11 305:4           280:14 285:8
 Restoring 251:2         305:5 306:8, 23        306:21 307:4, 4        287:14 291:1
 result 232:9 242:6      307:11, 12, 16        says 232:8 240:16       300:17
  312:14                riverbank 307:6         245:7 258:11          seen 305:15
 resulting 236:16       RIVERKEEPER             268:6, 14 273:12      segregation 254:9
  237:2, 3               214:7 217:11           275:23 281:12         selection 267:6
 results 225:6          riverside 226:20        283:21 284:6, 19       274:14
  236:14 244:2          rock 247:6 253:5        300:19                sentence 232:8
  252:8 266:12, 19       271:14 305:18         scale 234:18, 19, 20    274:2 278:19, 20
  267:19                RPR 214:20 219:1        236:16 237:9           279:22 280:5
 resumé 220:8            312:18                 305:20                 293:19 294:10
 retention 242:23       rules 215:15 219:4     scenarios 283:16        301:11
 retrieve 299:20        runoff 241:2, 10        296:3                 separate 233:18
 revegetation 265:7      254:10 255:11, 12     scientific 248:17      separately 311:8
  288:21                 256:4, 7, 22 257:2     253:14 255:2, 8       set 258:15 271:3
 review 222:6            264:4, 16 265:1, 1,    257:13 274:13          308:11
  223:1 255:22          5                       308:9                 seven 257:22
 reviewed 223:23                               scope 274:10           Shady 214:22
  251:14 302:16, 18     <S>                    scoping 274:2          shape 247:22
  304:13                sample 243:1, 4, 9,    screen 274:11          SHEET 218:11
 reviewing 289:13       16 249:23 299:9        screening 274:2         310:1
 revised 294:23          300:19 301:8          seams 270:5            shift 292:1
  308:21                 302:14, 20 303:7,     Second 217:7           shore 304:11
 revisions 229:15       11 304:5, 12, 18, 23    220:12 230:7          shoreline 250:1
  230:2                  305:10 306:13, 16,     231:4 232:8 234:7     shorter 304:2
 Richard 217:17         21 307:5, 9, 17         235:3, 14 248:21      show 225:2 256:21
  268:5 309:4           sampled 249:21          258:4 261:19           291:21 301:3
 ridge 225:12, 12        290:17 305:16          272:19 273:20         showed 227:22
  226:19                samples 251:5           284:6                  247:10 256:4
 right 221:21 224:9      265:18 289:21         secondary 299:4, 6      306:1, 6
  227:12 231:7           299:20 301:22         seconds 305:12         shown 226:18
  233:9 234:8, 14        302:7 303:18, 20,     section 232:7           228:17, 19 231:7
  236:8 240:23          22, 23                  233:15, 16 234:5       286:12
  244:12 255:1, 10,     sampling 252:8          253:7 261:15, 16      shows 224:13
 12 256:1 258:9          263:16 264:6           262:2, 13 273:12,      226:2 227:14
  260:11 262:19          265:14, 21 266:6,     14, 18 295:23           290:2 301:8
  270:20 271:5          12 272:20 290:1, 2     sections 262:6         side 301:8
  273:12 275:7           299:23 303:3          sediment 248:22        sign 219:15
  276:23 279:6, 7, 21    304:4, 19 306:6        249:1, 15 271:17      signature 215:11
  280:18 282:8          Samuel 269:6            306:9 307:7, 7        significant 229:15
  299:16 301:14, 16,    sand 306:5             sedimentation          simply 232:1
 20 302:4, 12 303:3     satisfied 254:3, 23     307:14                 286:15
  309:8                 satisfying 255:18      sediments 297:7        single-spaced
 risk 262:4 267:2       saw 242:6               303:14 304:9, 21       233:17
  277:12                saying 223:21           305:6 306:18          sir 221:22 222:2
 Risk-Based 261:20       226:1, 18 227:10      see 223:13 225:1        233:13 234:1, 9, 13
 risks 262:11            237:10 238:14          232:11 240:7           244:8, 13 250:14

Freedom Court Reporting, A Veritext Company                                  877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 128 of 134
Lois George (Continuation)                                                             327
  253:4, 11 258:7        solution 281:13, 21    standard 297:19        structured 233:15
  260:12 261:6, 11,       282:5                  298:11, 16, 19        student 272:9
 17, 21 271:1, 22        somebody 278:17         308:3                 studies 247:1
  273:13, 21, 23          279:11                standards 271:17,       249:18, 19, 20
  275:2 279:8 280:3,     somewhat 235:1         20 275:20 308:6,       subject 261:5
 11, 15, 22 281:2, 8     sorry 219:19           11, 15, 15, 18         substantial 270:1
  285:9 287:8, 22         235:19 241:13         STARNES 217:16         substantially
  288:4 293:5 294:7       258:23 260:2, 7       start 221:19            265:12 288:3, 10
  295:11 296:21           264:3 276:22          started 231:3          substantiating
  297:21 302:19           277:20 282:22          248:8 291:23           275:22
  303:4 308:4             285:22 287:1, 2        293:23                subsurface 299:21
 Sisk 221:3 247:9,        290:7 291:15          starting 279:5          308:16
 14                       293:14 298:7          starts 234:5 240:5     sufficient 223:22
 Sisk's 221:5            sort 243:7 262:4        258:2 273:20           237:20 243:22
  249:18 250:5            263:10                 293:19                 249:14, 14 262:10
  290:7                  source 230:3           State 219:2 274:8      sufficiently 298:22
 site 243:2 244:19        297:16 299:4, 6        312:2                 Suite 217:7
  246:6, 14 248:8, 14,   South 217:7, 12        stated 301:9           summarize 295:17
 20, 22 249:6 250:9       225:12, 20 227:11     statement 291:16       superseded 308:19
  251:2 252:10            231:5                 STATES 214:1           supports 292:11
  256:11 257:15          SOUTHERN 214:3         steep 232:9 284:19     Sure 222:15 225:9
  260:14 265:22           217:4 231:16           285:1                  229:7 242:18
  267:13 268:22           232:2                 steeper 286:7           249:1, 5 254:18
  273:1 274:14           Spatial 236:20         stenotype 312:5         256:18 259:11
  275:11 281:21          speak 275:17           step 293:22             263:20 273:1
  282:21 283:16           276:17 277:6          steps 267:5 277:13      274:5, 23 286:14
  284:5, 14, 15 288:1     278:3                 stereo 223:12           287:10 289:21
  289:16 294:13          specific 243:6         stereoscope 223:8       295:6 300:4
  296:14 302:20           250:23 252:15         stereoscopically        301:10 305:9
  303:3 304:19            262:1, 2 263:12        223:5, 7               309:6
 sites 249:21, 23         264:6, 14 266:20      STIPULATED             surface 243:2
  298:14 300:20           277:18 300:11          215:3, 10 216:4, 12    244:20 253:8
  302:14                  305:21                stipulation 219:5       254:9 264:16
 six 244:11 267:12       specifically 215:12    stipulations 219:14     286:5 287:4
 size 296:23 297:4,       262:13 263:21         stopped 298:5, 8        290:10, 12, 14
 8 304:22, 22             271:4 279:15          stopping 289:3          299:21 308:17
  305:20, 21 306:20       296:12 297:6          storm 241:1            Survey 268:8
 sizing 305:18           specifics 283:13        242:23                susceptible 284:20
 slope 285:17 286:3,     specified 266:6, 6     straighten 287:11      SW1 290:5
 3, 12, 16 289:5, 6      specifies 267:3        straightforward        SW15 290:5
 slopes 239:4            speculation 264:22      240:18                SW2 256:22 257:7,
  284:20 285:1           speculative 234:12     strata 270:5           9
 slough 303:15            292:9                 straw 285:2, 4         SW3 256:4 257:2,
 sloughing 284:21        spot 304:4             stream 245:10, 14      7, 9
 slow 300:4              stabilization 284:17    251:8 270:19          SW8 263:22
 smaller 293:21          stabilize 284:14        306:4                 SW9 263:22
 software 236:20         stack 228:5            streams 244:20         Swanson 299:9, 22
 soil 289:8              Staff 217:10           Street 217:12          sworn 219:12
 soils 271:18                                   strongly 282:2         system 282:20
 Solis 217:21

Freedom Court Reporting, A Veritext Company                                   877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 129 of 134
Lois George (Continuation)                                                          328
 Szabo 270:7          testimony 226:17       294:3, 20, 23 298:7   13
                       238:14 248:1          301:6 309:7           treating 241:17
 <T>                   254:12 291:2         Thornbury 270:13       treat-in-place
 table 270:11          295:17 311:5         thought 231:11          282:20
 tables 221:7          312:9                 305:11                treatment 275:21
  256:16              testing 250:17        thousand 237:15         283:15
 take 220:13           252:11 272:20        three 223:13           trees 284:15 285:2
  225:22 238:8         308:10                235:7 265:6            289:4
  243:1, 15 258:4     tests 262:23           278:18 280:12         trial 216:8
  261:12 276:17       textbook 270:15        304:6                 Tributary 252:21
 taken 215:5          textbooks 298:14      time 216:8, 8           296:15 303:14
  235:10 256:4, 6     thank 219:18           219:20 220:9          true 220:13
  261:13 264:10, 19    221:17 257:21         225:22 228:13          301:14 311:6
  265:19 267:4         290:9 309:8           233:7 239:2, 21        312:8
  277:15 300:14       theory 263:4           241:9 242:23          try 219:20 220:2
  306:17, 17, 22      thereto 216:10         243:6 254:4            243:8 248:10
  312:5                312:6                 257:19 266:18, 19     trying 231:1 287:3,
 talk 222:13          thickness 238:10       272:14, 18 274:8      9 293:20 295:3
 talked 219:23         239:19 245:22         291:11, 12 294:11      300:9 304:4
  222:20, 21 254:5     246:11 304:11, 12     306:8 308:1, 22       turn 221:19 222:5
  259:10 273:17       thicknesses 246:18    timeframe 259:14        240:4 257:22
  290:18 291:17       thing 226:1 231:4     timeframes 292:1        296:19
  295:8 298:13         246:1 284:6 289:5    times 235:7 240:17     turned 261:15
 talking 223:19        300:1                today 219:19           two 220:4 225:13,
  224:7 228:23        things 220:5 222:7     220:3 243:16          15 228:11 234:6
  229:3, 3 234:16      259:10 267:22         261:3                  236:6, 13, 15
  259:14 263:22        269:21 271:20        tools 237:1             239:18 244:15
  264:3, 16 271:21     279:19 284:1         top 244:11 268:6        251:5 263:9 270:6
  298:5 301:20, 22     286:23 299:2          278:18 283:20          271:20 272:15
 tasks 260:3          think 219:23           288:23 293:16, 18      281:6, 7, 10 286:1,
 techniques 223:1      220:18 221:1          296:12                2 291:19, 22 292:5
 tell 228:7 243:4      227:17 229:11, 12,   topic 257:23           typed 233:17 299:3
  244:6 257:6         17 230:2 231:23       topographic 221:21     typical 262:4
  262:13 268:19        232:5, 19 233:7       222:22 223:20          306:23
  288:14               237:17 238:6          229:5 230:5, 14       typically 274:10
 telling 232:13        240:1, 3, 8 242:6     234:18, 20 235:21      308:16
 ten 243:16 300:8,     244:3 246:10          236:8, 13, 15
 11                    247:5 251:15, 16      239:15, 16            <U>
 term 227:6, 8         253:16 256:19        topography 229:11      ultimate 292:14
  244:22 305:17, 18    257:14 258:19        total 257:6, 8         uncover 296:15
 terminology 270:19    259:2 260:20          282:2 295:14          underlying 291:4,
  283:1                262:7 266:1          toxic 242:22           14
 terms 230:19          267:17 272:23        transcribed 312:6      underneath 298:17
  303:22               273:7 276:19         TRANSCRIPT             understand 224:10
 test 263:3 276:18     277:11 279:13, 19     310:4 311:5 312:9      226:17 227:9
 tested 241:12         280:7 281:15         transcription 312:7     229:7 231:1 233:5
 testified 219:13      282:1 285:12         transported 304:9       235:17 240:19
  221:23 256:19        286:5, 22 287:18     travel 303:12           259:11 266:14
  273:7 301:7          288:2 289:23         treat 282:22 283:7,     272:13 283:12
                       290:18 292:9                                 285:15 286:11, 13

Freedom Court Reporting, A Veritext Company                               877-373-3660
 Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 130 of 134
Lois George (Continuation)                                                             329
 289:22 295:3          287:23 289:3, 12      17, 20 244:20            work 258:11
 304:5                 303:9                  245:10 247:9, 10         263:5, 6 272:16
 understanding        vegetative 288:15       251:5, 16, 17, 19, 21    296:20
 224:17 227:10        versus 232:18           252:13 254:9            worked 272:6, 12,
 238:13 248:1          233:1 257:7            256:20 259:6, 15,       13 283:18
 254:19 259:9          308:12                16 260:10, 15, 16        working 248:8, 14
 260:4 296:10         vicinity 263:9          263:16, 17 264:1,        283:17
 301:6 312:11          306:6                 16 265:4 290:11,         world 238:15
 understood 231:2     view 225:8 232:1       12, 13, 14, 15           WRITE 310:4
 235:8 254:12         viewing 222:18          296:23 297:4, 8         writing 273:2
 291:1                 223:8                 waterfront 303:10,        276:8, 9
 uniform 247:21       vintage 236:16         13                       written 252:22
 UNITED 214:1         violation 254:21       waters 241:11             276:14 286:23
 unvegetated 288:23   Violations 258:18      way 220:7 224:12         wrong 240:19, 20
 upkeep 282:10        visible 306:7           230:11 233:14, 22       wrote 280:21 302:8
 upper 239:14         visit 248:20 273:1      245:10 254:18
 upstream 250:17      VOLUME 214:16           257:15 259:21           <Y>
 252:5 289:20          235:18 237:17          262:20 267:2            yards 235:15, 22
 303:11                238:3, 8, 21 239:20    270:1 276:2, 23          237:15 293:9
 use 222:21 227:8      242:1, 3 291:18        282:14 284:13            294:1, 13 295:13
 236:19 237:6          293:22 294:10          297:1, 9 305:2          Yeah 227:3 233:7
 244:22 261:22        volumes 234:6          well 227:7 235:17         294:3, 20 300:10
 262:1 266:22         volumetric 231:20       238:19 239:23           year 235:15
 267:7, 16 274:13      234:10 239:7           243:1 245:4 248:7        255:20 285:11
 275:22 291:22         240:2 291:5, 15        255:16 262:9, 23         292:6, 7
 292:7, 11            volumetrics 290:23      265:20 274:20           years 235:9
 USGS 230:7            291:7, 8, 14 292:14    276:8 282:18             238:23 247:8
 239:15               vs 214:9                291:13 292:23            272:16 285:14
 Usual 219:14                                 295:2 305:13             297:18 304:8, 10
 utilized 232:18      <W>                     308:20                  yellow 224:15, 20
 299:18               waived 215:12          went 220:8, 9             225:2, 6 226:8, 18
                       216:14                 222:7 304:6              232:17, 18, 23
 <V>                  want 220:3 221:15      Wentworth 305:20          233:3, 8
 valid 296:23 297:9    224:2 236:5 266:2,    we're 221:2 224:7        yesterday 227:6
 valley 241:5, 15     3, 4 268:3 289:21       228:1, 23 230:6          253:16, 20 254:5
 value 238:10 239:5    298:3 300:4, 17       west 232:10               259:2
 values 230:16         303:15                we've 273:16             younger 285:13
  252:16              wanted 268:4           whatsoever 252:2
 variability 291:19   wants 261:2            Wheeler 242:4            <Z>
 variables 289:8      warranted 250:19       whichever 290:3          zone 252:4 290:19
 various 296:3         251:5                 William 270:12
 vary 306:19          WARRIOR 214:7          witness 215:12
 vast 235:5, 15        217:11 269:13          219:9 311:4 312:9
  288:12               270:4                 wondering 242:9
 vastly 256:6         washed 285:3           wooded 228:13
 vegetated 248:20     waste 263:18, 21       word 273:6
  285:1                264:1, 4, 17 281:20   words 233:4
 vegetation 228:16,    282:9 284:14           243:15 254:13
 18, 19 265:10, 14,   water 241:6, 10         268:23 279:12
 22 266:11 285:6       242:21 243:2, 2, 4,    280:5 282:14

Freedom Court Reporting, A Veritext Company                                  877-373-3660
Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 131 of 134
Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 132 of 134
Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 133 of 134
Case 2:16-cv-01443-AKK Document 54-14 Filed 08/15/18 Page 134 of 134
